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      State of California
 10
                         IN THE UNITED STATES DISTRICT COURT
 11
                     FOR THE SOUTHERN DISTRICT OF CALIFORNIA
 12
 13
 14   RUSSELL FOUTS et al.,                          Case No. 3:19-cv-01662-BEN-JLB
 15                                     Plaintiff,
                                                     COMPENDIUM OF WORKS
 16                 v.                               CITED IN DEFENDANT’S
                                                     SUPPLEMENTAL BRIEF IN
 17                                                  RESPONSE TO THE COURT’S
                                                     ORDER OF OCTOBER 17, 2022
 18   ROB BONTA, in his official capacity
      as Attorney General of the State of            Courtroom:     5A
 19   California,                                    Judge:         Hon. Roger T. Benitez
 20                                   Defendant. Action Filed: September 1, 2019
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                    HISTORICAL STATUTES




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LEGISLATIVE INTENT
Requester: Marguerite Beveridge          Date received:       25 Feb. 2014
Telephone:                               Needed by:
City/Room: Sacramento                    Completed:           27 Feb. 2014

STATS: 1917            CHAPTER: 145         CODE:
BILL: AB 980           AUTHOR: Assemblyman Marks
Summary Digest:        Final History: X     Bill Forms: X


GOVERNOR'S CHAPTERED BILL FILE (GCBF): Gov. William Stephens (1917-1923) did
not provide a file for AB 980 or any other bill to the Calif. State Archives.
The practice of retaining Governor's Chaptered Bill Files for historical
research did not start until Earl Warren's term as Governor (1943-1953).

AUTHOR'S FILE: The author of the bill, Assemblyman Milton Marks, also did not
provide bill files to the State Archives.


NOTES:
AB 980 (1917) is an act ''relating to and regulating the carrying,
possession, sale or other disposition of firearms capable of being concealed
upon the person ... "

The bill was chaptered as Stats 1917 Ch. 145. The statute does not refer to
any code sections, and it looks as if it was un-codified for some time.

The State Archives has very few legislative history materials from the early
1900s. It does not have bill files for AB 980 from committees that worked on
this legislation (Assembly Committee on Judiciary and Senate Committee on
Judiciary) .

The pdf for this legislative history has been OCRed (press Ctrl and F to key-
word search within pdf document) .




Rev. 9-1-2011




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                                                THE


            STATUTES OF CALIFORNIA
                                                  ANU




                   AMENDMENTS TO THE CODES

                                            I'ASSFIJ o\T TilT.




                 FORTY-SECOND SESSION OF THE LEGISLATURE



                                             1917

            BEGAN ON MONDAY, JANUARY EIGHTH, AND ENDED ON FRIDAY. APRIL
                  'I'WJ.:~TY-SI-:VENTH.   NINETEEN HUNDRED AND SEVENTEEN




                                             CALII'OBMLl
                                      8TATI: PBINTIMO 01'1'ICJ:
                                                 1917




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I~            Oh. 145.1                 FOWl'Y-SEOOND ;:>ESSION.                                      221
                                            CI-IAPTJ1~B     145 .

             .lln act 1·elat-iny to ancl regulating the carrying, possession, sale               ~
                   or other cl·isposii·ion of firearms capable of being concealed
                  'lipan the pm·son_; prohibd·ing the possess·ion, carrying, man-
                  ·nfcictwr·ing ancl sale of certain other clcmge·rous wectpo·ns
                  cmcl the giv·ing, tra·nsfe1'l"iny ancl disposition the1·eof to
                  other persons u.:·ith-in this state; providing fo1· the reg·iste1·ing
                  of the sa-les of firem···ms; prohibit-ing the carry·i·ng o1· posses-
                  s·ion of concealed weapons ·in 1n.u.:n·ic1:pal co1·po1·cd·ions; p't'O-
                  'V-icling fm· the clest?·uction of ce1'tain .c~ange1·ous weapons as
                  mi-iscinces a11d nwk·i11g it a felony to 'Use o1· attempt to 'l.iSC
                  cc?'tain clc~rngeTous wec~rpons against anothel'.
                          [Approved l\Iay 4, 1917.     In effect July 27, 1917.]

            )The people of the State of Oal·ifon1ia clo enact as follows:
                    SECTION 1. Bvery person 1vho manufactures or causes to Manufacture,
                 be manufactured, or leases, or keeps for sale, or offers, or gives, ~~~t;u_~f
                or otherwise disposes of any i~strument or weap?n of the kind ~~~~;~sus
                commonly kno·wn as a blackJack, slungshot, b1lly, sanclclub, misdemeanor.
                sandbag, bludgeon, or metal knuckles, a dirk or dagger, to
                any person within this state is guilty of a misdemeanor, and
                if he has been previously convicted of a crime made punish-
                able by this section, he is guilty of a felony.
                   SEc. 2. Every person who possesses any instrument or Possess~on
                weapon of tl1e 1nnCL   . ~ common l y l~nown as a b l ac l:CJaC
                                                                            . k s l ungs11ot, dangerous
                                                                                  7
                                                                                      '
                                                                                              of certam
                billy, sandclnb, sandbag, bludgeon, metal lmuckles, bomb or ~~~g~;~~anor.
                bombsheHs, or 1vho carries a dirk or a dagger, is guilty of
·.,
                a misdemeanor, and if he has· been convicted previously of
            (li any felony or of a crime made punishable by this act, he is
            ·r. guilty of a felony .
           .-Ff SEc. 3. EYery person• • who              carrie8 in any city, city and ~arrying
                                                   l
                county, to\:Vll or mumCJpa corporatiOn          ·    of tl11s . state any firearms
                                                                                              without
                l)istol ' r(~volver
                            ~       '   or other :A.rrarm
                                                     ·      concealed
                                                                  ~
                                                                        upon    his  person   li~ense
                                                                                           ., misdemeanor
                without having a license to carry such firearm as hereinafter                             ·
                provided in section six of this act, shall be guilty of a misde-
                meanor, and if he has been convicted previously of any felony,
                or of any crime made punishable by this act, he is guilty of a
                felony.                      ·
                   SEc. 4. rrhe unlmdnl possessin 0' or earryino· of any of Unlawf~Il
                   •                                        :::-              b               possesswn
                the mstruments, weapons or firearms enumerated in section or weapon,
                one to section three inelusive of this act, by any person ~~~~sance.
                other than those authorized and empowered to carry or possess
                the same as hereinafter provided, 1s a nuisance, and ~mch
                instruments, ·weapons or firearms are hereby declared to be
                nuisances, and 1vhen any of said articles shall be taken from Surrender
                              .
                th e possessJOn       f                l            . l                       of weapons,
                                  o any person t 1e same sha11 Je surrendered to etc.
                the magistrate before whom said person shall be taken, except
                that in any city, city and county, town or other municipal
                corporation the same shall be surrendered to the head o.f the

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                                             ~'l'A'l'U'l'E:-) OP   CALU'()l{NIA.    [Ch. 14G.           I
                                                                                                        1
                         police force, or police department th<.;l'eof. The officers to
                         whom the same may lJe so surrendered, except upon certificate
                         of n judge of a court of record, or of the district attorney of
                         an~· county that the preservation thereof is- necessary or proper
                         to the ends of justice, shall proceed at such time or times as
       Destmction        he deems proper, and at least once in each year to destroy or
       of weapons.
       ett·.             cause to be destroyed such instruments, weapons or other fire-
                         arms in such manner and to such extent that the same shall
                         he and become wholly and entirely ineffective and useless for
                         the purpose for which it was manufactured.
        Altenr tL•d           SEc. 5. Any person who attempts to use, or who with
       u,;e of ·
       weapons            intent to use the same unlawfully against another, carries or
       felony.            possesses a dagger, dirk, dangerous knife, razor, stiletto, or
                          any loaded pistol, revolver or other firearm, or any instrument
                          or weapon commonly known as a blackjack, slungshot, billy,
                          sandclub, sandbag, metal knuckles, bomb, or bombshell or any
                          other dangerous or deadly instrument or weapon, is guilty of
                          n felony. The carrying or possession of any of the weapons                   .f
                          specified in this section, by any person while committing, or
                           attempting or threatening to commit a felony, or breach of the
                           pea( e, or any act of violence against the person or property
                           uf another, shall be presumptive evidence of carrying or pos-
                           f>t'Ssing such vveapon with intent to use the same in violation
                           of this section.
         License to            SEc. 6. It shall be lavvful for the board of police commis-
         carry
         concealell        sioners, chief of police, city marshal, town marshal, or other
         fi1·earm.          head of the police department of any city, city and county·,
                            town, or other municipal corporation of this state, upon proof
                            before said board, chief, marshal or head, that the person
                            applying therefor is of good moral character, and that good
                            cause exists for the issuance theTeof, to issue to such. person a
                            license to carry concealed a pistol, revolver or other fire-
                            arm; proviclecl) ho1cever, that the application to carry
                            concealed such firearm shall be filed in writing and shall state
                            the name and residence of the applicant, the nature of appli-
                            cant's occupation, the bi1siness address of applicant, the nature
                            of the vveapon sought to be carried and the reason for the filing
                            of the application to carry the same.
          Register              SEC. 7.    Every person in the business of selling, leasing or
          of s·ales of
          firearms.
                             oth€·rvvise transferring a pistol, revolver or other firearm, of a
                             size capable of being concealed upon the person, whether such
                             seller, leasor or transferrer is a retail dealer, pawnbroker or
                             otherwise, except as hereinafter provided, shall keep a register
                             in which shall be entered the time of sa1e. the date of sale, the
                             name of the salesman making the sale, the place vvhere sold,
                             the make, model, manufacturer's number, caliber or other
                              marks of identification on such pistol, revolver or other firearm.
                              Such register shall be prepared by and obtained from the
                              state printer and shall be furnished by the state prjnter to said
                              dealers on application at a cost of three dollars per one hun-
                              dred leaves in duplicate and shall be i.n the form hereinafter
                              provided. The purchaser of any firearm, capable of being
                                                                     Compendium_Supplemental Brief          '
                                                                                              Page 5
                                                                                                       , I
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~            Ch. 1.45.]               I<'OH/l'Y-8EUOND SESSION.                                  223
I
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              eoncealed upon the person shall sign, and the dealer shall
              require him to sign his name and affix his address to said
              register in duplicate and the salesman shall affix his signature
              in duplicate as a witness to the signatures of the purchaser.
              Any person signing a fictitious name or address is guilty of a
              misdemeanor. The duplicate sheet of such register shall on Duplicate
                       .
              the evenmg   of t h e d ay ot sa l e, b e p Iace d m
                                            n                    . th e ma1·1 , pos t age sheet
                                                                                          mailed to
              prepaid and properly addressed to the board of police com- police.
              missioners, chief of police, city marshal, town marshal or other
              head of the police department of the city, city and county,
              town or other municipal corporation wherein the sale was
              made; p1·oviclecl, that where the sale is made in a district where
             there is no municipal police department, said duplicate sheet
             shall be mailed to the county clerk of the county wherein the
             sale is made. A violation of any of the provisions of this sec- v~olation
               · by any· person engagecL~ m
             tlon                              · th e busmess·     of se ll'mg, 1easmg·   nuscleme·mor
                                                                                                  ' ·
             or otherwise transferring such firearms is a misdemeanor.
             This section shall not apply to wholesale dealers in their
             business intercourse with retail dealers, nor to wholesale or
             retail dealers in the regular or ordinary transportation of
             unloaded firearms as merchandise by mail, express or other
             mode of shipment, to points outside of the city, city and
             county, town or municipal corporation wherein they are situ-
             ated. The register provided for in this act shall be substan-
             tially in the following form :
                                                                   Series No. ______ Form of
                                                                   Sheet No. ------ register.
                                                ORIGINAL.

                      Dealers' Record of Sale of Revolver or PistoL
                                  State of California.
               Notice to dealers: This original is for your files. If spoiled
            in making out, do not destroy. Keep in books. Fill out in
            duplicate.
               Carbon duplicate must be maHed on the evening of the day
            of sale, to head of police commissioners, chief of police, city
            marshal, tO\vn marshal or other head of the police department
            of the municipal corporations wl1erein the sale :is made, or to
            the county clerk of your county if the sale is made in a district
            where there is no municipal police department. Violation of
            this law is a misdemeanor. Use carbon paper for duplicate.
            Use indelible pencil.
            Sold by _;...__________________    Salesman ----------------
            City, town or township ----------------------------------
            Description of arm (state whether revolver or pistol) _______ _
            Maker ------------------ number ________ caliber --------
            Name of purchaser ---------------------- age ______ years.
            Permanent residence (state name of city, town or township,
            street and number of d:welling) --------------------------
            Height _____ feet _____ inches. Occupation ______ .:. _______ _
            Color _________ skin ________ eyes _________ hair ---------


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                                                                                                      -"l
                                   STA'l'U'l'ES OF CALIFORNIA.            [Ch. 145.

               If traveling or in locality temporarily, give local address-----
               -------------------------------------------------------
               Signature of purchaser ---------------------------------
               (~igning a fictitious name or address is a misdemeanor.) (To
                 be signed in duplicate.)
               Witness ---------------------, salesman.                                          l!


                 ( 'ro be signed in duplicate.)             Series No. _____ _
                                                             Sheet N~L _____ _
                                            DUPLICATE.
                         DPn1ers' Record of Sale of Revolver or PiHto1.                    ,:_   .,
                                      State of Cahfornia .
                 .l\ otice to dealers: This carbon duplicate must be mailed
               on the evening of the day of sale- as set forth in the original
               of this register page. Violation of this law is a misdemeanor.
               Sold by -------------------- Salesman ----------------
               City, town or township ----------------------------------
               Description of arm (state whether revolver or pistol) --------
               Maker ------------------ number ________ caliber _______ _
               Name of purchaser ---------------------- age ______ years.
               Permanent address (state name of city, town or township,
               street and number of dwelling) --------------------------
                -------------------------------------------------------
                Height _____ feet _____ inches. Occupation ---------------
                Color _________ skin ________ eyes _________ hair ---------
                If traveling or in locality temporarily, give local address ____ _
                -------------------------------------------------------
                     Signature of purchaser ----------------------------------
                     (Signing a fictitious name or address is a misdemeanor.) (To
                       be signed in duplicate.)
                     Witness ---------------------, salesman.
                        (To be signed in duplicate.)
       Exceptions.      SEc. S. Nothing in this act shall be construed to apply to
                     sheriffs, constables, marshals, policemen or other duly
                     appointed peace officers, nor to any person summoned by any
                     such officers to assist in making arrest or preserving the peace
                     while said person so summoned is actually engaged in assisting
                     such officer; nor to duly authorized military or civil organiza-
                     tions while parading nor to the members thereof when going
                     to and from the places of meeting of their respective organiza-
                     tions ; nor to the possession or transportation by any merchant
                     of unloaded firearms as merchandise ; nor to bona fide members
                     of any club or organization now existing or hereinafter organ-
                     ized, for the purpose of practicing shooting at targets upon
                     established target ranges, whether public or private, while
                     such members are using any of the firearms referred to in
                     this act upon or in such target ranges, or while going to and
                     from such ranges.
        c~nstitution- SEc. 9. If any section, subsection, sentence, clause or
        ahty.         phrase of this act is for any reason held to be unconstitutional


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.
    .          l'h. 146.]                FORTY-SECOND SESSION .                                      225

               such decision shall not affect the validity of the remammg
               portions of this act. The legislature hereby declares that it
               would have passed this act and each section, subsection, sen-
               tence clause and phrase thereof, irrespective of the fact that
               any ~ne or more other sections, subsections, sentences, clauses
               or phrases be declared un~onstitutional.



                                            CHAPTER 146.

               An act amen cling a-n act entitlecl u An act to pr·ovide for the
                 incor1Jor·afion and or·ganizcd-ion and nwnagenwnt of co'tmty
                 water· distn"cts a,ncl to TH'Ovicle for the acq'l&isition of water
                 1'·ights or· the construction the1·eby of IUC&ter 1um·ks: a·ncZ fm·
                 the acquisit·ion of a.ll pr·operty nccessar·y the'refor·: and also
                 to provide for the distrib1.&tion ctncl sale of water by said
                 clistr··icts/: ap1Jroved J1.&ne 10} 1913: by adding thereto a
                 new section to be nnntber·ecl twenty-eight, providing for
                 the exclusion fro·m any co1.mt·y water· district formed 1.mder·
                 said act of ten··itory ·not servecl by S1lch c01mty water·
                 distr··ict.
                             rApproved l\Iay 4, J917.   In effect Jnly 27, 1917.]

               1'he people of the State of      Californic~   clo enact as follows:
                 SECTION 1. An act approved June 10, 1913, and entitled                  stats. 1918,
                                                                                              1049
              ''An act to provide for the incorporation and organization and             P-          ·
              management of county \Yater districts and to provide for the
              acquisition of water rights or the construction thereby of water
              vvorks, and for the acquisition of all property necessary there-
              for, and also to provide for the chstribution and sale of water
              by said districts.'' is hereb~r amended by adding to said act a
              section numbered tvi;enty-eig·ht reading as follo-vvs:
                 Sec. 28. Any territory, inclnc1ec1 within any county water              Exclusion of
              district formed under the provisions of this act, and not                  territory.
              benefited in any manner by such district, or its continued
              inclusion therein, may be excluded therefrom bv order of the
              board of directo~s of 'such district upon the verified petition of         Petition.
              the ovvner or o1vners in fee of lands whose assessed value, with
              improvements, is in excess of one-half of the assessed value of
              all the lands, with improvements, held in private ownership in
              such territory. Said petition shall describe the territory                 contents.
              sought to be excluded and shall set forth that such territorv is
              !lot benefited in any manner l1y said county water district or
              Its continued inclusion therein, and shall pray that such terri-
              tory may be excluded and taken from said district. Such
              petition shall be :filed ·with the secretary of the water district
              and shall be accompanied by a deposit with such secretary of
              t~~ sum of one hundred dollars, to meet the expenses of adver-
              tlsmg and other costs incident to the proceedings for the
                 15-3057-!
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             ASSEMBLY FINAL HISTORY
                        FORTY-SECOND SESSION
                                       1917

                           Compiled Cnder the Direction of

                                  B. 0. BOOTHBY
                                     Chief Clerk

               HERBERT E. CLELAND                   FRANK L. ::\IORRIS
                   H1story Clerk                   Assistant HiMOr) Clerk



                              DURATION OF SESSION

           First Part-Began Monday, January 8, and Adjourned
                            Friday, January 26.
           Second Part (after constitutional recess)-Began Monday,
               February 26, and Adjourned Friday, April 27.
                      Full Duration of Session 80 Days.




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                                             ASSEMBLY FINAL HISTORY.                                                277.

            980-Marks, Jan. 25.              To Com. on Jud.
                  An a<:'t relatmg- to and rt'gulatm:r the carrym~. po~o;e-,swn, sale or other dis-
                    r•o><It<oo of firt>nrm'> I'Upaule of b,.~eale•l upon th•· pPrson, prolubitm~
                     the por,~e'>~<on. c.uryiug. umuufaet uring and sale of cel"tam nther dan:rerous
                     \\'t'll)JOll~ ann the ~i\'in;r tlnn~fPl'I'ID!! and di~JlO«ItiOD tht>l'o>of (I> ot)WI' po>r~om<
                     '' tthm tin<> Stall', pro' Hhn:r fo1' the rt>~I,..terme: of tht> >~ales of firearms:
                     JllOilll>itlll;l. the C81'1'\ 11111. 01' IJO'-~'"'NIO!l of CI>UC'I'!I],.d \\ eapon~ m llllllll<'lllUI
                    <IH"JlOl'ntwn« pro\ <rllll;!: for the d<'«tTn<'twn of C't>rtnin <l.lnc;~ron~ weapons as
                     nni'-;fillC'(l~ nuc~ tnnk1n;.: it n ft-']On~· tn u~F> ur nrte-Jnpt to u~e t~rtnJn dan~f'tOuc..
                     wl'aiJOll'> n~.::am«t another.
                  Jan. 2."i-Rend first time. To Com. on Rev. & Ptg.
                 Jan. 26--From committeE'. To printer.
                  Feb !!6--From printer. To committee.
                 1\Iur. 15---From committPe with recommendation: Do pass as amended.
                 Mnr. 1£1-RPa!l second time. Amt>nderl. To printer.
                 l\lar. 17-From printer. To engrossment,
                 l\lar. 10-Reported correctly engrossed
                 1\Iar. 20-Rend thirrl time. Amended. To printer.
                 M:ar. 21-From printer. Tore-engrossment. Reported correctly re-engrossed.
                 l\far. 22-PassPd, title approved
                 1\far. 23-To Senate.
                 :\far. 23-Tn Senate. Referred to Com. on Jud.
                 Mnr. 28-From commit~ee \'lith recommendation: Do pass.
                 1\Iar 20--Read second time.
                 April 8-Read third time. Ameud~d. To printer.
                 April 4-From printer.
                 April l'i-AmendPd. To printer.
                 April R-From printer.
                 .\prill::t-PmNPd. tit!.' oppro,·ed. 'J'o A~<~Pmhl~·.
                 April1fl--In A~<sembly. Senate ameniiment~ concur1·ed in. 'l'o enrollment.
                 Aprill!l--TiepOI ted c01 r<>ctlv enroliE'd To Governor nt 4 p.m.
                 :\fn~· 4-·.\]1111'0\t>d by novPrllOl'. f'haptPl' 145


            !J81-Horbach. Jan. 25. To Com. on Agr.
                 An act to amend section 2322a of the Political Code, relating to inspection of
                     fruit trees and eradication of pests.
                 Jan. 2..'l-Read first time. To printer
                 Feb. 2fl--From orinter. To committee.
                 Aprill~From committPe with recommenrlation · Do pass
                 April14-RParl second timP. To Pngro<>~ment. Reported correctly engrossed.
                 April1 i-R!'arl lhirrl tiuw. Jl.l~~t'd. t1tle appro\'l'd
                 AJlril JR-To ~<'natP
                 Apri11X-Tll SPnate. R~tHl fir~t tim<> Ro>ferred to Com. on Agr.
                 April20--From committee wit II 1·ecommendntion · Do pno;;<> no;; amended.
                 April21-Read SPcond time. ArnendPd To printer.
                 .\pri127-R•·nrl thir<l time. Jln~~pr). ritle nnpro,·ed To Assemhh·
                 Alll'ii27-In ..\o;;~l-'mhh      ('nnl'lll'I'Prl in SPn:tte amendment. 'l'o Pnrollment
                 . TIPpnrterl l'ul't'P<'tly PnrnliPcl 'fn l1o1 ern or nt 11 n m•
                 •T\1111' 1-· I'n,•kt'tr•il


            !)~2-Horbach,       .Jan. 2fi.      To Com. on R. & H
                 An act making appropriation for the location. survey and construction of a
                    state highwnv from Oak Gro\e, in Tulare County, to the west line of thl'
                    Sequoia 1\ntional Pnrk. nnd from the east line of Sequoia National Park
                    h.,. '1\DY of l\Jineral King nnd H6ckett Mentlows, into the Kern River
                    Canyon.                    ·
                 ,Jun. 25-Read firqt timP To printer.
                  Feb 2r-From printPr. To committee.
                 :\far 16--From committee with recommendation Do pass Re-refen·ed to
                    Com on W & )J To committee.
                 Aprii27-From committPI' withnnt l'e('ommendation

            983-Argabrite. Jan. :!5.             To Com. on Rev. & 'l'ax.
                 An act to nmend st>ction 4117 of the Political Code, relating to                       po~session    of
                    public mone~·s
                 Jan. 21'i-RParl first time. 'l'c printer.
                  Feb 2r..-From printer. To committee.
                 ..\J)ril2i-From committee without recommendation




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   i\SSEMBLY BILL                                                                                No~      980
                                                                         Wf!'!j!'l'




                                 INTRODUCED BY MR. MARKS,


                                           JANUARY        25, 1917.



                                REFERRED TO COMMITTEE ON JUDICIARY.


            ?   ·Qi&-+&E¥4ir                *S
                                                   FS




                                                 AN ACT
   li.ELATI~G TO           AND REGULATING THE CARRYING,                         POSSESSION,          SALE OR
      OTHER DISPOSITION OF FITIEARi\IS CAP ADU~ OF BEING CONCEALED UPON
      THE PERSON; PROHIBITING THE                       S~'I.LE   TO OTt CARRYING OF CONCEALED
      \VE.APONS BY PERSONS U:\DER THE AGE OF EIGHTEEN YEARS; PROHIBIT-
      ING THE POSSESSION, CARRYING, J\i.ANUFACTURING AND SALE OF CER-
      TAIN OTHER DANGEROUS WE_\.PONS AND THE GiviNG, TRANSFERRING AND
      DISPOSITION THEREOF TO OTHER PERSONS \;nTHIN THIS ST.A TE; PRO-
      viDING FOR THE REGISTERING OF THE SALES OF FIREARMS; PROHIBITING
      THE CARRYING OR POSSESSION OF C02\ CEALED IVEAPONS IN !liUNICIP .AJJ
      CORPORATIONS; PROviDING FOR THE DESTRUCTION OF CERT"\IN DANGER-
      OUS WEAPONS AS NUISANCES AND                           !~lAKING   rr A FEI.ONY TO USE OR
      ATTEMPT TO USE CERTAIN DANGEROUS WEAPONS AGAINST ANOTHER.

            The people of tl1 eState of CalifoTnia do enact as follows:

        1         SECTION            1.   (a)    Every     person     ·who            offers,    sells,   lends,
        2   leRses, give:-; or otherwi;.:;e transfers or disposes of an~T gun,
        3   revolver, pistol or other firearm of a size c-apable of being con-
        4   cealed npon the person, to any person in                                      this   state nnder ·
        5   the age of eighteen ~~ears is guilty of a misdemeanor.
        6          (11) Ever~r person nnder the age of eighteen years                                who shall
        7   h<we.              c-arry, or have in hi::::; posses;;;ion any of the artic·les named




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                                                           -2-
                            or th".<-wrilH"tl in S('dion om~ ( n) of this ad, 1rhit'11 is for1>idden
                     2      tlwn·in to off('!', selL lom1. le<l~t'. -~·in~ or othenri:-:.;e h<msfer to
                     ;3     him. is <l jnvenile d<>liw1m>.nt.
                     4:       SEc. 2.     En"l')T person who mannfndm·Ps or              C'<lllS('S   to lw
                     5      mannfactnrecl. or lea;:.;e,-;, or keer>s for sale. or offers. m· g1ve:-:.
                     G      or othenrisr di::;po'ws of nn_'i' instrument or 1rrapon of the kind
                    7       connnonly known       HH <l    hlackjaek. ~->lnngshot. hill_\", sancldnh.
                    8       sandbag. bludgeolJ. or metnl kntu·ld("S to          Hll)"   person v~·ithin
                    9      this state is gnilty of    <1   mi.':idenw;mm·. and if he ha.s hePn pre-
                10         vionsly convic-ted of n tl'illH' made puni~;lu1hle l>y this .'iet~tion.
                11         he is guilt~· of a felouy.
                12            SEc. :3.   Every person 1rho l)usstHses an,v instrument or
                13         ·weapon of the kind commonly known as a blackjack, slnngshot,
                14         hill)·. sanddnb, sandbag. bludgeon, metal knnddes, homh vr
                15         homh'1hells is guilty of a misdemeanor, and if he has been t·on-
                16         vided previonsl_,. of an~· felony or of a c·rime made punishable
                17         by this ad, he is gnilty of a felony.
                18           SEc. 4.     EYery person, not a tra vele1·, who possesses or
                19         carries in any cit)", city and county, t01vn or municipal COl'po-
                20         ration of this state any pistol, reYoh"er, or other firearm
                21         concealed upon his per.son, or of a size cnpable of being con-
                22         cealed npon his person, \\·ithont having a license to earr~· Anch
               23         firearm as hereinafter provided in section seven of this act,
               24         shall be guilty of a misdemeanor. and if he has been con-
               25         Yidecl previously of <m~· felony, or of any r-rime made punish-
               26         ctble by this a·d. he is guilty of a felon)·.
                                                                                                              . -~
               27            SEC. 5.     The unlavdnl possessing or carrymg of any of
               28         the im;trmnents, _\Yeapon::-; or firearms enumerHted in Rection.s
               29         one (a) to section four indn:-;ive of this aet. h)· any person
                                                                                                                ·•
               30         other than those authorized and empo1n:red to .carry or possess
               31         the same as hereinafter provided, is a nnisanee, and ;mdi
               32         instrument:=;, weapons or firem·ms are hereby cledHrecl to be
               33         nuisances, and when any of said articles shall be taken from
               34         the possession of any person the same shall be surrendered to
               35         the magistrate before Yrhom said person shall be taken, except
               36         that in any city, eit)r and c·ounty, town or other mnnitipal
              37          <:orporation the same ~'>hHil he :-:;urre11clend to the bead of the

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                                                                -3-
                         1      poli c·e force. or po lil'e d<·p;utnu•n t t lwn~o:E.          The offi l'l' rs to
                                1rhom the snme         ma~·   lw so snrr<:'ndere(l. except npon f'<:'rtitinltl'
                                of n jnclgL' of a eourt uf l't'eorcl. or of the c1istrid attorne,\· of
                                <m~·   r:onnt,\· thHt thP p!Y:.:erYHtion therenf 1-" nel·cssnry oe propt'r
                                to the ent1s of jnstit·c-. shnll pru<·l·ed at .snell tinw or tim!.:'s .as
    (!                   (      he c1Pl'111S proper. uw1 nt ll:'<l'>t    OIH P   iu end1   YPHl'   to   cle.c.;trn~·   or
 .,\.!...
.-,;                     'i     n111Sl' to lw de:.;h·o,\Tcl sw·h     in~.;tr·m1wnts.   m·<lpon::> or other fire-
~
                                arms in s1w11 nwnnPl' <lld to .sn('h extent that the H<:lme shall
    I
                        :J      he nn<1    lH-'I·OmP   1rhol1y ;md eutird)· iiwffec·bY<' nnd 1lRL'less for
  rl ·
   (~'.
                     10         the    pnrposl~
                                              fm· whic·h it 1n1s mnmtfad.lll'C'cl.
·..f                 11            SEc. 6. An~· }H'l'-iOll wlw attt'mpts to w:w. m· who 1vith
                     12         intent to nsl' the :-;mue 1111hndully against another, c·arne:-:: or
                     13         pos<;ps.ses n c.le1gger. dirk. dangerous knife. razor. still~tto. or
                     ·14        any loaded pi;.;tol. revoh:er or other firearm. or an)· instrument
                     15         or \Yeapon eommonl.1· known as a blackjack slungshot, billy,
                     16         E-iancldnb. sandbag. metul knuckles. homb. or bombshell or any
                     17         otlwr chmgerom; or clradl)· instrument or 1\·eapon. js gnilty of
                     18         a felon;·.     The (·l\iT,I'ing or po::;.se~·sion of <my of the IYeapom>
                     lD         :o;peeifietl in this    secticn~   hy   an~·   person 1d1ile committing. or
                     20         attempting or threntrning to c-ommit a felon~·. or breac:h of the
                     21         peace~    or an)· ad of Yiolence <'lgainst the person or property
                      2S        of another, shaH he presnmptiYe evidence of carrying or pos-
                                se-ssing snch IYeHpon with intent to nse the f:l<:lme in violation
                                of this Flection.
                      25           SEc. 7: It shall he lcndnl for the board of police connms-
                      2G        sion<.:Ts, thief of polie.<:'. c·ity marslui.l, to1n1 marshal, or other
                                hP<H.l of tlw police departnwnt of auy city, city and county,
                                to\\·n. or othel' municipal corporRtion of this state, upon proof
                      2(',,     Jwfore said lloard. chief, mRrshal or head, that the person
                      3 ['•-'   <1pp1ying therefor is of good moral charRcter, and that good
                      31        canse Pxi:-;ts for the issuance thereof, to issue to such person a
                                lief.mse to h(1Ye and carr~· concealed a pi::>tol, revolver or other
                      3:3       iin,<Hm; })}'tJL'idcrl, lwzcn·N, that no such license shall lJe issued
                      3:.!:     to an;y' person under the Rge of eighteen yearF>; ancl proviclecl_,
                      85        /urtlu'J', that the apphcation to haYe and carry concealed such
                      S:~       firearm shall be :fHecl in \\Titing and shall state the name and


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                                               -4-
                l    residL'nCc' of the i:!pplicant, the nature of applicant's occnpa-
                2    tion. the business at1c1rc::;s of <:lpplieant, the nature of the
                8    \H·apon sought to he eaniecl and the reason for the filing of
                4    the application to carry the same.
                5       SEc. S.   Every per;:;on in the lmsiness of selling, leasing or
                6    othen1·ise transferring a pistoL revolver or other firearm, of a
                7    si;;:e capable o E being concealed upon the person, whether such
                8      seller. lea11or or tnmsferrer is a retail dealer, pa "·nbroker or
                                                                                                1
                0      otlll'l'\Yise, except as hereinufter provided, Rhall keep a register
               lO      in 11·hich shall he c>nterec1 the time of sale, the date of sale, the
               11      name of the salesman making the salt:, the place where sold,
               ;.2     the make, model, manufacturer's number, caliber or other
               13      marks of identification on such pistol, revolvt.:r or other firearm.
               14      Snc:h regi~ter shall lJe prepared by and obtained from the
               15      state printer and shall be furnished hy the state printer to said
               16
               -                           1
                       dealers on app.tication      at a cost of three dollars per one hnn-
               17      dred leaves in duplicate and shall be in the form herc:inafter               ...
               18      provided. The purchaser of any firearm, capable of being
               19      concealed upon the person shall sign, and the dealer shall
               20      rerrujre him to sign his name and affix his address to said
               21      register in duplicate nnd the salesman shall affix his signature
               22    . in duplicate as a witness to the signatures of the purchaser.
               23      Any person signing a fictitio-LlS name or address is guilty of a
               24      misdemeanor. The duplicate sheet of such register shall on
               25      the e·vening of the cby of sale, 1Je placed in the mail, postage
               26      prepaid and properly addressed to the board of police com-
               27      m1ssioner,s, chief of poJice, city marshal, town marshal or other
               28      bead of the police department of the city, city and county,·
               29      to1Yn or other mt.micipal corporabon 1vherein the sale was
               30      made: pl'Ot'irlcd_, tbat 1rhere the sale is nwde in a district where
               31      there is no mnuicipa l poliec department, said duplicate sheet
               :32     shall lK~ mailed to the enunty clerk of the county wherein the
               33      se1lP is made. A Yiohtion of mw of the· provisions of this sec-
               34      tion l)y <-111,1' pel'son engagr<l in the business of selling, leasing
               35     or otherwise transferring such firearms is a misdemeanor.
               36     This secbon does not apply to wholesale dealers.         The register


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                  1   provided for in this act shall be substantially in the following
                  2   form:
                  3                                                 Series No. _____ _
                                                                    Sheet No. _____ _
                  5                               ORIGINAL.
                  6   Dealers' Record of Sale of Revolver or Pistol. State of
                  7                               California.
                  8      Notice to dealers: This original is for your files. If spoiled
                  9   in making out, do not destroy. Keep in books. Fill out in
                 10   duplicate.
                 11      Carbon duplicate must be mailed on the evening of the clay
                 12   of sale, to head of police commissioners, chief of police, city
                 13   marshal, to-v-rn marshal or other head of the police department
                 14   of the municipal corporations vvherein the sale is made, or to
• --:1           15   the county clerk of your county if the sale is made in a district
I                16   1vhere there is no municipal police department. Violation of
                 17   this law is a misdemeanor. Use carbon paper for duplicate.
                 18   Use indelible pencil.
                 19   Sold by -------------------- Salesman ----------------
                 20   City, town or township ----------------------------------
                 21   Description of arm (state -vvhether revolver or pistol) _______ _
                 22   li'Iaker ------------------ number ________ caliber _______ _
                 23   Name of purchaser ---------------------- age ______ years.
                 24   Permanent residence (state name of city, to';'iiJJ. or township,
                 25   street and number of dwelling) --------------------------
                 26   Height _____ feet _____ inches. Occupation ______________ _
                 27   Color _________ skin ________ eyes _________ hair ________ _
                 28   If traveling or in locality temporarily, give local address ____ _
 .-              29
t1
I


                 30   Signature of purchaser ---------------------------------
                 :n   (Signing a fictitious name or address is a misdemeanor.) (To
                        be signed in duplicate.)
                 33   Witness ---------------------, salesman.
                 34     (To be signed in duplicate.)




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                                          -6-
                                                                 Series No, _____ _
              1
              2
                                                                 Sheet No. _____ _
                                             DUPLICATE.
              3
              4   Dealers' Recor<.l of Sale of Revolver or Pistol. State of
              5                             California.
              6     Notice to dealers: rrhis carbon duplicate must be mailed
              7   on the evening of the day of sale as set forth in the original
              8   of this register page. Violation of this lavv is a misdemeanor.
                                                                                            &
                                                                                             1
              9   Sold by --------------------      Salesman ---------.-------                l .
                                                                                        ~ UL 1-
             10   City, to-vvn or township ----------------------------------               f§J·
             11   Description of arm (state whether revolver or pistol) --------        '    -~    •'

                                                                                              .j
             12   Maker ------------------ number ________ caliber _______ _                  J
             13   Name of purchaser ______________________ age ------ years.
             14   Permanent address (state name of city, tovm or township,
             15   street and number of dwelling) --------------------------
             16   -------------------------------------------------------
             17   Height----- feet _____ inches. Occupation ______________ _
             18   Color --------- skin ________ e~"es _________ hair ________ _
             19   If traveling or in locality temporarily, give local address ____ _
             2G   -------------------------------------------------------
             ~1   Signature of purchaser ----------------------------------
             22    (Signing a :fictitious name or address is a misdemeanor.) (To
             23      be signed in duplicate.)
             24   Witness ---------------------, salesman.
             25      (To be signed in duplicate.)
             26      SEc. 9. Nothing in this act shall be construed to apply to
             27   sheriffs, constables, marshals, policemen or other duly
             28   appointed peace officers, nor to any person summoned by any
             29   such officers to assist in making arrest or preserving the peace
             30   while said person so summoned is actually engaged in assisting
             31   such officer; nor to duly authorized military or civil Ol'ganiza-
             32   tions while parading nor to the memlJers thereof ·when going
             33   to and from the places of meeting of their respective organiza-
             34   tions; nor to the possession or transportation by any merchant
             35   of unloaded :firearms as merchandise ; nor to bona :fide members
             36   of any club or organization now existing or hereinafter organ-
             37   ized, for the purpose of practicing shooting at targets upon

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      1;   J'
          ... J.                                                     -7-
              ·¥.
                                       1    established target ranges, whether public or private, while
                                       2    such members are using any of the firearms referred to in
                                       3    thi~ act upon or in such target ranges.

                                       4       SEa. 10. If any section, subsection, sentence, clause or
                                       5    phrase of this act is for any reason held to be unconstitutional
      "'t,.                             6   such decision shall not affect the validity of the remaining
          ~~.~                          7   portions of th]s act. The legislature hereby declares that it
           ~~
                    r.l
                                       8    would have passed this act and each section, subsection, sen-
                     l                 9    tence, clause and phrase thereof, irrespective of the fact that
     f     1]
           ~i' i                      10    any one or more other sections, subsections, sentences, clauses
           ~-       '-'               11    or phrases he declared   unconstih~tiona1.




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                                  AMENDED IN ASSEMBLY MARCH 16 7 1917.

                       ASSEMBLY BILL                                               No. 980


                                        INTRODUCED BY MR. MARKS,

                                                JANUARY    25, 1917.



                                      REFERRED TO CO]riJHITTEE ON JUDICIARY.




                                                  AN ACT
                       RELATING TO   AND REGULATING THE      CARRYING, POSSESSION,    SALE OR
                          OTHER DISPOSITION OF FIREARMS CAP ABLE OF BEING CONCEALED UPON
                          THE PERSON; PROHIBITING THE SALE TO OR CARRYING OF CONCEALED
                          WEAPONS BY PERSONS UNDER THE AGE OF EIGHTEEN YEARS; PROHIBIT-
                          ING THE POSSESSION 7 CARRYING, MANUFACTURING AND SALE OF CER-
                          TAIN OTHER DANGEROUS WEAPONS AND THE GIVING, TRANSFERRING AND
                          DISPOSITION THEREOF TO OTHER PERSONS WITHIN THIS STATE ; PRO-
                         . VIDING FOR THE REGISTERING OF THE SALES OF FIREARMS; PROHIBITING
                          THE CARRYING OR POSSESSION OF CONCEALED WEAPONS IN MUNICIPAL
                          CORPORATIONS; PROVIDING FOR THE DESTRUCTION OF CERTAIN DANGER-
                          OUS WEAPONS AS NUISANCES AN'D MAKING IT A FELONY TO USE OR
                          ATTEMPT TO USE CERTAIN DANGEROUS WEAPONS AGAINST ANOTHER.

                               The people of the State of Califon1ia do enact as follows:

                           1     SECTION 1.   (a) Every person who offers, sells 7 lends,
                           2 .leases, gives or otherwise transfers or disposes of any [ ]
                           3 revolver, pistol or other firearm of a size capable of being con-
r."
~                          4 cealed upon the person, to any person in this state under
·~
    il
r
    (;                     5 the age of eighteen years is guilty of a misdemeanor.
""-f":>.:r                 6     (b) Every person under the age of eighteen years who shall
•.       ~   '..
l
~                          7 have, carry, or have in his possession any of the articles named
f
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                                     -2-
           i or described in section one (a) of this act, which is forbidden
          2 therein to offer, sell, loan, lease, give or otherwise transfer to
           J him, is a juvenile delinquent.
          4      SEc. 2. Every person 1vho manufactures or causes to be
          5 manufactured, or leases, or keeps for sale, or offers, or gives,
                                                                                           -ft...''!""'


          6 or otherwise disposes of any instrument or weapon of the kind                            I.·

          7 commonly known as a blackjack, slungshot, billy, sandclub,                     .~~·
          8 sandbag, bludgeon, or metal knuckles[, a dirk or dagger,] to
          9 any person vvithin this st~te is guilty of a misdemeanor, and
         10 if he has been previously convicted of a crime made punish-
         11 able by this section, he is guilty of a felony.
         12      SEc. 3. Every person who possesses any instrmnent or
         13 1veapon of the kind commonly known as a blackjack, slungshot,
         14 billy, sandclub, sandbag, bludgeon, metal knuckles, bomb ur
         15 bombshells [, or vvho carries a dirk or a dagger,] is guilty
         16 of a misdemeanor, and if he has been convicted previously of                   .......        1   1'

                                                                                                         .,./I
         17 any felony or of a crime made punishable by this act, he is
                                                                                                           \.
         18 guilty of a felony.
         19      SEc. -1. [Every person \dlO] carrres m any city, city and
         20 count.}·, to1vn or municipal corporation of this state any pistol,
         21 revolver, or other firearm concealed upon his person, or of a
         22 size capable of being concealed upon his person, vvithout
         23 having a license to carry such firearm as hereinafter provided
         24 in section seven of this act, shall be guilty of a misdemeanor,
         25 and if he has been convicted previously of any felony, or of
         26 any crime inade punishable by this act, he is guilty of a felony.
         27      SEc. 5. The unlawful P.ossessing or carrying of any of
         28 the instruments, weapons or firearms enumerated in sections
         29 one (a) to section four inclusive of this act, by any person
         30 other than those authorized and empowered to carry or possess
         31 the same as hereinafter provided, is a nuisance, and Ruch
         32 instruments, weapons or firearms are hereby declared to be
         33 nuisances, and vi-hen any of said articles shall be taken from
         34: the possession of any person the same shall be surrendered to
         35 the magistrate before whom said person shall be taken, except
         36 that ·in any city, city and county, town or other municipal
         37 corporation
             f -         . -
                            the. same shall be surrendeTec1 to tbe head of the ·

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                     1     police force, or police department thereof. The officer::; to
                     2     whom the same may be so surrendered, except upon certificate
                           of a judge of a court of record, or of the district attorney of
                           a~r county that the preservation thereof is necessary or proper

                      5    to the ends of justice, shall proceed at such time or times as
  ·._1                6    he deems proper, and at lem;t once in each year to destroy or
 Ml
~~$·                  7    cause to be destroyed such instruments, weapons or other fir~-
                      8    arms in such manner and to such extent that the same shall
1Ll I.                9    be and become wholly and entirely ineffective and useless for
~l·
~·
'At I                10    the purpose for which it was manufactured.
                     11       SEc. 6. Any person who attempts to use, or who \vith
                     12    intent to use the same unlawfully against another, carries or
                     13     possesses a dagger, dirk, dangerous knife, razor, stiletto, or
                     14     any loa.ded pistol, revolver or other firearm, or any instrument
                     15     or weapon commonly known as a blackjack, slungshot, billy,
         ,.
         '           16    sandclub, sandbag, metal knuckles, bomb, or bombshell or any
                     17     other dangerous or deadly instrument or \oVeapon, is guilty of
                     18     a felony. The carrying or posses.sion of any of the weapons
                     19     specified in this section,
                                                .
                                                       by any person -while committing, .
                                                                                          or
                     20     attempting or threatening to commit a felony, or breach of the
                     21     peace, or any act of violence against the person or property
                     22     of another, shall be presumptive evidence of carrying or pos-
                     23     sessing such weapon \vith intent to use the same in violation
                     24    of this section.
                     25       SEc. 7. It shall be lawful for the board of police c<;nnmis-
                     26    sioners, chief of police, city marshal, town marshal, or other
                     27    head of the police department of any city, city and county,
                     28    town, or other municipal corporation of this state, upon proof
                     29    before said board, chief, marshal or head, that the person
                     30    applying therefor is of good moral character, and that good
                     31    cause exists for the issuance thereof, to issue to such person a
                     32    license to [ ] carry concealed a pistol, revolver or other fire-
                      ~3   arm; l'Jroviclecl, howe·ver, that no such license shall be issued
                      ~4   to any person un&-;r the age of eighteen years; and p'rovided,
                      35   {1.wthe1', that the application to [ ] carry concealed such
                      36   firearm shall be filed in writing and shall state the mi.me and

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          1 residence of the applicant, the nature of applicant's occupa-
          2 tion, the business addre.ss of applicant, the nature of the
          3 weapon sought to be carried and the reason for the filing of
          4 the application to carry the same.
          5      SEc. 8. Every person in the business of selling, leasing or
          6 otherwise transferring a pistol, revolver or other firearm, of a
          7 size capable of being concealed upon the person, whether such
          8 seller, leasor or transferrer is a retail dealer, pawnbroker or
          9 otherwise, except as hereinafter provided, shall keep a register
        10 in which shall be entered the time of sale, the date of sale, the
        11 name of the salesman making the sale, the place where sold,
        12 · ["A.J!.r"-
             the make,
                    ~   e'• ... ,. --·-
                                       model,
                                        --
                                               manufacturer's number, caliber-·- or
                                              - . . ---                          .....
                                                                                       other
                        of
        13 mai·ks i'dentification on Sl1Ch pistol, revolver or other firearm.
        14 Such register shall be prepared by and obtained from the
        15 state printer and shall be furnished by the state printer to said
        16 dealers on application at a cost of three dollars per one hun-                             1>•1/1
                                                                                                        f,'

        17 dred leaves in duplicate and shall be in the form hereinafter
        18 provided. The purchaser of any firearm, capable of being
        1,9 concealed upon the person shall sign, and the dealer shall
        20 · require him to sign his name and affix his address to said
        21 register in duplicate and the salesman shall affix his signature
        22 in duplicate as a witness to the signatures of the purchaser.
        23 Any person signing a fictitious name or address is guilty of a
        24 misdemeanor. The duplicate sheet of such register shall on
        25 the evening of the day of sale, be placed in the mail, postage
        26 prepaid and properly addressed to the board of police com-
        27 missioners, chief of police, city marshal, town marshal or other
        28 head of the police department of the city, city and county,
        29 town or other municipal corporation wherein the sale was
        30 made; provided, that where the sale is made in a district where
        31 there is no municipal police department, said duplicate sheet
        32 shall be mailed to the county clerk of the county wherein the
        33 sale is made. A :violation of any of the provisions of this sec-
        34 tion by -any person engaged in the business of selling, leasing
        35 or otherwise transferring such firearms is a misdemeanor.
        36 · [Th~s seifiion shall not apply to wholesale dealers in their busi-
        37 ness intercourse with a retail dealer, nor to wholesale or retail

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                   l   dealer m the regular or ord:inary transportation of unloaded
                   2   firearms as merchandise by mail, express or other mode of ship-
     I
                   3   ment, to points outside of the city, city and county, to·wn or
 ·I
                   4   municipal corporation wherein they are situated.] The register
 ~I.               5   provided for in this act shall be substantially in the following

  I
 ~,.:
                   £
                   7
                       form:
                                                                     Series No. _____ _

,.I               .S
                  9                                ORIGINAL.
                                                                      Sheet No. ------

 t   !
                 10    Dealers' Record of Sale of Revolver or Pistol. State of
                 11                              California.
                 12      Notice to dealers : This original is for your files. If spoiled
                 13    in making out, do not destroy. Keep in books. Fill out in
                 14    duplicate.
                 15       Carbon duplicate must be mailed on the evening of the day
                 16    of sale, to head of police commissioners, chief of police, city
,:r              17
                 18
                       marshal, town marshal or other head of the police department
                       of the municipal corporations wherein the sale is made, or to
                 19    the county clerk of your county if the sale is made in a district
i~~
                 20    where there is no municipal police department. Violation of
                 21    this law is a misdemeanor. Use carbon paper for duplicate.
                 22    Use indelible pencil.
                 23    Sold by --------------------      Salesman ----------------
                 24    City, town or township ----------------------------------
                 25    Description of arm (state whether revolver or pistol) --------
                 26 :Maker ------------------ number -------- caliber --------
                 27 Name of purchaser ---------------------- age ______ years.
                 28 ·Permanent residence (state name of city, town or township,
                 29    street and number of dwelling) --------------------------
                 30    Height _____
                                \
                                    feet _____ inches. .Occupation ---------------
                 31    Color --------- skin -------- eyes --------- hair ---------
                 32    If traveling or in locality temporarily, give local address ____ _
                 33    -------------------------------------------------------
                 34    Signature of purchaser ---------------------------------




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       1    (Signing a fictitious name or address is a misdemeanor.)      (To
       2      be signed in duplicate.)
       3    Witness -'--------------------, salesman.
       4      (To be signed in duplicate.)
       5                                                   Series N•. -------
       6                                                   Sheet N•. _____ _
       7                               DUPLICATE.
       8    Dealers' Record of Sale of Revolver or PistoL State of
       9                              California.
      10      Notice to dealers: This carbon duplicate must be J;nailed
      11    on the evening of the day of sale as set forth in the original
      12    of this register page. Violation of this law is a misdemeanor.
      13    Sold by -------------------- Salesman _______________ _
      1-!   City, town or township ----------------------------------
      15    Description of arm (state whether revolver er pistol) _______ _
      16    Maker ------------------ number ________ caliber _______ _
      17    Name of purchaser ---------------------- age ______ years.
      18    Permanent address (state name o.f city, town or township 7
      19    street and number of dwelling) --------------------------
      20
      21    Height _____ feet _____ inches. Occupation ---------------
      22
      23
            Color _________ skin ________ eyes --------- hair ---------
            If traveling or in locality temporarily, give local address ____ _
                                                                                               I
      24
      25    Signature of purchaser ----------------------------------
      26    (Signing a fictitious name or address is a misdemeanor.) (To
      27      be signed in duplicate.)
      28    Witness ---------------------, salesman.
      29       (To be signed in duplicate.)
      30       SEc. 9. Nothing in this act shall be construed to apply to
      31    sheriffs, ·~onstables, marshals, policemen or other duly
      32    appointed peace officers, nor to any person summoned by any
      33    such officers to assist in making arrest or preserving the peace
      34    while said person so summoned is actually engaged in assisting
      35    such officer; nor to duly authorized military or civil organiza-
      36    tions while parading nor to the members thereof ·when going


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      7. /.
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      J                                           -7-
                       1   to and from the places of meeting of their respective organiza-
                       2   tions; nor to the possession or transportation by any merchant
                       3   of unloaded firearms as merchandise; nor to bona fide members
                       4   of any club or organization now existing or hereinafter organ-
                       5   ized, for the purpose of practicing shooting at targets upon
                       6   established target ranges, whether public or private, while
                       7   sueh members are using any of the firearms referred to in
                       8   this act upon or in such target ranges.
                       9      SEc. 10. If any section, subsection, sentence, clause or
                      10   phrase of this act is for any reason held to be unconstitutional
...      t.           11   such decision shall not affect the validity of the remaining
                      12   portions of thjs act. The legislature hereby declares that it
                      13   would have passed this act and each section, subsection, sen-
                      14   tenc:e, clause and phrase thereof, irrespective of the fact that
                      15    any one or more other sections, subsections, sentences, clauses
                      16   or phrases be declared unconstitutional.




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                    A:!\IERDED IN .ASSEMBLY :1IAROH 20, 1917.

                    AMENDED IN ASSE:lliBLY :JIAROH 16, 1917.

         ASSEMBLY BILL                                                No. 980


                            INTRODUCED BY MR. MARKS,

                                   J.ANU.ARY   25, 1917.




                        REFERRED TO COMMITTEE ON JUDICIARY.




                                     AN ACT
        RELATING TO .AND REGULATING THE CARRYING,          POSSESSION,   SALE   OR.
           OTHER DISPOSITION OF FIREARMS CAP.ABLE OF BEING CONCEALED UPON
           THE PERSON; PROHIBITING THE SALE TO OR CARRYING OF· CONCEALED
           WEAPONS BY PERSONS UNDER THE .AGE OF EIGHTEEN YEARS; PROHIBIT-
           ING THE POSSESSION, CARRYING, 1riANUFACTURING AND SALE OF CER-
           TAIN OTHER DANGEROUS WEAPONS AND THE GIVING, TRANSFERRING AND
           DISPOSITION THEREOF TO OTHER PERSONS WITHIN THIS STATE; PRO-
           VIDING FOR THE REGISTERING OF THE SALES OF FIREARl\fS; PROHIBITING
           THE CARRYING OR POSSESSION OF CONCEALED WEAPONS IN MUNICIP AJ
           CORPORATIONS; PROVIDING FOR THE DESTRUCTION OF CERTAIN DANGER-
           OUS WEAPONS AS NUISANCES .AND 1riAKING IT A FELONY TO USE OR
           ATTEMPT TO USE CERTAIN DANGEROUS WEAPONS AGAINST ANOTHER.

                The people of the State of California do enact as follows:
                             I

            1     SECTION    J.. (a) Every person ·who offers, sells, lends~
            2   leases, gives or otherwise transfers or disposes of any revolver,
            3   pistol or other firearm of a size capable of being concealed
            4   upon the person: to any person in this state under the age of
            5   eighteen years is guilty of a misdemeanor.
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                                          -2-
             I       (b) Every person under the age of eighteen years who shall
             2    have, carry, or have in his possession any of the articles named
             3    or described in section one (a) of this act, which is forbidden
             4    therein to offer, sell, loan, lease, give or otherwise transfer to
             5    him, is a juvenile delinquent.                                        r
             6       SEc. 2. Every person who manufactures or causes to be
             7    manufactured, or leases, or keeps for sale, or offers, or gives,      t
             8    or otherwise disposes of any instrument or weapon of the kind
                                                                                        I
                                                                                        '~
             9    commonly known as a blackjack, slungshot, billy, sandclub,
            10    sandbag, bludgeon, or metal knuckles, a dirk or dagger, to
            11    any person ·v6thin this state is guilty of a misdemeanor, and
            12    if he has been previously convicted of a crime made punish-
            13    able by this section, he is guilty of a felony.
            14       SEc. 3. Every person who possesses any instrument or
            15    1veapon of the kind commonly known as a blackjack, slungshot,
            16
                                                                                        ,.
                  billy, sahdclub, sandbag, bludgeon, metal knuckles, bomb or            '
                                                                                         I



            17    bombshells, or v-rho carries a dirk or a dagger, is guilty of          I
                                                                                         dl
            18    a misdemeanor, and if he has been convicted previol.1sly of
            19    any felony or of a crime made punishable by this act, he is
            20    guilty of a felony.
            21        SEc. 4. E'very person -v\"110 carr1es m any city, city and
            22    county, town or municipal corporation of this state any pistol,
            23    revolver, or other firearm concealed upon his person, [ ]
            24    without having a license to carry such firearm as hereinafter
            25    provided in section seven of this act, shall be guilty of a misde-
            26    meanor and if he has been convicted previously of any felony,
            27     or of any crime made punishable by this act, he is guilty of a            {
            28                                                                           .;}
                   felony.
            29        SEc. 5. The unlawful possessing or carrying of any of
                                                                                             I
            30
            31
                   the instruments, weapons or firearms enumerated in sections
                   one (a) to section four inclusive of this act, by any person
                                                                                        l
                                                                                        :>1
                                                                                             I
            32     othc1r than those authorized and empo1vered to carry or possess           I
            33                                                                               !
                   the same as hereinafter provided, is a nuisance, and ;;;uch
             34    instruments, weapons or firearms are hereby declared to be           -;       ,.
             35    nuisances, and when any of said articles shall be taken from
             36    the possession of any person the same shall be surrendered to        b
                                                                                        . I

             37    the magistrate before whom said person shall be taken~ except
                                                                                             r
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    r
   :\,                    1 that in any city, city and county, tosrn or other municipal
                          2 eorporation the same shall be surrendered to the head of the
                          3 police force, or police department thereof. The officers to
                          4 ·whom the same may be so surrendered, except upon certificate

  1                       5 of a judge of a court of record: or of the district attorney of
                          6 any county that the preservation thereof is necessary or proper
                          7 to the ends of justice, shall proceed at such time or times as
                          8 he deems proper, and at least once in each year to destroy ·or
                          9 eause to be destroyed such instruments, weapons or other fire-
                         10 arms in such manner and to such extent that the same shall
    ...I'                11 be and become 1-vholly and entirely ineffective and useless for
                         12 the purpose for which it was manufactured.
                         13     SEC. 6. Any person who attempts to use: or who \vith
                         14 intent to use the same unla\vfully against another, carries or
                         15 possesses a dagger, dirk, dangerous knife, razor: stiletto, or
                         16 any loaded pistol, revolver or other firearm, or any instrument
                         17 or weapon commonly known as a blackjack, slungshot, billy,
                         18 sandclub, sandbag, metal knuckles, bomb, or bombshell or any
                         19 other dangerous or deadly instrument or weapon, i~ guilty of
    I

t       !
                         20 a felony. The carrying or possession of any of the weapons
                         21 specified in this section, by any person while committing, or
   \1.
        I
        I                22 attempting or threatening to commit a felony, or breach of the
                         23 peace, or any act of violence against the person or property
                         24 of another, shall be presumptive evidence of carrying or pos-
    I                    25 sessing such weapon 1-vith intent to use the same in violation
 l.
 ·-~·
   ~·
                         26 of this section.
                         27     SEc. 7. It shall be lawful for the board of police cgmmis-
                         28 sioners, chief of police, city marshal, town marshal, or other
                         29 head of the police department of any city, city and county,
   I
 ·r     I
                         30 town, or other municipal corporation of this state, upon proof
                                          ...
                         31 before said board, chief, marshal or head, that the person
}!
  I                      32 applying therefor is of good moral character, and that good
                         33 cause exists for the issuance thereof, to issue to such person a
  I!
                         34 ·license to carry concealed a pistol, revolver or other fire-
   I'                    35 arm; pro·viclecl, ho-wever, that no such license shall be issue~
-..         '
                         36 to any person under the age of eighteen years; and provided,



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                                                                                          -
                                             --4-
                     furth N, that the application to carry concealed such fire-
                 2   arm shall be filed in writing and shall state the name and
                     residence of the applicant, the nature of applicant's occupa-
                     tion, the business addre;:;s of applicant, the nature of the
                 5   iveapon sought to be carried and the reason for the filing of
                 6   the application to carry the same.
                 7      SEc. 8. Every person in the business of selling, leasing or
                 8   otherwise transferring a pistol, revolver or other firearm, of a .
                 9   size capable of being concealed upon the person, whether such
                10   seller, leasor or transferrer is a retail dealer, pawnbroker or
                11   otherwise, except as hereinafter provided, shall keep a register
                12   in which shall be entered the time of sale, the date of sale, the
                13   name of the salesman making the sale, the place where sold,
                14   the make, model, manufacturer's number, caliber or other
                15   marks of identification on such pistol, revolver or other firearm.
                16   Such register shall be prepared by and obtained from the
                17   state printer and shall be furnished by the state printer to said
                18   dealers on application at a cost of three dollars per one hun-
                19   dred leaves in duplicate and shall be in the form hereinafter
                20   provided. The purchaser of any firearm, capable of being
                21   concealed up_on the person shall sign, and the dealer shall
                22   require him to sign his name and affix his address to said
                23   regjster in duplicate and the salesman shall affix his signature
                24   in duplicate as a witness to the signatures of the purchaser.
                25   Any person signing a fictitious name or address is guilty of a
                26   misdemeanor. The duplicate sheet of such register shall on
                27   the evening of the day of sale, be placed in the mail, postage
                28   prepaid and properly addressed to the board of police com-
                29   missioners, chief of police, city marshal, town marshal or other
                30   head of the police department of the city, city and county,
                31   tOIYn or other municipal corporation wherein the sale was
                32   made; proviclecl, that where the sale is made in a district where
                33   there is no municipal police department, said duplicate sheet
                34   shall be mailed to the county clerk of the county wherein the
                35   sale is made. A violation of any of the provisions of this sec-
                36   hon by any person engaged in the business of selling, leasing
                37   or otherwise transferring such firearms is a misdemeanor.                j

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                     1     This section. shall not apply to wholesale dealers in their busi-
                     2     ness intercourse -vvith [retail dealers], nor to wholesale or
                     3     retail [dealers] in the regular or ordinary transportation of
                     4     unloaded :firearms as merchandise by mail, express or other
                     5     mode of shipment, to points outside of the city, city and
     r               6     county, town. or municipal corporation -vvherein they are situ-

     l               7
                     8
                     9
                           atecl. The register provided for in this act shall be snbstau-
                           tially in the following form :
                                                                          Series No. _____ _
     I              10                                                    Sheet No. _____ _
     (


     (               11                                ORIGINAL.
                     12    Dealers' Record of Sale of Revolver or Pistol. State of
                     13                             California.
                     14      Notice to dealers: This original is for your :files. If spoiled
                     15    in making out, do not destroy. Keep in. books. Fill out in
                     16     duplicate.
                     17       Carbon duplicate must be mailed on. the evening of the day
                     18     of sale, to head of police commissioners, chief of police, city
                     19     marshal, town marshal or other head of the police department
                     20     of the municipal corporations wherein the sale is made, or to
                     21     the county clerk of your county if the sale is made in a district
                     22     where there is no municipal police department. Violation of
                      23    this law is a misdemeanor. Use carbon paper for duplicate.
                     24     Use indelible pencil.
                     25     Sold by -------------------- Salesman ----------------
                     26     City, town or township _:.... _______________________________ _
                      27    Description of arm (state whether revolver or pistol) _______ _
                      28 Maker ------------------ number -------- caliber --------
                      29 Name of purchaser ---------------------- age ______ years.
                      30 Permanent residence (state name of city, town or township,
                      31 street and number of dwelling) --------------------------
                      32 Height _____ feet _____ inches. Occupation ---------------
                      33 Color --------- skin ________ eyes _________ hair ---------
                      34 If traveling or in locality temporarily, give local address ____ _

..       '
                      35     -------------------------------------------------------
                      33     Signature of purchaser ---------------------------------



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              1    (Signing a fictitious name or address is a misdemeanor.)         (To
              2      be signed in duplicate.)
              a    Witness __ :. _ __________________ , salesman.
              4      (To be signed in duplicate.)
              5                                                   Series No. __ . :. __ _
              6                                                   Sheet No. _____ _
              7
              8
                                              DUPLICATE.
                   Dealers' Record of Sale of Revolver or Pistol. State of                  I
              9
             10
                                             California.
                     Notice to dealers: This carbon duplicate must be mailed
                                                                                            l
             11    on the ·evening of the day of sale as set forth in the original
             12    of this register page. Violation of this law is a misdemeanor.
             13 Sold by -------------------- Salesman ----------------
             14 City, town or township ----=----~--------------------------
             15 Description of arm (state whether revolver or pistol) --------
             16 Maker ------------------ number -------- caliber --------
             17 . Name of purchaser ---------------------- age ______ years.
                                                                                            f
             18 Permanent address (state name of city, town or township,
             19    street and number of dwelling) --------------------------
                                                                                            r   it



              20
              21   Height _____ feet _____ inches.    Occupation ---------------
                                                                                                "    ..
              22   Color --------- skin -------- eyes --------- hair ---------                      i



              23   If traveling or in locality temporarily, give local address ____ _
              24
              25   Signature of purchaser ----------------------------------
              26   (Signing a fictitious name or address is a misdemeanor.) (To
              27     be signed in duplicate.)
              28   Witness ---------------------, salesman.
              29      (To be signed in duplicate.)
              30      SEc. 9. Nothing in this act shall be construed to apply to
              31   sheriffs, constables, marshals, policemen or other duly
              32   appointed peace officers, nor to any person summoned by any
              33   such officers to assist in making arrest or preserving the peace
              34   while said person so summoned is actually engaged in assisting
              35   such officer; nor to duly authorized military or civil organiza-
                                                                                                     ....,   i    ..


              36   tions while parading nor to the members thereof when going



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                            1   to and from the places of meeting of their respective organiza-
                            2   tions ; nor to the possession or transportation by any merchant
                            3   of unloaded firearms as merchandise ; nor to bona fide members
                            4   of any club or organization now existing or hereinafter organ-
           (                5   ized, for the purpose of practicing shooting at targets upon
                            6    established target ranges, whether public or private, while
           r                7    such members are using any of the firearms referred to m

           l
           t'
                            8
                            9
                                this act upon or in such target ranges.
                                   SEc. 10. If any section, subsection, sentence, clause or
                           10   phrase of this act is for any reason held to be unconstitutional
                           11   such decision shall not affect the validity. of the remaining
                           12   portions of this act. The legislature hereby declares that it
                           13   would have passed this act and each section, subsection, sen-
                           14   tence, clause and phrase thereof, irrespective of the fact that
                           15    any one or more other sections, subsections, sentences, clauses
           r'
                           16   or phrases be declared unconstitutional.

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                               AMENDED IN SENATE APRIL 3, 1917.
                          AMENDED IN ASSEJYIBLY MARCH 20, 1917.
                         Al\fENDED IN A.SSEl\:IBLY MARCH 16, J D11.
[
         ASSEMBLY BILL                                                                                          Nov 980
               9f   "'    S ¥?MW ;      "' '%i!il'3if¥Vt.il'bl¥   ,   • Hi? ·R?S?    4h<i'A   45@9     p-   &   e·



I                                     INTRODUCED BY MR. MARKS,
f                                                          JANUARY             25, 1917.



                                     REFERRED TO COivi:MIT'rEE ON JUDICIARY.




                                                                      AN ACT
          RELATING TO           AND REGULATING THE                                  CARRYING, POSSESSION,            SALE    OR
             OTHER DISPOSITION OF FIREARIIIS CAP ABLE OF BEING CONCEALED UPON
             THE PERSON; [              J PROIITBITING                      TIIE POSSESSION, CATITIYHW, ?IIA~WFAC-
             TFRINC+ AND             SAT~E      OF CETITAIN OTHER DANGEROUS WEAPO:\S AND THE

             GIVING, TRANSFERRHW AND DISPO:"ITION THEREOF TO OTITEH.                                                 PER~OKS

             WITHIN THIS STATE; PROVIDINC: "!!'OR THE REGIS'l'ERIKG Qli' THE S.\.LES

             OF FIREAR!\IS; PROHIBITING THE CATIRYING OTI POSSESSION OF CON-
             CBALJm \YEAPONS IN MUNICIPAL                                       COTIPORA~IONS;       PROVIDING FOR          ~'HE

             DESTRUCTION OF CETIT),IN DA:\GEROUS WEAPONS _'iS :1\FTS.\.NCES AND

             l\fAKING TT A I'ET.ONY TO USE OR ATTEMPT TO USE CERTAIN DANGEROUS
             \YBAPONS AGAINST ANOTHER.

                     11he people of the State of CalifornicL do enact as foUows:

              .1           []
               2           SECTION          [1].
                                              Every person ·who mannfactnres or causes to
               3         be manufactnrecl or lenses, or keeps for sale, or offers, or gives,
               4         or other\Yjse ii.ispO['PS of any ]nstrnment or ·weapon of the kinc1
               5         common1y known as a blackjack, slungshot, billy~ sanc1r1uh,


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                   :c,
                       "     ~1!Jidl>ng~ l>lwlg-!'Oll,   OL'
                                                               -2-
                                                               111dal   kllllc~ldc's. n di!'k oe clagger, to
                             an,,- 1wrsun within thi~ stnte is gtrilty of            <1   misdemeanor, and
                                                                                                               1 I




                   8         if he has been previously c01n·ictcc1 of a crime made punish-
                   4         fl hle by this section, he is guilty of a felonr.
                   5
                                 SEc. [2]. Every per::.;on 1rho po:'>sessrs any instrument or
                   6
                             11·eapon of the kind commonly kno1Yn as a blackjack, slungshot,

                   8
                             hill,,-. sandclnb, sandbag, bludgeon, metal lmuekles, bomb or
                            1>oiltbshelJs, or 1rho carries a dirk or a dagger, is guilty of                     I
                10
                   9
                   a llli~'-H1enH'<lllOl', mu1 if he' lws l>t'en convicted previously of
                   ~my felony or of a t·J·imc matle punishable l>y this <-u·t, he is
                                                                                                                l
               11 guilty of a felony.
               12
                                                                                                                l
                      SEc. [:3]. En·1y per.son 11·ho carries in any city, city and
               13
                   count~-, town or munic-ipAl corporation of this ~>tate any
               14
                   pistol, revolver, or other firearm concealed upon his person,
               15                                                                                                -
                   without having a license to carry such :firearm as hereinafter
               16
                            provided in section seven of this act, shall be guilty of a misde-
                                                                                                               ~r
                                                                                                                I
                                                                                                                'l

                           meanor and if h!' has been convidecl previously of any felony,
              18
              19
                           or of any crime made punishable by this act, he is guilty of a
                           felony.
                                                                                                                I
              20
                              SEc. [4]. The nnhnrfnl pnssi\'-'smg or carr~rmg of any of
                                                                                                                I
                                                                                                                "~
              21
                           the instruments,. ·weapons Ol' firearms enumerated in sections
              22                                                                                                J
                           [one] to section [three]            inclnsi~.-e   of this act, by any person
              23
                           other than those authorized and empoiYerecl to carry or possess
              24
                           the same as hereinafter provided, is a nuisance, and Ruc11
              25
                           instruments, Yreapons or firearms are hereby declared to be
              26
                           nuisances, and -r;·heu any of said artic:les shall be taken from
              27
                         the possession of      an~'     person the same shaH be surrendered to
              28
                         the magistrate before ·whom said person shall be taken, except
              29
                         that in any city, city and corinty, town or other municipal
              30                                                                                                l
                         corporation the Rame shall be surrendered to the head of the
              31                                                                                               'i
                       polic-e force, or police department thereof.                       'J.1he officers to
             32
                       1vhom the same may be so surrendered, except upon certificate
             ·33
                       of a judge of a court of 1:ecord, or of the district attorney of
             34
                       an-y county that the preservation thereof is necessary or proper
             35
                       to the ends of justice, shall proceed at such time or times as
             36
                       he deems proper, and at least once in each year to destroy or



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                    1
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                          cause to be destroyed imeh instruments, weapons or other fire-
      I
                    2     arms in such manner and to such extent that the same shalr
                    3     he and hecome 1vholly nnc1 ent]rely ineffective and useless for
                    -1:   the purpose for v;hich it 1vas manufarturecl
                    5        SEc. [5]. Any· ppr;:.:on 11·ho 8ttrmpts to use~ or ·who with
    (               6 · intent to use the same nnhnvfully against another, carries or
                    7 possesses ·a dagger. dirk dangerous knife, razor. stiletto, m·

    I               8 any loaded pistol, revolver or other firearm, or any instrument
                    9 or 1veapon commonly lmmn1 as a blackjack, slungshot, billy,
    I              10 sandclub, sandbag, metal knuckles, bomb, or bombshell or any
                   11 other dangerous or deadly instrument or weapon, is guilty of
     (
      7            12 a felony. The carrying or possession of any of the \Yeapons
                   13 specified in this section, 1)y any person while committing, or
                   1± attempting or threatening to commit a felony, or breaeh of the
                   15 p-~~~~; "~~~,. a1~)~ ··;~t· .of \riol~~i~e~ ·~g~i~~·t'\h;; .pe;s0~1 p-~:~l}'~t)r
                                                                                       or_,
;(                  16    of another, shall be presumptive evidence of carrying or pos-
    ''t             17    sessing such \reapon vYith intent to use the same in violation

    l               18 of this section.
                    19       SEc. [6]. It sltall lJe lawful for the boarc1 of police commis-
                    ~lO · sioners, chief of police, city marshal, town marshal, or other
                    2:1 head of the police department of any city, city and county,
                    22 town, or other municipal corporation of this state, upon proof
                    23 before said board, chief, marshal or head, that the person
                    24 applying therefor is of goocl moral character, nnd that good
                    25 cause exists for the issuance thereof, to issue to such person a
                    26 lieensc to cany coucealetl a pistol, revolver Ol' other fire-
~     .
    -J               27 ann; [ ] 1Ji'O'uiclc(l_, [liuu·ct'C'i], that the application to carry



 j
    l                28 concealed snell £rearm shall lle filed in -vvriting ancl shall state
                     29 the name and residence of the applicant, the nature of appli-
                     30 cant's occupation, the business address of applicant, the nature
l~                   31 of the 1veapon sought to 1Je carried ancl the reason for the filing
     '•

                    32     of the application to carry the same.
                    33       SEc. [7]. Every person in the business of se1l1ng, leasing or
                    3±     otherwise transferring a pisto1: revolver or other firearm, of a
                    35     Rize cnpal>le of. being concealrd upon the l)erson, 1vhether such
                    36     ReHer, leaRor or transferrer is a retail dealer, pawnbroker or
                     37    otherwise, except as lwreinafter provic1ec1, shall keep a register


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                                                                                                        l.
               1    in 1vhich shall be entered the time of sale, the date of sale, the
               2    name of the salesman making the sale, the place where sold,
               3    the make, model, manufacturer's number, caliber or other
               4    marks of identification on such pistol, revolver or other firearm.
                5   Snch register shall be prepared by and obtained f~'om the
                6   state printer and shall be furnished by the state printer to said                    l.
               7
                8
                    dealers on application at a cost of three dollars per one hun-
                    deed leaves in duplicate and shall be i.n the form hereinafter
                                                                                                             (
                9   proYided. The purchaser of any firearm, capable of being
              10    coDcenled upon the person shall sign, and the dealer shall
              11    require him to sign his name and affix his address to said
              12    register in duplicate and the salesman shall affix his signature·
              13     in duplicate as a witness to the signatures of the purchaser.
              1±    Anr person signing a fictitious name or address is guilty of a
              15     misdememJ.or. The duplicate sheet of such register shall on
              16     the eYening of the day of sale, be placed in the mail, postage                           '-1

              17     prep{tid and properly addressed to the board of police com-
              18
              19
                     mi:=:;~ionns, chief of police, city marshal, town marshal or other
                     }](~ad of the police department of the 'city, city and county,
                                                                                                              l
                                                                                                                 \
                                                                                                               -~).
              20     toT,yn or other municipal corporation wherein the sale was                                  i.
              21     111ac1c; tJro~~icler] 1 tl1at 1,Yl1ere tl1e sale is n1ac1e in a clistrict wl1Bre            i
                                                                                                                 J
              2.2    ther{'' is no municipal police department, said duplicate sheet
              23     shall he mailed to the county clerk of the county wherein the                               t
              24     s<-; lc; is 1nade. A Yiolatio:u of any of the provisions of this sec-
              25     iion by any pel'son eng~1ged in the business of selling, leasing
              26     or othenvise transf8ning such firearms is n misdemeanor.
              27     ~Phi.:; :;;c:etion shall 11ot <lpp1y to \'.:hok~mle d8alcrs in tlwi1·
              28     lmsiuess intercourse with retail dc:alers, nor to 1vlwlesale or
               29    retail dealers in the regular or ordinary traDsportation of
               30    unloaded :firearms as merchandise by mail, express or other
               31    mode of shipment, to points outside of the city,· city and
               32    col~~ty,-·t;~vri:""d;·'mu~icipal corporation wherein they are situ-
               33    ated. The register provided for in this act shall be substan-
               34    tially in the following form :




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 r
              1                                                  Series No.------
              2                                                  Sheet No. _____ _
              3                              ORIGINAL.
              4   Dealers' Record of Sale of Revolver or Pistol. State of
              5                             California.
              6     Notice to dealers: This original is for your files. If spoiled
              7   in making out, do not destroy. Keep in books. Fill out in
              8   duplicate.
              9     Carbon duplicate must be mailed on the evening of the day
             10   of sale, to head of police commissioners, chief of police, city
             11   marshal, town marshal or other head of the police department
             12   of the municipal corporations wherein the sale is made, or to
             13   the county clerk of your county if the sale is made in a district
             14   where there is no municipal police department. Violation of
             15   this law is a misdemeanor. Use carbon paper for duplicate.
             16   Use indelible pencil.
             17   Sold by --------------------      Salesman ----------------
             18   City, town or township ----------------------------------
             19   Description of arm (state whether revolver or pistol) --------
             20   Maker ------------------ number ________ caliber --------
             21   N arne of pureh aser ---------------------- age ______ years.
             22   Permanent residence (state name of city, town or township,
             23   street and number of dwelling) _..:_ _______________________ _
             24   Height _____ feet _____ inches. Occupation ---------------
             25   Color _________ skin ________ eyes _________ hair ---------
...          26   If traveling or in locality temporarily, give local address ____ _
             27
 [           2s   s·1gnat ureof pureh aser ---------------------------------
 ';

             29   (Signing a fictitious name or address is a misdemeanor.) (To
·l,.         30     be signed in duplicate.)
             31   Witness ---------------------, salesman.
             32     (To be signed in duplicate.)




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                 1                                                  Series No. _____ _
                 2                                                  Sheet No. _____ _
                 3                              . DUPLICATE.

                 4   Dealers' Record of Sale of Revolver or Pistol. State of
                 5                              California.
                 6     Notice to dealers: This carbon duplicate must be mailed            (
                 7   on the evening of the day of sale as set. forth in the original
                 8   of this· register page. Violation of this law is a misdemeanor.
                 9   Sold by -------------------- Salesman ----------------
                10   City, town or township ----------------------------------
                11   Description of arm (state whether revolver or pistol) -------- ·
                12   Maker ------------------ number ________ caliber --------
                13   Name of purchaser ---------------------- age ------ years.
                14   Permanent address (state name of city, town or township,
                15   street and number of dwelling) --------------------------
                16
                17   Height _____ feet _____ inches. Occupation ---------------
                                                                                          r
                                                                                          ~I..



                18
                19
                     Color _________ skin ________ eyes --------- hair ---------
                     If traveling or in locality temporarily, give local address ____ _   l
                20                                                                         l
                                                                                          .J.
                21
               22
                     Signature of purchaser ----------------------------------
                     (Signing a :fictitious name or address is a misdemeanor.) (To        1
               23      be signed in duplicate.)
                24   Witness ---------------------, salesman.
               25       (To be signed in duplicate.)
               26       SEc. [8]. Nothing jn this act shall be construed to apply to
               27    sheriffs, constables, marshals, policemen or other duly
               28    appointed peace officers, nor to any person summoned by any
               29    such officers to assist in making arrest or preserving the peace
               30    while said p.erson so summoned is actually engaged in assisting
               31    such officer; nor to duly authorized military or civil organiza-
               32    tions while parading nor to the members thereof when going
               33    to and from the places of meeting of their respective organiza-
               34    tions ; nor to the possession or transportation by any merchant
               35    of unloaded :fireanns as merchandise ; nor to bona :fide members
               36    of any club or organization now existing or hereinafter organ-
               37    ized, for. the purpose of practicing shooting at targets upon


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    I                                          -7-
                    1   established target ranges, whether public or private, while
                    2   such members are using any of the firearms referred to in
                    3   this act upon or in such target ranges.
                    4     SEc. [9].    If any sec-tion, subsection, sentence, clause or
    l               5   phrase of this act is for any reason held to be unconstitutional
                        such decision shall not affect the validity of the remaining
    I              7
                   8
                    6
                        portions of thjs act. The legislature hereby declares that it
                        would have passed this act and each section, subsection, sen-
    I              9    tence, clause and phrase thereof, irrespective of the fact that
                  10    any one or more other sections, subsections, sentences, clauses
                  11    or phrases be declared unconstitutional.




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                                 ~\l\l.E::\l>EO J~ SE~ATE        .\PHIL 5, 1917.
                                 AMEXDED IN SEX ArrE APRIL 3. 1917.
                             A-:.\fEXDI~D    IX )\_SSEMBL Y J.\IAHCH 20, 1917:

        l.                   Al\IE:L\DED IX :\}\SEl\lBL'L l\IAHCH 16, 1917.


       I         ASSEMBLY BILL                                                         No. 980
        I,
                                        INTRODUCED BY MR. MARKS,

                                               JANUARY       25, 1917.



                                   REFERRED TO COMMITTEE ON JUDICIARY.
   'c1


    I  ;;


    I                                            AN ACT
   ;-~.

                 RELATING TO      AND REGULATING THE           CARRYING,   POSSESSION,    SALE OR
                    OTHER DISPOSITION OF :FIREARMS CAP ABLE OF BEING CONCEALED UPON

                    THE PERSON;         PROHIBITING   TIIE   POSSESSION,   CARRYING,     liiAKUFAC-
                    TURING AND SALE OF CERTAIN OTHER DANGEROUS WEAPONS AND THE
                    GIVING, TRANSFERRING AND DISPOSITION THEREOF TO OTHER PERSONS
                    WITHIN THIS STATE; PROVIDING FOR THE REGISTERING OF 'l'HE SALES
                    01!' l:"IREAR1IS;   PROHIBITING THE CARRYING OR POSSESSION OF CON-
                    CEALED \VEAPONS IN }IIUNICIP AL CORPORATIONS; PROVIDING FOR THE
                    DESTRUCTION OF CERTAIN DANGEROUS WEAPONS ..::1.S NUISANCES AND
                    J.VIAKING IT A :FELONY TO USE OR ATTEl\IPT TO USE CERTAIN DANGEROUS

                    vVEAPONS AGAINST ANOTHER.

                          l'he people of the State of California do enact as follows:

                     1              1. Every person who manufactures or causes to
                             SEC'l'ION

                     2    be manufactured, or leases, oi keeps for sale, or offers, or gives,
                     3    or othervvise disposes of any instrument or weapon of the kind
  .:;
..£;.~
 . '                 4    commonly known as a blackjack, slungshot, billy, sandelub,

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               1    sandbag, bludgeon, or metal knuckles, a dirk or dagger, to            I
               2    any person within this state is guilty of a misdemeanor, and          1

               3    if he has been previously convicted of a crime made punish-
               4    able by this section, he is guilty of a felony.
               5       SEc. 2. Every person -vvho possesses any instrument or
               6    weapon of the kind commonly known as a blackjack, slungshot,
               7    billy, sandclub, sandbag, bludgeon, metal knuckles, bomb or
               8    bombshells, or who carries a dirk or a dagger, is guilty of
               9    a misdemeanor, and if he has been convicted previously of
              10    any felony or of a crime made punishable by this act, he is
              11    guilty of a felony.
              12       SEc. 3. Every person who carries .in any city, city and
              13    county, to1vn or municipal corporation of this state any
              14    pistol, revolver, or other firearm concealed upon his person,
              15    without having a license to carry such firearm as hereinafter
              16    provided in section [six] of this act, shall be· guilty of a misde-
              17    meanor and if he has been convicted previously of any felony,         (
              18    or of any crime made punishable by this act, he is guilty of a            '
              19    felony.
              20       SEc. ±. The 1tn1awfu1 possessing or eal'ryjng of a.n,v of
              21    the instruments, weapons. or firearms enumerated in sections
              22    one to secbon three inclusive of this act, by any person
              23    other than those authorized and empowered to carry or possess
              24    the same as hereinafter provided, is a nuisance, and ~mch
              25    instruments, weapons or firearms are hereby declared to be                II.
              26    nuisances, and when any of said articles shall be taken from          .
                                                                                              j
                                                                                                  1


              27
              28
                    the possession of any person the same shall be surrendered to
                    the magistrate before whom said person shall be taken, except
                                                                                              I
              29    that in any city, city and county, town or other municipal
              30    corporation the same shall be surrendered to the head of the
                                                                                              r
              31    police force, or police department thereof. The officers to               t   ·I

              32    whom the same may be so surrendered, except upon certificate
              33    of a judge of a court of record, or of the district attorney of
              34    any county that the preservation thereof is necessary or proper
              35     to the ends of justice, shall proceed at such time or times as
              36    he deems proper, and at least once in each year to destroy or
               37   cause to be destroyed such instruments, weapons or other fire-                (



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r.
                                        -3-
            1    arms m such manner and to such extent that the same shall
            2    be and become ·wholly and entirely ineffective and useless for

(           3
            4
                 the purpose for which it was manufactured.
                    SEc. 5. Any person ·who attempts to use, or who ·with
            5    intent to use the same unlawfully against another, carnes or
            6    possesses a dagger, dirk, dangerous knife, razor, stiletto, or
            7    any loaded pistol, revolver or other firearm, or any instrument
            8    or weapon commonly known as a blackjack, slungshot, billy,
            9    sandclub, sandbag, metal knuckles, bomb, or bombshell or any
           10    other dangerous or deadly instrument' or weapon, is guilty of
           11    a felony. The carrying or possession of any of the weapons
           12    specified in this section, by any person while committing, or
           13    attempting or threatening to commit a felony, or breach of the
 r
 .         14    peace, or any act of violence against the person or property
           15     of another, shall be presumptive evidence of carrying or pos-



I    (
           16
           17
           18
           19
                 sessing such vveapon with intent to use the same in violation
                 of this section.
                    SEc. 6. It shall be lawful for the board of police commis-
                 sioners, chief of police, city marshal, town marshal, or other
           20    head of the police department of any city, city and county,
           21    town, or other municipal corporation of this state, upon proof
           22    before said board, chief, marshal or head, that the person
     I     23    applying therefor is of good moral character, and that good
     r     24    cause exists for the issuance thereof, to issue to such person a
           25    license to carry concealed a pistol, revolver or other fire-
           26    arm; pro·vided, holcn•c·J'_. that the application to carry
     r     27    concealed such firearm shall be filed in writing and shall state
     t     28    the name and residence of the applicant, the nature of appli-
           29    cant's occupation, the business address of applicant, the nature
           30    of the weapon sought to be carried and the reason for the filing
           31    of the application to carry the same.
           32        SEc. 7. Every person in the business of selling, leasing or
            33    otherwise transferring a pistol, revolver or other firearm, of a

     r      34
            35
                  size capable of being concealed upon the person, whether such
                  seller, leasor or transferrer is a retail dealer, pawnbroker or
            36    otherwise, except as hereinafter provided, shall keep a register
            37    in which shall be entered the time of sale, the date of sale, the

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                                            ·-- 4 -                                      l
                                                                                         I
              1     name of the salesman making the sale, the place where sold,
              2     the make, model, manufacturer's number, caliber or other
              3     marks of identification on such pistol, revolver or other firearm.
              4     Such register shall be prepared by and obtained from the
              ;:)   state printer and shall be furnished by the state printer to said
              6     dealers on application at a cost of three dollars per one hun-
              7     dred leaves in duplicate and shail be i.n the form hereinafter
              8     P.rovided. The purchaser of any firearm, capable of being
              9     concealed upon the pei·son shall sign, and the dealer shall
             10     require him to sign his name and affix his address to said           (
             11     register in duplicate and the salesman shall affix his signature
             12     in duplicate as a witness to the signatures of the purchaser.
             13     Any person signing a fictitious name or address is guilty of a
             14     misdemeanor. The duplicate sheet of such register shall on
             15     the eYening of the day of sale, be placed in the mail, postage       [
                                                                                             I
             16     prepaid and properly addressed to the. board of police com-
             17
             18
                    missioners, chief of police, city marshal, town marshal or other
                    head of the police department of the city, city and county,
                                                                                         I
             19     to1vn or other municipal corporation wherein the sale was            .l
             20     made; provicZecl7 that where the sale is made in a district where
             21     there is no municipal police department, said duplicate sheet
             22     shall tc mailed to the county clerk of the county wherein the
             23     sale is made. A violation of any of the provisions of this sec-
             24     tion by any person engaged in the business of selling, leasing
             25     or otherwise transferring such firearms is a misdemeanor.
             26     This section shall not apply. to wholesale dealers in their
             27     business intercourse with retail dealers, nor to wholesale or
             28     retail dealers in the regular or ordinary transportation of          r
             29     unloaded firearms as merchandise by mail, express or other               l
             30     mode of shipment, to points outside of the city, city and
             31     county, town or municipal corporation wherein they are situ-
             32     ated. The register provided for in this act shall be substan-
             33     tially in the following form:




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r                                         -5-
            1                                                   Series No. _____ _
            2                                                   Sheet No. _____ _
            ')
            '-'                                  ORIGINAL.

            1     Dealers' Record of Sale of Revolver or Pistol. State of
            5                               California.
            6       Notice to dealers: This original is for your files. If spoiled
            7     in making out, do not destroy. Keep in books. Fill out in
            8     duplicate.
            9       Carbon duplicate must be mailed on the evening of the day
           10     of sale, to head of police commissioners, chief of police, city
           11     marshal, town marshal or other head of the police department
           12     of the municipal corporations wherein the sale is made, or to
           13     the county clerk of your county if the sale is made in a district
(
           14     where there is no municipal police department. Violation of
           15     this law is a misdemeanor. Use carbon paper for duplicate.
(          '16
I                 Use indelible pencil.
           17     Sold by -------------------- Salesman ----------------
\
           18     City, town or township ----------------------------------
l          19
           20
                  Description of arm (state whether revolver or pistol) --------
                  Maker ------------------ number ________ caliber _______ _
1          21     Name of purchaser ---------------------- age ______ years.
           22     Permanent residence (state name of city, town or township,
           23     street and number of d-vvelling) --------------------------
lI         24
           25
                  Height _____ feet _____ inches. Occupation ---------------
                  Color _________ skin ________ eyes --------- hair _______ :.._
           26     If traveling or in locality temporarily, give local address ____ _
           27 -------------------------------------------------------
r          28 Signature of purchaser ---------------------------------
           29 . (Signing a fictitious name or address is a misdemeanor.) (To
1          30       be signed i:n. duplicate.)
t          31     Witness ---------------------, salesman.
           '2       (To be signed in duplicate.)




                                                                                             II 'I
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                                                                                             I
                                                                                             1




                                                -6-
                    l                                                  Series No. _____ _
                    2                                                  Sheet No. _____ _
                    3                              DUPLICATE.
                    4   Dealers' Record of Sale of Revolver or Pistol. State of
                    5                             California .
                   .6     Notice to dealers: This carbon duplicate must be mailed
                    7   on the evening of the day of sale as set forth in the original
                    8   of this register page. Violation of this law is a misdemeanor.
                   9    Sold by -------------------- Salesman ----------------
                  10    City, town or township ----------------------------------
                  ·n    Description of arm (state whether revolver or pistol) _______ _
                  12    Maker ------------------ number ________ caliber _______ _
                  13    Name of purchaser ---------------------- age ______ years.
                  14    Permanent address (state name of city, town or township,
                  15    street and number of dwelling) --------------------------
                  16
                  17    Height _____ feet _____ inches. Occupation ---------------
                  18    Color _________ skin ________ eyes _________ hair ---------
                  19    If traveling or in locality temporarily, give local address ____ _
                  20
                  21    Signature of purchaser ----------------------------------
                  22    (Signing a fictitious name or address is a misdemeanor.) (To
                  23      be signed in duplicate.)
                  24    Witness ---------------------, salesman.
                  25       (To be signed in duplicate.)
                  26       SEc. 8. Nothing in this act shall be construed to apply to
                  27    sheriffs, constables, marshals, policemen or other duly
                  28    appointed peace officers, nor to any person summoned by any              /.

                  29    such officers to assist in making arrest or preserving the peace
                  30    while said person so summoned is actually engaged in assisting
                  31    such officer; nor to duly authorized military or civil organiza-
                  32    tions while parading nor to the members thereof when going
                  33    to and from the places of meeting of their respective organiza-
                  34    tions ; nor to the possession or transportation by any merchant
                  35    of unloaded firearms as merchandise; nor to bona fide members
                  36    of any club or organization now existing or hereinafter organ-
                  37    ized, for the purpose of practicing shooting at targets upon

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              1
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                  established target ranges, whether public or private, while
 r            2   such members are using any of the firearms referred to in
              3   this act upon or in such target ranges[, or while going to and
              4   from such ranges].
              5      SEc. 9. If any sedion, subsection, sentence, clause or
              6   phrase of this act is for any reason held to be unconstitutional
l             7
              8
                  such decision shall not affect the validity of the remaining
                  portions of this act. The legislature hereby declares that it
              9   would have passed this act and each section, subsection, sen-
             10   tence, clause and phrase thereof, irrespective of the fact that
             11   any one or more other sections, subsections, sentences, clauses
             12   or phrases be declared unconstitutional.




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                             LEGISLATIVE-INTENT
  Requester: David Zarmi                     Date received 01 Jul 2009
  Telephone:--      -                        Needed by            2009
  City/Room: __Los_Angeles                   Completed     03 Jul 2009

  STATS 1923      CHAPTER    339     CODE Current Penal 12020
  BILL   AB 263.   .AUTHOR     Fred C. Hawes                  ----
  Summary Diges_t___      Final History___X_·__ Bill Forms    X-----..,--


  Very little material is available for legislation that is over
  eighty years old. Governors' Chaptered Bill Files were not
  retained until 1943. Authour, committee, and party caucus bill
  files were generally not retained unt.il the 1960s and 1970s.


  Included following this page are copies of the following:

     1) Title 151 of the General Laws of the State of California, as
        published in 1924, concerning Deadly We~pons~ Act 1970 of
        this title was created by .AB 263 (Stats 1923, Chapter 339).
     2) Statutes of 1923; Chapter 339 (created by AB 263)

     3) Statutes of 1917, Chapter 145, which was repealed by Stats
        1923, Chapter 339. ·

     4) Final History of AB 263, as published in the 1923 Final
        Calendar of Legislative Business
     5) Bill Versions of AB 263




                       16)324-5317


  Rev. 4-5-2006




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                                                STATE .PRISON AT JfOLGOJl·

                                    G-ENERAL LAWS.
                                                                               ·0]1 THE



                                  .STATE O:F CALIFORNIA

                ·,                AS AMENDED UP TO THE END OF THE
                                          SESSION. OF 1923

                               CONTAINING THE GE.NERAL LAWS IN FULL AND
                                   REFERENCES TO THE SPECIAL LAWS
                                               .BY TITLE

                                                                                WI.'J'H

                                                    ..                                             ..
                             STATUTORY HISTORY TO DATE AND CHRONOLOGICAL
                                    INDEX OF ACTS· REFERRED TO IN THE
                                              GENERAL LAWS


                                                                       IN TWO PARTS

                                                                         PART ONE
                                                                          ACTS 1 TO· 5546
                                                                       ABORTION TO NURSING



                                                                             EDITED BY'
                                                            JAMES H. DEERING
                                                                        Of the San Francisco Bar




                                                                          SAN FRANCISCO.
                                      BANOROFT_::.WHITNEY COMPANY
                                     .~   ...   •. :''7..   •   •• .                               .    .   •   '



                                                                                 1924
                \    ~   .




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                                           DAVISVILLE--DEADLY WEAPONS.           A'cts 1946-19 68
                         regulate the business of producing, buying and selling dairy product.s,
                         oleomargarine, renovated or imitation butter and cheese; to provide
                      ,.for the enfore,ement of its provisions and for the punishment of viola-
                         tio~s thereof, and ·appropriating money therefor and to repeal section
                       ..seventeen of an. act ~pprqved March 4, 1897, entitled "An act to
                         prevent deception in the manufacture and sale of butter and cheese,
                         to secure its enforcement, and to approp1;iate money therefor,"· and to
                         repeal· all. acts and parts of acts inconsi,stent with this act, is hereby
                         repealed; and all other acts or parts of acts. in confiict herewith are
                      . hereby repealed ..
                       AOT 194.6.
                       An act to establish a standatd for evaporated milk and condensed milk.
                                     [Approved April 24, 1911. .Stats. i911, p. 1101.]
                       § 1. Standard of condensed milk.
                       § 2. · Conflicting acts repealed.
                          § 1. Standard of condensed milk. The standard of purity of con-
                       densed milk and evaporated. milk. shall be that' proclaimed and estab-
                       lished by the secretary "of the United States Depa:rtment' of ~gricul-
                       ture.
                         § 2. Conflicting· acts repealed. · All ~cts and parts ~f acts incon-
                       sistent. with the provisions of this act are hereby repealeQ.. ·.
                       ACT
                         .• . 1947•
                       .To provide for the inspection of dairies, factories of dairy products, and
                             of dairy products as to their sanitary condition and as to the health ·
                             of stock; to preven.t the sa.le of milk and·· the products of. milk
                             drawn from diseased animals; to prevent the spread of infectio.us
                            ·and contagious diseas·es common to stock. [Stats. 1899, p. 171.]
                             Repealed 1905; p ..467. See a?-te, Act 1944..

                                                       TITLE 150.
                                                     D.A.VISVILLR
                        ACT 1957.
                       ·To pre-y.ent hogs and goats running at large in. [Stat5'.1873-:-74, p~ 82.]
                            See§ 9, Stats. 1897, p. 198; Stats. ~1)01, p. 603, §§ 9, 10.

                                                    TITLE 15~.
                                                 DEADLY WEAPONS.
                        ACT 1967.
                        To prevent the improp.er and cdminal 'use o·f deadly weapons.       [Stats.
                             .               .  . .
                                                    1855, p. 2·68.]
                                                                .
                            Superseded by Penal Code,§ 417 ..
                        ACT 1968.                           .   .            .
                        An: act providing for the registration of. the purchasers of pistols·,; ~nd
                            p1·ovidi~g for the punishment of dealers neglecting t? r~gister: such
                            purchasers.
                                    ·LApproved March 6, 1909. Stats. 1909, p. 163.]
                            See the Act of 1923, p. 695, post, Act 1970.
                                                           ·661


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                             Acts 1969, 1970                 ·GENERAL LA WSr-

                             § 1.   Registration required.
                             § 2.   Penalty.
               ~I             . § 1. Registration required. Every person engaged in the bush.
                !    l
                             of selling at retail pistols shall keep a register in which shall ~B
                             entered the name, age, occupation and residence (if residing in e
                             city then the street number of such residence) · of. each and ev a
                             purchaser of such pistols, ·together with the number or other in eri
                             vf identification if any on sueh pistol, which said register shall a~.
                             open to the inspection of all :peace officers at all times.          e
                                § 2. Penalty. E'very person violating any of the provisions of th'.
                                                         ..         .    .                      .           lS
                             act s b a 11 b e d·eeme d gmlty of a, misdemeanor ;an-d s·hall on co-nviction· b
                             iin:ed a sum not to· exceed iif~y dollars- or in default of the paymen~.
                             of said iine shall be imprisoned in the county jail not to exceed one
                             day for each two dollars of said iine. ·

                             ACT 1969.
                             An act rela.ting to and regulating the carrying, possession~ sale' or other
                                 disposition of firearms capable of being concealed upon the person.
                                prohibiting the possession, carrying, manufacturing and sale of cer.~
                                 tain other dangerous weapons and the giving, transferring and dis-
                                 position thereof to other persons within this state; providing for tht>
                                 registering of the sales of iirearms; prohibiting the ca,.ying or pos-.
                                 session of concealed weapons in municipal corporations; providing
                                 for the destruction of certain dangerous weapons as nuisances and
                                 making a. ·felony to use or attempt to use certain dangerous ·
                                weapons against another.· [Approved May 4, 1917. Stats. 1917,
                                ·p. 221. In effect .Tuly 27, 1917.]
                                Repealed 1923; Stats. 1923,. p. 702, § 17. See next act.
                                 This act is constitutional: People v. Smith, 36· Cal. App. 88, 171
                              Pac. 696; In re Dare, 176 Cal. 83, 168 Pac. 19.

                             ACT 1970.
                             A.n act -to control and regulate the possession! sale and use of pi~tols,               ...
                                  revolvers -and other firearms c•apa.Me of being concealed . upon
                                  the person; to prohibit the manufacture, sale, possession or carry-
                                  ing of certain other. dangero·us weapons within this state; to·
                                  provide for registering all sales of pistols, revolvers or other :fire-
                                  arms capable of being concealed upon the person; to _prohibit the
                                  carrying of concealed iirearms except by lawfully authorized per-
                                  sons; to provide for the confiscation and destruction of such
                                  weapons 'in certain cases; to pTohibit the ownership,· use, or
                                  possession of any of .such weapons by certain cl~sses of persons;
                                  to prt)scribe penalties for violations of this act and increased
                                  penalties for repeated violations hereof; to authorize, in proper
                                  cases, the granting of licenses or permits to carry iirearms ~on­
                                  cealed upon the person; to provide for licensing retail dealers in                       ··!
                                                                                                                             l
                                                                                                                           ·~
                                  such iirearm.s and regulating sales thereunder; and to repeal chap·                        i1
                                . ter one hundred forty-iive of California st.atutes of 1917, relating
                                  to th.e same subject.
                                          [Approved June 13, 1923.        Stats. 1923, p. 695.]                            ,
                                                                                                                           1 1




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                                                        DEADLY WEAPONS.                  Act 1970, §§ 1-R
                          § 1.      Manufacture, sale, carrying, etc., certain dangerous weapons
                                       prohibited. ,          .                    .
                          § 2.      .Aliens and felons must not possess certain firearms.
                          § 3.      Committing felony while canying dangerous weapon. Evidence.
                          § 4.      No probation or suspension of sentence.
                          § 5.       Canying ·certain firearms without license .. .Exceptions.
                          § 6.      Police officers, soldiers, etc., excepted.
                          § 7.      Nuisances. Destruction of weapons.
                          §   8.    .Licenses ·to carry firearms. Applications .. Eecord.
                          §   9.    Dealers' registers. Cost. Signatures. Disposition of duplicate
                                       sheets. Penalty.
                          § 10.     Restrictions . on transfer of certain firearms ..
                          § 11.      Local licenses for sale of certain firearms.
                          § 12.     Penalty for dealing in certain' firearms without iicense.
                          § 13.      Tampering with ma_rks on certain firearms. · Penalty.
                          § 14.     Expiration of current licenses.
                          § 15..     Antique pistols, etc.
                          § 16.      Constitutionality. ·
                          § 17 ..   Stats. 1917, p. 221, repealed..
                               § 1. Manufacture, saJ.e, carcy:i:rlg, etc., certaJ.n dangerous we-ap-ons pro-
                           hibited. On ·and after the ·date upo•n whic'h this ac:t takes e:ffeM, every
                           person· who within the state of Californ:La rilal;l.ufactures· or •Baus·es to
                           be manufactured, or who· imports into the s•tate, or who· keeps for
                           sale, or offer:SJ or exposes· £.or s-al.e·, or who; gives•, le·JlodS', ·or possesses
                           an:r instrument or weapon of the. kind: ·c·o1nmonly know:rwas• ·a black-
                           jack, s1mng-shot, billy, s·andcJub, S•and:bag, or met,a:I! knue;:Kl(3s•, or who
                           car;ries conce•aled upon his· person any expJ:o•sive substance; other than
                           n;g:eCL ammunition, ·or who •carries conc-ealed upon ibis· pers•on any dirk
                           or dagger, shall be guilty of a felo;n.y and upow a conviction the!-eof
                           shall he punis(habloe by 'imprisonment in .!3. Sltate· prison. for n6•t ·le-SS
                          ·than one year nor for mo~e than :fi.v:e years.                                 ···
                               § 2. Al'i.ens a;nd felons must not P'ossess certain firearms. .. On and
                            after th·e date upon whic,.-h thi& act take·s e.ffe.ct., n.o· unn•atur:alri.zeJ.
                            foreign born p·erson. and no person· who has been c-onvicted o-f a
                           felony ag.,ainst the person otr property of another or against the gov-
                            ernment o•f ·the Uni•ted States o·r of the state _o.f California or of any
                            politic:al Sl\lbdivision. thereof sh,aH own or ·have, in his possession or
                            under his custody or co-ntroll any pistol, revolver or other fire:arni c.a-
                            p-able of being concealed up-on the person .. The terms "pistol/' "re-
                         . volve·r," and ":fi:re,arms capable of bein'g eonce,aled! . upon the perston"
                            as used in this act sh-ahl ·be •eonstrue<1 tq. •apply to and include all
                            fire.arm!3 ha.ving a barrel less than twelv-e incohes in.· le-ngth. An.y
                            perS•On who. srhall Vio}aJte the provisiO'ThSI Of this S16'Ctiolli !3-haU be guilty
\
                          . of a felon'Y and upon conviction ·th,e·reof shall be punis!l:va,ble by im-
                            prisonment in a state pTison for not less thalll o·ne, year nor for mor·e
                            than five ye,a.rs•.
                             § 31. C'ommlitting fclony while carrying dang·erous weap•on. E-vidence;
                          If imy person shall c-ommit. or attempt to •c:ommd:t ·~ny . felony within ·
                          this state whHe arme.d/.with any of the weapons' m~ntioned in· s.ection
                          o·ne hereof or while armed with any pi-si;ol, rev-olvea.- or other fi.re•arm
                          c:apable of being concealed upon the pers,on,. without. having a license
                          or p-ermit to· '<la;rry su·ch firearm ·as hereinafter pro·vided, upon con-
                          viction of. sucli felony· or 9f an attempt to commit such felony-, he
                          sh·all. in addition t·o the punifshment .p:res-c.ribed! for the -crime oof which·
                                                                   663



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                Act 1970, §§ 4-6               GENERAL LAWS ..

                 he lms .been· wnvicte·d!, he p:unis·hable by impris·onme.nt in· a· state prison·
                 for. not less than :five nor for mo·re than ten' years·. <Such additio11al!
                  pe1'io·CL of· imprisonment s:hall conimence upon th1e expiration or other
                  termiil:ation of the sentence· illljposed for the e;rime o£ which he s1tands
                  c•on vic ted and shall no•t run concurrently with suc.h s;enten0e. Upon
                 a se•Cond conviction und'er like •Cil'·CUlllStances SUCb, additional. period
                  0 .£ imprisonment ·s·h·all be for not lesiS th.an ten years· nor fo·r more
                  than :fifte•e.n ye.ars, 1and upon a third· •conviction under like eircumr-
                  stan~'es such ad:d,itiolJ.a] period of imprisonment S'hall be for not les·s
                  than :fifteen nor for more th1an twenty-five yearS!, suCJh termS' of addi-
                  tiona~ imprisonment to run c·ons·ecutively as before. Upon a fourth
                · O•r subs·equent con:victioh uilde·r like c.ir0Ums·bances· the . pel'lson so con-.
                  victed may be impris•oned fo-r life or for a term of ye·ars not less
                  than .tw,en;ty~:five years; within the discretioru of the: court wherein
                  su•ch fourth or subs,equent eonvictiou was h1ad. .         ·
                      In the trial of a pers-on c!lJ.,arged with 'C'omm:rtting or attempting to
                  commit a felony wgainst the person of another while armed wit:h. any,
                  of the weap·o~s III!entio;ne·O. in section one hereof,· or while armed with
                 any p1s•tol, revolver or o•ther :firearm c:apable of being conceaJ!ed upon
                ·the p:ers1on, without 'having. a lic·ens·e or permit, to carry such ;firearm
                  as h·ereinaf•te·r pro.vid-ed, the fa0t that 'he wa.s so ·armed shaH be :p-rima
                  facie evide·nce o1f .his· intent to •commit · suc;h felony.                   ·
                  § 4. No pTohation Oi" suspension of se:n.ten~e·. In no case sh,all any
                person· punishable und!er the preceding sedilns ·Of. this wet be granted.
                probation by the trial court, ·nor sJ:vaH1 the e;x:ecutio·n of the senten0e
                imposed upon suc.h perso·n· be sruspeud'ed by :the court.    ·
                    § 5. -Qal:ryillg cert.ain :fire,a;rms without license. Exceptions. · Exc'ept
                 as otherwis•e pro,vi·ded in this a0t, it sha.ll be urihuwful .for any. pe-rs'o~:.
                 Within this st:ate to· 'carry' •Concealed upon fuis pe·rson or within, any
                 vehicle whieill is under his· control or dire·ction any pis·tol, revo1ver
                 Or other :firearm <C'aiJ•abl.e of being 00UC·eale•d upon the perSO·n.' Witho'ut
                 having a lic·eDJS'e to 0arry such .:fire•arm as hereinafter provided in
                 s'ection eight ,hereof. Any pers.on w'h·o violates . th.e provisions•. of this
                 s•e,c.tion S'hall he guilty of a misdemeanor, and if' .he J:vas been co·n"
                 victed. pre-viously of any ferony, or of any CJrime .made punishable by
                 this act, he is· guilty of a felony.                                   ·
                     Th.is section shaH not be c·ons~ruec1 to1 prohibit any · dtizen of the
                 United! States, <iver the age of eighteen, year:SI, who· resides. or is tern-·
                 porariliy s·ojourning within t'his srtate., and who is . not wit~.in the .ex- .
                 c~epted cl'ass·es :P•resc:dbed ,by section two: h.ereof, from ow:hhrg, pos·~
                 s.essing O'r ke·eping within ·his plac•e of residence · or· pla,ce of husines·s
                 any pis•to~; r'evolver or Qther :fire-arm c1apable of being conc.ealed .upon·.
                 the person, and no permit o.r lic·imse to purchas·e, own, ·p-os;sess or keep
                 any such :firearm 'at his p1aCJe o·f residence or plac!e· of ·tu:siness shall.
                 1:Je required . of any such ·citben. Firearms carr.ied o•penly in belt
                 holsters· .shaH ?J,Ot he deeme-d to be concealed withi,n .. the ineanin:g
                 of. this sectio:n, no·r s1hall knives whrc'h .are Clatried operily iu sheat.hs
                 suspend,eCL from the waist of the wearer.                                     ··
                    § 6. Police officers, soldiers, etc., e~cepted. Not'liing in the precedin-g
                 s·ection shall be constmed to appJ.y to1 or a:ffecrt .sheriffs; cunsta.blJes~
                 mars·hals·, pori0emen, whether active or hoil•orably retired,. o·r other duly
                 appointed peace· officers, nor to· any pers·on srummoned by any such
                                                        664




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                                                    DEAJ?L Y. WEAPONS •             Act   1~70,   §§ -7, 8
                        o:ffic·ers to assist in makin~
                                                             .
                                                          .arrests or pres·erving the p~ace · while.
                        ~;aid person so· summoned is 3JCtually engaged: in as,sis·ting suc.·h officer i:
                        no·r to the poss·ession or transtportation by any· mercha.nt of unl'oaded
                        firearms as merc.hiwdise·; nor to·. members of the army, navy, or.
                      . madne corps of the· United St.ates·, or iille· national guarCL, when on ·
                        duty, or.r to organizations whi0h •are. by· l!aw authorized to purc.has·e
                        or receive &'UC'h weapons from the UniteCL rStates, o·r from this state;
                        nor to· duly authorized mli.litary o-r civil organization.& while para;ding,
                        nor to the members. ther·eof w'hen goin.g to land from the plac~: of
                        meeting O'f their res:pe·cti ve org,aniz.ations; no·r to members• of any
                        club or organization now existing, o·r .here,after qrganized; for the
                        purpose ·of. practicin·g shooting at taTgets upon .t.he establi~·hed •targe~
                        ranges, whethel' public or private, while Sf\lCU members are using ·any
                        orf the firearms referr.ea: to in this act upon such target ranges, or:
                        while going to .and from Sf\l'Cih Tlange&; or to· l'i!cen:sed hunters•. or fisher~
                        men w.hile engage·d· :in hunting oT. :fishing, or whil!e .going to or re"
                        turning from such hunting or ,:fisihing expedition.          '
                          § 7. Nuisances. hestruction of we·apons. T'he unlawful eon'CJealed
                       carrying iipon the person o·r. within the v·ehicle. Of the c.arrier · of any
                       CLirk, dagger, pistol,. re.volver, o.r other :firea:rm capable p£ being ·Con~
                       cealed upon t:he pers·on, is a miisanc·e. Any such we,apons ·taken from
                       the person o·r vehicle of 'any ·pers·on. unlawfull!y carrying the s·aimi
                       are he·reby declared to be nuisances, and shall be surrendered to
                       the magistrate before whom said p·erson shall be taken, except that
                       in any ·city, city ,a;nd 0ounty, town or other· municipal corpo·r~tion the
                       same s1haH ·be surrendered rto the head'i"of the· police forc·e or police
                       departmtmt t'h·ereof .. The offi0ers to whom the ·same may be .so Stl.r-
                       ren:d·ere•d, e:xocept upon the · certi:fic,ate· of 'a judge of a •court of .record,
                       or of the ddstrict attorney of the county; th:a,t the pres·ervation thereof
                       is neces·&ary or proper to the end;s. of ju.stice, shall! annlllally,. between
                       the first an:d tenth diays of July, in e~c,h ye·ar, ·destroy or cause to be
                       des:troyed ·sucih weapo:ns· to such, e·xtent that the s•ame s·h:all become and
                       be wholly :and entirely. ine~e·crtive and ·1\lseless· for the purpose for
                       whic.h it was mJan.ufactilre·d;' provided, .·however, th,at in the· event any
                       Sf\lch weapon ha131 been stolen and is· thereafter rec-overed · from .the .
                       thief or .his'. trap.sfere•e, the s;a.me shaH not be destroyed: .burt s-hall -be
                       restor:eCL to. the Lawful O•Wn:er: thereof, SO' S•OO·n as its' use' asl .evidenc·e'
                       has be.en served,· upon his identiftcat.io:o, of the weapon . and pro·of of
                       owners'Pip thereof~ Blackjacks, slungshots, billies, sandclubs, s·andha.gs.
                       and metal.knuckles· ·are hereby decl'ared to be nuisance·s 18..nd shall be.
                       subject tO confis-cation and summary d:es.truc~ion whenever found vr,ithin
                       the state; . pro-vided•, that upon the· c•erti:fi0at.e• 'Of. a judge or of the
                       distr~·ct .attomey that the ends· of justice will_ he subserved thereby,
                       s:ucih weapon shall be preserved until! the nec.es;s.ity for· i~s use. ce;ases.
                         §,8. · Licenses to ca;rxy firearms.. AppUca.ti.ons: Record. It shall be
                       lawf.ul for the sheriff of a county, and the board of police: commis~
                       sioners~ chief orf polic·e; .eity. marshal; town ~arshal, or . o·ther head. of
                       the po·1ice de·pa:i:tmlent of any city, city and county, town, or other .
                       municipal '0orpomtio1n of this state·, upon proof. before s·a.id bo·ard, chief~
                       marsha1 or {>ther· polic.e head, that tille. person applying therefor is of
                       good moral ehai'acter, and that go·o·d . ·caU:.s~e exis-ts ..!fpr the issllian·ce
                       ther.eo:f, to is.sue to· Sf\lch pe·rson a license to carry co·ncealed a pistol,
                       revolv'er or other :firearm for · a period {)f one year from the d-ate o·f

              l                                               .6!:1_5
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                       Act 1970, § 9                  GENERAL LAWS.

                        such llicen:se. All appJic•a•tions for s,uch licenses sihaH be :filed in writ~
                        ing, signed by the' appl·icant, 'and shall state ·the name, oc•cupation,
                        residence and! busines•s address of the applic,ant, his age, height, weight,
                        coJor of eyes' and hair, ·and reason for desfring ·a licen·s·e to carry
                        suc.h weapon. Any li·c-ens·e is·sueod upon such applic:a_tion shaH set forth
                        the. foregoing data :and sh·aH, in addit,ion, contain ·a d-escription of the
                        weapon authorized to be carried:; giving the _na;me of the ma.nufac:turer,
                        th·e serial number and the c•alibe·r thereof. When · such license-s are
                        is•suetl. by •a s:he-riff a re·c'ord · thereof s.hall be kept in. the office o.f
                        th'e courrty clerk; whe·l!- issued by polic-e :authority such reco-rd shall
                       ·be maintained in the office of the :authority. by who·J;Th issuedi. S'1,1eh
                        applications anq liocens·es· shaH be· uniform throughout the state, upon
                        forms· to be prescribed by the attorney gene·ral.                    ·
                           § 9. Dealers• registe·rs.. Cost. Signatures.· Disp-osition of duplicate            ·'
                        sheets. Penalty. Every person in the busin_ess of selling, le:asjng · or
                        otherwis·e transferring a pistol, rev-olver or other :fire:arm, of a size
                        c-apable of being c,.once•aled upon the person, wheth.er such seller, le<S-
                        sor or trans-fero-r is a retail dealer, ·pawn-brolfe·r or otherwise, except
                        as hereina.fter proVided, s.hall.kee•p a regis•ter in which shaH be entered
                        the time of sale, the d•ate {)f &ale, the name of the sl3;lesman making
                        the .g.aJ.te, the pl•ace whe·re soJ.d th-e ·:JU'ake, model, manufacturer's number,
                        Ctaiiber o·r other Iharkso of identification on such pistoli, · revolver or.
                        other ·firearm.
                                                           .                            .
                          .Cost. Hu0h registter s'haH be prepared by and obtainedi from the
                        state · prin·ter and shall be furnished by the state printer to s-aid
                        dealers on application at a cost of three dollars per one · hundred
                        le•aves in duplicate an·d shall be in the form hereinafter provided.
                           Signature. Th-e ·purchaser of any firearm, capablle of being conce-aled
                        up·on th·e person shaH sign, and the. dealer shall .require :him to sign
                        his name andi affix his 'addrress to said registe;r in duplicate and the
J.
                        salesman. shall: affix his signature in duplicate· as a witnests· to the sig-
                        natures of the purchaser. Any penwn ?igning ta. fictitious; ·name or
                        add-ress is guilty of a mi~.d-emeanor. ·                             ·            ·
                           Dispo·sition of duplicate sheets. The duplic,ate sthe•et of sucb. register
                        shall on the -evening o·f th'e ·day of sale,. be· placed· in the maii,,
                        postage J?'repaid and properly a:ddress.ed to the bo1ard of police com-
                        missioners:,. ·chief of police, . city marshal, town, marslh·al or other head
                        of the police department of the c~ty, city ~nCL county, t-o-wn or other
                        municipal 'corp·or:ation wherein the Hale wa& made; provid:ed-, that
                        where the sale is mJade in 1a district wh,ere there> i& ·no municipal
                        police departinent, S'ai& -duplicate s•heet sh:all he mailed to·. tl:Le- •com1ty
                        13lerk of the -county wherein the s·ale is made.
                           Penalty, A viol-ation of any of the pro-visio-ns of th:is section by any
                        pers•on engaged· in the busines·s of seiling, leasing or otherwis:e trans-
                        ferring such firearm is· a mis·de~eano·r.
                           Ac.t not to a.pply t:o wholes·alers. This. section shall ll'ot apply to
                        wlw}es•al·e dealers in their busines-s intercours:e with retail d·e•alers,
                        nor to wholesale or retail dealers in the regular or ·ordinary trans-
                      . porta;tio u of unltota_.d·ed :firearms -as merc!htandis'e by mail, expres1s oi
                        o-ther mo•de of shipment, to points outside of the city, city ~and county,
                        town o·r municipal corporation wherein they are situated,

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                                                       DEADLY WEAPONS.                    .Act 1970,·§ 9
                             Form  of  re.gist.er. The register provided for in this act shall be    S•Ub-
                          ·Stantially in t·he following forni:
                                                       Form of Register.
                                                                                          Series No.--
                                                                                                     .
                                                                                         .Sheet No.-.-
                                                             ORIGINAL •.
                                          Dealers' Record of B·alle of Revolver or Pistol.
                                                        State o·f ·O'aliforni,a.
                              Notice tn de,allers: 'This original· is ,fQ'r your :files. If. spoil~d in
                            making out,. d-o not de-stroy. . Keep in books1.. · Fill! o-ut in d·uplic•ate.
                              Carbon. duplicate must be maile·d on the evening of the 'aay of sale,
                            to .head of police commissioners., c:hie£ of police, . ·cd.ty :marshal, to·wn .
                            marshal or other he·ad of the police department. of the municipal cor-
                         ' po·r:ations wherein the sale is made, or to the county clerk of yom
                          · county if the sal~ is mia·d!e in a distri·ct where there is. no munic~pal
                            police department. V1olation of tihis law iS'..'a. mis·.demeano.r. Us·e car-
                            bon paper. for d.uplicate. U S'e indelible pen:cil. ·
                            Sold! by - - Salesman ·--·
                            City, town o-r township - . -
                            D'es0ription of arm (state whether revolV'er or ·pistol').___:_
                            Maker -·- . Number - - . Oalibe·r - -
                            N arne of· purch,as'er ~ age -·-·· · ye·ars· ..
                            Permanent residence' (state name -of eity, town or towns·hip, street and
                                 n:umber of dwelling) - · -          ·           '
                            Height--. fee:t - . - inc.hes.. Occupation·~
                            Color --·skin -.-       eyes - · - hair - -                               ,
i.                          If traveling or in }ocality tel'nporarll,y; give· local addre·ss, -:----~~
                            Signature otf- purchas·er - - .
                            (,Signing ~ :fictitious name or address is· a misdeme;anor.) (To be signed
                                 in duplicate.)
                            Witness - - , salesmam
                               (To be sign·ed in dupld:cate.)l
                                                                                             Seriea No.--
                                                                                             Sh:eet No.--
                                                            DUPLICATE.
                                        Dealers' Record· of :S1ale of Revolver or PistoL
                                                          Btate of Oalifornia.
                              Notice    to ·dealer.s.: This carbon driplli.CJate must be mailed on the
                            evening. of the CLay of s,alJe as· ~;~•et forth in. t:he original of this
                           register page. Violation of this law is a misdenieanorl
                           Sold by -.~ ,sa1es,m.an ---:-
                            City, town or township - -
                           Description of ,arm· (state whether revolver or pistol)
                            Maker - - numhe·r - - ·· c•aliber - -
                            N arne of purc:haser - .- •age· ·--. years.
                            Ferm·anent addte.ss (state ri1ame of city, town· or townsJ:J.ip,· street and
                                 number of dwelling) -··-·
                            Height -·- · feet--.- incJ:J.es. ·occupation - -
                          . Color --·skin -           eyes -··- · h·air: - -
                           If baveling or in loc-ality temporarHy, give local addr-ess - -
                            Sign,ature of :p111rc.has•er ~

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                            4ct 1970, §§ 10-13               GENERAL LAWS.

                            (Signing a :fictitious name or address is a misdemeanor.)            (To be signed
                                in duplkate.)
                            Witness - , s·ales.man.
                              (To _be sd.•gned in duplic.ate.)
                               § 10. Restrictions o~ trans,fe:r of cert:ain firearms. No person sbal.l
                            sell, deliver or oth.e-rw1s·e. trans•fe1· any p1st.ol, r•e.volver o·r other firearm
                            capabJ.e of being conce•ale·cl upon the person to •any pers·on whom he· has
                            cause to believe to be within .an.y of the classes prohibited by section
                            tWO hereof from OWning Ol' IJ'OS•SeSSing SUch firearms·, nOr to. 1a11y minor
                            under the· .age of eighteen years. In n·O event s:hal!J any suclh :fire·arm
                            be .deHvere.d to the purcha.s•er upon the· ·d,ay o·f the appHcation ·for the
                            purc.hase thereof, and when delivered such firearm shall be -securely
                            mapped and shall be unloaded. Where neither party to the transaction
                            h.oJ.ds a deal.er's license, no pers,on .sha:).U.. s•eU or otherwis·e trans·fer •any.
                            SUc•h :firearm tO• any oth•er person within this state wh·o is ilot perS!Onally
                            known to· the vendor. Any violation 'of the provisionS! of this s•ection
                            shall be a misdemeanor.
                                § 11. Local licenses. for sal~ of ce·rt!a.in firearms. ·'The. dluly consti-
                             tute& licensing a;uthorities. o·f a.ny c•ounty, city and .county, city, town
                             or other municipal•ity wHhin this s.tat:e·,. may grant licenses in form
                            prescribed, by the attorney general, effective for not more than o·ne
                            year from date of issue, permitting tb,e licensee to sell at retail within
                             the s·aid •county, city and coun.ty, dty, town or other munieipality
                             pi&tols, revolvers, •and other :firearms capabl-e of be·ing con·ceale·d ·upon
                             the person, subjec't to the following conditions, for breach of any
                             of which the lic•ens·e s:ha11 be subject to •forfeiture:
                                1. The business shall be c•ar~ied on only in the bui1ding designated
                             in, the 1i cens·e·.
                                2. The licens,e· or a copy thereof, certified by t'h:e is·s.uing authority,
                             s•hall be· dispJ,ayed -on the premises where it can e•asily be· re-ad.
                                3. No pistol or revoLver Hh.a.U he· ·delli.veredi
                                (a) On the d.a.y of the application for t:he purchase., and. w:heli deliv-
                            ·.ered s1tall he unloaded and securely wrapped; nor
                                (b) U nless1 the purc.ha.ser either is personally known to t'he s;eUe;r ·
                             or shall pres,ent Clear evidence of his. identity.                        ·
                                4, No pist-ol or revol.ver; or imitation thereof, or plac.arru •advertising
                             th·e s·ale or other tr·ans.fer thereat£, SJh.all be displ,aye·d' in any part of
                             said .prem.is.es ,Fhere it· can rea~il'Y be see'D.. fro·m t1J.e outside·.
                                § 12. P'enalty for dealing in certain firearms without license. Any
                           . person who·, witib.out hei'ng li0ensed a.s, above, provided; engages in the
                             busines•s of s·elling or otherwise tr,ansfe.rrin,g, or w'ho· advertises• for
                             s•ale, or offe·rSJ or exposes. ·for s·ale · or t-ransfer, a-ny pi.st.o1, re•volver or
                             other . :firearm . oopable Oif being conc1e·aled upon the person is· guilty
                           . Qf a misdemeanor.
                               § 13.. Tampering. with marks on certain firearms. · .Penalty. No per-
                            s-on shall c·hange, alter, remo·:ve·, or oblit~r~a.te• the name of th•e ma.ke·r,
                            model, man:tJ.f,acturer's number, or oth,er mark of identifieation on any
                            pistol or revoliver.- P·os·s·es•sion of. any .such firearm upon. which. the s.ame
                            shall hav.e b.een. eh.anged, ·altered, removed,. or ob1iter•ated, shall be
                            presumptive evidell!c:e that su-ch posses:s•or h.a.s c~anged-, aLtered, removed,
                            or obliterated the· same. Violations of this: &ection shalil •be punished
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                                                      DEAF AND BLIND ASYLUM.               Acts 1980, 1981
            i
                              by imprisonment in the st,ate prison f.or not les-s than one year nor.
                              mo:r:e · th·an :five ye•arSI.
                                § 1.4. Expiration of· current license•S·. AU licens·es heretofore issue·d
                              withil1 this state permitting the ·C•arrying. of pistols: or re·volvers c·on~
                              cealed upon the. person shtaltl expire :at midnight of. De·cembe·r 31, 1g,24.
                                § 16. Antique pd.s:tols, etc. T'his· act shall not ·apply to antiq:ue pis-
                              tols or revolvers inc•apable of us'e as such.
                                 § 16. Constitutionality. If ·any section, s:ubs,ection, senten.ce, c,lause
                              or phrase o·f this a;et is for 'any reas:on held! to be· unc•ons•titutional such·
                              decision shaF!J J.iot affe·ct the v1alidity of the remaining portions- of this
                              a0t. Tthe · loegistlature hereby declares• th•at it wou]dJ have· passed this
                              act and e'ach section, subsection, sentence·, clause and· pJ:Lras-e thereof, ·
                              irre-spective of the fact that any one- or ,more other section~:?, stU.bs-ec-·
                              tions, sentences, 'clauses o·r plhilases be decLared unco-nstitutional.
                                § 17. S.ta.ts. 19-17, p•, 221, rep·e,aled. That •c.ertain ·act entitled, "An
                              act ·relating to andi regulating th·e· Ctarrying, poss-e-ssion, ooLe or · othe·r
                              disposition of :firearms capabl'e .of be•ing con.cealled up•on the pei·son;
                              prohi'biting the posse-ssion, . carrying, m~nufacturing and. sale of cer-
                              tain· other dlanger:ous weapons and the giving, transferri:r;tg and P,isposi-
                   --:   '•
                              tion thereof to other pers,ons· within this s;tate.; · providing for the
                              registering of the sales. of :fi.retarms; prohibiting t'he ·carrying or ._pos.:-
                              sessrion of co·n0e·a1ed!. weapons in municipal <:,orporations';. pro,yi·d.ing ·for
                              the d-estruction ·o.f certain . dangerous W6tapons as nuisances and mak-
                              ing it a felo-~y to use· or attempt to use cert,ain d,angerouSJ weapons·-
                              agajnst ·another," ap•pro-ved May 4, 1917, is hereby repealed,,
                                    This aet is constitutional: Ramirez, In re, 67 Cal. Dee. 468.

                                                            TITLE. 152.
                                                    ·DEAF AND BLIND ASYLUM.
                              AJOT .1980.     .              .
                              A.n act to provide for the separation of the deaf and the blind depart,
                                    ments in the California School for the Deaf and the Bli;nd. · · · ·
                              [Approved·.April-1;· 1915·. -Stats. 1915, ·p. 20.. In effect August 8, 1915;]· .
                              § 1.   S·e:P·aration of deaf .and Q~d departmeints.
                                                                   .                           .
                               . § 1. Separation. of deaf and bJ.ind Q.ep.artmen:ts. The bo·ard of ·dire·c.-.
                              tors of the California -8~hoo1 for t4e Deaf and the Blind. are hereby
                              authorized t{md. empowered, with a vi.ew to. the sepa11~tion .of the de-
                              partme-nts of the· ded and tl1e blind. in· said' school, to sellect. and
                              purchase {LS SOOn as the ne0essary fundst cfo·r said pUl'J?OS1b ·sli.all have
                              been ·appropriated, and subje-ct to thoe ·ap-proval ·of the state bo·ard of
                              control, ta sruitable tract of l:md for tlw purpos/6 of effe>Gting said
                              separ-ation.                              .              .              .
                                    California School for Deaf: See Pol. Code, § 2236 et seq.
                                    California School for Blind: See Po~.· Code, § 2251 et seq._
                              ACT 1981.
                                              Powers· of directors. [Stats. 1875-76; p. 686.]
                                     California School for Deaf: See Pol. Code, § 2236 et seq.
                                     California School for Blind: See Pol.. Code; § 2251 et seq. ·
                                                                       66·9


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                 STATUTES OF ·cALIFORNIA


                              CONSTITUTION OF 1879
                                           As Amended




                       MEASURES SUBMITTED TO VOTE
                            OF ELECTORS, 1922


               ·GENERAL LAWS, AMENDMENTS TO CODES,
                   .          RESOLUTIONS, .      .
                     · CONSTITUTIONAL AMEN.DMENTS



                                         PASS ED AT THE

                              REGULAR SESSION OF THE
                              FORTY-FIFTH LEGISLATURE



                                             1923-.




                                  CALIFORNIA STATE PRINTING OFFICE .
                                     FRANK J. S:MITH, Superintendent
                                          S.A..CRAMENTO, 19.23

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                                                                                                 ..
                  Ch. 338]                 FORTY-FIFTH SESSION.                                       695
                  treasurer or the inheritance tax appraiser of the county of the
       ';..'.




                  superior court having jurisdiction as provided in section
                  fifteen o£ this act.                                          .
                 · ( 6) This a-Ct shall become effective and in force contempo- Act takes
                  raneously with the taking effect of amendments to sections one effect.
                  thousand four hundred one and one thousand four hundred
                  two of the Civil Code, which amendments were enacted at the
                  forty-fifth session of the legislature of the State of CaJifornia,
                  and known as chaptm~· eighteen of the statutes of 19·23, and
                  not otherwise.

                                             . CHAPTER 338.
                  An act to add a new section to the Civil Code to be numbered
                    three tho~tsand fifty-one a, fixing a lim~t on the amount of
                    a lien on property .held under. the provisions of section
                    three thmt.sand fifty-one of satid code.
                                          [Approved June 13, 1923.]
                  The people of the State of California do enact as follows:
                     SECTION 1. A new section is hereby added to the Civil
                  Code to be numbered three thousand fifty-one a and to read
                  as follows :         .                       .                    ·        .
                     3051a. That portion of any lien, as provided for in tlie Limitation
                                .
                  next prece d1ng        .
                                     section,  . excess of .one .h un dre d d oll ars, f or recoverable.
                                               In                                           on amount.
                  nny 1vork, ·services, .care, or safekeeping rendered or. performed.~~~~~n
                  at the request of any person other than the holder of the legaln?tice not
                  title, shall be· invalid, unless prior to commencing any such gJVen.
                  work, service, care, or safekeeping, the person. claiming such
                 ·lien. shall give actual notice in· writing either by personal
                  service or by registered letter addressed to the holder. of the
                  legal title to such property, if knowri.. In the case of auto-·
                  mobiles, the perso:ri.. named as legal owner in the registration
                  Gertificate, shall be deer,ned· for the purpose· of this section, as
                  the holder of the legal title.


                                              CHAPTER 339.
                 An act to control and regulate the· possessi.on, sale and .use
                     of pistols, revolvers and. othe;r firearms capable of being
                     concealed upon the person; to prohibit the manufact~we,
                  . sale, possession or carrying of certain other dangerous
                   . weapons within this . state; to provide for registering all
                     sales of pistol.s, revolvers or other firearms capable of being
                     concealed upon -the person; to prohibit the carrying of
                     concealed firearms except by lawf~tlly authorized persons;
                     to provide· for the confiscation and destruction· of· suc"A
                     weapons in certain cases). to prohibit the ownership, use,
                     or possess'ion of any of such. weapons by certain classes of
                     persons; to prescribe penalties fo1~ V·iolations of this a,d
                     and increased penalties for. repeated violations hereof). to
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           696                                STATUTES OF CALIFORNIA.               [Ch. 339
                              /

                            iB/n·thorize, in proper cases, the granting ·of licenses or
                               perrnits to carry fi1·ea1·rns concealed ttpon the. person; to .
                             . provide for licensing retail dealers i?J; stteh firearrns and
                               regtt.Zating sales thereunder; and to repeal chapter one
                               htmdred forty-five of California statutes of 1917, relating
                               to the sarne subject.                                  ·
                                               [Approved June 13, 19·23.]
                           'Phe peop.Ze of the State of CaUfornia do enact as foUowiS: ·
           Manufacture,        SECTION 1. On and after the date upon which this act
           sale, carry-
           ing, etc.,     takes effec.t, every person who within the State of California
           certain
           dangerous       manufactures or causes to he manufactured, or who imports
           weapons
           prohibited. ·
                           into the state, or who keeps for .sale, or offers. or exposes for
                           sale, or who gives, lends, or possesses any instrument or
                           weapon of the kirid commonly known as a blackjack, slung-
                           shot, billy, sandclub, · sandbag, .or metal knuckles,= or who
                           carries concealed upon his person any explosive substanc·e,
                           other than fixed ammunition, or who carries· concealed upon
                           his person any dirk or dagger, shall be guilty of a felony and
                           upon a conviction thereof shall be· punishable by imprison-
                           ment in a state prison ~or riot less than one year nor for more
                           than five years.                                · .
           Aliens and          SEC. 2.  On   and  after the date  upon  which  this act takes
           felons must .
            not possess effect, no ilnnaturalized foreign born person and no person who
           certain
           firearms.       has been convicted of a felony 'against the. person or property
                           of another or against the government of the United States or.
                         · of the Stafe of California or of any political subdivision thereof
                           shall own or have in his possession or under his custody or
                           control any pistol, revolver or other firearm capable 6f being
                           concealed upon the person•. The terms "pistol," "revolver,"
                           and ":firearms capable of being concealed :up_on the person" as       ·'·
                           used in this act shall be construed to apply to andinelude all
                           firearms ~aving a barrel less than twelve inches in length. Any
                            person who ·shall violate the provisions of this section shall
                            be g:uilty of a felony and upon· conviction thereof shall be
                           punishable by imprisonment in a state p~ison for not less than
                            one year nor for more than five years..                      ·
            Committing       · SEc. 3.  If  any  person  shall commit  or attempt  to commit
           ·felony while
            carrying        any felony within this state while armed with any of the                   ! '
            rlangerous·
                            weapons    mentioned in section one hereof or while. armed with            I
            weapon ..
                            any pistol, revolver or other firearm ·capable of being concealed
                            upon the person, without having a license or p·ermit to carry
                                                                                                       f
                            such firearm as hereinafter provided, 1;1.pon conviction of such .
                            felony or· of an attempt to commit such felony, he shall in·
                            addition to the punishment prescribed for the crime of which
                            he has been convicted, be punishable by imprisonment .in a
                            state prison· for not less than five nor for more than ten years.
                            Such additional period of imprisonl!lent shall commence upon
                            the expiration or other termination. of the sentence imposed
                            for the crime · of which he stands convicted ·tmd shall not·
                            run concurrently with such sentence. Upon a second convic-
                            tion llnder like chcl?-mstances such additional period of impris-
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                  onment shall be for not less than. ten years nor for more than
                 fifteen years, and upon a third conviction under like circum-
                 stal:rces such additional period of imprisonment shall be for
                 not less than fifteen nor for more than twenty-five years, such
                  terms of additional imprisonment to run consecutively as
                 before. Upon a fourth or subsequent conviction under like
                  circumstances the person so convicted. may be imprisoned for
                  ljfe or for a term. of years not less than twenty-five years;
                 within the discretion of the court wherein such fourth or
                  subsequent conviction was had. ·                                     · ·
                     . In the trial of a person charged with committing or· attempt~ Eridence.
                  ing to commit a felony against the person of another while
                  armed .with any of the weapons mentioned in section one
                  hereof, or while ·armed with. any pistol, revolver or other fire-
                  arm capable· of being concealed upon the person,· without hav-
                  ing a license· or permit to carry such firearm as hereinafter
                 provided, the fact that he was so armed shall be prima facie
                  evidence of his intent to commit such felony. ·
                       SEc. 4. In no case shall any person punishable under the :No probation
              . preceding sections. of this act be granted probation by the ofor ·Sentence.         smpension
                  trial court, nor shall the execution of the sentence imposed
                  upon such person be suspended by the court.                        ·
                       SEC. 5. Except as otherwise provided in this act,· it shall Ca.rr~ing
       : :.
        ~.
                  be unlawful for any person w:ithin this state to carry con- ~~~~~~~
                  cealed upon his person or within any vehicle which is under ~itho.ut
                 his "control or direction any pistol, revolver or other firearm cense.
                  capable of being concealed upo:r:t tlie person without having
                  a license to car:ry such :firearm as hereinafter provided in
                  section eight hereof. Any person who violates the provisions
                  o"f this. section shall be guilty of a misdemeanor, and if he
                  has been convicted previously of any felony, or of any crime
                  made punishable by this act, he is guilty of a felony.
                       This section shall not be construed to prohibit any citizen Exceptions.
                  of the United States, over t4e age of eighteen years, who ·
                 resides or ·is temporarily sojourning within this state, and'
                  who is not within the excepted classes prescribed by section
              · two hereof, from owning, · possessing or keeping within his
                  place of residence or place of business any pistol, revolver or
                  other firearm capable of being concealed upon the. person, and
                  no permit or license to purchase, ·own, ·posseSs or keep any·
                  such firearm at his place of residence or place of business
                  shall be required of any such citizen.·· Fireal'Ill,s carried openly
                  in belt holsters shall not be deemed to. be concealed ·within
                  th~ mean1ng of this section, nor. shall knives which are carried
               .· openly in sheaths suspended from the waist of the wearer.
                       SEc. 6. Nothing in the preceding section shalf be construed Police .
                   t O app1y t o or a ff ect sh en'ffs, .const. a· bles, marsh a·1s, po1'Icemen, officers sol-
                                                                                                 diers 'etc.
                   whether active or honorably retired, Qr other duly appointed excepted. '
                   pea·ce officers~ nor to any person summoned by any such officers
                   to assist in· making· arrests· or preserving th~ peace while said
                   person so summoned is actually engaged in assisting such.
                   officer; nor to the possession or transportation by ally mer-·
                · chant of unloaded firearms as merchandise; nor to members of
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                 698                            STATUTES OF CALIFORNIA.                 [Ch. 339

                                the ·army, navy, or marine corps of the United States, . or the
                                national guard, when on duty, or to organizations which are
                                by law authorized to purchase or receive such weapons fro:in ·
                                the United States, 01" from this state; nor to duly authorized
                                military or civil organizations while parading, nor to the mem-
                                bei·s thereof when going to and from the places of meeti1ig ·
                                of their respective organizations; nor to· members of any club
                                or organization now existing, or hereafter organized, for the
                                purpose of practicing shooting at targets upon the established
                                target ranges, whether public or private, while such members
                                are using any of the firearms referred to in this act up.on such
                                target ranges., or while going to ·and from such ranges; or to
                                licensed hunters or fish.erinen while engaged in hunting .or
                                fishing, ()r while going to or returning from such hunting or
                                fishing expedition.
                 Nuisances.         SEc. 7. The unlawful· concealed carrying upon the person
                                or within the vehicle of the carrier of any dirk, dagger, pistol,
                                revolver, or other firearm capable of being ·concealed upon
                                the person, is .a nuisance. .Any such weapons taken from the
                                person or vehicle of any person unlawfully carrying .the same
                                are hereby declared to be· nuisances, and shall be surrendered
                                to the magistrate before whom said person shall be taken,
                                except that in any city, city and county, town or other munic-
                                ipal corporation the sa.me. shall be surrendered to the head of
                                the police force or police department thereof. The officers to
                 Destmction .whom the same may be so surrendered, except upon the certifi-
                 of weapons.
                                cate of a judge 6f a court of record; or of the· district attor-
                                 ney of the· county, that the preservation thereof is necessary or
                                 proper to the ends of justice, shall annually, between the. first
                                 and tenth days of July, in each year, destroy or cause to be ·
                              . destroyed such weapons to such extent that the. same shall
                                 become and be wholly and entirely_ ineff~ctive and useless for
                                 th~ purpose for which it was manuf~ctured; ·provided, how-
                              . eve1·, that in the' event any such weapon has been stolen and
                                 is thereafter recovered from the thief or his transferee, the
                                 same shall not be destroyed but shall be restored to the lawful
                               . owner thereof, so soon as its .use as evidence has been served,
                                 upon his identification of the weapon and. proof of ownership
                                 thereof. Blackjacks, slungshots, billys, sandclubs, sandbags
                                 and metal k11uckles are hereby declared ·to be nuisances and
                                 shall be subject to confiscation and summary destruction
                                 whenever found within the· state; pr_ovided, th~t upon ·the cer- .
                                 tificate of a judge or of the district attorney that the ends of
                                ·justice will be. subserved thereby, such weapon shall be pre~
                                 served until the necessity for its use ceases.          ·    ·
                  Licenses to
                  carry             SEc. 8. It shall be lawful ·for the sheriff of a· county,
                  firearm:;.
                                  and the board of police commissioners, chief of police,· city
                                  marshal, town marshal, or ·other head of the police department
                                  of any city, city and county, town, or other municipal corpo-
                                  ration of this· state, upon proof before said board, chief, marshal
                                 'or other police head, that the person applying therefor is of
                               . good . moral character., and that good c9-use exists for the .
                                  issuance thereof, to issue to such person a lice:rise to carry con-


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                  cealed a pistol, revolver or other firearm for a period of one
                  year from the date of such license. All applications for such Applicatiuns.
                  licenses shall be filed in writing, signed by the applicant,·
                  and shall ·state the name, occupation, residence and business
                  address of the applicant, his age, height, weight, color of
                  eyes and hair, and reason for desiring a license to carry
                 such weapon. Any license issued upon such application shall
                  set forth the foregoing data and shall, in addition, contain
                a description of the weapon. authorized to be car~ied, giving
                 the name of the manufacturer, the serial number and the
               . caliber · thereof.      When such licenses are · issued by a
                 sheriff a record thereof shall be kept in the office of the county Record.
                 clerk; when issued by police authority such record shall be
                 maintained ·in the· office of the authority by whom issued.
                  Such. applications and licenses shall be uniform throughout
                 the state,upo:ri forms to be prescribed by the attorney general.
                 · SEc. 9. Every person in the business of selling, leasing or De~lers
                .otherwise transferring a pistol, revolver or· other firearm, of registers.
                 a size capable of being concealed upon the person, whether
                 such seller, lessor or. transferrer is a retail dealer, pawn-
                 bl'loker or otherwise, except as  hereina:fter provided, shall keep
                 a register in which shall be entered the time of sale, the date of
                 sale,· tht> name of the salesman making the sale, the plaee
                 where sold; the make, model, manufacturer's number, caliber
                 or othP,r marks of identification on such pistol, revolver or.
                 other nrearm. · Such register . sliall be. prepared by and
                 obtained from the state printer and Rhall be furnished by the .
                 state printer to said dealers on appHcation at. a cost of three Cost.
                 dollars per one hundred leaves in duplicate and shall be in
                 the form hereinafter provided. The pur.chaser of any· fire-
                 arm, eapable of bein:g concealed upon thr. person shall sign,
                 and the dealer shall require hiiu to sign his na.me and affix Signatures.
                 his address to said register in duplicate and the salesman shall
                 affix his signature in duplicate as a witness to the signatures of
                 the purchaser. Any. person signing a fictitiot~.s name .or address
              .
                 is gnilty
                       •
                                 of a misdemeanor.
                                               • .
                                                     The duplicate sheet of such     Disposi.tion
                                                                                   • of dupllcate
                 registP.r shall on the evemng of the day of sale, be placed In sheets.
                 tbP maiL postage prepaid and properly addressed to the board
                 of police c.ommissioners, chief of police, city marshal; town
                 marsha] or other head of the police department of the city, .
               . ~ity ann county, town or other municipal corporation wherein
                 the sale was made; proV?:ded, that where the sale is made in a
                 district. where there is no mnnicipal police department, said
                 duplicate .sheet shall be mailed to the cou.nt.y clerk of t.he
       :';
       !t·'       r.onnty wherein the sale is made. A violation of any of the Penalty. ·
       r.:
       ·->
                 provisions of this section by any person engaged in the busi-
                 ness of selling, leasing 9r otherwise transferring such fire-
                 arm.is a misdemeanor. This seytion shall not ~pply to whole-
                 sale dealers ·.in their business intercourse with retail dealers,
                  nor to 1vholesale or retail dealers in the regular or· ordinary
                 transpol"tation of unloaded firearms as merchandise by ·mail,
                  exprP.::-<'? or other mode of shipment, .to points outside of the
                  city, city and county, town or municipal corporation wherejn
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                                                                                                                                  -~}1

            '700                                      . STATUTES OF CALIFORNIA.                            [Ch. 339
            Form nf
            register. ·     they are situated~ The register provided for in this act shall
                          . be substantially in the following form:
                                                            F;orm of Register.
                                                                                             ·Series No. _____ _
                                                                                               Sheet No. _____ _
                                                                   ORiGINAL.
                                     Dealers'. R-ecord of Sale of Revolver or Pistol.
                                                      "State of California.
                              Notic~ to dealers : .This original is for your files. If spoiled
                          .in making out, do not destroy. Keep in books. Fill out in
                           duplicate.
                             · Oarhon. duplicate must be mailed on the evening .of the day .
                           of sale, to. head of police ~ommissioners, chief of police, city
                           marshal, town marshal or other head of the polic.e department
                           uf the municipal corporations wherein the sale is. made, or to.
                           the county clerk of your county if the sale is made in ·a district ·
                           where there is no. municipal poli~e department. Violation of
                           thjs la\V is a misdemeanor. Use carbon paper ·for duplicate.
                           use .indelible pencil.                       .           .
                           Sold by-~'-------~------------ Salesman_________________ _
                          .Cit:v, ·town or township. ____________ .:. . __ .:._---,-----"---------
                           Dr.scrjpt-ion of arm (state whether revolver or pistol)--~--..,--
                           Maker ___ ..,.--------------- Number""----- ___ · Caliber _____ _
                           Na.me of purchaser ___________ ;_ ___ age __ .:._ ____ ,..._..:. ____ years.
                           Permanen.t residence (state name· of city, town or township,
                           street and :tmin.ber ·of dwelling) ______ . :. _____ _:_ ____ .,.:_...; _______ .·
                           Heiglit ___ _:_ __ feet_ ____ jnches. Occupation______·. :. _______ _
                           n.,o l or ,.. _____________
                                          ·         ·    s1·
                                                          nn_.:.. ______
                                                                   ·     eyes ________ h a1.r
                                                                                           · _______ _
                           If traveling or in locality. temporarily, give local address
                           ------- .. -------- __: __ --------                 ------ ____ ___ - --
                                                                         ~-------:._-              _-:.        ;._
                          .                 .                                                              .
                              sig~~tl;;;-~f:-p~;;h~;;r~-:_-_-_-_-_:-_-_-_-_-_-~---~-~-----_-_-_-_-_~~--_-.:...     ____________
                           (Signing a fictitious name or address is a misdemeanor.) (To
                           be signed in duplicate.). .                              · ·
                          ·Witness _____ . .:. ___ _:_ _________ , salesman.
                              (To be signed in d:uplica~e.') ·
                                                                             Series No ...----"'-
                                                                             Sheet No. ______ _
                                                                   DUPLICATE.
                                                                                  .   .                        .
                                       Dealers' Record of Sale ·of Re;volver or Pistol.·.
                                                       State of California;
                                  Notice to dealers: This· carbon duplicate must be mailed
                               on the evening of the day of sa:Ie as set forth in the original
                               of this register page. Violation of this law is a misdemeanor.
                              ;_Sold by _______ .:.__~ _______ _:_ __________ Salesman ___ _:__:_ __ ~--
                                Oity, town or township ~--------~--------------·--~----- .
                               .Description of arm (state whether revolver or pi;stol) ------·--
                              .Maker· ------~---------_: _______ .number ______ caliber _____ _
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              Name of purchaser -------------'---------'-age ______ years.
            · Permanent address (state name of city, town or township,
              street and number of dwelling)~------'-~--------------------
             Height_ _____ feeL _____ inches. Occupation --------~-------
             Color· ·-- ._· _____ :--- __ skirL _..:._-:- __ eyes_:.. _______ hair ________ _
             If traveling or in locality temporarily, give local address

             Signature 6f purchaser----------~-'-----------~---------­
             (Signing a fictitious name or address is a misdemeanor.) (To
             be signed in duplicate.)                           ·
             Witness..:. ______________ . ., ____ , salesman.
                  (To be signed in duplicate.)
                  SEc .. 10. No person shall sell, deliver or otherwise _transfer ~~st~;;~~}~~s
             any pistol, revolver or other firearm capable of be1ng con- of certain
             cealed upo'n the person to any. person whom he has cause to firearms.
             believe to ·be within any of the classes prohibited by section
             two hereo·f from owning or possessing such firearms, nor to any
             minor underthe age of eighteen years. In no event shall any
             such firearm be delivered to the purchaser upon the day of the
             application for the purchase thereof, and when delivered such .
             firearm shall .be securely wrapp~d and shall be unloaded.
             vVhere neither party to the transaction holds a dealer >s license,
              no person shall sell or otherwise transfer any .such :firearm
              to any other person within this state who is not personally·
             lmown to the vendor~ Any violation of the' provisions of this
              section shall be a misdemeanor.
                · SEc .. 1L The duly constituted licensing authorities of L1_ocal "r
              any county, City . an d county, mty,   .                      .. . l"t
                                                         town or oth er municipa       1censeo or
                                                                                  1 y sale of cer"
              within this state, may grant licenses in form prescribed by the tain firearm 3,
              attorney general; effective for not. more than ·one year from .
              date of issue, permitt~ng· the licensee to sell at retail within·
              the said. county, city arid .county, city, town or· other munic-
              ipaJity pistols, revolvers, and other firearms capable of being
              coneealed upon the person, subject to the folloWing conditions,
              for breach of any· of which the license shall be subject to
              forfeiture:                                            ·
                   1. The business shall be carried on only in the building
             .designated in the license ..
                 · 2. 'rhe license or a copy thereof, certified by the issuing
               authority, shall be displayed on the premises where it can
               easily be read.             .
                   3. No pistol or revolver shall be delivered             .
                   (a) On the day of the application for the purchase,· and
               when delivered shall be unloaded and· securely· wrapped; nor
                   (b) Unl~ss the purchaser either is personally known to the
               seller or shall present clear evidence of his identity.
                   4. No pistol or revolver, or imitation thereof; or placard
               advertising the . sale or other transfer thereof, shall be-displayed
               in any part of said premises where it can readily be seen "from
               the outsiqe.                                       ·

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                  702                                 STATUTES OF CALIFORNIA.

                  ~:~\~~~i~~r        bSEc. 12. 'dAdny perso~ who, ~ithout being licensed as
                · certain_fire-· a ove prov1 e ,        engages m the business of selling or otherwise
                                        f errmg,
                  arms without ·.t rans·..
                  license.                   ·   or     wh o. a d ver t'1ses ·for· sa1e, or off ers or exposes f.or
                                   sale or transfer, any pistol, revolver or other firearm capable
                                   of being concealed upon the per,son is guilty ·of . a misde-
                                   meanor.                                        ·
                 Tampering
                 with marks           SEc. 13. No person shall change, alter, remove,. or oblit-
                 on certain
                 fire:t!·ms.
                                   erate   the name of the maker, model, manufacturer's number,
                                   or other mark of identification on any pistol or revolver.
                                   Possession of any such firearm upon which the same shall
                                   have been changed, altered, removed, or obliterated, shall be
                                   presumptive evidence that such possessor has changed, altered, ·
                 Pr.nalty.         removed, or· obliterated the same. Violations of this section
                                   shall. be punished by imprisonment in the state .prison for
                                   not less than one year nor more than five years.
                 Expi~ation           SEc. 14. All licenses heretofore issued within this state
                 of cm·rent
                 licenses.
                                          · ·
                                   perm1ttmg     t h e carrying
                                                              ·    of p1sto
                                                                          · l s or revolvers concealed 'upon
                                   the· person shall'expi:re at midnight of December 31, 1924.
                 Antique
                 pistols, . etc.
                                      SEC. 15. This act shall not apply· to antique pistols or
                                   revolvers incapable of use as·such.
                 Constitution-        SEc. 16~ If any section, ·subsection, sentence, clause or
                 ality.            pfl.rase o~ this act is for any reason held to be unconstitutional
                                   such decision shall not affect the validity of the remaining
                                   portions of this act. The legislature hereby declares that it
                                   would have passed this act and each section, subsection, sen-
/                                  tence,· clause and phrase thereof, irrespective of the fact that
                                   any one or more other se·ctions, subsections, sentences; clauses
                                   or phrases be declared unconstitutional.
                 stats. 1917,         SEc. 17. That certain act entitled, ''An act relating to
                 ::~P~~t~~-     .  and regulating the carrying, possession,· s_ale or other disposi-
                                   tion of. firearms capable of being concealed upon the person; .
                                . prohibiting the possession, carrying,· manufacturing and sale
                                   of certain other dangerous V'\ieapons and the giving, transfer-
                                   ring and disposition thereof to other persons. within this state;
                                   providing for the registering of the sales of firearms; prohjbit-
                                   irig the carrying or possession of concealed weapons in munici-
                                 . pal corporations ; providing for the destruction of certain
                                   dangerous weapons as nuisances and making it a felony to
                                   use or attempt to use certain dangerous weapons against
                                   another," approved May 4, 1917~ is hereb3r repealed.




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                                            THE



              STATUTES 0 F CALIFORNIA
                                             AND




                                                                                     I    .


                      AMENDMENTS TO THE CODES·                                       '.




                                         PASSED AT THF:




                   .·FoRrY-SECOND SESSION OF THE LEGISLATURE



                                          1917

             . BEGAN ON· MONDAY; JANUARY EIGHTH, AND ENDED ON FRIDAY, APRIL
                      TWENTY-SEVENTH, NINETEEN HUNDRED AND SEVENTEEN




                                          0.A.LIFORNIA
                                     ST~TE PRINTING OFFICE

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                                              CHAPTER 145.

               An. ac-t- 1"·elating to and 1·egulating the carrying, possession, sale
                   or other disposition of ji1·eanns capable of being concealed
                  ~~pan the person-_; prohibiting the possessimi, carrying, m.an- ·
                  ufact~wing and s:ale of certain other d.angerot~s weapons
                   and the giving, trans[e?"ri1tg and disposition thereof to
                  other persons within this state). p?"oviding for the registering
                   of the sales of firearmsj prohibiting the carrying or posses-
                  sion of concealed weapons in 'YYI/L~nicipa~ corporations). pro-.·
                  viding for the dest?"uction. of cerfain 4,an.gerous weapons as
                  n1-~isances and making it a felony to t~se or attempt to use
                   certain damgermLs· weapons against anothe1·. ·
               /            [Approved May 4, 1917.        In effect July 27, 19i7.]

             JThe people of the State of California do en~ct as follows:
                   · SECTIO:r   i. . Every    person who manufactures or causes to M~nuracture,
                    be manufactured, or leases, or keeps for sale, or offers; or gives, ~~~t~i~
                   or otherwise disposes of any instrument or weapon of the kind dangerous
                   commonly· known as a blackjack, slungshot, billy, sandclub, ~~:a~~~anor.
                   sandbag, bludgeon, or metal knuckles, a dirk or dagger, to
           /
           ·
                   any person within this state is guilty of a misdemeanor,· and
                   if he has_ been pr_eviously co_nvicted of a crime made .pu_nish-
           1
          . \ able by this section, he is guilty of a felony.
                        SEC. 2. Every person who possesses any instrument or Possess~oli
                    weapon of th.e k'"llld common ly k nown as a b. 1ac k.Jac k , s l ungs h ot,. ·dangerous
                                                                                                   of certam
                   billy, sandclub, . sandbag, bludgeon, metal knuckles, bomb or ~i:a~~~~nor.
                   bonibsheHs,· or who carries a dirk or a dagger, is .guilty. of
                \ a misdemeanor, and if he has been convicted previously . of .
               .~ an! felony or of a crime. made punishable by_ this act, he is
                1gmlty of a felony.               ·.  ··                               .
             . ,f       SEC .. 3. Every person \VhO carries in any city, city and C~rying
               \1 . count y, t own or mumCJpa  . . l corporatwn
                                                              .      of th'Is ~-t a t e any fuearmswithout
                    pistol, revolver, or other firearm concealed upon his person, ~~:d~~eanor
                    without having. a license to carry such firearm. as hereinafter                        · .·
                    provided in secti-on six of this act, shall be guilty of a misde-
                    meanor; and if he has been convicted previously of any felony,
                    or. of any crime made punishable by this. act, he is guilty of a
                    felony.                  · ·
                        SEC. 4. The unlawful possessing or carrying of any of Unlawf?l
                          .                          fi    -    ·             d .           . possessiOn
                    t h e Instruments,. weapons or rearms enumerate In sectwn of weapon,
                    one to section three . inclusive of· this act, by any person ~tlsance~
                    other than those authorized and empowered to carry or possess
                    the same as hereinafter provided, is a nuisance, and Ruch
                   ·instruments, weapons or firearms are hereby declared to be
                    nuisances, ~nd when any of said articles shall be taken from ~r~~~~~~s;
                    the possesswn .of any person the same shall be surrendered to etc.
                    the magistrate before whom said person shall be taken; except
                    that in any city, city" and county, town. or other municipal
                    corpo.ration ·the same shall be surrendered "to the head of the

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          222                               S'l'ATUTES OF CALIFORNIA.                  [Ch.145.

                             police force, or police department thereof. The officers to
                             whom the same may be so surrendered, except upon certificate
                             of a judge of a court of record, or. of the district attorney of
                             any county that the preservation thereof is. necessary or proper
                             to the ends of justice, shall proceed at, such time or times as
            Destru cti on he deems prop~r, and at least once in each year to destroy or
            of weapons,
            etc.             eause to be destroyed such instruments, weapons or other fire-
                             arms in such manner and to such exfent that the same ·shall
                             be arid become wholly and entirely ineffective and useless for
                             the purpose for which it wa~ manufactured.               · · ·
          · Attem1; ted          SEc.   5. Any   person   who   attempts  to  use, or    who with
           ·1tse of
            weapons ·        intent to. use the same unlawfully against another, carries or
            felony ..
                           ·possesses a dagger, dirk, dangerous knife, razor, stiletto, or
                             any loaded pistol, revolver or other firearm, or any instrument
                           ·or weapon commonly known as a blackjack, slungshot,. billy,
                             sandclub, sandbag, metal knuckles, bomb, or bombshell or any
                             other dangerous or deadly instrument or weapon, is guilty of
                             a felony. The Garrying or possession of any of the weapons
                             specified in this s.ection, by any person. w~ile committing, or
                             attempting or threatening to commit a felony, or breach of the .·
                             peae:e, or any act of violence. against the person or. property
                             uf another, shall be presumptive evidence of carrying or pos-
                          . srssing such weapon with intent to use the· same· in violation
                             of this section.                                          .          ...
            License to           SEC. 6. It shall be lawful for the board of police co;mmis-
            carry.
            concealed        sioners, chief of police, city marshal, town marshal, or other
             fit·earm.
                              head of the police department of any city, city and county,
                              town, or other municipal corporation of this state, upon proof
                              before said board, chief, ·marshal or head, that the person
                              applying therefor is of· good moral character, and that good
                              cause exists for. the issuance thereof, to issue to such . person a
                             license. to carry concealed ·a pistol, revolver or other fire-
                             arm; provided, howeve1·, that the ·application . to carry
                              concealed such firearm ·shall be filed in writing and shall state
                            . the name and ·residence of the applicant, the. nature 0~ appli- .
                              cant 's· occupation, the· business address of applicant, the nature
                              of the weapon sought to be carried and the reason for the filing
                              of the application to carry the same.                        . . .
             Register            SEC. 7. Ev~ry person in the business of selling, leasing or
             of s·ales or
             firearms.        otherwise transferring a pistol, revolver or other firearm, of a
                              size: capable of being concealed upon the person, whether such
                              seller,· leasor or tra:nsferrer is a retail dealer, pawnbroker or
                              otherwise, except as hereinafter provided, shall keep a register ·
                              in which shall be entered the time of sale, the date of sale, the
                            · name of the salesman ·making the· sale, the place where sold,
                              the make, model, manufacturer's number, caliber or other
                               marks of identification on such pistol, revolver or .other firearm.
                               Such register shall be prepared by and obtained f:r:om the
                              state printer and shall be furnished by the state printer to said
                               dealers on application at a cost of three dollars per one hun,-
                               dred leaves in duplicate and shall be in the form hereinafter
                            . provided. The purchaser of any firearm,. ·capable of being
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              Ch. 145.J             FORTY-SECOND SESSION ..                                223

                concealed upon the person shall sign, ·and the dealer shall
                require him to sign his name and affix his address to said
                register in duplicate and the sales1nan shall affix his sig1;1ature
                in duplicate as a witness to the signatures of the. purchaser.
                Any person signip.g a fictitious name or address is guilty of a
                misdemeanor. The. duplicate' sheet of such register shall on Duplicate
              · the evening of the day of sale, be· placed in the mail, postage ~:~l~d to
                prepaid and properly addressed to the board or police com- police.
                missioners, chief of police, cjty marshal, town marshal or other
                head of the police department of the city, city and county,
                town or other munjcipal corporation wherein the sale w·as ·
                made; provided, that where the sale is made in. a district where
                there is no -municipal police department, said duplicate sheet
                shall be mailed to the county clerk of the county wherein the                . .
               sale is made. A vioiation of any of the provisions of this sec- v~olation ·
               tion by any person engaged in the business of selling, leasing misdemeanor .
             .··or otherwise transferring such firearms is a misdemeanor.
               This section shall not apply to wholesale dealers in their
               business intercourse with retail dealers, nor to wholesale or
               retail dealer~ in the regular or ordinary transportation of
               unloaded firearms as merchandise by mail, express ·or other
               mode· of shipment, to points outside of the city, city and ·
               county, town or municipal corporation wherein they are situ-
               ated. The register provided for in this act. shall be substan-
               tially in the following form :
                                                               Series No._.:._ ____ Form or
                                                               Sheet No. :.. _____ register.
                                            ORIGIN~.··


                         Dealers' Record of Sale of Revolver or Pistol.
                                        State of California.
                                                   .     -
                 Notice to dealers: This original is for your files. If spoiled
              in making out, do not destroy. Keep in books. Fill out in
              duplicate.
               · Carbon duplicate must be mailed on the evening of. the day
              of sale, to head of police· commissioners, chief of police, city
              marshal, town marshal or other head· of the police department
              of the municipal corporations wherein the s.ale is made, or to
             the county clerk of your county if the sale is made in a district
              where there is no municipal police department. Violation of
              this law is a misdemeanor.·. Use carbon paper· for duplicate.
              Use indelible pencil.                                     .
              Sold by -.:..----------------"'"'- Salesman __: _____________ _
              City, town· or township __:. ___________ ~----------~----:... ___ _
             ·Description of arni (state whether revolver or pistol) --------
              Maker __ .:. ________________ number ________ caliber ___ ._ ___ _
              Name of purchaser -----~------...:.:. ______ ;..._ age ______ years.
              Permanent residence (state name of. city, town or township,
              street and nuUJ.ber of d:welli!lg) --------------'------------
              Height _:_:_.:.._ feet ----~ inches. Occupation ______ _:. ______ .:..~
              Color _:. ________ skin ________ eyes _______ _:_ hair _____ ..; __ _


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          224                            STATU'l'ES . OF CALIFORNIA.             [Ch. 145.
                    If traveling or in locality temporarily, give local address ____ _
                    -----------------------------~-~-----------------------
                    Signature of purchaser --~---~--'---..,..--~-'---:------------­
                    (Signing a fictitious name or address is a misdemeanor.) (To
                      be signed in duplicate.)
                    Witness --.,..------------------, salesman,
                      ( rro be signed ]n duplicate.)
                                                                 Series No. ----...,-
                                                                 Sheet No. _____ _
                                                 DUPLICATE.
                              Dealers' Record of' Sale of Revolver or Pistol.
                                           State of California.
                       Notice to dealers: This carbon duplicate must be mailed
                   ·on the evening of the day of sale· as set forth in the original
                    of this register page. Violation of this law is a misdemeanor.
                    Sold by ----~------------_,._.:.. Salesman ___________ . :. __:_ __
                    City, town or township ____________________ ;_ ___·_________ .:.
                    Description of arm (state whether revolver or pistol) ..: ______ _
                    1\Iaker _____ ·_____________ number -'------- caliber --------
                    Name of purchaser. __ _:_ _____ ""------'----·--:... age ----~~ years.
                    Permanent address (state name of city, town or township, ·
                   ·street and number of dwelling) ------~-------~---------:_-
                   Height ---'-- feet -..,.---inches. ·Occupation ~------_: _____ ,__: ·.
                   Color --------- skin -------- eyes ----------hair --------..-
                   1£ traveling or in locality temporarily, give local address-:-----
                    ------------------------------------------------------~
                         Signature of purchas,er ----------------------~----_: ______.
                          (Signing a ·fictitious name or address is a misdemeanor.) . (To
                            be sigried in duplicate.)                               ·
                         Witness ______ :_ _____ -:--------i salesman.
                            (To be signed in duplicate.}        .
          Exceptions.       SEC. 8. Nothing in this act shall be construed to apply to
                         sheriffs, · constables, . marshals, policemen . or other 'duly
                         appointed peace officers, nor. to any person summoned by any
                       · such· officers to assist in making arrest or preserving the peace
                         while said person so summoned is actually engaged in assisting.
                         such officer; nor to duly authorized military or civil organi:?a-
                        tions while parading nor to the members thereof when going
                         to and from the places of meeting of their respective organiza-
                         tions; nor to the possession or transportation by any merchan~
                         of unloaded firearms as merchandise; nor to bona fide- members
                         of any club or organization now existing or hereinafter organ-.
                      . ized, for the purpose of practicing shooting at targets. upon
                        'established target ranges, whether public or private, 'while
                         such members are using any of the firearms referred . to in·
                         this act upon or in such target ranges,' or while going to. and
                         from such ranges. ·                       .
          c~nstitution-     SEc. 9. If any section, subsection,· sentence, clause or
          ality.         phrase of. this act is .for any reason held to be unconstitutional


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              ·ch. 146.]               FORTY-.SEJ,OOND SESSION.                            225
              such decision shan· not affect the validity of the remam~ng
              portions of this act. The legislature hereby declares that· it
              would have passed this act and each section, subsection, sen-
              tence, clause and phrase thereof, irrespective of the fact that
              any one or more other sections, subsections, sentences, clauses
              or phrases be declared unconstitutional.


                                          CHAPTER 146.

              An act amending an act entitled u An act to provide for the
                  incorporation and organization and management of county
                  water districts and to provide for the acquisitio?J, of water·
                  ri·ghts or the constnwtiQn thereby of water works, and for
                  the acquisition of aU property necessary therefor,. and also
                 to provide for the distri'Qution and sale of water by said
                 .districts," approved June 10, 1913, by adding thereto a
                ·new section to be numbered .twenty-eight, providing for
                  the exclusion from any county water d,istrict formed under
                  said act of territory not served by such county W(l,ter
                  district.                                           ·
                            [Approved May 4, 1917.   In   effect July 27, 1917.]

              The people of the State o/ California do enact· as follows:

                 .· SECTION 1: ·An act approved June 10, 1913, and entitled stats. 1913,
                "An act to provide for the incorporation and organization and v. 1049 ·
                management of county water districts and tci· provide for the
              ·acquisition of water rights or the construction thereby of water
                works, and for the acquisition of all .property necessary there-
                for;. and also to provide for the distribution ·&nd sale of water
                by said. districts," i$ hereby amended by adding to said act a
                section numbered twenty-eight, reading· as follows:
                    Sec~ 28. · Any territory, included within any county water Exclusion of
              · district formed 1;1.nder the .provisions of this act, and not territory.
                benefited in a:ny ·manner by such district, or its continued ·
                inclusion therein, may be excluded therefrom by order of. the
                board of·directors of such district upon the verified petition of Petition.
                the owner or owners in fee· of lands whose assessed value, with
                improvements, is in excess of one-hal£ of the assessed value of
                all the lands, with improvements, held in private ownership in         .
                such territory. Said petition shall describe the territory contents.
                sought· to be excluded and shall set forth that such territorv is
                not. benefited in. any manner by said county water district or
               its continued inclusion therein, and shall pray that such terri-·
                tory may be .excluded and taken from said district. Such
              .petition shall .be filed with' the secretary of. the water district
                and shall be accompanied by a deposit with such secretary of
                t.he sum of one hundred dollars, to meet the expenses of adver-
             . tising and other costs incident to the proceedings for. the.
                 lo-30574
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                                                      '
                                       c·   A L I ·F 0 R N I A                         LEGISLATURE-··
                                                                                       ..
                                       F 0 R T            Y~   - F. I F T H           S E S .S I 0           N, - ·. 1 ·9 2 3



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      !
                ;
                                                                                                                            ..... ·.


                                                        Final Ca~lendar of.
                                                      , Legislative Business
                                                           · History and lnd~x of all_ Senate
                                                             and Assembly Bills, Constitutional
                                                             Amendme~ts, Joint and Concurrent
                                                                                                                                       '           .
                                                                                                                                           '

                                                                   Resolutions Introduced

           ;t.··

                                                                                                         <
             : ·.
                                                                  Also List of Officers and MeiiJ.hers,
                                                                      Standing Committ~es and
                                                                        Attaches of the Senate
                                                                             and Assembly



                                                                      Compiled under the direction of
                                                               JOSEP:M A. BEEK, Secretary of the Senate and ·
                                                                   ARTHUR A. OHNIMUS, Chief Clerk
                                                                             of the Assembly .
                         ;.·.




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                    . ' . . ..lv···.




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                    ;;
                                                                    . CALIFORNlA_ STA~E PUINTING OFFICE
                                                                         FRANK J. SMITH, Superintendent
                                                                                                                                               .   ~
                                                                              . SACRAMENTO, 1923
                                            . 27155


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                                   I




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                                       ASSEMBLY FINAL HISTORY
                                                                            FORTY-FIFTH SESSION

                                                                            COMPILED UNDER DIRECTION·OF

                                                               . ARTHUR A. OHNIMUS, Chi~£ Clerk
                                                      ELLSWORTH E. EUSTICE, .A:ssistan.t Chief Clerk
                                                                                                 ..
                                                          DURATION OF SESSION·
                                              ·First ·Half-} anuary 8-Febru~ry 2, inclhsive, 1.92~
                                                Second Half..,.-March !5-,-May 18, inclusive, 1923
                                                                              (Duration, 101 days)




                    f '.




                                       21-:-271Qp .AFH

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                                                                                      '
                  128               FINAL CALENDAR OF LEGlSLATIVE BUSINESS.

                  260-Emme, Jan. 24.             To Corn. ori Ins.
                        An act to amend section 29 of the "\Vor)rmen's Compensation Insurance. and
                          Safety Act of 1917," as amended, to permit the revocation of ·certificates. of
                          self-insurance, to make failurP to secure the payment of. compensation a mis-
                          demeanor, and to require employers to furnish the Industrial Accident· Com-
                          mission with statements showing the name of their insurance carder or. how
                          they have secured the payment of compensation.
                        Jan. 24-Read first time. To printer.
                        Jan. 26.,.-Freim printe,r. To committee.           .
                        Mar. 15-From committee with recommendation: Do pass.
                        Mar. 19-Read second time. To engrossment.
                        Mar. 23~ReporteQ. correctly engrossed.
                        April 9-Read third time, passed, title ap.proved.
                        April10~To Senate.                                      .
                        April10---"-In Senate. Read first time, and referred to Com. on Ins. To committee.
                        May 4--From committee with recommendation: Do pass.
                        May 9<-Read second time.
                        May 10-Read third time, passed, t~tle approved. To ~ssembly.
                        May 10~In Assembly. To enrollment.
                        May 16--Reported correctly enrolled. To Governor; ::).t 1.30 p.m.
                        June 22-Pocket veto· by Governor.                              ·

           ...:
                  261-Emrne, Jan. 24.            To Corn. on L. & C.
                        An act to amend section 3 of an act entitled, "An act requiring· employers to
                            provide hospital service for their employees and to make a charge therefor
                          . and to keep records and accounts of all such charges and to make an a~nual
                            written report thereof; requiring each· such charge to be just and ·reasonable·
                            and to be devoted to n_o other ,purpose than .such hospital service and prescrib-
                            ing penalties for the violation of the provisions thereof," approved June 8,
                            1915, as amended.· ·                ·           ·
                        .Tan. 24-Read first time. To printer.
                        Jan. 26-From printer.. To committee. ·
                         1\~)ay. 18~Fr·om commilbtee witho•uJt recomm€nd·ation.

                  26~-·Weller,      Jan. 24.     To Corn. on J ud.
                        An act to add a new section to the Civil Oode, to be numbered 2957a, relating to
                           the filing oJ memorandum of conditional sales contracts and. certain leas·~s .. ·
                        J.an. 24-Read first time. To co·m. on Rev. & Ptg. From committee. To printer.
                        Jan. 26--From printer. To committee.·
                        May 1~From commirbtee witho·l]t recommendation.
                  263-.Hawes, Jan. 24.           To Com. on Jud.
                        An act to control and regulate the possession, sale and use. of pistols, revolvers
                           a:iJ.d other ·firearms capable of being .concealed upon the ·person; to prohibit the
                           manufacture sale, possession or carrying .of certain other dangerous weapons·
                           within this State ; to provide for registering all sales of pistols, revolvers or
                           other firearms capable of being concealed upon the person; to prohibit the
                           carrying of cqncealed firearms. except b:v. lawfully authorized persons; to
                           provide for the confiscation and destruction"' of such weapons in certain cases;
                           to pr.ohibit the owne·rship, use, or possession of any of· such weapons by.
                           certain classe:;; of persons;· to prescribe penalties for violations of this act· and
                           increased penalties for repeated violations hereof; to authorize, in proper
                           cases, tb.e granting of licenses or permits to carry- fire::trnis concealed ·upon: the
                            person ; to provide for licensing retail d.el:J.l.e"rf'l in such firearms and regulating
                            sales thereunder; and to repeal chapter 145 of Cali~ornia Statutes of 1917,
                           relating to the same subject.                                                   ·
                        Jan. -24_:_Read first time. To printer.
                        Jan. 26--From printer. To committee.
                        April12--From eommittee with recommendation: Do pass as amended;
                    . · Apri113-Read second tl:tr).e. Amendment adopted.· 'l'o printer.
                        April16-'-From printer. To engrossment.
                        April17-Reported cori·ectly engrossed.
                        April27-Read 'third time.· .Amende'd. · To printer.
                        April30-From printer. To re-engrossment.
                        May 1-Reported correctly re-engrossed.
                        May 2-Read third time, passed, title approved. To Slenate. ·
                        May 2-In Senate .. Read first time, and referred to Com. on Jud: To com·
                          · m:itte.e.          .      .
                        1'.1ay 9-From committee with recommen.dation: Do pass as amendfld.                             '
                        May 10--:Read second time. Amendment adopted. To printer. . .
                        May 11-From printer.                 ·              · ·
                      · May HJ.-Read third time, passed, title .approved.- To Assembly.
                        May 17-.In.Assembly. Assembly concurs in Senate amendments. To enrollment.
                        May 18-Reported correctly enrolled. To Goyernor at 4.50 p.m. ·                        -
                        June 13-Approved by Governor. Chapter 3,39.                       ·


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                                                                                                                                  ,·' ;.     .·


               ASSEMBLY BILL .                                                                 No.· 263.···
                                                                                                                                            . . .'·        -~   .




                                        INTRODUCED BY MR.. HAWES,·
               ·~.


                                                    .,

                                                   January 24, 1923.


                                                                                                                                   ·'.
                                       ·REFEREED TO COM.Ml!l'TEE ON JUDICIARY.




                             An .act  to co;,tr_ol··the possession, sale, ··and. use of. pistols ·.and.
                                revolvers, .to provide penalties, andJ for ·other purposes;· .·.

                 ··          The people ·of the State. of .(Jalifornia do enact: a~ fo.lloi{)s:

                          ·. ·1.     SEcTION 1. · '-'·Pistol or· revhlver," as used in this act,: shall
                              2 b.e construed as meaning any firearm with barrel less than · ·
                               3 twelve inches in length.               ·                   •      ·                          .         !         •. •



                              4 · S:Elc. 2. If any person ·shall commit or attempt ··to collllilJ.i; ·
                             '5 a crime when armed with a pistol or revolver,· arid having 1:1.0· ··
                      - 6 permit to carry the sam~, he shall in addition tci the punishment
                               7 . provided for the crime, he pu;nis1;u~d by imprisonment in :the '
                              8 state prison. for not less than. five nor more than ten years~ · ··
                             . 9 . . SEc. 3. The. judge shall have the power to senten<}e aiiy.
                           10: person who may be'·convicted for a second. or third offense
                      . 11 under section two, of this act;·to double and triple the penalty ....
                     ·.. 12 ·.··imposed thereby, and for a fourth offense· the person so co;tl;.. ·               ._, :
                           13 ·'V~cted m~y be sentenced to perpetual imprisonment.                   ._ - ·
                           14 · . SEic. 4. · In the trial of a ,person for the com;mission :of· a·
                      · ·15 felony O'r of an attempt to commit a felony against the person · · · .. · ·
                           16 of another, the fact that h~ was armed.with. a pistol orrevolver .·. '-
                           17 and having no permit to carry the same 'shall be prima facie .
                          .18 ·evidence of his intention to commit said felony.           · .             .· ·:_ . . ;_
                           19·       SEc. 5;. No u:tui.aturalized foreign-born person -and no pel'- . · · · .                                                   ·.>


                            20 son who has been convicted of a felony against the person or                --- ·
                          ·21 property of another m.· against the Governrnent of the United . .. . - ·
                       ·. 22 · States or of the State of' California or any subdivisions thereof,             ···
                                                    in
                            23 · shall own or have hls possession or under his··control, a piStol .
                            24 qr revolver. ·Violation of this section shall be punished·· by.                     . · .. ·
                         . 25 ·. impriso.hment i;n the state prison for not less than five years;
                         · 26 ' · SEO. 6. No .person shall carry a; pistol or revolver ·coil- ·                 - ·,.,·.
                                                                                                                                                                    ·.::

                            27 ·.cealed_in any vehicle .or upon hi~'person,-except in his dwelling .
                                                                                                                      .   .         .....
                                                                                                                                  -.,
                                                                                                                              . :-                     :: .

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                                                                                                                      ,.-. l----;:.
                                                         ·- ·2---                                                          --,;              I

                                                                                                                                   :-.

                       1.                                                  a
                                      house or place of busl.iless; without license~ therefor ~ here-.                            · ...·./
                                                                                                                                     .J
                       2. ·           inafter. provided. Violations of this section. shall be punished
                       3              by imprisonment in the state prison for not less than one yea.r
                       4              and upon conviction the pistol or revolver shall be confiscated.
                       5              and destroyed. ·                                                       ·
                       6                 SEc. 7. The -provisions of the preceding section sha1i trot
                       7·             apply to marshals, sheriffs, policemen, or other duly appointed
                       8              peace officers, nor to the· regular and ordinary transportation
                                9 of pistols or revolvers as merchand_ise, nor to members of the
                          · 10 army, navy, or marine corps of. the United States,· or the
                            -11 national guard,_ when on duty, o.r organi_zations.j';by law author-
                             12 · ized to purchase or receive such weapons fron;1. the· United
                             13 States, or this _stat_e, .nor to       chily authorized military    or     civil--
                             14 .organizations when parading, nor to the .members thereof when
                             15 at or going to or from their customary places of assembly.
                             16          S:Ec. 8.. · The judge of a court of record, the chief of police .
                             17 or marshal of a,' city or town and the sheriff of -a co.unty; or
                             18 persons authorized by any of them, shall, upon the application
                             19 of any person having a bona fid_e residence ·or place of business
                             20· within the. jurisdiction of said :licensing authority, or of· any.
                             21. person having a bona fide re$idence or pla0e o£ husiness within
                                                                   a
                             22 t.he State of Cal~fornia- and license to. carry. a firearm ·con-
                             23 cealed upon his person· issued by the authonties- of this state
                             24, or, any .sul;ldivision ·. of the tJ;nited. :States, issue . a. license, to
                             2.5 · such person to carry a pi8:t;ol or revolver within this state
                            :26 · .for. not more than one yeaJ; from date of issue, if it appears ·
                             27 . that the applicant has good reason to fear an injury to his
                         · 28 p€rson or· property or for any other proper purpose,- and that.
                         · 29 h~- is a suitable person to he so licensed. The license shall be
                             30. in triplicate, in form to be prescribed by the Secretary of State
                             31 of the· State of California, and_ sh;:Lll ·bear the name, address-,
                             32 description and signature of. the licensee and the reason given
                             33 for desiring a license: The original thereof shall be delivered
                             34: to the licensee, the duplicate shall.,within seven days he sent
                   <.- 35. by registered-mail to the secretary of state, and the triplicate
            .   .,;.. . ..' 8376.·. • shall be pre~erved _for six_ years by the authority issuing said
                                      l~cense. ·                         .                           ·
                         . 3S           ·SEo. 9. ..Any person or _persons who shall sell, bar~~r, hire,·
                             39 lend., or give to any minor un!ler the age of eighteen _years any
                           ·40 . pistol . or r\:)vol:Ver shall . be deemed guilty of a misdemeanor,
                             4L and shall upo:o. conviction thereof be fined n0t less than- oue
                             42 hundred dollars nor more than _one thousand doU~rs, or; be·.                             ·. ·. ~1
                             43 imprisoned in the county jail not less. thau'thr:ee .months, nor
                             44 '. more tha;n one year,. or both sp.~h fine aD;d i:rp.prison:tp.e:p.t.         ..
                             45 .. SEC~ 10. Nci person shall· sell, d,elivet, or oth.erwise tra1;1~~er                                   I

                             46; a.pistoi or~,r~volver to .a person_ w;:P,o· he has re~sonable.'eaus-e to                           ·.!

                             47. believe . either is· al).. ,unuatul;'(Lliz~d jor,etg11-porn: p~rs9n or: has .
                                                    a
                     · ·. 4S-· been c9nvicted 0£ _felony again~t the person .or· p;roperty of
                             49-. another, 01~ again~':\t the: government-of the_Un,it~~ States, or the ·
                · - 5:0:.             State of. Callfornia. or any sul;ldivi~ion thE)r-eof, n,qr . in;. a:p.y
                             51 ev~nt ·:Shi1ll lifl delive:r--a,.:Pisto+. or., revolvE?r .. on the:;day of .t~e . .
                             5~:;, application for the.-p;urcl].a,:;}~ thereo~, a!ld w.hen"d~!r,v~red, ,s~:ud · .·




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                  t···.. :·;,"f ...




                         .·. . ·1. . ·.. !pi~t9l qr \reyol.ye;r sh11lt he sec:urely: wrappe\l. -and . shall be
                                2 unloade-d: ]3efo.re a. delivery be made thrq pur<;;hal:ler shall .sign
                                3.•. intriplicate. and deliver. to the seller a. statement co:utaini:g;g his ·
                             4 full n~me~ addr.ess; occupation, .aJ:ld nationality,··~ the date of
                          ·. 5 · sale, the caliber, make, inodel, and manufact11rer's numb:er·of
                             6. the ''reap on. The, seller shall, within seven days, sign and for- .
                             7 ·w;:trd. by registered 1n,.ail one copy each thereof to the secretary
                             8 of state, .and one copy each thereof to the chief' of police of the
                             9·. cit3i: or town and the sheriff of the county ·.of which the seller·.
                         10 ·· is a resident, and sl1all retain the other copy for six years; · ' .• ·
                       -11 This. s.ection . shall not apply to sales at wholesale. Where . ·· _.~'
                         12. neither party to the_ transaction· holds a de~;tler's ·ticeiis.~, 'no·. -
                         13 person shall. sell or otherwise transfer a pistol or revolver to , · ··
                         14 any person·not pers.onally known to him. Violations of: this ::.
                         15 sectionshalfbepunishedby a :fine of not .less than one hun_dred
                          16 dollars.or by imprisonment in the COUnty jail for 110t less than
                         17 one year, or by both such :fine and impr~sonro.ent. .                · .
                         18         SEc. 11. Whoeve;r, without bei11g licensed as. hereinafter .
                        .19 provided, sells,       or   otherwise transfers, advertises, or exposes . '
                          20 for sa!e,     or   transfer or has 'in his possesssion wit1:1 inteb..t to ..
                       · 21 sell, or oth,erwise transfer, pistols or revolvers, shall be p.rin"' . ,_.
                         22 · ished by imprisonme11t '·in the ·state prison for not .less·.t1ian
                       · 23 . two. years;                    .     ·                 . . .        ..
                         24         SEC. 12. Tl.te duly constituted l}censing authorities ot auy -~-: .
                      .· 25 . city, town _or political suhdivisiori. of this state, may gfant : . '
                         26 licenses in ··form prescribed by ·the secretary of state, .effec-, · :·· .
                         '27 five for :p.ot more than one year from date cif'issue: permitting'
                         28. the licensee. to sell ~t retail within the said city ·or town or .·
                       . 29. political subdivision,· .pistols and revolvers~ subject to the 'fol:. .
                   ~ 30 lowing conditions, for breach of any of which the license shall ,.
                         31 be subject. to .forfeiture·: .               . ~--" ·            .    . . :'\
                         32         1. The business shall be carried on only in the building · · . -· ·
                                             in
                                                                                q


                         33. designated.          the license.' ·                  ·               · ·· ·.
                    · . 34          2, .The iicense. or a copy thereof, certified by the issui!lg . ·
                         35 authority, shall be displayed on the premises whre it: ca,JJ. ·. ·
                         3 6 ·easily be read.                  .          · /                  ·
                         37         3.. _No pistol or revolver shaH. be :de1ivered-.     _.· . . .       ..
                    '· 38            (a). On the day of the apphcatwn for the purchase,. a:q.d                  :. ·.  •'



                      , 39 -vvhen delivered shall be unloaded and securely wrapped; nor                     · .. ··
                        '40       · (b). Unless the purchaser either is personally known to the
                         41 seller or shall·present' clear evidence of .his identity;· nor. · :. :. ...
                         42          (c) If the seller has reasonable cause to· believe that tli\3 :              ··
                         ·43 purchaser either is an unnaturalized foreign born person .or• ·
                         44 has been convicted of a felony against the· person or property: ...
                         45 · of another or ~gainst the government of the U1iited. ·States:·
                         46 or ·the State of California qr any subdivision thereof. · · ; ·
                       · 47          4. A true record, in quadruplicate, shail be made of eyery             :......
                        .48. pistol· or revolver sold; said record. to be made in ·a book kept .
                       · 49 · for the pu-i-pose, the form of which may he prescribed by' the .




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                  ·1 secretary of state, and shall be personally signed ·by the .pur- .
                   2 ch'aser and by the :Person effecting the sale, each in ·the pres-
                   3 ence of the other;-and shall include the date of sale, the cali-
                   4 · ber, fu,ake, model,· and manufacturer 1s number of the weapo:ri,
                   5 the name, address, occupation, and nationality of the pur-
                   6 · · chaser. One copy of said record shall, within seven days, be
                   7 forwarded by registered mail to the secretary of.state and one
                   8 copy thereof each to the :chief of police of the city or town and
                   9· the sheriff of ·the county. of which the seller is a resident, and
                 10 the other copy retained for siX: years.            .    .     .    .
                 11        5. No pistol or reyolver, or imitation thereof,· or placard
                 12 advertising the sale qr· other transfer thereof, shall be dis- ·
                 13 played in' any part of said premises. where it can readily be
                .14 seen from the outside.·                    .        .
              · 15         SEc .. 13. If any person in purchasing or otherwise securing ·
                16 delivery of a pistol or revolver or in applying :for a permit to
                 17 ·carry the same, ·shall ·give false information or offer false
                 18 evidence of his identity he shaH be punished by imprisonment
             ' 19 in the state· p·rison ..for not less. than five nor more
                                               "                              . than ten·.
                                                                                 '"

                 20 years.
               · 21        SEc. 14. No person· shall change, aHer, remove, or obliter:.
                 22 ate the na:r;ne of the .maker, model, manufacturer's ·number;
                 23 or other mark of identification on any pistol or r.evolver.
                 24 Possession of: any such. firearm upon which the same shall                        .li
                 25 , have heen changed; altered, removed, or obliterated, shall be ·
                 ·26·r presumptive .evidence. that suchpossessor has changed, altered~.
                 27 . removed, or obliterated the same. Violations of this section
              · 28. · shall ·be punished by imprisonment in the state prison· for
                 2H- · not ~ess than one year· nor more .than five yea.rs.               .,. ·
                 30        S:Ec. 15 .. All licenses heretofore issued within· this state
                 31 ·permitting the-. carrying of pistols or revolvers concealed upon
                 32 the person shall expire at midnight .of December 31, 1924.
                 33 . ..SEC. 16. This act shall not apply to antique. pistols or
               · 34 .revolvers incapable of use .as such. .                          .-
               . 35        SEc. 17. All acts or parts of acts inconsistent herewith
                  36 . are hereby repealed .
                      .   .·   .   .   .   .       ~

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                             .         .      .          ,·.             '   .              .             .
                             . AMENDED IN ASSEMBLY .APRID 13, ·1923 ..
                                                                     I                  •             .




                    ASSEMBLY. BILL                                                                   No. 263-·


                                           I~TRODUCED BY MR. HAWES,.


                                                              January 24, 1923 .


                                      . REFERRED
                                               . TO COMMITTEE
                                                      . ;..·.
                                                              ON JUDICIARY
                                                                 .         •



                                                  .... ,··

                        , ..An. act [to control and 'reguLate the possession, sale and ug~ · · '·
                                 or pistols, revolvers and other firearms capable_ of being
                              .concealed upon the person/. to prohibit the manufacture,
               ..             ·sale, possession · or . carrying of certain · other dangerous
                               weap_Qns within this state_;_ to- provide for registering all
                               sales of pistols, revolvers .or other firearms capable of being
                                concealed ttpon the person)· to prohibit the carrying· of
                                eoncealed firearms. except- by lawfttlly atdhorized persons).
                                to provide {o1· the confiscation and. destruct_ion of such . . ·
                               we·apons in certain cases; to prohibit the ownership, use, .
                                or possession. of any of such weapons by r;ertain classes· of
                                persons)· to prescribe· penalties for. viol&tions of thi~ act
                                and increased p·enalties· for repeated violations hereof). to .
                                attthorize; in proper cases, the . granting' of licenses o·r
                              . permits to carry firr;,arms concealed upon ,Jhe person)· to
                               prO'Vid_e for licensing retail dealers in such firearms. Mid·
                               -regtt.lating sales {hereunder). and to repeal chapter one
                                htmdred forty-five .of California statutes of 1917, relatii.ng ·
                                to the same subJect.] ·                             ·            . ·:-,,_· ·

                            The people of t~e State of Oalifor._nia do enact as followE:
                      1       SECTION 1~ [On and after the date upon which. this act
                      2     takes effect, every person-who within· the state of California
                      3     manufactures or causes to be manufa-ctur.ed, or who inipo-rts                                  :r
                      4
                      ,5
                            into the·· state, or who· keeps for sale, or offers ·or expo$es for
                            sale, or who gives, lends, or possesses any .instrum~nt. o-r                         ..   ·.


                       6'   weapon of the kind commonly known as a blackjack, slung-:-
                      7     shot, billy, ··sandclub, sandbag, oi' meta1 knuckles, or who · ·
                       8-   carries concealed upon. his .person any explosive . s.u(lstance; .
                      9     other than fixed ammunition, or who carries concealed· upon
                                                                                                                  ·::"




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                                                   2-
                      1 _his person any dirk or dagger, shall be guilty of a felony and
                       2 upon .a conviction thereof shall be punishable by imprison-
                       3 ment in a state prison for not less than one year nor for more
                       4 than five years.]                                      ·
                       5     SEC. 2. [On and after the date upon which this act takes
                       6 effect, 'no unnatp.ralized foreign born person an,d ·no .person who
                       7 has beexl. convicted of a felony against the person or property
                      ·8 of another or against the government of the United States or
                       9 of the State of California Ci!' of any political subdivision thereof
                     10 shall own or have in his possession or under his custody or
                     11 control any pistol, revolver or other firearm capable of being
                     12 concealed upon·. the person. The terms ~'pistol,'' ''revolver,''
                     13 and "firearms capable of being concealed upon the person''--as
                     14: used in this act shall be. construed to apply to and include all
                     15 firearms having a barrel less than twelve inches in length. Any
                     16 person who shall violate the provisions of this section shall
                     17 be g1;1.ilty · of a felony_ and upon-· conviction thereof shall be      /
                     18 p-q.nishable by imprisonment in a state prison for not less than
                     19 one year uor for more. than five years.]·. ·
                     20      SEc. 3. [If any person shall commit or attempt to commit
                     21 any felony within this state while armed with any of the
                 · · 22 weapons ment!oned in section one hereof or while armed with
                     ~3 any pistol,.revolver or other firearm capable of being concealed
                     24 . upon the person, without having a license or per~nit to carry
                     25 . such fi·rearm as hereinafter provided, U:pon conviction of such
                      26 felony or of an· attempt to commit such felony, he shall. in·
                    _27 addition to the punishment prescribed for the crime of which
                      28 he has been couvicted, be punishable by irnprisomrient in a
                      29 state prison for not less than fiye nor for. more th~;~.n ten years.
                      30 Such additional period of imprisonment shall commence upon
                     31 · the expiration. or other termination of the sentence imposed.
                      32 for the crime of which he. stands convicted and shall not
                      33 run concurrently with· such sentence. Upon a second _convic- _
                      34 tion under like circumstances such additional period of imp:ris~ ·
                      35 onment shall be for not less than ten years nor for more than
                      36 fifte.el'l years, and upon a third conviction under like circum-·
                    · 37 stances such additional period· of imprisonment shall be· for
                      38 not less than fifteen nor fo:r more than twenty-five years, such
                      39. ·terms· of additional imprisonment to run consecutively as
                      40 ·before .. Upon a fourth or subseque:p.t conviction under· like
                      41 circumstances the person so convicted may be. imprisoned for·
                      42 life or for a term of years not less than twenty-five, within
                      43 the discretion of the court wherein such fourth or subsequent
                      44 · conviction was had.
                      45      In the trial.of a person charged with committing or atterript-
                      46 in·g to· commit. a felony a,gainst the person of another while
                      4 7 armed with any of. the weap~ons mentioned 'in section o'ne
                      48 ·_hereof, or while armed with any pistol, revolver or other fire-
                      49 arm capable of being concealed upon the person, without hav-
                       50 ing a license or permit to carry. such firearm as hereinaft~r
                       51. pr?vided, the. f~ct that he was. so armed sh~~l be prima facie
                       52 ev1dence of h1s mtent to comm1t such felony. .           ·


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                                               .             •'   .                  .. .   .               .

                             1         .SEc. 4. In no case shall any person puni~hable under the
                         · · 2 . preceding· sections. of this act be granted probation· by the                                         .,;·
                             3 trial court, ·nor -shall· the- execution of the sentence imposed
                           . 4' . upon such person be suspended by the court.]
                             5        .BEe. 5. · No unnaturalized foreign-born ·person and nci' per-
                           . 6 son who has been conviCted of a felony against the person. <!r
                             7 property of another or against the Govermnent _of the pnited
                             8 States or of the State of California or any subdivisio:o.s thereof,
                             9 shall own or have in his possession or under his control, a pistol
                           10 or revolver. Violation of' this section shall be: punished .by
                           11 imprisonment in the state pri~on for not less than five years.
                           12           [SEc. ·5. Except as otherwise provided in this- act, it' shall
                           13 be unlawful -for any person within .this state to carry con-
                           14 c~aled upon his person or within any vehicle which is under "
                           15 his control or- direction .any pistol, re:volver or other firearm
                           16 __.- capable of being concealed- upon the. person without having
                         · 17-- a license to carry such firearm. as· hereinafter provided in
                           18 section eight hereof. Any person who violates the provisions
                           19 of this .se.ction shall be guilty of a misdemeanor, and if he /
                           20 . has been convicted previously of any felony; or of any 0rime
                           21 made pu:i:lishaple by this act, he is guilty of a felony.
                           22 - . This section shall not .be construed to prohibit- any citizen
            )
                           23 · of the United States, over the .age of eighteen years,- who ·.-
                           24 resides or is temporarily sojourning withi11 this state, and' ·
                           25 _~ho is not within the excepted classes prescribed by s·ection
                           26 · two hereof, from owning, possessing or keeping within his .
                           27 place of residence or place of business ariy pistol, revolver or'
                           28 _other firearm capable of being concea:led upon. the person, and
                           29 no permit .or license to purchase, own, possess. or keep any~
                           30 such. firearm at his . place . of residence· or place . of business
                           31 shall be required of any such citizen. Firearms car:r:ied openly
                           32 · in belt _holsters ·shall not be deemed to be concealed· within
                                                                                                                             -.    \::.:
                        . 33 the meaning of' this section, nor shall laiives which are carried
                        . 34 openly in sheaths suspended fro:in the waist of the wearer. .·.
                           35 ·         SEc. 6. Nothing in the preceding section shall be· construed . ·
                           3'6 to apply .or to affect sheriffs, constables, marshal~, policemen,
                           37 whether active or honorably: retire,d, or other duly a.pJ?Oi:i:lted
                       ·- 38 . peace· officers, nor to any person summoned by any such officers
                           39 to assist in making arrests or _,~reserving the peace while .said ·
                         · 40 ··.person so s:ummoned is actually engaged in assistiiJ.g· -~.such
                           41 offitier; nor tq the possession or transportation. ·by. any. mer- .·
                          .42 .. chant of unloaded firearms as· merchandise; nor to n1embers; of
                           43. the ~rmy, navy, or marin~ ~orps of. the United States, or the
                           44 · national guar-d, when on duty, or to organizations which are
                     ',45 by law authoriZ;ed to purchase or receive such we~pons from
                       · 46. the United- States, or from this_ state; nor to duly ~uthdijzed
                           47 . niilitary or .civil organizations while_ parading; 'nor to the inem-
                           48 bers ·thereof: whmi going to and from the place~ o£ mee.ting
                                                                                                                                           .~--   .


                           49 .'of their respeotive orga,:riizations ;· nor to members bf any ~lub. ·
                           50. or orgailizatio:n. :now existing, or here:after .prganized, for: the .
                           51 purpose. of pi.'acticing shooting at ·ta;tgets· upon th'e. established
                ..   .
                           52 .. target
                                    . ....
                                       .'
                                            :ran,g,es,
                                              .  . :·.
                                                   ·..
                                                       ,_yYhe.ther
                                                            .
                                                                   :public . or private,
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                                                                                           while. . .S~Gh
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                     1     ·are using any of the :firearms referred to in this act \lpon S"\lch
                     2      target ranges, or while going to and from such range.S; or to
                     3      licensed hunters or fishermen while engaged in hunting or ·
                     4      fishing, or while going to or returning from such h-t;mting or·
                     5      :fishing expedition.
                     6          SEc. 7. The unlawful concealed c-arrying upon the person
                     7      or within the vehicle of the carrier of any dirk, dagger, pistol,
                     8      ~,evolver, or. other :firearm capableof    being concealed upon
                     9      the person, is a nuisance. Any such weapons taken from the
                    10      person or. vehicle of any person unlawfully carrying the same              \
                    11    · are hereby declared to be nuisances, and shall be surrendered
                    12      to the magistrate .before whom said person shall be taken,
                    13      except that in any city, city and county, town or other munic-
                    14      ipal corporation the same shall be surrendered to the head of
                    15      the police force or police department thereof. The officers to·
                    16      whom the same may be so surrendered, except upon the certif-
                    17     ·icate of a judge· o.f a court of record, or of the district ·attor-
                  / 18      ney of the county, that the preservation·thereof is necessary or
                    19      proper to the ·ends of justice, shall annually, between the first
                    20      and tenth days of July, in each year, destroy or caus.e to be
                    21      destroyed such weapons to such "extent that the same shall
                   . 22 ·. become and he. wholly and entirely ineffective and useless for '
                     23 · the purpose for which it was manufactured; provided, how-
                     24 ever, that in the event any such weapon has been stolen and
                     25 . is thereafter recovered from the thief or his transferee, the
                     26 same shall not be destroyed but .shall be restored to the: lawful
                     27 owner thereof, so soon as its use as evidence has been served,
                     28. upon his identification of the weapon and· proof of ownership
                     29 thereof. Blackjacks, slungshots, billys, sandclubs, sandbags
                     30 and metal. knuckles are hereby declared to be nuisances and
                     31 shall be ·subject to confiscation and summary destruction
                     32 whenever found within the state; provided, that upon the cer-
                     33 ti:ficate of a judge or of the district attorney that the eiids of
                     34 justice· will ·be. subserved thereby, such weapon shall be .pre-
                     35 . served until the necessity for its use ceases.        .   .      .
                     36 ·       SEc. 8. · It shall be lawful for a judge of .the superior court,
                   · 37!.' the sheriff of a county, and the board of police commissioners,
                     38 . chief .of police, city· marsha1, town marshal, or other head of          i
                     39 the police department of any city,. city and -county, town, .or
                     40 other municipal corporation of this state, upon pro01; · be! ore
                     41 said board, chief, marshal or other police head, that the person ..
                     42 applying therefor is of good moral character, and that good.·
                     43 cause ·exists for the issuance thereof, to issue to . such person a
                     44 · license to carry concealed a pistol, revolver or other :firearm
                     45. for a period of· one year from the date of such license. All
                     46 applications for such licenses shall be .filed in writing, signed
                     4 7 by the applicant, and shall state the name, occupation, res1-
                     48 dence and business address of the applicant, his age, height,
                     49 weight, color of eyes and hair, and reason for desiring a license
                     50 to· carry sU:ch weapon. Any license issued upon .such applica-
                    .51 tion shall set forth the foregoing data and shall, in addition,
                     52 · contain a description of the weapon· authorized. to he .carried,



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                       1          giving the name of the manufacturer, the serial number and
                       2.         the· calibre thereof. When such licenses. are· issued· by a
                       3          superior judge ·or by a sheriff a record thereof shall be.kept .:'··
                       4          in the ·office of the county clerk; when issued by police author~
                       5        . ity such record shall be mai1itained in the office of the authority
                           6 . by whom issued. S11Ch applications and licenses shall be uni-
                           7 form throughout the state, upon forms t6 be preseribed by
                           8 .the attorney general. ·                                 ·
                           9·        SEc. 9. Every person in the business of selling, leasing or
                        10 otherwise transferring a pisto1, revolver or other firearm, of .
                        11 a size capable of beine- concealed up.on the person, whether
                   .- 11.. 32 .. suchseller, leasor or transfe:r~er is a retail dealer, pawnbroker : \ ..
                                 or otherwise, except . as hereinafter provided, shall keep a
                                                                                                            .·.::·
                        14 register in which shall b,e entered the time of sale, the date of
                        15 . sale, thP . name pf the: salesman making the sale; the plaee . , ·
                        16 where sold, the make,· model, manufacturer's number, caliber .
                        17 or. other marks of identification on such pistol, revolver .or .·.
                        18 other .firearm. Such register shall be . prepared. by and·. ·
                        19 'obtained from the state printer and sha,Jl be furnished by the .
                      · 20 state printer to said de:;~lers on application at a cost· of three
                        21 · dollars· per one hundred leaves in. duplicate and s·hall be in. ~·""''
                        22 · the form hereinafter provided. The purchaser of any fire-                       i   •


                        23 · arm, capable of. being concealed upon the person shall sign,·
                        24 and the dealer. shall require hl.m to sign his name and affix. ~ ·
                        25 .b.is address to said register in duplicate and the salesman shall .
                                                                        a
                        26 affix his signature in duplicate as witness to the signatures of :
                        27 . the ;purchaser. Any p-erson signing a fictitious name or address .
                        28 is guilty of ;a mjsdemeanor. The duplicate sheet of such ·
                        29 register shall on the evening· of the day of· sale, be placed in ·
                        30 th~ mai_1~ postage prepaid and properly addressed to the board, ·
                        31 · of"'poli.ce commissioners, chief of police, city marshal; town '
                        32 marsha] or other head of the· police departm~nt of the city, : ;
                        33 city' an(! county, town or other municipal corporation wherein
                        34 the sale was made; provided, that where the sale is made in                   a
                        35 ·district where the.re is. no _municipal police. department, said_·.·
                      36 dupllcate ,sheet shall .be mailed to· the co"L1nty clerk of 'th~
                       .37 .rminty. wherein the sale is made. A violation of any ·of the .
                        38 provisions of this section by any person engaged in the busi.:
                        39 neSS· of selling, leasing or otherwise transferring SUCh- fire-
                      . 40 arin is j:j_ misdemeanor.· This section shall not· apply to ·whole-
                        41. sa1e dealers in their business intercourse with retail dealers,               .
                        42 nor .to wholesale or _retail dealers in the regular .or ordinary .
                        43 trimspor.t.ation of ·unloaded firearms as merchandise by:_ mail, ·
                        44 expresR ·or ·other niode of shipment, to points outside of the
                        45 city, city and county, town or municipal cor,poration 'whe·rein
                        46 the:v are situated; The register provided for in this act shall
                        47. be. substantially in. the folloWing ·f.Qrm :               ·,         '· ..
                        48                                 For1D , of Register.                .· ··~ ..
                        49                                                         Seri~s No.-~---- .
                        50                                          I
                                                                      ,             Sheet" No.,.: _____ _
                        51                                      ORIGINAL.    .            ',.

                       ·52               Dealers' Reeord of Sale of Revolver or Pistol.
                  • 53                                    State of California. ·


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                                                                                                    .


                                                                                                                                                      \
                                      1       ~ot.i~f' to dealers: This original is for· your files. If spoiled
                                      2     in making out, do not destroy. Keep . in books. Fill out in
                                       3 dunlicate.                                . .                               ·.
                                       4:     Carbon duplicate ~ust be mailed on the evening of the day
                                      . 5 of sale, to head of police cmrunissioners, :chief of ·police, city
                                        6 marshal,. town mars:hal or other head of the polic.e department
                                        7 of the municipal corporations wherein the sale is made, or to ·
                                        8 the .county clerk of your county if the sale is made in a district·
                                        9 Where there is no municipal police department. Violation of
                                   . 10 thjs law is a misdemeanor. Use carbon· paper for duplicate ..
                                    . 11 Use indr>lible pencil.                 ·            ·                             ·
                                      12 Sold by~ ____ _: __ ~ __: ______ -:-.:.__ Salesman_..: __________ -:.:..:....:._:..
                                      13· · City, town or· township --------~------- ------,.-~-r~----~- ·
                                      14 DP-scription of arm (state whether revolver or pistol)' _____ :_.:._
                                      15 · ·Maker.,. ____ ;. . ___________ ..:._ Numbe.r ______ ___ Caliber ___ . .:. __
                                      16 Na.me of purchaser _______________ age ______ :.. _______ years.
                                      17 Permanent residence (state name of .city, ,town or township-,
                                      18 street and number of· dwelling)------------------~----..:-:-.:...
                                     19 Height ______ feet_ ____ _inches. Occupation ____________ ~--
                                      20 ·color __._____ .:_ ________ skin ___ .:_ __ ....c_eyes:...:. ______ hair ___ :_ ___ .:.
                                      21 If · traveling or. in locality temporarily, give local address
                                      22 ----------~...:.----------~----~------------------~---------
                                    24 ------·------------~---------~--------------------------
                                   . 23
                                       Signature of purchaser_...,- ____ :_ __ :...:_ __ :.._:.. _____________ ...:._--'.
                                    25 . (Signing a fictitious. :tmme or address is ·a misde~eanor.) ·(To
                                    26    he signed in duplicate.)
                                    27    Witnesc;; ______ .;. ____ .:. _____ .:._, salesman.
                                    28       ('l1 o be signed in duplicate.)
                                    29                                                                              Serl.es No. _____ _
                                    30                                                                              Sheet No:_._..:._'""_
                                    31                                  .               ·DUPLICATE.
                                    32                 Dealers' Record of Sale ~f Revolver or PistoL
                                      33 ·                                       State of Oaliforn.ia.
                                      34       Notice     to  ·aealer.s: This carbon· duplicate must be .mailed
                                      3·5·• on the evening of the day of sale. as set forth in the original
                                      3 6 ot thjs register page. Violation· of this 1aw is .a misdemeanor.
                                    · 37 . Sold by _:.... ___________ _.: ____ .: : ______ :.. __ Salesman.:.~-.:....:.--'--~
                                      as
                                      · ·. c·,1ty,· ·'town or towns       · h··.1p ------------------~..:..
                                                                                           ··                  ·                             ·
                                                                                                                                  ____________    _
                                      39·  · Descrfpth:>n     of   arm·         (state    whether          revolver     or   pistol)---'-~---
                                    ..40. Maker  '· -----~.::
                                                        .      . ._________    . . ' ._..:.....;
                                                                                          . ____ :_number  ..                     ~· .
                                                                                                                      ------'....:cahber...: ____ _
                                  ·. 41~ Name of purchaser -------~---:.......: _____ ~ ____ age~-----Y.ears:
                                      42 Permanent address (state name of 'city, town or township,
                                      43 ~treet and number of dwelling) ___________________ :.,-:- ____ :_
                                      44 ------~-----------_: __ __; ____ ..:_~~..:.--------~---~------------
                              ' · 45 ·.· HeighL ~ __: __ feeL ____ -:inches. Occupatiol1 ---~:...~----~----'""
                               ·, · 46 · Colo.r. ---~-----'"'----skin...: ____ .:_.:__eyes~ ________ hair___ . :. ____ _
                                     .4 7 If .traveling or in ·localify · temporarily, .give local ·address
                                      48 __ _: _____ ~-----·--.:..~:...: ____ ~ __ .___ .____ :::, _______________ .___ :_ ___ ._ ..
                                      49 Signature of purchaser _____________________ . .:. ______ --:-:--~-,-
                                      50 . (Signing a fictitious name or address is a misdemeanor.)· . (To
                                      51 be signed i:q. duplicate.)                                                                     ·
                                      52 .. W.itnes~- ~__;:... __ :...._..:.. ____ ::...~--:...:-:--, .· salesmalJ...
                                      53       (To b.e signed in duplicaie.)- . ·                                                                         .....;:.




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                                                         -7-.··

                     1     SEc. 10. No person shalL sell, deliver or otherwise transfer
                     2 . any pistol; revolver or other :firearm capable. of bei11g con-- .
                     3 cealed upon' the person to .any person who :in he has cause to
                     4     believe to be within any of the classes prohibited. by section
                     5     two hereof from owning or possessing such :firearms, !lOr to a:riy .
                     6     minor under the age of eighteen years. In~no event sh11ll any
                        7 such firearm be· delivered to the purchas~r upon the day of th~
                        8 application for the purchase thereof, and when delivered such
                        9 :firearm sh~ll be securely wrapped --and shall be unloaded,
                     10 Where neither party to the transaction holds a dealer's license;
                     11 no person .~hall sell or otherwise · transfer· any such ·:firearm .
                     12 tb any other person within this state wJ;10 ·is not personally
                     13 known to the vendor. Any vio~ation· of the provisions of this
                     14 sectioil Sh!1ll be a misdemeanor.]·                                                  .
                     15     -  _(  )'"   . .          .                                    .

                     16        [SEc. 12; The duly constituted licensing aut~orities .of any .
                      17 county, city and county, city, ·town or other municipality' ·
                     18 within this state, may; grant licenses in form prescribed by the.
                      19 attorney general, effective· for not more than one year. from .
                    -20 date of issue; permitting the licensee to sell at retail· .within.·
                      21 the said county, city and county, city, town O-r· other munic-
                      22 ipality pistols, revolvers, and other :firearms capable. of being
                      23. concealed upon the person, subject to the following· cond~tions,                               ,
                      24    for    breach     of .. any    of  which    the license    shall    be·  subject   to     .
                      25 ·forfeiture:
                  -! 26         { The business. shall be carried· on only in the .building
                      27    designated       in the license.                         ..                         . -~ r.:
                      28        2.   The   license      or  a  copy   .thereof, c_erti:fi.ed   by   the ·issuing
                      29 authority, shall he ·displayed on the premises where .it can
                      30 · easily be read.                       _                 .         ·
                      31        3: No pistol or revolver shall be delivered                                 . . .
                       32      · (a). On the day_ -of. the application for ·the purchase, and ·
                       33 when delivered shall be unloaded and. securely wrapped; nor
                    .. 34        (b) Unless ·the purchaser either is perso:o.ally known to the .·
                      -35   seller     or shall" pr;esent clear evidence _of his identity..                      ·
                       36-      4.-:·No pistol or revolver, or· imitation ·thereof, or placard:
                       37 advertising the sale or othert:ran.sfer thereof, shallbe displayed
                       38 in any part of said premises where it c-an readily be seen fr.om
                       3$ . the outside. .·                  ·     · ·                                  ·         ·
                       4()    - SEC. 13. Any person who, without being licensed as above
                      -41 ·provided, ·engages in the business of selli11g or other.wise trans-
                       42 ferring, or who advertises for· sale, or offers or 'exposes fpr-
                       43 sale or transfer, any_ pistol, revolver or other :firearm capable
                       44 of. being conce~tled upon the person is guilty of a mfsde-
                       45 - mei;l,nor.]             ·               .
                       46        SEc. 14. No person shall_ change, alter; remove, or obliter- ·,
                       47 ate the name of the maker, model, manufacturer's number,
                       4.8 or other· mark of identification on any pistol. or. revolver.                                 ?' ·.



                       49 Possession of any such -:fi.re~rm upon which the same shall
                       50 have .been changed, altered, removed, or obliterated, shall P.:e
                       51 -presumptive evidence that such possessor has changed, altered,_
                     . 52 removed, or obliterated the sam~. Violat~ons of this section -
                                                                                                                   ·""


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             \                                              ...__ 8-·· .

                             1 . shall be punished by imprisonme11.t in. the state .pnson for
                             2 not less than one year nor more than five years.           .      .
                             3       SEc. 15. ·All licenses heretofore issu~d within this s·tate
                             4 permitting the carrying of pistols or revolvers concealed upon
                             5 the person shall expire at midnight of December 31, 1924.
                             6 · . SEc. 16. This act· shall hot apply to antique pistols or
                             7 revolvers incapable of use as such.
                             8 _.   [SEc. 17. If any section, subsection, sentence, clause or
                             9 .phrase of this act is for any reason held. ·to be unconstitutional
                            10 such. decision shall not affect the validity of the remaining
                            11 · portions·· of. t;his act. · The legislature hereby declares that it
                         · 12 · would. have passed this act and each section, subsection, sen-
                            13 tence, clause aJ;Jd phrase· thereof, irrespective of the fact that
                            14 any one or more other sections; subsections, sentences, clauses.
                            15 · or phrases be declared unconstitutional. · .                 ·
                       · · 16       SEc. 18. That certain act entitled, "An act·relating tb and
                            17 regulating the carrying, possession; sale or other disposition of
                            18 firearms capable of being conce~tled upon the person; prohibit~
                            19 ·ing the ·pnssession, carrying, manufacturing and sale of certain
                            20 -ether dangerous weapons anq the giving, transferring and dis-
                            21 position thereof to other persons within this state; providing·
                          · 22 · fo:r the registering of the . sales of firearms; prohibiting .the
                            23 ·. carrying or possession of concealed weapons in municipal cor-.
                            24 porations ;. providing for the destruction of .certain :danger.ous
                           _25 ·weapons as nuisances a:rid.niaking it a·felony to use or attempt
                          . 26 to use certain d~ngerous weapons against another,'' ap'proved
                            27 May 4, 1917, is hereby repealed.]                         ·




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                              ···.-.




                         AMENDED IN ASSEMBLY APRIL 27, 1923.

                          AMENDED IN. ASSEMBLY APRIL 13, 1923.

              ASSEMBLY                   BILl.~                                              No~·   263


                                                                                                                                  ..
                                       .INTRODUCED BY MR. HAWES,                                                             '•"'-




                                                                                                                      ·.·-·.::.
                                                 January 24, 1923.

                                                 i- -
                                       REFERRED TO COMMITTEE ON JUDICIARY.
                                                                                                                       .    .. ' .




                                                        ,.                             -··
                       An act to contr.ol and ·regulate the · p·ossess?.:on, sale and use           :··· .     ...   . ~~
                            of p:istols, · revolvers, and other firearms capable of being
                            concealed upon the person; to prohibit the man'/..t,fact?.tre, .
                           ·sale, possession or can·ying of certain other dangerous               .: ; ·
                            1.veapons within this state). to p1·ovide for registering ·aU ·. .
                            sales of pistols; 1·evolvers o'i· other firea1·ms capable of bein[f ·                 ·,.
                            conce·aled upon the person_; to prohi'b'·it the carr,ying of
                       .. concealed firearms except by lawf'l.tlly. a1.dhorized persons/
                        .. to prov·ide· for th,e. confiscation and destr·uction of such. ....
                           .weapons in certain ca,ses)· to. p1·oh1.:bit ·the ownership, -us~,,                    ... ,
                           .or possession of any of such weapon-s. by certain clas~es of .                . .· .
                            persons/ to p·rescribe penal.ties for· violati01ts of this act·                   . . (.
                            and increased penalties fo·r repeated violations· hereof; to .....
                            a1.dhorize, jn p1·oper cases, the g1·anting of licenses or · ·
                            per_mits to carry ji1·earms concealed 'l.tp'~n the person/ to ·<. · ·
                            provide for licensing, retail dealers in s1.tch fi,1·earms....Ctnd"         ·''' ·
                            reg'l.tlating sales theretotde?")• ancl to 1'epeal chapter. on.e . . ... ·....
                            hnnd·red fody:.five of California si'ah.des of 1917, relating                        ,
                            to the sart'}:e subject:                                                    ·· :i ..
                       The people of the State of California do e·nact as follows:
                                           ..·

                   1      SECTION     1. On ·and_ after the date upon which. this act
                 ~ 2 takes effect, every person who within the state of California .                                  ..    ·....
                                                                                                                            . ..
                 . ' a manufactures or causes to be manufactured, or. who imports .
                   · 4. ··into the state, or Virho keeps for sale, or offers or exposes for ..
                     5 sale, or who gives, · lends, or possesses .any instrument . or·
                     6 . ·weapon -Of the -kind commonly known· as a blackjack, .slung-
                    :7 shot,· billy, · sab.dclub, sandbag, ·or ·metal knuckles, . . ·or who
                     8 c"arries concealed upon his person any explosive substance;
                                                                    . I




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                      1       other- than .:fixed q,mmunition; or who carries concealed upori
                      2       his-person any dii·k or dagger, shall be guiity of a felony a1id
                      3       upon a conviction thereof shall be 'punishable by imprisori:-
                      4       ment b1 a state prison for not ,less th~m one year nor for more
                      5       than five years.            .       ·    _              .
                         6        SEc. 2'. On and after the date upon which this act takes
                         7 effect, no unnatur.alized foreign born person and no person who
                         8 has been convicted of. a 'felony against the person or property
                         9 of another or against the goyernment of the United States o;·
                      10 of the State o£ ·(Jalifornia or of any political subdivision thereof
                      11 shall own or have in his 129ssession or under his custody or ·
                      12 control any- pistol, revolver or ot]Jer :firearm capable of being··
                      13 concealed ·upon the per~,on. The terms ''pistol,'' ''revolver,''
                      14 and ,., :firearms capable of being concealed upon the ·person'' as
                      15 used in this act shall be construed to apply to and· inc.lude all
                      16 firearms having a-barrel less than twelve inches in length. Any;
                    . 17 p·erson who shall violate the provisions of this section shall             _,
                       18 ·be guilty Of a felony and· upon conviction· thereof shall be . - ;.
                       19 punishable by-imprisonment in a s.tate prison for not less than
                       20 · one year nor for more than ·five years.                ·
                    - 21          SEc. 3: , If any person sP,all commit or .attempt to commit
                    · 22 . any felony within this state ~rhile armed witp. any of the .
                       23 . weapons mentioned in. section. one hereof or while armed with
                      -24 any pistol, revolver ?r other fi~earm ~apable of beiJ:lg; concealed         -
                       25 upon the person, w1thout havmg a license or perm1t to carry                ~J
                       26 such firea..rrri as hereinafter- provided, upon conviction of .such        :~
                       27 felony or of an attempt to ·commit such felony, he shall in-               ·;~
                       28 addition to the punishment prescribed for. the crime of which              - ~-~:!
                       .29 he has been. eonvicted, be punishable by imprisonment in a                  r
                        30 state prison for not less than five nor for more than ten years.·
                   . · 31 Such additional period of imprisonm.ent shall commence upon·                 ';
                     -:32 the_ expiration or other. termination of the sentence imposed .                ;~
                        33 for the crih1e of which ·he stands convicted and shall not ·                 d
                        34 . run concurrently with such. sentence. Upon a second'· c~nvic~. · ;i
                                                                                                          1
                        35 tion __ under like circumstances such additional period "of impris-
                      "36 . onment shall be, for not less than ten years nor· f. or more than
                        37 ·fifteen years, .and upon a third convicti~m under like· circum-
                        38 stance~ si1ch ·additional period of imprisonment shall be for.
                        39 not less than fifteen nor for more than twenty~five years,· such·        ..
                      ·40 terms of addition:a1 imprisonment to ru.n consecutively as t> .
                        41 before. Upon a fourth or subsequent conviction under like
                     . 42 circumstances the person so convicted may be imprisoned for . ~
                        43 life or for a term of ·years :o.ot less than- twenty-five, within _ -~
                      · 44 the discretion of the court wherein such fourth or subsequent . ·~
                        45 . conviction was had. ·                     ·                            .l
                     · ·46        In the trial of a person cha.rged with committing or attempt- .·. 1
                        4'7 -ing tdo co~mit a felonhy against the pert~on do£. anoth~r while_          ·-·~
                        4 8 . arme · · W1tn any O.L t e weapons men wne . 111 sectwn one                :l
                        -49 · . her_eof, or while armed with any ·pistol, revolver or other- fire~.   ·--~
                         50 ar:m capable Of being coneealed upon th~ per:son, without hav~          .Jl
                         51 · }ng a ·-license or permit to carry such firearm as hereinafter
                                                                                        ·"


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                                                      3 "-·

                           1 p·rovided, the fact that he was· so armed shall be prima facie
                          ·2 ·evidenc_e of his intei1t to commit such felony, .
                                                                                                      .. ·-:-·
                           3.      SEC. 4. In no case shall any person punishable. under the
                           4 ·preceding sections of this act ·he granted probation by the·
                           5 trial court, 1ior shall the execution ·of the sentence. imposed
                           6 upon such pers.on be suspended bjr the court.
                           7      --SEc. 5. No unnaturalized foreign~born person and no per-
                           8 son vvho ha.s qeeri convicted of a felony against the person or
                           9. propertv of another or against the Government of the United
                         10 . States o"r of the State Of California or any subdivisions thereof,
                         11 shall own or have i:ri his possession or under his control; a pisto~·
                      · 12 or revolver·._ Violation of this secti_on shall be punished. by
                         13 imprisonment iii-the state prison for not le-ss than five years ..
                         14         SEc. 5. Exeept as otherwise provided in· this act, it shall ·
                         1-ti be unla"vvful fqr any· person within this -state --io carry con:-
                  . ,.. 16 cealed upon his perso.n or withi:p. any vehicle which is under·
                         17 his control or direetion any pistol; revolver or .other fireal;m
                         18 capable of being concealed up0~1 the person -~;vithout· having
                         19 a license to carry such firearm. as hereinafter provided· in
                         20 section eight hereof. ~ny person who violat~s the pr9visions
                       · 21 · of this· section shall be guilty of a misdemeanor, and if he
                         2·2 ·. has been convict~d previously of any felony, .e>r of .any crime ·
                                                                                                     · ....
                         23 made punishable by this _act, .he is guilty of a felony. .      .
                      . 24          This section shall not be .construed to prohibit any citizen     -~- _·· ..
                         25 of <the United States, .over the age .of eighteen years, who ·                  .· ...
                         26 resides or is temporarily sojourning within this state, and
                         27 . who. is not' wit-hili the excepted .classes prescribed by se'Ction
                         28 two hereof, from owning, possessi:tJ.g or keeping within his
                         29 place of residence or place of business any pistol, revolver. or
                         30 other firearm capable of being ~coneealed upon the person," and_·
                         31·· no permit Cir license to· purchase, own, possess or keep any
                         32 . such firearm at . his place of residence or place or business
                         33 shall be required of any such citizen. · Firearms carried openly
                         34 in belt holsters shall not be- deemed to be concealed within
                        .35 the meaning of. this section, nor shall knives which are. carried
                         ;36 . ··openly in sheaths suspended frorn the waist of the wearer.                      .. --:~
                         -~7        SEc. 6. Nothing in· the preceding section shall be construed
                        . 3S'r~ to apply or to affeet sheriffs, constables, marshals, policemen,
                          39 . whether active or hOII.Orably r.etired, or other duly appointed ..
                          40 peace officers, nor to any person summoned by any such officers
                         41 to assist in making arrests or preserving the peace~ while sa.id
                          42 person so summoned is actually engaged in assisting such.
                          43 . officer; nor to the ·possession or transportation by. any -mer~ .        ......·.
                                                                                                     ..._             ·:.

                          44 chant of unloaded :fireanris as merchandise; nor to members of· ·'"'
                          45 the army, navy,or        mari;ne corps of. the United States, or the
                          46 . natio.nal guard, when on duty, or to. organizations which are
                          47 by law authoriied to purchase or receive such weapons from
                          48 · the United States, or fr'om this state; nor to duly authorized .
                          49 military or civil organizations while parading, nor to .the mem-
            ..:                                                                                      ·.-      '-~~-   ::.... -
                          50 . bers thereof when going to and from the -·places of meeting
                          51' of their·respective organizations; nor to members of any club         .........
                          52 or organization now existing, or hereafter organized, ·for :the
                                                                                                            ~--"'·:




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                                                                                           -4-
                                                          .                                           .
                                               ·1 purpose of practicil}g shooting at targets upon· the established .· ·
                                                  2' target ranges; whether public or private, while such members·
                                                  3 are using any of the firearms referred to in this act 1fpon such
                                                  4. target ranges, or while going -to and from such ranges;· or to
                                                  5 licensed hunte-rs or fishermen while engaged in· hunting or
                                                  6 fishing, cir ·while going to or. returning from such hunting or
                                                  7 fishing expedition.
                                                   8     ·SEc. 7. The unla-vvful concealed carrying upon the person
                                                 · 9 or within the vehicle of the carrier of any dirk, d.agger, pistol,
                                              ·10 revolver, or other firearm capable of being concealed upon
                                               11 the person; is a nuisance. Any such weapons taken from the
                                                12 person or vehicle of any person·unlawfully carrying· the same              ·~
                                                                                                                               w.··


                                                                                                                                '.\



                                    ,':
                                                13 .are· hereby declared to be nuisances, and shall be surrendered
                                                14 to the m.agistrate before whom said person shall be taken,
                                                15 ·~xcept that in ap.y city, city and county, town or other munic-
                                                16 ipal corporation' the same shall be s~rendered to the hea.d, of
                                                i 7 the ·police ·force or police department thereof. The officers to
                                                18 whom. the same may be so surrendered, except. upon the certif-
                                                19 icate of a judge of a court of record, or .of the district attor-
                                                 20 . ney of the county, that the preservatl.oi1 thereof is necessary or
                                                 21 proper to the. ends of jt.lstice, shall annually,. betweenthe first
                                                 22 and tenth days of July, in each year, destroy or cfl,use to be
                                                 23 destroyed such weapons to such extent that the same. shall
                                                 24 become and be who1ly and entirely iiieffective and useless for
                                                .25 the purpose for which it wEl,s manufacturecl; provided, hoiu-
                                                 26 ever, that in th.e event any su..ch weap.on has been stolen and
                                                 27 is thereafter recovered from the thief or his transferee, the
                                                 28 same shall not be (j_estroyed but shall be restored to the. lawful
                                                 29 owner thereof, so soon as its us.e ·as evidence has been served;
                                                  30 upon hi$ identification of the weapon and proof of ownership .
                                               · 31 thereof. Blackjacks, slurigshots, billys, sandclubs,· sandbags
                                              · 32 and metal knuckles are hereby' declared to be nuisances and
                                                  33- shall be subject to ... confiscation · and summary destruction_
                                              ·. 34 -whenever found within the state; proV1:decl, that upon the cer-
                                                  35 tificate of a j 1.-l.dge' or of the district attor:p.ey that the ends of
                                                  36 justice will be subserved thereby,. such weapon shall be pre-
                                                  37 served until the necessity for its u::.ce .,ceases ..
                                                  3 8. · SEc. 8. It shall be la-v1rful for ( ) the .sheriff of a couhty,
                                                  3 9 and the hoard of police commissioners, chief of· police, city
                                                  40 ·marshal, town marshal, or other head of the,police department.
                                                  41 . o.f ai.J.y' city, city and eounty, town, or other municipal corpo~
                                                  42 · ration·of' this state, upon proof befote said board, chief, mars_hal
                                                  43 - or other police head, that the person applying therefor is o.f .
                                                 ~44· good moral character, and that good cause exists . for the
                                                   45 issuance thereof, to issue to such person a license to car:ry con-
                                                   46 cealed a pistol, revolver or other firearm for a period of one
                                                   4 7 yea:r: from the date of such license. . All. applications for such ,
                                                   ~8 · licenses shall ·be filed in writing, signed ·by the applicant,
                                              · · 49 and shall Htate the name, oceupation, residence El,nd business
                                              ·.50 address of the applicant, his age; height, ·weight,- co1o;r of
                                                  ·5.1 eyes and hair, and reason :Cor desiring a lic~nse to . carry
                                                 . 52 such weapon.. Any license· issued upon such ~:pplicatiqn shall




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                                                                                .   r.:::
                                                                            ·-_ u·-.;,-;::-c-
                                                                                      ~·-   .·

                                              "t . set- forth the foregoing data· and shall, in addition, contain····.
                                               2 _ 'iL descl.·iptimi· o.f the we.apon authorized ·.to. he carried, givii:ig.
                                                . 3 \ .the name of. the manufacturer:, the. seria1 numoer and. the . -~ .·
                                                  4 . calibre thereof. When . st1ch licenses are issued . by . a ( )" •·...
                                                  5 sheriff a record thereqf shall be kept in the office of the county .
                                                  6 clerk; .when issued by police_ autho-rity such r~cord shall .be
                                                  7 maintained iri the office of the.· authority by ·whom issued.
                                                  8 Such applications and licenses shall be uniform throughout
                                                  9 the state, upon forms to be prescribed by the attorney .general.
                                               1:0       SEc. 9. Every person in the business of selUng, leasing             or .
                                               11 otherwise transferring a pistol, revolver or other firearm, of· ·
                                               12 a size. capable. of being concealed upon the person, wheth.er ·
                                               13 such seller, leasor,or transferrer is a retail dealer, pawnbroker·-:_.·
                                               14 or other-vvise, except as hereinafter provided, shall keep . a · .
                                                15 register in which shall be entered the time of sale, the date" of ..
                                                16 safe, the- name of the salesman making the sale; the. pla.ee ' .. ·
                                               17 where sold, the make, mode1, manufacturer's numl:Jer, caliber
                                               18 . ·or oth0r marl~s. of identification ·on such pistol, revolver.· or:
                                                19 o~he~ firearm.· Such·, re~ister shall be prepar_ed qy a!!,d ~; ·:
                                                20 · obtamed ·from the state prmter and shall be furmshed py the.·- . _
                                                21~- state printer to said dealers on application at a eo~t,of three . :_
                                             ' 22 -dollars ner one hundred leaves in duplicate and shall.be 1n' ·..• ··..
                                                                                                                        '!
                                                                                                                                                    .
                                                23 . the· f<;>rm her_eina~ter provided. The purchaser of any fire'-..
                                                ~4 arm·, capable of being concealed- upon- the p·erson shall sigri; · .· ·
                                                25 and the dealer shall require him to sign his name a.rid. afilt ·
                                                26 his add-ress to-said register in duplicate and the salesma:Q:'.sna,ll·:·· ·
                                                27. affix his signature in.duplicate as a witness to the sigrfatUT'BSo:f · :
                                           · · 28 ·the .purchaser: Any person signing a. fictitious 'name or addre~s>~-
                                                29 .. is guilty of a misdemeanor. The duplicate .. sheet of f?'uch, · · ·
                                                30 re~istm· sb all    on the. evening of the day. of sale, be placed'        in
                                                31 tbf> maiL· postage prepaid and properly addressed to .the bmircf
                                                32 of policP C..ommissioners, chief of police, ci.ty marshal, toW:J;i.. ··
                                                33 marshal or other head of the police department of- the city,· .·
                                                34 city an(! comity,. town or other muni,cipal corporation wherei]fi
                                              . 35 the sale was made; provided, that where the salejs:mad¢ ini~ ·•· · ·
                                                36 district w_here the~e is no municipal police 'department; .said: .·' .
                                                37 duplicate sheet sJ:lall be mailed to the c.ounty clerk of the: ·
                                                38 eonnty. wherein the sale--.is made. A violation of a:p.y_ ofth~\ '
                                                39 provisions. of this section by any peL'3on engaged in the· busi-·;:.:.
                                                40 ness of selling, leasing or otherwise tramtferring sueh fire~;~·· .
                                                41 arm is ::t misdeni.eanor. 'This section shall not a.pply to: whol~;- ·.· ;, -:
                                                42' . saJe dealers in their husiness'·-iut_ercourse with retail dealers;:~:_>
                                                43 nor to ·y~rholesale .or .retail dealers in the regular or. ordituiry ... ·
                                                44 transportation of unloaded firearms as merchimdise by :rinin,: ~ ..
                                                45 expre::s:s or other mOde of shiprp.ent, to -poh1ts outside df :tli(:l ::. ·
                                                4;6 city, city and county, town or municipal corporation wherein:·
                                                                                                                                      . '..         ·;,




                                                                                                                             ·.· :·.

                              . .   '                                                                                                   '   •. ~~   .....
                                                                                                                             - ··..

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                        1 thev Al~e s]tuated .. rrhe register. provided for in this act shaU
                        2    be substanttally" in the ·following form :
                        3                                  Form of Register.
                        4                                                                  Series No. _____ .:.
                        5                                                                   Sheet No. _______ .
                        6                                        ORIGINAl;.
                        7                  Dealers'. Rf\cord of Sale of Revolver or Pistol.
                        8                                      State of California.
                               9      ~otif'f to dealers: This original i$ for your files. If spoiled
                            1:0 in making out, do not destroy. Keep in books. Fill out in
                            11 duplicat~. ·                                                     ·                 .
                             12       Carbon duplicate must be mailed on the evening of the day
                             r3 o£ sale,· to head of police commissioners, -chief of police, city
                             14" marshal, town .marshal or other head of the police department
                           15 of t.he municipal corporations wherein-the sale is made,. or to
                           16 the county clei·k 9£/your county if the sale is ro.ade in a district
                             17 where t.neie is no municipal police department. Violation of
                           ·18 .thjs law is a misdemeanor. Use carbon paper for duplicate.
                     ··· 1.9 Use indflible penciL                  .     ·                   . .
                            ·-~·~ . Sold by-----:--,...--:-.-----~---- Sale~man ___________ :__,_ _____ _
                                    Oitv. town or township -~·-------------- -----------------
                         .· 22 · DP-scription of arm (state whether revolver or pistoi) _: _____ ~_
                         · 2.3. Maker _________ ...:_________ Number __:________ Caliber _____ _
                          . 24 Na:me .of. ·purchaser _______________        .                     . .. ;. ____ years.
                                                                                   age ___ _: _____
                             25- J?ermaneiit residence (state name of city, town or township,
                             26 street and number of dwelling) ____________ _:_ ____________ _
                ..·.        '27. . He-ight __ . .: ___
                                                   / feet_...: ____ inches. Occupation
                                                                               .         . ______________ _
                             28 nol.or -· ___ :. _ ____ ._____ skin __ _:. _____ eyes _____ ._ __ hair..:: _______ ,
                             29 If ·tr8:veling. o.r in locality temporarily,· giye local address·
                        . :"30. -------·· ----~-------------------------- -----------------
                           _31 -~---- ----------~----~---------~---------------..:.. ______ _
                             32 . Signature of purchaser-------~,.. _________ _: ______________ _
                          . 33 (Sig.umg- a fictitious name or address is a: misdemeanor.) (To
                             34 be signed in duplicate.)
                           · 35 · Wit.o.es~ __ :._ ______ _..:'------~--, salesman.
               ,,            36 · fi'o bP signed in duplicate·.)
                        . 37 ~-                                                              Series No. _____ :_
                              38                                                              Sheet No, _____ _
                             :39                                     DUPJ.;ICAT]).
                              40-            Dealers' Record of Sale of Revolver or Pistol.
                              41                               State of California.
                           :42 · Notice to d~alers: This carbon duplicate. must be mailed
                          .-·4a
                                    on the evening of. the 9-ay of sal~ as. set forth in the original
                              44 . ot this register page. Violatioi,l of this .law is a misdemeanoi·.
                              45_ .·Sold by ----~--.----------------------- Salesman _____ _._,_~_
                              46 City, town or township· ______________ _:_ __ ~----'-----_:_ ___ _
                      :       !~ Description of arm (state whether revolver or pistol)-------- ·
                                    Maker ---'-------~---~----------.-,number ______ caliber__ :.., __ _
                              49 Name of purchaser ---~----------------·---age..:._.., ___ years.
                              50 Perrnanent address (state name of city, town or township,
                              51 ~treet P.:rid number of dwelling)...:.------.--~----~-------.:...-:-.:.
                              52 ------------------------------------~~--~---------------




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                                                         -· 7-.

                      1      ·Height_ ----'-3eeL7"_~ __ inches. Occupation ----~-~--'--------
                        2 · Color ·--·--'--:.: ______ skin.:. ___ .:. ___ eyes ___ ~ _____ hair_""" __ _: __ .:_-: ..
                        3 ·If traveling ·or in locality temporarily, give local address' ' .. ,_
                        4 ------~-----------------------~-----------------'---.:..:.--~- '
                         5 Sig-nature of purchaser ____ :_ __________ ~------.,--'---""'-----~-
                         6 (Signing a fictitious name or address is a misdemeanor.) · (To
                         7 be signed in duplicate.)
                         8 "\Vitr~esR . --------------------, salesman.
                         9       cro be signed in duplicate.) ' .                                                '
                      10         SEc. 10. No person shall sell, deliver or otherwise transfer · ,
                      11 any pistol, revolver or other firearm. capable of being 'con, ' '
                      12 cealed upon the person to any person whom he has· ca:gse tq .:.
                      13 believe to· be within. any of the cJasses prohibited by section . ·.
                      14 two hereof from owning or possessing· such firearms,· nor to any ·. · ' ·
                      15 minor under the age of eighteen years .. Jn no event shall any· :
                      16 such firearm be delivered to the purchaser upon the day of the '
                      17 application for the purchase thereof, ancl when delivered .such ·
                      18 firearm, shall be securely wrapped and shall be unloaded,·-.
                      19 Where ·neither patty to the transaction holds a dealer's lic~:fi~e, ~-: · ..
                       20 no person sl:J,call sell or otherwise transfer' any such firearin '
                       21 to any other person within this state who is not personally.>
                       22 known to the vendor. Any violation of the provisions of.this ·
                     · 22; · section shall be a misdemeanor.                            .        .·
                       24         SEc. 12. The duly constituted licensing' authorities of any, :
                       25 county,. city and ·coli.nty, city, town or other · municipality ·: ·
                       ;!6 ·within this state, may, grant licenses in form prescribed by· the,                    i ... _..

                       '~7 attorney general, effectfve for not· more than one. year. frOID.···
                      .28 date of issue, permitting· the licensee to .sell at retail within_·
                       29 the said county, city and·cou.nty, city, town or. other niuilic~
                       30. ipality pistols, revolvers, and either firearms. capable of being. ' .·
                       31 concealed upon the. person, .subject to the following conditions, · ·
                       32 for breaGh of any of which .the license shall be subje.ct to .. ·
                        33 forfeiture: .                                                        . . ·          ._ . '"
                       :34 . L The business shall be carried on only in the hriildidg.
                        35 designated in the license·.                             .                   · . · . ,.
                       _36      · 2. The license or a copy thereof, certified by the isE!:uing.
                        37 'authority, shall be displayed on' the prernises·.where it can
                        .38 easily be read.                                     .                                 ..
                       39         3. No pistol· or revolver shall be delivered                       .          . ...
                        40        (a) 0~ the day o:L the applic-ation for the purch~e~ · i:md ,;
                       ,U when dehvered shall be unloaded and securely wrapped; .. nor
                         42       (b) Unless the purchaser either is personally known to· the ·:·< ·_
                         4-3 .·seller or shall pr~sen:t clear evidence of .his identity.                    ·_ · · ·
                         44       4. No pistol or revolver, or imitati-tn thereof, or placard
                         45 advertising, the sale or other transfer thereof, shall be displayed- ' ..
                         46 in any _part of said premises where it can readily be ·,seen from·:
                         47 · the outside. · ·                             .                                 · : ··
                         1:8      SEc: 13. A:o.y person who, without being licensed as ~boV:e ._
                         49 provided, engages Hi: the business of selling or other;wise· trans~ . ..
                         50 · £erring, or who advertises for sale,· or offers or exposes ·fpr.. ·_ · : .
                         51 sale or· transfer, any pistol, revolver oi~ other firearm capable:· ·



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                                                 -s-·
                   1          of being concealed upon ·the person Is guilty of. a misde-
                   2          meanor.                                          .
                  ·3             Sic. 14. ·No person shall ell ange, alter, remove, or oblitel'-
                   4          ate the name . of the maker, model, manufacturer's number,
                   5          or other mark of identification on .any pistol or revolver.
                   6          Possession of ··any s1Ich firearm upon which the sa.me shall
                        7 have been changed, altered, removed; or obliterated, shall be
                        8 presumptive evidence that such possessqr has changed, altered,
                        9 removed, or obliterated the same. Violations of this section
                       10 shall be punished by imprisonment in the state prison for
                       11 not less than one year nor more than five years.                     ·
                       12        SEc. 15. · All . licenses heretofore iss1Ied within this state·
                       13 permitting the earrying of pistols Or revolvers COJ!Cealed upon
                 ·· 14 the person shall expire at midnight of December 31, 1924.
                      15         SEc. 16. 'Jihis act shall not. apply to antique pistols or
                       16 revolvers incapable of usc as such.
                       17        SEc. 17. If any section, subsection, sentence, clause or
                      ·18 ·phrase of this act is for any reason held to be unconstitutional .
                       19 ... such decision. shall not affect the yalidity of the remaining
                       20 porti0ns of thjs act. The legislature hereby declares that it
                       21 would have passed this act and each section, subsection, sen~ .
                   : 22 . tence, clause and phrase thereof, irrespective of the fact that
                       23 any one or more other fjections, subsections, sentences, clauses
                       24 or phrases be declared -unconstitutional.              ·
                       25        SEc. 18. That certain aet entitled, ''An act relating to and
                      .26. regulating the carrying, possession, Sfl.le. or other disposition of
                     . 27 . firear:fi'is capable of being eon cealed upon the person; p:r-ohibit-
                       28 ing the possession, carrying,, manu.faeturing· and sale ·of certain
                       29 other dangerotls weapons and the giving, transferring and dis-·
                 . ·. 30 position thereof to other persons within this s.tate; providing
                       31 for the registeri1ig of the· sales of firearms; prohibiting the
                       32 . carrying· or possession of concealed \lireapons in municipal cor-
                       33 porations; providing for the destruction of certain dangero-:us
                                                                 a
                       34 weapons as nuisances and making it felony to use or attempt
                       85 . -·to use. certain dangerous weapons against another,'' approved
                       36 . May 4, 1917,is hereby·repealed.                  ·




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                                                     '·
                                  .                  .                .
                                      AMENDED· IN SENATE MAY 10, 1923.
                                AMENDED IN ASSEMBLY APRIL< 27, 1923 ..
                                 AMENDED IN ASSEMBLY APRIJ_j 13, 1923.
                      ASSEMBLY BILij                                                     ·No.. 263:-

                                           INTRODUCED BY MR. HAWES,

                                                      January 24, 1923.


                                                 .             .
                                          .REJ!'ERRED. TO COMMITTEE ON·· JUDICIARY.



                                                                                                          '.:··

                              An act to control and ·Tegula,te the possession, .sa?e dlt~d use_
                                  of pistols, revolvers· and oth.er firearms capable of. qe~ng
                                 concealed upon t.he person}. to prohibit' the manufa.otuif"ci,:
                                 sale, possession or carrying of certain .other dangM:•ouS,
                                 weapons within this state; to p.roV.ide fo1" registering          au
                                 .sales of pistols, revolvers o1· other firearms capable of lieii]l[l
                                  concealed _upon the person; to prohibit the carrying, O.f
                                  concealed firearms except ·by lawf~(;lly aut.hori'Zed petsons/
                                  to provide fo1· the confiscation and destruc;tion of suqh/.
                                 weapO??,S in certain casesf to.c pn/hibit the QW.n?rship; use;
                                  o·r possession of any. of such weapons by .certain Class"e$ of ..
                                  per·sons/ to prescribe penalties for violatio1ts of t,h(s        ·act
                                ·and increased p·enalties for repea-ted .violations hereof:;Jo:.
                                  a~(;thori'Ze, in proper cases, the·. granting of licenses · o.r
                               . per.rnits to carry firearms concealed upon the. person} tq .
                                  provide for licensing retail dealers· in such firea1·Jns. cti~;d.
                                  1·erj'u.lating sales thereunder). and to repeal chapter Q.ne .·
                                  h~(;ndred forty-five of Q,alifornia statutes of 1917, relf1tii"ng
                                  t·o fhe Slime subject.                                     - ·· ·
                                                                                                    •,




                              'The people of the State of California do enact as follows:-·
                                      •                   ,:              •   I   '            '


                                                                                                         .•.
                            ]       SEcTioN i. On ·and· after .the date upon which this            act:
                            2 tak~s. effle~<;~t, every person who ·within the state of. CaHf9rni~~i
                           .3 manufac;ti:lres or causes .to be manufaotLI;red, op who import:S'
                            4; into the state, or who ke~ps for sale, or~ offers or .exposes, for·
                            5: · sale, or who gives; lends, or· possesses· any: instrument o.r::
                         .. 6 weapon. of the kind commonly. known as a blackJack,: shin~;;;.
                            7 shot, b1lly, sandclub, sandbag,· or metal knuckles,· or ·:w:hp··
                            8 carries _c.oncealed ·Upon.. his_ pe~son any explosive ·.-s:Uhsta:riQ~./


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                                                 2-
                       l other than fixed amrminitio.n,· or .who carries concealed upon
                       2 his "person any dirk or dagget; shall .be guilt:Y' of a felony· and
                       3 · upon a conviction thereof shall be pmiishable by imprison-
                       4 m'ent ·in & state prison for not less than one year nor for more
                       5 than five years.
                       6 . ·sEc. 2'. · On and after the date upon which this.a~t takes
                       7 effect, no unnaturalized foreign born person anci. rio person who
              · · 8. has been convicted of a felony against the person o:v property
                       9 · .of another or against the government of the United States or
                  .10 of the State of ~Oalifornia or of any political subdivision there·of
                   11 shall own or have in his possessicm or under his custody oi'
               ·. 12 · control any pistol, revolver or other ·firearm capable of being
                   13 ·concealed upon .the person. The terms "pistol," "revolver,"
                   14 and "firearri..J.s cap·able of beip.g concealed upon .the person'' as
               . 15 used in this. act shall be construed· tp apply to and include all
                ··16 fl.rearms having a barrel less than twelve inches in length.· . Any
                  ·17 person who shall 'violate. the provisions of . this section shall
               ' 18' be guilty 'or a felony and upon conviction thereof shall be
                   19 punishable by imprisonment in a state prison for not less than                -~--
                     20 · one. year nor for· more than five years.             .       ··
                     2i :. SEc. 3. If. any person shall. commit or attempt to commit
                   . 22 an:i felony within this state while armed with. any of the
                     23 . weapons mentioned in section one hereof or while armed with
                     ~4 ·any pistol, revolver or other firearm capable of. being concealed
                      25 · upon .the: person, without having a license or permit to carry
                      26 'such -firea:rm as hereili.after provided, 1tpon conviction of .such
                      27 · felony ·or of an attempt to commit such felony, he shall in
                      28 adclitiQ.li to the punishxil(mt prescri~ed for the crime of which
                      29 ·he has been -convicted, be punishable· by imprisonment in a .
                      30 s_tate ··prison for not· less than five nor for more than ten years.
                                                                                                l .}
                                                                                                   . !~'




                      31 . Such additional period of imprisonment shall commence upon
                     '32 the expiratimi or other termination of the sen'tence :imposed
                      33 for t!1e crime ()f which he stands convicted and shall not .            ·'lli
                                                                                                   .J.
                  ..34 . run concurrently virith ·such sentence. ;<)Jpon a second convic~
               ' 35 ,' tion under like circum'sta.nces such additional period of"imp'ris-
                '· ~ _ohnient shall be for not less. ~han teri. Y:~ars n~r for. mor~ than · ·
                 . 37- fl.fteen years, and. upon a thuO. .conv1ct10n under like Clrcum-
                      38 · stances such additional period of imprisonment $hall be foi·
                 · 39 riot less than fifteen nor for inore than twenty-five years, such
                      40 terms of additional' imp,risohment to run con,secutively as
                      41 before,. . Upon a fourth or subsequent conviction under like·
                 ' ·42. .circumstances. the person so convicted may be 1mprisoned for
                      43 t1f'e or for a term of years not less tha:n twenty-five· [years],      ,•'!!>
                                                                                                  ·,
                                                                                                           .




                 , 44 ·vvithin the discretion of the court' :w·herein su.ch fourth or ·
                     :45 sri.bse'qnent conviction "~as had. ' .           ·. .   .        . .
                      4'6 .· . In'the trial of a person charged with committ~ng or ·attempt-·
             ·. '4:7 · ing to· commit· a felony against the person of 'another while
                     <18. artried with any of the vV.eapons mentioned in secti()n one
            . : 49 · )iereof, or wb,ile a~ined with any pistol, revo~ver or. other fire- ·.
                   ·'5o< ami capable of bemg concealed upon the person, without hav- _
            . . . 51. Irig. a license or ·permit to C'atry S1lCh firearm as hereinafter

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                ,.::::



                                                                -. 3.
                               1   provided, the fact that he was so ·armed shall l;Je prima facie
                               2'  evidence of his inte:nt to commit such ~elony.           . '
                               3_    SEC. 4. In no case shall any person punishable under the
                               4 . preceding sections of this act be granted p1;obation by the
                               5 trial court, nor shall the ex~cution of the sentence irrfposed
                               6 upon such person be susp,ended by the court.                 . ·.
                               7           ( )                                                                     .
                                8       SEc. · 5. Except ·as· otherwise provided in this act, it 'shall~
                                9   he unlawful ~or any person within· this state to. carry,; con>
                               10   cealed upon his person or within a:rw vehicle which is ~~der
                               11   b.is control ,or direction any pistol, revolver or otl}er fi:r._~arrn .
                             . i2 . capable of being concealed upon the person witho11t h.~vihg
                               1:3 a license to carry such firearm· as ·her.eimiftei- ·provid;~d in
                               14 · section eight hereof, Any person who ·violates the provj~iops ·
                              -15 of this section shall be guilty of a misdemeanor, and if. -}le -
                               16 has. been convictecl previously of any felony, or o~ any c#me.
                               17 made punishable by this aCt, he is guilty •OI a felony.                    .     . .·
                               18,    · This sectioP, shall .not be construed to prohibit .any citizen .
                               19 of the United States, ·over the age of eighte:en years, 'who
                               20 . resides or is temporarily sojourning within· this stat13, ~riel·..·
                               21 who.· is. Iiot withiri. the exeeptecl classes. prescribed by- se(}tio!l. ,.
                               2.2: two h~reof, from owning, possesshig or keeping withi:ri' his':
                               23 . place of residence or place of business any pistol, revolVer or:' .
                             . 9.4 other fi.rearm. caP,.~bl~· of beirig' C0l1Cealed upon the perSO!l/a:nd~ ..;
                               25 no permit or license 'to purchase, own, possess or keep~.:any.·_
                               26 such . firearm at his place of. residence . or place of business·
                               27 ._shall be requ,ired of any such citizen. Firea.r:rns carried o:pt)nly .
                               28. ii1 belt holsters· shall not be deemed to be concealed wit:hiri
                               29 the meaning of this section, nor shall knives which ~re c~tried ·
                               30 openly i!l sheaths suspended from the waist of the wearer.. · .
                               ql, · SEc. 6. Nothing in the precediiJ.g section sha,ll be const.~ued ·
                               32 , to apply [to or] affect sheriffs, constables, marshal$, polic€riP,i:ni;
                               33 whether active or honorably retired; or ot}ler duly a,ppo~i~ted
                               3.4. pe~ce <;>fficer~, nor to ~ny person sum:r;noned,.·by any .s\tch o1$ceDs .
                               35 to assist·· in making. arrests or. preserving the p·eace·' while said ·
                               36 person ~o su~moned is actually engaged in ;assisting · ~uc.h ·
                               37 officer; nor to the possession or transportation by ~ny: me:ri..r
                             · 3~ chant ·of ·unloaded fkearms as. merchandise; no.r to ;rnemb,er:s ·of.·
                               39 th~---l;!.:rmy, navy; or niariue co:rp~ of .t.he United Sta;tes, 9r."the ·
                               40· :qatichlalguar-d, :When on duty,· or to organizatiim$' which.: are.
                               41 by lSLW aut1::wri?!~d to purchase o~· receive· such '\-vea:p<;ms ·:firoin
                             · 42 the Vnited States, or from this.state; nor to duly' ~~th9,;_qjzed.:
                              .43 m.il~tary or civil. organization~ while ·paradi:q.g, ·no:if to. the mem- .
                         /     4~ be:J;s thereof when going to and ~rom the pl~ce$ of m<?:§tiiig, ·
                               4[)    ot their r~spective organizations; _nor. to nieinhers 0~ 'an~--~lul)
                               46 or. . org~nizl:J,tioil
                                          ..     :
                                                 ~.   '.
                                                         'now 'e~isti:ng, or.·
                                                          .                 .
                                                                               ]?.ere~:~,fter
                                                                                          .
                                                                                              .6rgaU,:iz~d; for' .the .
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                          ···:r purpose of practicing shooting at targets upon the    establishe~l .
                               2 · target ranges, whether. public or private, while such memb,ers
                               ·3 are using a:p.y of the firearms referred to in this act upon such
                               4 target ranges, or while going to and. from such ranges; M to
                                5 licensed hunters or fisllermen while engaged in hunting ·or
                                6 fishing, or while going to or,. returning from such hunting or
                                7 fishing expedition.               ·                     ·
                                8      SEC. 7. The unlawful concealed carrying upon the person .
                              . 9 or within the vehicle of the carrier of any di'rk; dagger, pistol,
                            10· revolver, or other firearm capable of being concealed upon
                            11 the person, is a nuisance. .Any such \ve~pons taken from the
                         · 12 person or vehicle of any person unlawfully ca:r:rying the same
                            13 . are here.by declared to be nuisances, and shall be surrend<?red
                        .. 14 to., the magistrate. before whom said. person shall be taken,
                            15 . except that in any city, city and county, town or other munic-
                            16 .ipal corporation the same shall be surrendered to- the head of
                             17 the _police· force or police department thereof. The· officer.s to
                             18 whom the same may be so surrendered,. except upon the certif-
                             19 icate of a judge of a court of record, or of the distriGt attor-
                             20 ney of the county, that the'· preservation thereof is necessary or.
                             21 proper. to the ends. of justice, shall annually, between the first
                             22 · ~nd tenth day~ of July, tn each year, destroy or cause to be
                             23: destroyed such weapons to such extent that the same shall
                             24 . become and. be wholly and entirely ineffective and useless for
                             25 th~. purpose for .which it was manufa.ctured; provided,· how-.
                          · 26 ever, that in the event any such weapon has been stolen and
                             27 is ther~fter recovered from the. thief or his transferee, the
                            ·28 !3ame shall not be destroyed but shall be restored tq the lawful
                             29 owner thereof, so soon as its use as evidence has been served,
                             30 · upon his identification of the weapon and proof of ownership
                              31 thereof. Blackjacks, slu,ngshots, · billys, sandclubs, sandbags
                            ·32 an<:i. metal knuckles . are hereby declared to be nuisances and
                              33 . shall· be subject to confiscation . and summary destruction
                              34 · whenever. found within the state; provided, that upon the cer-
                              35 tificate of a judge or of the district attorney that· the. ends of
                          ·. 3ffi . justice will be subserved thereby, such weapon shall be. pre- ·
                              37 serveQ.. until the necessity for its use ceases .
                            . 38 · SEc. 8. . It shan· be laWful for the sheriff of a county~
                              3Q . ang the ·board of. poli~e coriunissioners; chief of police, city'
                             40 marshal, town marshal; or other head o-f the police department
                              41 of any city, city and county, town, o:r.. other·mu:(licipal corpo.:.
                            .J2: ration of this state, up-em proof before said board, chief, marshal
                              43 or ·oth.er police 'head, that the person applying therefor is of
                      ' . 4:4 good moral' -character, and that good c.au$e exists for the
                      · · · ··~5. ·issuance thereof, to. issue to such person a license to carry 9on-
                           . 46 cealed a pistol, revolver or 9ther firearm for a perio,d. of one
                              4 7 · . year from the date of such license. .All applications for such
                              48 licenses ·shall be filed in writing, signed by the applicant, · .·
                     ...· 4:9 . and shall state the name, OCCUpation, residence and busineS_S>
                              50 addre::~s- of the applicant, his age,·· height, weight, color of
                            ·5l eyes and hair, and reason i'o-r desiring a license to · carry
                              5'2 such weapon; Any license issued upon such application shall

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                                                                                                     .....
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                       l set forth the foregoing data and ~hall, ·in addition, . con:tain-
                       2 'it. d.esGription of the weapon authorized to be carried, -giVing
                       3 · the· name of the., manufacturer, the se'rial number and the
                     . 4.. calibre ·.thereof.    When such licenses are. issued by a
                       5 .. ·sheriff arecord thereof shall be kept in the office of the co-unty_
                       6 clerk; when issued br police authority such record shall be
                       7 maintained in the office of the authority by whom. issued.
                       8 Such·. applications and .licenses shall be uniform throughout
                       g·. the state, upon forms to be prescribed by the attorney general.
                     10        SEc. 9. ·Every person in the business 0'&. ·selling, leasing or .
                   .11 . otherwjse transferring a pistol, revolver or other fireE\,rm, of           ·.;        \"



                    12. a size capable of ·being concealed, upon the person, whether
                  ··13 su.~h seller, [lessor] or transferrer· is ·a retail dealer, pawn-
                    14 bi'Ioker or otherwise, except :as her'eiriafter provided, shall_ keep .     . ~:~:                .
                    15 a register in which shall be ehtered the time of sale, the. date of          ,,O   Ao,o




                    16 ·sale, thE' name ..of the salesman· making the sale, the plaee                                           ·:../
                    17 where ~old,. the.\m~ke, model, manufactu!'er '~ number, caliber
                    18 or oth~r ·marks of identification on such pistol, revolver or
                  . 19 other. firearm. Such register shall be prepared by ana
                     20 obtained from the state printer and shaU be furnished-.by ~he
                     21 · state printe;r to said dealer.s on application at a cost of three
                   .22 dollars ner one hundred leaves in duplicate and sha1l.be in·
                     23 the· form hereinafter ·provided .. · The pu.rcnaser . of any fire- .
                   . 24 · arm,· capable of being concealed upon· the person shall sign,.
                     25 and the dealer shall require him· .to sign hjs. na:ine and affix                                      . .   ~·




                     26 his address to said register in duplic.ate and the salesman shall
                     27 affix his signatur~dn duplicate as a witness ·to the signatures of . . .
                     28 · the purchaser. Any person signing a fictitious .name or address ~ · ·
                   '2~ · is guilty of ·a· misdemeanor.         The ·duplicate sheet of such                                  -;,.

                     30 register shall on the evening of ·the· day of sale, be pfaced in '
                     31· · thE' mail postage prepaid and properly addressed to the board
                     32 of polict> commissioners, chief of police, city marshal, town
                    '33 marshal·. or other head of the police department of the city,
                    ·34 city .an<1 county; town or other municip-al corporation wherein
                     35 · the sale was ·made; pro,v1:a;e,d, that where the sale is made in· a
                    36 .district where there· is. I_l.Q- .,.mnnicipal police department,- said
                     37 duplicate sheet shall be mailed to the county, clerk of .the<
                     38 r.onnty wherein the sale is made. ·A .violation of any 0£ the.
                     39· provi~ions of this section by. any person engaged in the· busi~
                     40 ness.: of selling, leasing. or otherwise transferring such fire-
                     4l · arm is l'l misdemeanor.· This section shall not apply to whole-.
                     42 sale dealers in. their business intercourse with :~;:etail dealers~               .....··
                     43 nor to wholesale, or retail dealers in· the. regular or ordinary                     ~..!'·.··


                     44 transportation o~ unload.ed fire~rm~ .as 'mer..chandise. by mail,
                     45 express or other mode of shipment, to points out~ide · of: the
                     46 city, city and county, town· or municipal corporation wherein ·.

                                                                                                                             :: ....




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                                       ',#'t       t.~_ev are situated, The. r~gist~r: provided for in this -act shall· \· ·
                             ....          2       be suhstailtiq,lly in the full()win.g form:         ·         ·
                                           q                                Fcipu. of Register.                        :~              ,4   •


                                           4                                                      ·Series No.~----- •~
                                           5                                                        Sheet No.-'-·-----~·
                                           6.                                        ORIGINAL.
                                                                                1
                                           7              Dea1ers Secord of· Sale of Revolver or Pistol.
                                          8           .                    State of Ca1ifornia.                                         . .
                                       '· 9       1'\o:t.i~'r t.o dealers: This·original is for your.files. If spoiled\··
                                         10_. · in m;akirig •out, do rio~ destroy. Keep in books. )Nll q-qt in ·::. ··
                    l
                                         11 dUT)hC:Jte.                ·      ··                     .                    .              !;I •·
                                         12       bar bon· duplicate must 'be. mailed on the evening of t~~ ·day:: :''
                                         13 of sale, to head of police comri.J.iss.ioners, · -chief Qf. polic~, · city : •·
                                         14 marshal, town marshal or o.ther head of the poliC.e c,lepartrp.ent '\ .
                                         1 5 . of the .municipal corpqrations wherein the sale ,is made, gr to J ,:
                                         1 6 the county clerk of yo_ur county if~the sale .is made in a district · t
                                       . 17 . ·:where t.nere is no. municipal police departJ,nen~. Violatio1;1 of~·: ~;, ·
                        ..               iS. this law. is a m~sdemeanor .. Use carbon paper for duplicate. @ ·~
                                         19 U ~·e indrlible: pencil.                                                                         ···
                                         20. · Sold. by-------:--:- ____ _:. ______ :.. Salesman-~------,_-,_ __ .:.: ____ _
                                       · 21 ·ci1·:v, town ·or. township.--------------...,..,...----,-~- . . . ---..::......,._.,....:,
                         . '             22 DPsciirtiou of arm· (state whether -revolver or pistol):... __ ..:.,_,__
                                         23 Maker--"" __:_ _________ :...~-~~- Number ______ ~-- Caliber:.__,:_ ___ ..
                                         24. · Na.nie. of purchaser. ______ _:________ ....;age...,---~--.:. ______ y~ars:<,
                                         25 Perm~ne1:it residence (stat.e ,:name, of city, town or towi1,ship,~: .
                                         ~6 street and uumber of dwelling)----~·---------..:.-~...: __ .;.:_~_:_ __ ;~·
                                       · 27 Height _ _: ____ feet_:,_.:._..:. _inches:. Occ,upatiop _______ :._ ____ ·_:. __ ,:~: ·
                                         28 Color ..:. ----------~,__skin,....,. __ _: __ ~-eyes ________ ha.,ir __ ~-~--.:.j :.
                                    ~ .. _~6 :~-:~~~~~~~--~-~~-~~~aJ.~~~-~e-~:~~~~~~~-~~:~-~~c~J.-~-~~~e~~:~ · .
                                      / ..g~33     s~ig~~t~l;~-~f-pl;;ch~s~;==========~======~===:=========·~== ~
                                               ( Sig:..iing a fictitious name or address is· a misdemeanor:) . {To J.t                                   .
                                          34 . be signed in duplicate.)                  .              ·          ;'f                                   •.
                                          ~~. · Witr~~s~-e"-~igi~;d-i~-d~pli-c~t~.~ale~rna~.                                                    't ;~ ·
                                      ·-- 3.7 .                                                                  Series NO:---~--·t
                                          38              ., .·.                                                  Sheet No.----~....;:i· .
            ..,·.                                                                                                     ~   . .           '   -.:~h


                                          39                     ··.    ..          DUP.:JJIO.t\.T!i}. .· · .    .       .
                                          40          Dealers' Record .of Sale of Revolvei' o~· Pistol.
            '•'
                                          41 ·                              .State of California.             .        .
                                          42     Notice to de~:tlers:. This .carbo]]. dupiicate must he' mailed,
                                          43 · on the evening cif the day o£ sale a,s set. forth in the or:.i,ginal: ,.
                                          44. ot this regist@r page. .Viol~tion of this law is a i:p.isdeme.~:J;nor;
                                          45 · Sold by __ ,.?.:. ___ c...:._.., _________ ~_:_ __ ~-- Salesman,------.,.::-~.:.:-:",· · ·

                                        ,' '!~48             0
                                                    g~~ri~~~~! o fa~~~:~!fe ~h-~th~~-;e-v-olVe;-0-r-pi;t~l)====·==-==··
                                                    Maker ·_: _______________ . . ; ___ ---;-.number _____ .:..caliber____ .,...:
                                           49       Name of purchaser ____________________ :._::._age,-~..:...:...____ years. ·


                                                                                                                                                 l
              .. ·)..
                                           50       Permanent addr~ss (state ·name of city, town or township, ·},

                                         .~~ •~~~~·~-~-~~--~~~-b-·~-~!__d~~~~~g~= ============ ========~:= ==
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                                                                                                                                   :_·'!:f,   ~·
                                                                                                                                                                     ··;:         ..
                                                          _.··· 7 .
                                                                  -.                                                                           · ...            ,,




                    1 I-f eight_ ---~ __:feeL~ ___ ._jnches. .Occupation -~_,_:_ __ ~.:.~ -~.- --·-
                    2 Color ·---~--~- ____ :..._skin_-.,.- __: __ eyes_:... ____ .::~_:...hair..,. __ -~- ___ .                                                 ·. h

                    .3    If traveling or ·in. locality· temporarily, give local address                                                                                 :~



                                                               .                                              .
                     4
                     5    -Si~;~~l;,;-~L.pu~~ch;s~;=====-=============================                                                                  ',. ~'-.


                     6      (Signi:ng·a fictitious naine or address is a misdemeanor.) (To
                       7  . be    signed in duplicate.) ·                                                   ·
                       8    Witr.esrr      . :. _ _: _______________         .:__, salesman.
                       9          (To be signed in duplicate.)                       ··                                             \'·'


                    10            SEc. 10. No person shall sell, deliver or otherWise transfer
                    11      any      ·pistol;· revolver or other firearm .capable of being con-
                    12      cealed·      upon :the person to any person whom he h&s cause. to                                                      -:.··.·
                                                                                                                                                                          ... ,;.-
                    13      believe      .to be within. any of the ·classes prohibited by· section
                    14" two hereof from owning or possessing such .firearms, nor to any
                     15 minor under the age 6I eighteen years. In no event shall any
                     16 .such firearm be d·elivei'ed to ihe ,purchaser tj.pOn the day .Of the
                    17 application for the purchase thereof; and wheri delivered ·such.
                  ··18 ·firearm· shan· be seGurely wrapped. and sha~l be unloaded.·
                     19 Where neither party to the transaction holds. a dealer 's.license·,
                     20 no person shall sell or otherwise tran~fer. any such firearm                                                                                 ·:   ..'"\-;
                     21. to any other person within this state who is not personally                                                                                 .         . ,.,

                     22 known to the .vendor. Any violation· of the provisions of this.
                     23 section ·shall be a misdemeanor:                                     ·    ·                                                              ·-:.;··.

                     24         ' SEc. [11]'. The duly .constituted licensing ·authorities of
                   ·'25 . any county, city and .county, city, .town or other municipality                                                                                      ,..._·.

                    :26 ·within this·state, may, grant licenses in form prescribed by the
                     27 'attorney general 1 effective for not more than one year from.
                     28 dat"e of issue, permitting· the _licensee to sell ·-at retail within
                    ·'2'9 the said countY, city and county, city, town· or other rriunic- ·.
                     30 ipality pistols, revolvers, and other firearms cap·able of. being ·
                 .. 31 _concealed upon the person, subject to the following~onditions,
                      32 ·for breach of any Of which the license shall be subject to                                                                   .   ··~.               : . .. ·,

                      3·3. forfeiture :                   . .            ·                        _                 .
                                                                                                                                                                               ···.'':'

                      34          1.   rfhe      .bu!siness      shall  be    carried    on· only in  the  building    ·                                         '.




                   :3'5.     'designated            in     the license;                                          ..
                      36           2, The ·license or a copy thereof; certified·: by the issuing
                      37      authority,           shall be displayed on the premises where it can
                      38     .easily     pe     read.                      ·
                      39 . 3 .. No pistol or revolver shall be delivered
                                                                                                                                                           ..        ··.I




                    40 . (a) On the day of ·the app!ication for the purchase, arid ·                                                                                                     :·.
                      41 when delivered· shall be unloaded and s.ecurely wrapped; nor
                                                                                                                                                                              .,




                      42           (b) Unless the purchaser either is pers.onally known ·to the
                      43      seller     or shall present clear evidence of his .identity. ·
                      44           4.  No       pistol or revolver, or imitation thereof, or placard                                           .·'                   :..-·.:· .           :


                      45       advertising           the sale or. other transfer thereof, shall be .displayed
                      46 in any part of said prerp.ises.                       where it can -readily' be seen £rom
                      47    .  the    outside.        . .         1
                                                                                                               •


                      48           SEc.    [12].            .A.ny   person     who,     without being   licensed    as ·
                                                                                                                                              .. ··.
                    '4§' above provided, eri.gage.s in the business of selling or .otherwise                                                                     .:' :.~·.

                       5,9 transferring, 10r who advertises for sale, or offers or exposes for ·.                                                                    .·._.:
                                                                                                                           .....
                               sale or transfer, any pistol, revolver or other firearm capable
           .I· ..    51                                                                                                                                .·.'

                                                                                                                                                           ·,·           ··....
                                                                                                                                                                                    '.
                                                                                                                                                      ··-·           '~- ·..
            l·                                                                 '\ ~--




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                                                                                            ~-·
                                                           8-
                          1      of being conceaJed upon the person lS guilty of a inisde-
                        ·.. 2    meanor.
                            3       SEc. [13]. No person.shaU change, altei', remove, or ·oblit-,
                            4    erate the nanie of' the maker, model, manufacturer's number,
                            5    or other mark of identification on any pistol· or revolver.·
                            6    Possession of any such firearm. upon which the same shall
                           .7    have been changed, altered, removed, or obliterated,. shall be
                            8   ·presumptive evidence that suc.h possessor has changed, altered;·
                            9    1~emoved, or obliterated the same. Violations of this sect-jon
                         10      shall be punished by imprisonme:ut in tP.e state prison for·
                          1i not less than one year nor more than five. years.
                          12 · SEc. [14-]. All licenses hereto-fore issued within this state
                          13 permitting the carrying of pistols or revolvers concealed upon'
                          14 the person shall expire at midnight of December 31, 192'(1:.
                          15        SEc. [15]. This· act sh.all not apply to antique pi,stols or
                          16 r~volversincapable of use as such.
                          17       ·SEc. [16]. If any section, subsection, seritenee, clause o.r
                          18 phrase of this act is for any reason held to be uncon-stitutional .
                          19 such decision shall not affect the validity . of the remaining.·
                          20 portions of this act. The legislature hereby decl_ares that ....
                          21 would have passed this act and each section, subsection, s·en :
                          22 .tence, clause and phrase thereof, irrespective of the fact           ·
                          23 any o:ue or more other· secti9ns, subsections, sentences, clau."'"'"'ra.
                          24 or phrases be declared unconstitutional,                --
                        · 25 · :SEc. [17]. That certain act entitled, ".An. act rela.tii~.g
                          26 and regulating the car;rying, p10ssessio1i, sale or other disposi :
                          27 tion of firearms capable of being concealed upon· the persorr,.
                          28 . prohibiting the possession, carrying, manufa-cturing and 'sale
                          29 . of certain other. dangerOus weapons and the giving, transf
                          30 ring and disposition thereof to. other persons within this st~te;:
                          81 ]lfOViding for .the registering of the. sales of firearms; prohibit-.
                          32 ing the carrying or po.ssession of-c,oncealed weapo·ns in mu.LLH.,.L-·."-·
                          33 pal corpo·r::i.tions; providing f.or the destruction of · ·
                          3-1t: dangerous weapons as nuisances and making.,.it ·a felony
                          35 use or · attempt to use certain dangero.us weapons              "
                          36 another,'' approved May 4, 1917, is. hereby re·pealed .




             ·-:· ...                                     .0




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                                            Bill of Rights

Document 1

Bill of Rights 1 W. & M., 2d sess., c. 2,
16 Dec. 1689

An act for declaring the rights and liberties of the subject, and settling
the succession of the crown.
Whereas the lords spiritual and temporal, and commons assembled at Westminster, lawfully, fully, and freely
representing all the estates of the people of this realm, did upon the thirteenth day of February, in the year of our
Lord one thousand six hundred eighty eight, present unto their Majesties, then called and known by the names
and stile of William and Mary, prince and princess of Orange, being present in their proper persons, a certain
declaration in writing, made by the said lords and commons, in the words following; viz.

Whereas the late King James the Second, by the assistance of divers evil counsellors, judges, and ministers
employed by him, did endeavour to subvert and extirpate the protestant religion, and the laws and liberties of
this kingdom.

1. By assuming and exercising a power of dispensing with and suspending of laws, and the execution of laws,
without consent of parliament.

2. By committing and prosecuting divers worthy prelates, for humbly petitioning to be excused from concurring
to the said assumed power.

3. By issuing and causing to be executed a commission under the great seal for erecting a court called, The court
of commissioners for ecclesiastical causes.

4. By levying money for and to the use of the crown, by pretence of prerogative, for other time, and in other
manner, than the same was granted by parliament.

5. By raising and keeping a standing army within this kingdom in time of peace, without consent of parliament,
and quartering soldiers contrary to law.

6. By causing several good subjects, being protestants, to be disarmed, at the same time when papists were both
armed and employed, contrary to law.

7. By violating the freedom of election of members to serve in parliament.

8. By prosecutions in the court of King's bench, for matters and causes cognizable only in parliament; and by
divers other arbitrary and illegal courses.

9. And whereas of late years, partial, corrupt, and unqualified persons have been returned and served on juries in
trials, and particularly divers jurors in trials for high treason, which were not freeholders.

10. And excessive bail hath been required of persons committed in criminal cases, to elude the benefit of the
laws made for the liberty of the subjects.

11. And excessive fines have been imposed; and illegal and cruel punishments inflicted.
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12. And several grants and promises made of fines and forfeitures, before any conviction or judgment against the
persons, upon whom the same same were to be levied.

All which are utterly and directly contrary to the known laws and statutes, and freedom of this realm.

And whereas the said late King James the Second having abdicated the government, and the throne being
thereby vacant, his highness the prince of Orange (whom it hath pleased Almighty God to make the glorious
instrument of delivering this kingdom from popery and arbitrary power) did (by the advice of the lords spiritual
and temporal, and divers principal persons of the commons) cause letters to be written to the lords spiritual and
temporal, being protestants; and other letters to the several counties, cities, universities, boroughs, and cinque-
ports, for the choosing of such persons to represent them, as were of right to be sent to parliament, to meet and
sit at Westminster upon the two and twentieth day of January, in this year one thousand six hundred eighty and
eight, in order to such an establishment, as that their religion, laws, and liberties might not again be in danger of
being subverted: upon which letters, elections have been accordingly made,

And thereupon the said lords spiritual and temporal, and commons, pursuant to their respective letters and
elections, being now assembled in a full and free representative of this nation, taking into their most serious
consideration the best means for attaining the ends aforesaid; do in the first place (as their ancestors in like case
have usually done) for the vindicating and asserting their ancient rights and liberties, declare;

1. That the pretended power of suspending of laws, or the execution of laws, by regal authority, without consent
of parliament, is illegal.

2. That the pretended power of dispensing with laws, or the execution of laws, by regal authority, as it hath been
assumed and exercised of late, is illegal.

3. That the commission for erecting the late court of commissioners for ecclesiastical causes, and other
commissions and courts of like nature are illegal and pernicious.

4. That levying money for or to the use of the crown, by pretence of prerogative, without grant of parliament, for
longer time, or in other manner than the same is or shall be granted, is illegal.

5. That it is the right of the subjects to petition the King, and all committments and prosecutions for such
petitioning are illegal.

6. That the raising or keeping a standing army within the kingdom in time of peace, unless it be with consent of
parliament, is against law.

7. That the subjects which are protestants, may have arms for their defence suitable to their conditions, and as
allowed by law.

8. That election of members of parliament ought to be free.

9. That the freedom of speech, and debates or proceedings in parliament, ought not to be impeached or
questioned in any court or place out of parliament.

10. That excessive bail ought not to be required, nor excessive fines imposed; nor cruel and unusual punishments
inflicted.

11. That jurors ought to be duly impanelled and returned, and jurors which pass upon men in trials for high
treason ought to be freeholders.

12. That all grants and promises of fines and forfeitures of particular persons before conviction, are illegal and
void.

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13. And that for redress of all grievances, and for the amending, strengthening, and preserving of the laws,
parliaments ought to be held frequently.

And they do claim, demand, and insist upon all and singular the premisses, as their undoubted rights and
liberties; and that no declarations, judgments, doings or proceedings, to the prejudice of the people in any of the
said premisses, ought in any wise to be drawn hereafter into consequence or example.

To which demand of their rights they are particularly encouraged by the declaration of his highness the prince of
Orange, as being the only means for obtaining a full redress and remedy therein.

Having therefore an entire confidence, That his said highness the prince of Orange will perfect the deliverance
so far advanced by him, and will still preserve them from the violation of their rights, which they have here
asserted, and from all other attempts upon their religion, rights, and liberties.

II. The said lords spiritual and temporal, and commons, assembled at Westminster, do resolve, that William and
Mary prince and princess of Orange be, and be declared, King and Queen of England, France and Ireland, and
the dominions thereunto belonging, to hold the crown and royal dignity of the said kingdoms and dominions to
them the said prince and princess during their lives, and the life of the survivor of them; and that the sole and full
exercise of the regal power be only in, and executed by the said prince of Orange, in the names of the said
prince and princess, during their joint lives; and after their deceases, the said crown and royal dignity of the said
kingdoms and dominions to be to the heirs of the body of the said princess; and for default of such issue to the
princess Anne of Denmark, and the heirs of her body; and for default of such issue to the heirs of the body of the
said prince of Orange. And the lords spiritual and temporal, and commons, do pray the said prince and princess
to accept the same accordingly.

III. And that the oaths hereafter mentioned be taken by all persons of whom the oaths of allegiance and
supremacy might be required by law, instead of them; and that the said oaths of allegiance and supremacy be
abrogated.

I A. B. do sincerely promise and swear, That I will be faithful, and bear true allegiance, to their Majesties King
William and Queen Mary:

                                                                                                     So help me God.

I A. B. do swear, That I do from my heart abhor, detest, and abjure as impious and heretical, that damnable
doctrine and position, That princes excommunicated or deprived by the pope, or any authority of the see of
Rome, may be deposed or murdered by their subjects, or any other whatsoever. And I do declare, That no
foreign prince, person, prelate, state, or potentate hath, or ought to have any jurisdiction, power, superiority, pre-
eminence, or authority ecclesiastical or spiritual, within this realm:

                                                                                                     So help me God.

IV. Upon which their said Majesties did accept the crown and royal dignity of the kingdoms of England, France,
and Ireland, and the dominions thereunto belonging, according to the resolution and desire of the said lords and
commons contained in the said declaration.

V. And thereupon their Majesties were pleased, That the said lords spiritual and temporal, and commons, being
the two houses of parliament, should continue to sit, and with their Majesties royal concurrence make effectual
provision for the settlement of the religion, laws and liberties of this kingdom, so that the same for the future
might not be in danger again of being subverted; to which the said lords spiritual and temporal, and commons,
did agree and proceed to act accordingly.

VI. Now in pursuance of the premisses, the said lords spiritual and temporal, and commons, in parliament
assembled, for the ratifying, confirming and establishing the said declaration, and the articles, clauses, matters,
and things therein contained, by the force of a law made in due form by authority of parliament, do pray that it
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may be declared and enacted, That all and singular the rights and liberties asserted and claimed in the said
declaration, are the true, ancient, and indubitable rights and liberties of the people of this kingdom, and so shall
be esteemed, allowed, adjudged, deemed, and taken to be, and that all and every the particulars aforesaid shall
be firmly and strictly holden and observed, as they are expressed in the said declaration; and all officers and
ministers whatsoever shall serve their Majesties and their successors according to the same in all times to come.

The Founders' Constitution
Volume 5, Bill of Rights, Document 1
http://press-pubs.uchicago.edu/founders/documents/bill_of_rightss1.html
The University of Chicago Press




            Easy to print version.




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                 VI.               ANO be it 1>vyded and enacted by au~tie aforesaid, that if the Wif of any pson ·~ psons were any velvet in the
          Proviso u to
          Penona whoat          lynyng or other part of her gowne other then in the cwfes or purfels of suche gownl!, or ellf were any velvet in her
          Wives wear            kyrtell or were any peticote of silke, that then the husbande of c!Jy suche Wiif shall fynde one stoned horse of the
          Velvets, &c.
          [Stt § I.J            stature above in this acte resyted, or shall incurre the abovesaide penaltie and forfaiture of tenne poundes to be levyed
                                and rec~ed.as is afore declared~ Provyded also that this Acte or any thing therin conteyned shall not extende to
                                charge any pson or poons whose Wif or Wiffes shall were any of the apparell or thingf above rehersed during the
                                tyme such Wif or Wyffes shalbe devorsyd from her or ther husbonde or husbondes, or shall willingly ·absent her self
                                from her said husbound and duringe suche absence shall were any of the apparell or other thyngf afore resyted :
                                Provyded alwaies that heires wtin age being wardes whose landes tent(' and hereditamentf amount to the yerely value of
                                CC ti. shall not be compelled by auc'tie of this acte till they ciime to ther full age to kepe any horses, althoughe the
                                wiifes of suche heires w'in ag.e were any gowne of Sylke or any Frenche hood or Bonet of Velvet w' any habilyment
                                past or egge of Gold Perle or Stone or any chayne of gold about ther nekkf or in ther plettf or in any apparell of ther-
                                bodie; Any thing in this .Acte to the contrary notw'stonding.
                 vu.               PaovvDED also that if all or any the horses kept by vertue· of this acte shall happen to be kyllyd maymyd or lost in
          Proviso for
          kiII~t~g;;:e::c.      the lvice of the Kingf warres, That then in ePy suche case the owners of suche horse or horses so kyllyd maymed
                                pisshed' or lost in the warres shall have libtie, by the space of twoo yeres next after suche chaunce of kylling maymyng
                                pisshing or losing ther horses, to Dvide other horses in the stede and place of the horses so kylled maymed pisshed
                                or lost in the Warres, w'out any daunger losse or penalcie of this acte; Any thing in this acte to the contrary therof
                                notw'stonding.
                VIII.             PaovvDED also that cart horses or sumpter horses shall not be takyn reputed or reckned for any suche horses
          Cart-Horses and
          Sumpter-Horses,       whiche any pson is or shalbe bounden to kepe by vertu of this acte.




                                                                                  CHAPTER VI.

                                                                  AN AcTfI toncerninge Crosbowes and Handguns.

                                        HERE in the Parliament holden at Westin the fyftenthe daye of Januarie in the twenty fyve Y ere of the
           Recital of Stat.
          1-s H.V[U. c. 17.
          against shooting
          with Crolli-buwa
                                W      Kinges most gracious Raigne, and there contynued and kepte untill the. thirtieth daye of Marche then next
                              ensuynge, amonge diVse and sondrie holsome and lawdable Act(' Statutf and ordyn•ncf one Statute and Ordyn"nce
          and Hand-guns :     was made and ordeyned for the avoydinge and eschewinge of shotinge in Crosbowes and Handguns; synce the
                              makinge of whiche Acte . di?se malicious and evill disposed psons not only p)sumynge wilfullye and obstynatlye the
          Violation thereof;  vfofac6n and breach of the saide Acte, but also of their malicious and evill disposed myndes and purposes have
                              wilfully and shamefully comytted ppetrated and done di~se detestable and shamefull murthers roberies felonyes ryott('
                              and routf with Crosbowes little shorte handguns and little hagbuttf, to the great pill and contynuall feare and daunger
                              of"the King(' most lovinge subject(', and also di?se Kepers of Forest(' Chases and Parkf aswell of our saide Soveraigne
                              Lorde as other his Nobles and Comons and diVse Gentlemen Yomen and Servingmen nowe of late have layde aparte
                              the good and laudable excise of the longe bowe, whiche alwaye heretofore hathe bene the suertie savegarde and
                              contynuall defence of this Realme of Englande, and an inestimable dread and terror to the Enemyes of the same,
                              and nowe of fate the saide evill disposed psons have used and yet doe daylie use to ryde and goe in the Kingt highe
                              W'ayes and elswhere, havinge with them Crosbowes and little handguns, ready furnished with Quarrellf Gunpowder
                              fyer & touche to the great pill and feare of the Kingf most lovinge Subject(': Foa REFORMACON wherof be it
                              enacted ordeyned and established by the Kinge our Soveraigne Lorde the Lordes spuall and temporall and the Comons
          Penalty on Persona, in this p}sent Parliament assembled and by thauctoritie of the same, in maner and fourme followinge That ys to saye ;
          having lesa than
          _.,oo. per Annum, that noe pson or psons of what estate or degree he or they be, excepte he or they in their owne right or in the right of
          keeping or using    his or their Wyeff(' to his or their owne uses or any other to the use of any suche pson or psons, have landes tent('
          Cross-bows, &c.
          "'110.
                              fees annuyties or Officf to the yerely value of one hundred pound(', from or after the laste daye of June next •comynge,
                              shall shote in any Crosbowe handgun hagbutt or demy hake, or use or kepe in his or their houses or elswhere any
                               Crosbowe handgun hagbut or demy hake, otherwise or in any other manner then ys hereafter in this p)sent Acte declared,
                               uppon payne to forfeyt for everie tyme that he or they so offendinge cont"rie to this Acte tenne poundes.
                   II.             AND furthermore be· it enacted by thauctoritie aforesaide that no pson or psons, of what estate or degree soever
           Length of
           Hand-guns, &c.        he or they be, from or after the saide laste daye of June shall shote in carye kepe use or have in his house or els where
           to be kept,           any handgune other then suche as shalbe in the stock and gonne of the Ienghe of one hole Yarde, or any hagbutt or
                                 demyhake other then suche as shalbe in the stock and gune of the lenghe of thre quarters of one Yarde, uppon payne to
                                 forfeyt for everie tyme that he or they shall carie use or have anye suche Gun being not of the lenghe of one whole
                                 Yarde or hagbutt or demyhake. beinge not of t!te lenghe of thre quarters of a Yarde, Tenne pound(' sterlinge.
           Those of leSB         And that it shalbe laufull to everie pson and psons, web have landes tent(' fees annuyties or officf to the yerelye
           Length may be         value of one hundred pound(' as ys aforesaide, to seise and take everie suche Crosbowe, and also everie handgun
           ~ized and
           oestroyed by          beinge in stock and gune shorter in lenghe then one whole Yarde and everie hagbutt and demyhake beinge shorter
           Persons haYJng        in lenghe then thre quarters of a Yarde, or any of them ; · from the Kepinge or possession of everie suche Offendor
           ,£100. a     Year.
                                 contrie to the forme of this Acte, and the same Crosbowe or Crosbowes to kepe and reteyne to his or their owne




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            1Se: and also the same handguns hagbuttt' and demyhakt' so seised and taken within twenty dayes next after the
           same seisure or takinge to breake and distroye, upon peyne of fourtye Shillingt' for everie Gune so seised and not
           broken and destroyed, and the same so broken and destroyed to kepe & reteyne to his or their owne use.

             AND be it further enacted by thauctoritie aforesaide, that noe pson or psons, other then suche as have land{' tentf                  III.
                                                                                                                                          Penalty upon
           rentt' fees annuyties or Offict' to the yerely value of one hundred Poundt' as ys aforesaide, from or after the saide laste    u_n~ualified Person,
                                                                                                                                          nding, &c. with
           daye of June, shall carrie or have, in his or their Jomey goinge or ridinge in the King{' highe waye or elswhere, any          Guns charged, &c.
           Crosbowe bent or Gune charged or furnished withe Powder fier or touche for the same, Except it be in tyme and
           Service of W arre, upon payne to forfeyt for everie suche Offence tenne pound{'; this p)sent Acte or any thinge therin
           conteyned to the contr"ie notwithstandinge.
                                                                                                                                                     IV.
             AND be it further enacted by thauctoritie aforesaide, that no pson or psons from the saide laste daye of June                None shall shoot at
           shall in anywise shote in or withe anye handgune demyhake or hagbutt at any thinge at lardge, within any Cittie                large in Cities, &c.
           Boroughe or Markett Towne or within one quarter of a myle of anny Cittie Boroughe or Markett Towne, excepte it
           be at a Butt or Banek of earth in place convenient, or for the defence of his pson or house, upon payne to
           forfeyte for everie suche Shott tenne poundes ; this p)sent Acte or anny thinge therin conteyned to the contrarie
           notwithstandinge.
                                                                                                                                                     V.
              AND be it further enacted by thauctoritie aforesaide, that noe pson or psons of what estate or degre soever he or           None shall order
           they be, shall from or after the saide laste daye of June comaunde any of his or their servauntf to shote in any               their Servants to
                                                                                                                                          shoot at Deer, &c.
           Crosbowe handgune hagbutt or demyhake of his or their saide Masters or of any other psons, at any deare fowle or               with Hand.guns.
           other thinge excepte it be only at a butt or bank of Earth or in the tyme of Warre as ys abovesaide, upon ·payne to
           forfeyt for everie suche offence tenne pound(' : The one moytie of all w<h forfeytures and penalties in this plsent Acte      Application
           above specified shalbe to the Kinge our Soveraigne Lorde his heires and Successors, and thother moytie thereof to the         of Penalties.

           partie that will sue for the same by bill playnt accon of Debte or Informac6n in anny of the King{' Court(.' of Recorde
           in whiche suyte noe Essoyne oteccon nor ·wager of )awe shalbe allowed.
                                                                                                                                                 VI.
             PROVIDED alwaye and be it enacted by thauctoritie aforesaide, that it shalbe laufull from henceforthe to all Gentlemen      Shootin11 at Butt,
          Yeomen and Servingemen of everie Lorde or Lord(' spuall or temporall and of all Knightt' Esquiers and Gentlemen,               wi1h Hand-guns
                                                                                                                                         allowed.
          and to all the Inhabitaunt(' of Citties Boroughes and Markett Townes of this Realme of Englande, to shote withe any
          handgune Demyhake or hagl;mtt at anye butt or bank of Earth onlye in place convenient for the same, so that everie
          suche handgune Demyhake or hagbutt be of the se~all lenghes aforesaide and not under; and that it shalbe laufull
          to everie of the saide Lorde and Lord{' Knight(' Esquiers and Gentlemen, and the lnhabitauntf of everie Cittie
          Boroughe and Markett Towne, to have and kepe in everie of their houses any suche handgune or handgunes of
          the Ienghe of one whole Yarde, or any hagbutt or Demyhake of the lenghe of thre quarters of a Yarde as ys
          aforesaide and not under, to thintent to .use and shote in the same at a butt or banke of Earthe onlye, as ys
          abovesaid, wherbye they and everie of them by thexcise thereof in forme abovesaid may the better ayde and assist
          to the defence of this Realme when nede shall requyre ; this p)sent Acte or any thinge therein conteyned to the
          contr"ie notwithstandinge.
                                                                                                                                                 VII.
             AND be it further enacted by thauctoritie aforesaide, that it shalbe laufoll to everie pson and psons whiche dwelleth       Hand-guns allowed
           and inhabiteth in anye house standinge and being sett distant twoo furlongt' from any Cittie Boroughe or Towne, to            out of Cities for
                                                                                                                                         Defonce of House~,
           kepe and have in his saide house for the onelye defence of the same handgunes hagbutt(' and demyhakes beinge of the           &c,
           severall lenghes aforesaide and not under, & to use and ex&ise to shote in the same at any butt or bancke of earthe
           nere to his house and not otherwise; Any thinge conteyned in this Acte to the contr•ie notwithstandinge.
                                                                                                                                                VIII,
             AND furthermore the King(' most lovinge Subjectt' the Lordes spuall and temporall and the Comans in this p)sent Patents, &c. to
           Parliament assembled, most humblye doe beseche the King{' Majestie that it be further enacted by thauctoritie aforesaide, shoot in Crossbows,
                                                                                                                                        &c. declared void.
           that all ires patent(' Fraternyties, and also all other placard(' lycences and bill(' assigned heretofore had made or signed [Bu1m § XIV.]
           by his Highnes or by any other authorised by his Highnes ires patent(' under his Great Seale to give licence and placarde
           to shote in Crosbowes & handgunes or any of them, shalbe from and after the saide laste daye of June frustrate voyde
           and of none effecte.
                                                                                                                                                 IX.
              AND also that it may be further enacted by thauctoritie aforesaide that the saide Statute made in th~ saide xxv' h 2s H.VlII. c, 17,
           Y ere of the King{' most gracious Raigne, and all other Statutt' heretofore made and ovided for thavoydinge and restreynt &c. repealed ;
           in shotinge of Crosbowes and handguns or for any of them, or for the usinge and kepinge of the same, be from
           henceforth utterlie voyde and of none effecte : Provided alwayes that cverie ocesse suyte or Informac6n conceaved Except as to Suits
           comenced and nowe dependinge for any Offence done contr"ie to the forme of the saide Statute made in the said xxv' h depending.
           Yere of the King(' moste noble Raigne, or of any other Statute made (') pvyded for and conceminge the shotinge in
           Crosbowes and handguns, not repealed, and for the kepinge of the same, shalbe as good and effectual! to the
           parties that have comenced the ( •) and shall stande and be in suche forme effecte and condicon as if this Acte had
           never bene made.

             PROVIDED also that this Acte or any thinge therin conteyned be not in any wise hurtfull or p)judiciall to any pson          Proviso f~; Persona
           or psons nowe beinge or that hereafter shalbe appoynted by the King{' Highnes, to kepe receyve or take any Crosbowes          ~:~P~!;;{r:sbows,
           or Handguns that shalbe forfeyted or taken within the precinae or lit>tye of the Kingt' forrestf park('. or ch aces, but      Foreats :
           that he or they may laufully kepe and reteyne the same Crosbowes or Handguns from tyme to tyme untiil suche tyrne

                                               1   or 0.                                  • same O.




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          for Maiten            a$ the further pleasure of the King{' Highnes in that behalfe be to efJy suche pson shewed & declared : Provided also
          of Crosabows, 8cc.
                                that this Acte extende not to the makers of Crosbowes or Handguns, but that they may laufully kepe Crosbowes and
                                Handguns Hagbutt(.' and Demyhak.es in their houses, and shott in the same onlye for provinge & assayinge of them at
                                a butt or bank of earthe in the place convenient and not otherwise, so that the saide Handguns Hagbutt(.' & Demyhak.('
          and Merchant■         be of the sefJaU lenghes in Stock and Gune as ys above lymitted : Provided also that this Acte nor any thinge therin
          dealing therein.
                                conteyned extende not or be pljudiciall to any Marchaunt(.' whiche have or shall have any Crosbowes Handguns
                                Hagbutt(' and Demyhakf or any of them to sell within this Realme and to none other use, so that the same Handguns
                                Hagbutt(' and Demyhakf be of the sefJall lenghes in Gune and Stocke as ys above lymitted and not under.
                  XI.
          Proclamation of          PROVIDED also that noe manner of parson rune in any daunger or take hurte by reason, of any penaltye or forfeiture
          the Aa in each        conteyned in this Acte untill suche tyme as pclamacon be made of the same Acte, within the Countye where the partie
          County.
                                that shall or maye offende cont"rie to this Acte.dwelleth, by the space of twentye dayes nexte after the makinge of the
                                saide 11clamac6n.
                 XII.              PROVIDED also that yf any manner of pson bringe or cause to be brought withe him into his lodginge or in or to
          Hou1~keepers not
          liable to Penalty     any other mans house any Crosbowe or Handgune, that then the penaltye and forfeyture, yf any suche be 0r hereafter
          ,~;r:;c¾:st'!s,
          &c,
                                shalbe forfeited by reason of this Acte, to rune and be onely upon the bringer of the saide Crosbowe and Handgune
                                and not to the owner of the same lodginge or house, yf the saide [howner '] of the said lodging or house cause thes aide
                                bringer thereof to take & carrie awaye the saide Crosbowe or Handgune agayne withe him at his departinge; anye
                                thinge in this Aae made to the cont"rie notwithstandinge.
                 xm.                AND be it also enacted by thauctoritie of this plsent parliament that if any pson or psons, from or after the laste daye of
          Offenders may be
          arrested by any       June next comynge, see or fynde any pson or psons offendinge or doinge cont"rie to the forme and effecte of this Acte,
          Peraons.
                                that then it shalbe laufull to everie suche pson or psons pceyvinge fyndinge or seinge anye suche pson or psons so
                                offendinge cont•rie to the fourme of this acte, to arrest and attache eVy suche offendor or offendors and to bringe or
                                convey the same to the next Justice of Peace of the same Countye where the said offendor or offendors shalbe founde
                                soe offendinge ; .;And that the same Justice of Peace upon a due exiacon and proeff thereof before him had or made by
                                his discrecon shall have full power and aucthoritie to sende or comytt the same offendor or offendors to the next Gaole,
                                there to remayne till suche tyme as the saide penaltye or forfeyture shalbe trulye contented and. paide by the saide
                                offendor ; the one moytie of the same penaltye to be paide to the King(' Highnes and thother moytie thereof to the
                                fir&t bringer·or conveyer of the saide offendor to the same Justice of Peace.
                 XIV.
          Licencea, if given,      AND be it further enacted by thauctoritie aforesaide, that yf any pson or psons doe at any tyme hereafter obteyne
          (Stt ~ VIII.)         gett or purchase, of the King(' Majestie his heires or successors, any placarde licence or bill assigned to shote in any
          shall specify at
          what Heasts, &c.      Crosbowe Handgun Hagbutt or Demyhake cont•rie to the tenor purporte and effecte of this p)sent acte, that then there
          the Party licensed
                                shalbe conteyned in everie suche placarde licence and bill assigned, at what beast(' fowles or other thinges the saide
          ::r1 :~~~e~:~;
          to obey such
                                pson or psons so obteyninge any suche placarde licence or bill assigned shall shote, withe any Crosbowe Handgune
          Regulations.          Hagbutt or Demyhake, or els that everie suche placarde licence and bill assigned hereafter to be obteyned gotten or
                                purchased shalbe clerely voyde frustrate and of none effecte: And also that everie suche pson or psons so obteyninge
                                any suche placarde licence or bill assigned, before they shote in any suche Crosbowe Handgun Hagbutt or Demyhake,
                                in any suche manner or forme as shalbe mencioned in any suche placarde licence or bill assigned, shalbe bounden in
                                the King(' Courte of Chauncerie by recognizaunce in the some of twenty pound(.' to the King(.' use withe and upon
                                condicon that he so obteyninge or havinge the saide licence placarde or bill assigned, shall not shote in any Crosbowe
                                Handgune Hagbutt or Demyhake at any other beast(' or fowles then in any suche placarde licence or bill assigned
                                shalbe conteyned and specified, and els all suche placardes licencf and bill(' assigned so hereafter to be made to any
                                pson or psons not beinge so bounden by recognizaunce in the Courte of Chauncerie as is aforesaide, to be utterlie
                                voide and of none effecte.
                 xv.                AND be it further enacl:ed by thauctoritie aforesaide, that it shalbe laufull to all Justic(' of Peace in their sessions and
          Recovery a11d
          Application of        to all Stewardes and Baylieff(' in their seVall leet(.' and lawe dayes to enquyre heare and determyne eVy suche offence
          Penalties.
                                after the saide laste daye of June to be corriytted and done cont•rie to the tenor of this {>)sent Acte; So that alwayes noe lesse
                                fyne then tenne poundes be assessed upon everie suche p)sentment and conviccon made accordinge to the due course of
                                the lawe; the same fyne so by the same Justicf of Peace upon everie suche p)sentment and conviccon made before them
                                in their Sessions, to be payde and levyed onely to the King(' use ; and the one moytie of everie fyne to be assessed by
                                the Stewardf or Baylyfff of any leete or lawe daye, upon everie plsentment and conviccon before them, to be payde and
                                 levyed to the use of the Kinge our Soveraigne Lorde, and ( •) the other moytie the one halfe to the owner of the saide
                                 leete or lawe daye by distresse or accon of debte, and thother halfe of the same seconde moytie of the same fyne, to be
                                to the partie that will pursue for the same in any of the Kingf Court(' by bill playnte informacon or accon of debte, in
                                 the whiche none Essoyne 11teccon nor wager of lawe shalbe allowed.
                 XVI.
          Penalty on Jurors         AND be it further enacted, that yf any Jurie beinge swome and charged to enquyre for the Kinge our SofJaigne Lorde
          charged to enquire     before anye Justicf of the Peace or Steward(' of leetf or lawdayes, of any offencf comytted or done cont"rie to this
          into Offences, who
          ehall conceal the      p)sent Acl:e, doe wilfullie conceale any of the same offenc(', that then the saide Justic(.' Steward(.' or Bayliff(.' before whom
          1ame, zos.             any concealment shalbe had and done, shall have auctoritie by vertue of this p)sent Acte from tyme to tyme to chardge
                                 and sweare an other Jurie of twelve or mo good and substantiall honest psons to enquire of everie suche concealment,
                                 and if any suche concealment be founde and presented by the saide Jurie so chardged to enquyre of the same, that

                                                                  1   owner O.                                           • of O.




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           A.D.1541-~.                                 33° HEN.VIII. c. 6.                                                                        835

           then everie one of the saide fyrste J urie that so did conceale the same, shall leese and forfeyt for everie suche
           concelement of e~ suche offence twenty shilling(' ; All whiche forfeytures and penaltyes of twentye shilling(' for everie
           such concealment of everie suche offence so found and p)sented before the same Justic(' of Peace shall holye be levyed and
           payde to the King(' use, and the moytie of all the same forfeytures and penaltyes of twenty shilling(', so founde and
           j>}sented before the Steward(' or Bayliff(' of any leete or lawdaye, shalbe levied and paide..to the use of the owner of the
           saide leete or lawdaye by distresse or acc6n of debte, and thother moytie thereof to be to the partie or parties that will
           sue for the same by acc6n informac6n bill or playnte in any of the Kingf Court(', in the whiche acc6ns informac6ns
           bill(' or playntf ilo wager of !awe essoyne nor ~tecc6n shalbe allowed.
                                                                                                                                               XVII.
             PROVIDED alwaies and be it enacted by thauctoritie aforesaide, that yf any pson or psons hereafter in any parte do           Limitation of
           offende or do contr"ie to the purvewe and remedy of this Acte, whereupon cause of Acc6n for the same offence shalbe            Proaecutiona ;
                                                                                                                                          One Year to the
           geven to the Kinge his heires or successors or to any other pson or psons that will sue by vertue of this Acte for the         King, and Half a
           punyshment of the saide offence or forfeytures, that yf the Kinge our Soveraigne Lorde his heires or successors within         Year to others,

           one yere next and ymediatlye afler suche offencf and forfeytures had and made do not pursue their acc6n or acc6ns so
           given by this Acte or cause exaiacon upon suche default(' and offencf to be had and made before their counsaile, or
           other p)sentmentf thereof to be had accordinge to the meanynge of the same Acte, and everie other pson whiche hereafter
           by vertue of this Acte maye have accon or accons suyte or informacon upon this Statute within halfe a yere next and
           ymediatlye after suche offencf or forfeitures had and made do not comence their suytf informac6n accons or plsentmentf
           of and upon the said forfeytt' by acc6n or otherwise as in this plsent Acte ys lymited and declared, that then aswell the
           Kinge our SoVaigne Lorde his heires and successors, after one yere next after suche offencf and forfeytf had and
           made yf no suyte in his or their name be taken by accon or otherwise as ys before explssed before the same yere
           ended & de\'myned, as everie other pson after halfe yere next after like Offencf had and done in the fourme
           aforesaide yf noe suyte thereupon be taken by none of them in fourme above declared, be utterly excluded and
           debarred of their saide suytf accons Informacons and exaiacons to them g-yven by vertue of the saide Acte, and
           the partyes and eVy of them so offendinge shalbe of all suche Offencf and forfeytf clerely dischardged an<l quytt ;
           Any thinge in this Acte comprised to the cont"rie notwithstandinge.

              PaovmED alwayes and be it enacted by thauctoritie aforesaide that this plsent Acte ne any thinge therin conteyned                XVIII.
                                                                                                                                          Proviso for
           shall in anywise extende or be pljudiciall unto the Kingf Subject(' resident or inhabitinge nere unto the Coastf of the        Inhabitants near
                                                                                                                                          the Sea Coasts,
           Sea in any parte of this Realme, their houses bemge not above fyve myles distant from the same Costf, nor also to              Scotland, Calais,
           any of the saide Subject(' inliabitinge within twelve myles of the borders of Scotlande, nor to any the Kingf Subject('        Jersey, &:c.
           Inhabitauntf' of the Towne and Marches of Callice, nor to any of the Inhabit"untf of the Isles of Jersey Gernesey
           Anglesey and the Isles of Weight and Man, but that it shalbe laufull for everie of the saide Inhabitauntf' at
           all tymes hereafter to have excise and use their handguns hagbuttf and' demyhakes of the Ienghes abovesaide
           within the lymytt(' and Isles abovesaide,. so that it be at noe manner of Dere heron Shoveler fesant partriche
           Wild Swanne or Wilde Elke or any of them ; this p)sent Acte or any thinge therin conteyned to the contr"ie
           notwithstandinge.

               PnovIDED also that this Acte ne any thinge therin conteyned be in anywise hurtfull or p)judiciall to any ~v"nte                   XIX.
                                                                                                                                           Proviso for
            or pson that hereafter, from the saide laste daye of June, shall bend beare carrie charge use or assaye anye Crosbowe          Servants under
            or any handgun demyhake or hagbutt of the lenghes abovesaide, by the comaundment of his Lorde [and'] Master so                 Orders of their
                                                                                                                                           Mastera,
            that the saide ~v•nte or pson doe not shote at any fowle Dere or other Game of what Kynd or nature soever they
            be; nor also to any suche ~v•nte pson or psons that shall after the saide last daye of June beare or convey any Crosbowe
            handgun hagbutt or Demyhake of the lenghes aforesaide to any place or places, by the comaundment of his Jorde
            or master that maye shote by auctoritie of this Acte, to be amended repayred delyvered or assayed ; so that the
            saide Servaunte or other pson so bringinge or conveyinge the saide Crosbowe handgun hagbutt or demyhake have
            redye to shewe to e~y pson requiring the sight thereof one licence in Writinge sealed or subscribed by his saidc
            Lorde or Master to carrie and convey the same Crosbowe handgun hagbutt or demyhake to thintent to be amended
             repayred assayed or delivered as ys aforesaide.

              PROVIDED alwaies that this Acte or any thinge conteyned therein shall not extende to any Owner of any Shippe, for                    xx.
                                                                                                                                           Proviso for
            having or kepinge of any handgun hagbutt or demyhake of the se~all lenghes in this Acte explssed or under,                     Owners of Ships,
                                                                                                                                           &c.
            only to be had and occupied within their Shippe or other Vessell, or for the carriage and recarriage of them or any of
            them on lande, or kepinge of them for the on lye excise and occupyinge of them within their saide Shippe or Vessell ;
            Anye thinge in this Acte to the contr"ie in any wise notwithstandinge.


                                                                     1   or O.




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                      1134                                                               4° JAc. I. c. 1.                                    A.D.1606-7,



                                                                                            CHAPTER I.

                                             AN ACT for the utter abolicion of all memory of Hostilitie and the Dependances thereof beweene England and
                                                       Scotland, and for the repressinge of occasions of Discord and Disorders in tyme to come.

                                                OR the honour weale and good of theis two mightie famous and auncient Kingdomes of England and Scotland,
                   For promoting
                   Union between
                   England and
                   Scotland, ctrtain
                                           F     and for the furtheraunce and advancement of the happie Union already begun in his Majesties Royall peon:
                                           BE it enacted by the Kinges most excellent Majestie w" the Assent of the I.orde Spiritual! and Temporall and the
                   Engli,h Acu             Comons in this plsent Parliament assembled and by the Authoritie of the same, That one Act made in the fowrth
                   ttptaled; -riz.
                   4- H. V. It. 2, c. 7·   yeere of the Reigne of King Henrie the Fifth, whereby it is enacted, that ires of Marte or Reprisall be granted
                   Ldten of Marque,        against the People of Scotland, in case where the Subjecte of England have beene spoyled and have complayned and
                   1gainst the Scott,
                                           not receaved Redresse, shall for soe much thereof as soe concerneth the People of Scotland, be utterlie repealed and
                   33 H . Vlll. c. 6.
                                           made void : And also that one Proviso conteyned in an Act made in the three and thirteth yeare of the Reigne of
                   § 18. Crou-Bowt,        Kinge Henry the Eighte, by which Proviso the Kinge Majesties Subjecte inhabitinge within Twelve Myles of the Borden
                   &c. on the Borders.
                                           of Scotland are allowed and pmitted to use Crossebowes Handgunns Hackbuttf or Demyhakes, or to use or
                                           keepe in bis or their Howses or elswhere any such Crossebowes Handgunes Hackbu11e and Demyhakes, for soe
                                           much of the said Proviso as soe con@neth such as shall inhabite within Twelve Miles of the said late Bordero,
                                           shalbc utterlie repealed and made void.

                           JI,                 AN o be it further enacted by the Authoritie aforesaid, That theis other Statutes hereafter followinge, That is to
                   Repeal of certain
                   other Engli1h           say, One Act made in the seaventh yea re of the Raigne of Kinge Richard the Second, whereby it is enacted, That noe
                   Acts,"17..              Armour Victual! or other Refreshment be caried into Scotland, uppon paine of seizure or forfeiture; And one other
                   7 Ric.IJ,    C,   16.
                   lmp0rtation             Act made in the one and thirteth yeere of the Rcigne of Kinge Henry the Sixt, wherebie it is enacted, That March
                   of Arms, &c.            Lawe be not used.out of the Circuit of the Counties of Norrhumtiland Cumberland and WestJiland or the Towne of
                   into Scotland ;
                   31 H.VI. c. 3.          Newecastle; And one other Statute made in the seventh yeere of the Reigne of Kinge Henry the Seaventh, whereby
                   March L aw ;
                   7 H. VII. c. 6.         it is enacted, That Scottishmen should avoyde out of the Realme of England within a tyme plfixed ; And one other
                   Scotchmen leaving       Statute made in the three and twenteth yeere of the Reigne of Kinge Henrie the Eighte ; And a like Statute made in
                   England;
                   13 H.VIII. c. 16.       the fir,;t yeere of the Reigne of the late Queene Elizabeth, whereby the conveying• of Horses out of England into
                   1 Eliz. c. 7·           Scotland is made Felonic ; And one other Statute made in the second and third yeeres of the Reigne of Kinge Philip
                   exporting Hone•
                   tu Scotland J           and Queene Mary ; And the like Statute made in the three and twenteth yeere of the Reigne of the late Queene
                   2,3 P.&-M. C.J .         Elizabeth, wherebie it is enacted, That noe I.andes or Tenemente be lett to Scottishmen uppon the Borders ; ahalbe
                   1) Eliz. c, 4·
                   letting Landt            utterlie abrogated repealed and made void : And if there had appeared any other Statute of this Realme of
                   to Scotchmen.
                                           England, wherein any thinge is ordeyned enacted or established expresly and by Name against Scottishmen as
                   Genera.I Repeal
N QJ               of all other             Enimyes, or Scotland as an Enemye Countrye, to the Kinge of this Realme or the State of the same, ,'lee should
0.-'               unfriendly Laws.
LI) O>                                      for soe much of them as had soe con&ned Scotrishmen or Scotland have utterly abrogated and adnulled the
LI) 0
rl 0
                                            same, seinge all Enmitie and Hostilitie of former tymes betweene the two Kingdomes and People is nowe
r-- °'
en                                          happily taken away, and under the Goverment of his Majestie, as under one Parent and Head turned into
    '
r l -0
0    c..                                    fra?nitye or brotherlie Frindship.
0'11,
0           QJ
0           Vl            lll,                 PaovIDED nevertheles and be it enacted by the Authoritie of this plsent Parliament, That none of the Articles
        .   :::,   The Effect of thi1
                                           Brauncbes or Clauses abovesaid in this Act before conteyned and explssed, shall take effect or be in force or in any
.µ                 Act to depend on
 V,         V,
 C.. Vl
                   the Repeal of           wise be deemed or expounded to take effect or be in force to any intent construcc6n or purpose until theis Act('
....._ QJ          ccrtail\ Scotch
r-- u              A ctt,Yiz,              of Parliament of the Realme of Scotland hereafter followinge, That is to say, One Act made in the tyme of James
NU                                         the First, Kinge of Scotland, by which it was enacted, That all psons remayning in England without the King(' License
0
N....._     (1J
                   tf.'fun:"f}gland I      did comytt Treason ; One other Act made in the tyme of the said Kinge James the First, wherebie any Assurance with
....._ O>          A uunnce with
.µ L.              Engli1h;                Englishe men for takinge eteccion from them for Landes or Goode, is Treason; One other Act [in') the same King('
 QJ 0              Buying Engli,h
 C:                Good,.                  tyme, inhibiting all buyinge and scllinge of Englishe Goode forbidden, under payne of Escheate; One other Act made
   • .µ
                                           in the tyme of James the Second, Kinge of Scotland, that none should passe into England in tyme of Warre w"out
,...,
 QJ   "'
      :::,         Tttn;- J11,. II.
                   Vi,1ting England;
-0 L.                                      Licence, under payne of Treason ; One other Act made in the Reigne of the saide Kinge James the Second conteyninge
 C: .µ             Englishmen
 (1J ·rl           visiting Scotian~;      that noe Englishman come intu Scotland without conduct, and that noe Scottishman sit under Assurance w.. them;
.c .c              Supply to 1k.rw1ck;     One other Acte of the oame Kinge rymc, That noe Scottishman supply Barwick or Roxburgh, under paine of
        • .µ
,...,       (1J    Defeocc again,t
-0          .c     England.                Treason; One other Act made in the ryme of the said Kinge James the Second, That all men be ready for Defence of
                                           the Realme against England ; Two Acre made in the tyme of James the Third, King of Scotland, for resisting Kinge
                   Tnnf, Jae. Ill.
~I
 V, ....._
c..,
                   Rc,uting Ed. IV.;
                   Supp1yof&rwick..
                                           Edward the Fourth; One other Act made in the tyme of the said King James the Third, con@ning the upholding of
                                           Barwicke and Garisons upon the Borders ; One Act made in the Reigne of Mary late Queene of Scotland, by which it
.µ ••              Tt•J· Mar1,             was enacted, That Scottishmen are charged to leave Assurance w,. Englishmen ; One other Acte made in the tyme of
.µ c..             A uurance with
.c          .µ     Engli1h .               the saide Queene Marie, conPninge assured Scotrishmen assisting• the English Armye; One Act made in the Parliament
            .µ
                   T-,,. Ja,, fTl.         of Scotland, in the tyme of the most happie Reigne of our most gracious Soveraigne Lord the Kinge that nowe is,
....._ .c          Marriage of
                   Bordcrcu;               conteyninge that the Scottish Borderers are discharged to marry English Borderers Daughters; And lastlye one other
       ....._
I-                 Englillh holding        Act made in the tyme of our said Sovercigne Lorde the Kinge, injoynioge the Warden to putt in a Bill the Names of
:;;:               Land in Scotbnd,
<.:J-0             &c.                     all Englishmen that occupie I.ande in Scotland and seeke Redresse accordinge to the Treaties; shall by Act of
00 N
            QJ                             Parliament of the said Realme of Scotland be utterlie repealed frustrate and made voide ; And until! alsoe the said
LI) ·rl
•• .µ
CD ·r-1
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          A.D.1883.                                              7° Ric. II. c. 12-16.                                                                      35

                    force & ~e en toutz pointz ; et outre ceo est auxint            Force and Elfea in all PointJ ; and moreover it is              wbothallwo
                                                                                    uaented, That if any Alien have purchased, or from              be liabk to
                    aaentuz q ai aacun alien eit purc:lw:ez ou desore pur-                                                                          the Prnalcin
                                                                                    henceforth shall purchase any Benefice of Holy Church,          ohs Ed.Ill.
                    chace ucun benefice de Seinte Esgliae Dignitc ou                Dignity, or other Thing, and in his proper Penon take           lt.J,   C.U,
                    autre & en ppre psone p)igne poaaesaion dicelle ou              Posaeasion of the same, or occupy it himself within the
                    loccupie de fait, deinz mesme le Roialme, aoit il a 10n         Realm, whether it be to his own proper Use, or to the
                    c;,eps "pre, ou al oeps dautri sanz especiale congie du         Use of another, without especial Licence of the King,
                                                                                    he shall be comprised within the same Statute ; and
                     Roi, aoit ii compria en· mesme lestatut, & outre ceo          moreover shall incur all Pains and Forfeitures in all
                    encourge en toutz pointz tielx peines & forfaiture             Points as is before ordained by another Statute made
                    come sont ordeignez p un autre estatut fait en lan uv"         the Five and twentieth Year of the noble King Edward
                                                                                   the Third, Grandfather to our Lord the King that now
                    del regne luy noble Roi E. aiel nre l' le Roi qore est,        ia, 1Againft them that purchase Provisions of Abbeys or
                    contre ceux qi purchacent pvisiona dabbeies ou Priories ;      Priories ; and to the Intent that such Licences shall        The King'•
                    et enoutre au fyn q tielx licences ne se facent desorc         not be from henceforth made, the King willeth and            Licrncr1 to
                                                                                                                                                thrcontnry
                    enavant, le Roi voet & comande a toutz sea lieges &            commandeth to all his Subjects and other, that they          1h&ll not be
                    autres qils lour abatiegnent de cy enavant de luy prier        shall a.b6tain them from henceforth to pray him for any      uked for.
                                                                                   such Licence to be given ; and also the K.ing himself
                    dascuna tiela licences doner; et ai voet auxi le Roi luy       will refrain to give any such Licence during the Wars,
                    mesmea abstiegner de doner ascune tiele licence, durantea      except to the Cardinal of Naples, or 10 some other
                    lea guerres honpris au Cardinal de Naples ou a autre           special Person to whom the King is beholden for a
                    especiale psone a qi le Roi aoit p especiale cause tenuz.      special Cause.
            uj.         Item est ordeignez & assentuz & le Roi defende q              ITEM, It is ordained and assented, and also the King             XIII.
                                                                                                                                                No M1n1hall
                    desoremes nutt home chivache deinz le Roialme armez,           doth pr0hibit, That from henceforth no Man shall ride        ride armrd
                    encontre la forme de lcstatut de Norhamptoi'i aur ce           in Harness within the Realm, contrary to the Ferm of         contrary 10
                                                                                   the Statute of Northampton thereupon made, neither           the Sututr
                    fair, ne ove5<h lancegay deinz mesme le Roialme, les           with Launcegay within the Realm, the which Launce-           i   Edw. III.
                    queux lancegayes aoient de tout ouatez deinz le dit                                                                         chapter 3.
                                                                                   gays be clearly put out within the said Realm, as a
                     Roialme come chose defendue p nre l' le Roi sur peine         Thin~ prohibited by our Lord the King, upon Pain of
                    de forfaiture dicelx lancegaiea armures & au?s herneys         Forfe11ure of the said Launcegays, Armours, and other
                    quelconqes es mayna & possession de cell~y qi les port'a       Harness, in whose Hands or Possession they be found
                                                                                   that bear them within the Realm, contrary to the Sta-
                    deaore deinz mesme le Roialme contre cestz estatut             tutes and Ordinances aforesaid, without the King's
                    & ordinances aanz especiale congie de Roi nre I'.              special Licence.
           xilij.    · Item es briefs de p)munire fai! est assentuz & ac-             ITEM, In Writs of Pra:munire facia.a, It is assented             XIV.
                    cordez q ceux Va qucux tielx briefa sont portez, & qi          and agreed, That they against whom such Writs be sued,       For enabling
                                                                                                                                                Partica out uf
                    eont de ~nt hors de Roialme & sont de bone fame                and w_ho at this Time be out of the Realm, and be of         thr Rralm
                    & aient faitz lo' geQaix atto'nes devant lo' deptir, q le      good Fame, and have made their general Attumies be-          to appoint
                     Chaunceller [DenglePre '] pur le temps esteant, p             fore their departing, that the Chancellor of England for     Attorniea
                                                                                   the Time being, by the Advice of the Ju,tices, may           inWriu        or
                    ladvis des Justices purra g"ntier q mesmes lea psones          grant, that the ~me Persona may appear to answer, to         Pnmuoitt.
                    purront apparoir & respondre & faire & resceivre ce q          do, and to receive that Thlng which the Law demandeth,
                    la ley demande, p lo' gdtalx atto'nea avantdiz siavant         by their general Atturnies aforesaid, as well as in other
                    come es autres cas & quereles ; et ceux psones qi decy         Causes and Quarrels ; and those Persona which from
                    enavanc paueront p licence nre l' le Roi & soient              henceforth shall pass by the King's Licence, and be of
                                                                                   good Fame, that at their Request the Chancellor, by
                    aux.int de bone fame, q a lo' requeste le dit Chaunceller      the Advice of the Justices, may grant to them to make
                    p ladvis des Justices lour purra g"ntier defaire lo' ge~       their general Atturniei; in the Chancery by the King's
                    alx atto'nes en la Chancellerie p patent du Roi devant         Patent, before their Passage, to answer as well in the
                    lo' passer, [a re!J>Ondre'] sibn es ditz brief, de f>)munire   said Writs of Pra::munire facias, aa in c,ther Writs and
                    fa~, come en au't1s quereles en quel cas toutes voies soit     Plainta ; in which Case express Mention ,hall be made
                                                                                   at all Times of th~ Writs and Plaints of Pra:munire
                    ex~ mencion [faite 1] des briefs & quereles de p)mu-           facias; and thia Patent so made, the said Atturnies
                    nire fai!; et celle patente enai faite, purront des lora les   from hencefonh, in Absence of their Masters, may an-
                    ditz atto'nes en ab,ence de lo' Meistres, respondre p          swer [for them, and make '] other Atturnies under
                    eux & au't'a atto'nes desouz eux, devant quelcon<h juge        them, before any Judge of the Realm, [10 '] do and
                    du Roialme & faire & resceivre el dit cas, aiavant come        receive in the said Case as much as in any other Case
                                                                                   or Matter, notwithstanding any Statute made to the
                    en nutt autre cas nientcontresteant ascun estatut fait a       contrary heretofore.
                    connie avant ces heures.
                        Item aur la grevouse pleinte qest faite dea meyn-             ITEM, For the grievous Complaint that is made of          xv.
                    teno's des quereles & chaumpto's ; est ordeignez &             Maintainera of Quarrels, and Champertors ; It is or- Sta1u1ea
                                                                                                                                           I Edw, Ill.
                    assentuz q lestatutz ent faitz en les ans du regne le          dained and assented, That the Statutes thereof made in ltll. I. C. I ♦,
                                                                                   the First and Fourth Years of King Edward, Grandfather 4E.lll c.11;
                    Roi Edward aiel nre dit l' le Roi primer & quan, et            to our Lord the King that now is, and also in the First 1 Ric.11.c 4;
                    auxint en Ian Je nre I' le Roi qore est primer, aoient                                                                 againll Main-
                                                                                   Year of our Lord the King that now is, shall be holden tenanct,   &c.
                    tenuz & gardez & duement executz en toutz pointz,              and kept, and duly executed in a.II Points.             confirmrd.
                        Item est aasentuz & le Roi defende estroitement q             ITEM, It is assented, and the King straitly defendeth,       XVI.
                    decy enavant nulle paone aliene ou denszein de quel-           That from henceforth no Person, .Alien nor Denizen, of No Armour
                    con(h estat ou condicion qil soit amesne ou envoie ou          whatsoever Estate or Condition that he be, ahall carry or      ViAual
                                                                                                                                               ,hall be arnt
                    face amesner ou envoier p 't're ou p meer hon du               nor aend, nor do to be ca.med nor aent, by Land nor into Scotland
                    Roialme Dengle?re as ascunes pties Descoce en prive            by Sea, out of the Realm of England, to any Parts of without
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                    ne en appt ascune mable dumure de blee de brees· ne            Com, Malt, or other Viauals, or any other refreshing, on    tbe King 1
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                    dautre vitaille ou dautre refresshchement queconq, sur         upon Pain of Forfeiture of the same Vifluals, Armours, Forfriturt
                    peine de forfaiture de meames !es vitailles armures &          and other Things aforesaid, together with the Ships, thefflJf,
                    des autres chosea avantdites enaemble avC\: lea niefl          Vesaela, Carts, and Horses whlch shall bring or carry
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                    ou de la Oroie value dicellea, ai enai ne 10it q le
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  20 Ric. 2, 93, ch. 1 (1396)
  |
  First, whereas in a Statute made the Seventh Year of the Reign of the King that now is, it is ordained and assented, That no
  Man shall ride armed within the Realm, against the form of the Statute of Northampton thereupon made, nor with
  Launcegays within the same Realm, and that the said Launcegays shall by utterly put out within the said Realm, as a Thing
  prohibited by the King, upon Pain of Forfeiture of the same Launcegays, Armours, or any other Harness, in the Hands and
  Possession of them that bear them, form henceforth within the same Realm against the same Statutes and Ordinances
  without the King’s special License. Our Lord the King, considering the great clamour made to him in this present
  Parliament, because that the said Statute is not holden, hath ordained and established in the said Parliament, That the said
  Statutes shall be fully holden and kept, and duly executed; and that the said Launcegayes shall be clear put out upon the Pain
  contained in the said Statute of Northampton, and also to make Fine and Ransom to the King. And moreover, that no Lord,
  Knight nor other, little nor great, shall go nor ride by Night nor by Day armed, nor bear [Sallet] nor Skull of Iron, nor [of]
  other Armour, upon the pain aforesaid; save and except the King’s Officers and Ministers in doing their Office. And
  Moreover, the King will and hath ordained, that the statute made the First Year of his Reign, of Liveries of Hats, shall be
  holden and kept upon the pain contined in the same Statute, and upon Pain to be imprisoned, and make Fine and Ransom of
  the King.




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      The Grants, Concessions, And Original Constitutions
      Of The Province Of New Jersey Page 289-290; Image
      293-294 (1881) available at The Making Of Modern
      Law: Primary Sources. I Duke Center for Firearms
      Law
      An Act Against Wearing Swords, Etc. Whereas there hath been great complaint by the inhabitants
      of this Province, that several persons wearing swords, daggers, pistols, dirks, stilettoes, skeines, or
      any other unusual or unlawful weapons, by reason of which several persons in this Province, receive
      great abuses, and put in great fear and quarrels, and challenges made, to the great abuse of the
      inhabitants of this Province... And be it further enacted by the authority aforesaid, that no person
      or persons after publication hereof, shall presume privately to wear any pocket pistol, skeines,
      stilettoes, daggers or dirks, or other unusual or unlawful weapons within this Province, upon
      penalty for the first offence five pounds, and to be committed by any justice of the peace, his
      warrant before whom proof thereof shall be made, who is hereby authorized to enquire of and
      proceed in the same, and keep in custody till he hath paid the said five pounds, one half to the
      public treasury for the use of this Province, and the other half to the informer: And if such person
      shall again offend against this law, he shall be in like manner committed upon proof thereof before
      any justice of the peace to the common jail, there to remain till the next sessions, and upon
      conviction thereof by verdict of twelve men, shall receive judgment to be in prison six month, and
      pay ten pounds for the use aforesaid. And be it further enacted by the authority aforesaid, that no
      planter shall ride or go armed with sword, pistol or dagger, upon the penalty of five pounds, to be
      levied as aforesaid, excepting all officers, civil and military, and soldiers while in actual service, as
      also all strangers, travelling upon their lawful occasions through this Province, behaving themselves
      peaceably.




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                                                       THE

                      COLONIAL LAWS
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                                            NEW YORK
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                         YEAR 1664: T°.~EVOLUTION,
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                           STRUCTIONS TO COLONIAL GOVERNORS, mE DUKE'S LA.WB,
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                                   LA \\'S OF THE COLO:XY OF :XE\Y YORK.                      G87

                   and Execution shall not Exceed the sum of thrL•e pounds Cur-
                    r,•nt mony of this Colony.
                        And Be it further Enacted by the same Authority that the
                   owm•r or owners of such 1lave 01· slan"S which shall happen to
                   be Ext>cuted by Yirtue of this Act in the City and County of ~ew
                   York shall be paid for the same, and the mony shall be .-\s~eH:"l{'d
                   Collected and paid as in and by this Aet the Justices of the
                   Peace for the said City and County are directed and Impowered
                    to Levy pity and discharge the prosecution and Ext>cution of
                   81:we or Slaves Provided the price to be paid for each Slave ~o
                   Executed do not Ex-ce(>d the sum of Twenty five pounds Cur-
                   rt.•nt mony of this Colony
                        And be it further Enacted by the Authority aforesaid that it
                   shall not be La.wfull for any Slave or Slan~s to have or m~e an~•
                   gun Pistoll sword Club or any other Kind of ,veapon whatso-
                   e,·£•r, but in the presence or by the Dir<>etion of his her or their
                   :\Imltt.•r or llistress, and in their own Ground on Penalty of bPing
                   whipt for the same at the discretion of the Justice of the I•t.•aee
                   lwfor whom such Complaint Shall Come or upon the YiPw of !1..1l;
                   said Justice not Excl•eding Tw~nty Lashes on the bare back for
                   en•ry such offence
                        And be it further Enactetl hy the .\uthorit~· nforps:dd, that
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              · tho rt!,fifi\   g permitted :to keep o.ne gu ti; po ~vdet· _and O,ot, .and
                011 t'.-01iti.:r5 all negroes, mn1attoes and rndrnn11, hond. or free,·

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                                  to be obrnit1ecl t)l1011 the a1lplicntion of free ne·groe1
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                                  are Oaves.            ··                  . . ·             ·
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                 routs &c, :tn<l {eclmons fpeeches _(?y ,- :tfln.,ve dr 11aves lh!ill be
                                punilhed with Rl'ipes at the difc1·cclon ofajuftice of'




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      1799 Miss. Laws 113, A Law For The Regulation Of
      Slaves. I Duke Center for Firearms Law
      [Slaves interdicted the carrying arms, etc.] No negro or mulatto shall keep or carry any gun,
      powder, shot, club or other weapon whatsoever, offensive or defensive; but all and every gun,
      weapon and ammunition found in the possession or custody of any negro or mulatto may be seized
      by any person, and upon due proof thereof made before any justice of the peace of the county where
      such seizure shall be, shall by his order be forfeited to the seizor for his own use, and moreover
      every such offender shall have and receive by order of such justice, any number of lashes not
      exceeding thirty-nine, on his or her bare back, well laid on, for every such offense.




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            1786 Mass. Sess. Laws An Act to Prevent
            Routs, Riots, and Tumultuous assemblies,
            and the Evil Consequences Thereof. I Duke
            Center for Firearms Law
            Whereas the provision already made by law for the preventing of routs, riots, and
            tumultuous assemblies and the evil consequences thereof has been found
            insufficient: § 1. Be it therefore enacted by the Senate and House of
            Representatives, in General Court assembled, and by the authority of the same,
            That from and after the publication of this Act, if any persons to the number of
            twelve, or more, being armed with clubs or other weapons; or if any number of
            persons, consisting of thirty or more, shall be unlawfully, routously, riotously or
            tumultously assembled, any Justice of the Peace, Sheriff or Deputy-Sheriff of the
            county, or constable of the town, shall, among the rioters, or as near to them as he
            can safely come, command silence while proclamation is making, and shall openly
            make proclamations in these or the like words. [Text of Massachusetts Riot Act]
            and if such persons, assembled as aforesaid, shall not disperse themselves within
            one hour after proclamation made, or attempted to be made, as aforesaid, it shall be
            lawful for every such officer to command sufficient aid, and he shall seize such
            persons, who shall be had before a Justice of the Peace; and the aforesaid Justice of
            the Peace, Sheriff or Deputy-Sheriff is hereby further empowered to require the aid
            of a sufficient number of persons in arms, if any of the persons assembled as
            aforesaid shall appear armed; and if any such person or persons shall be killed or
            wounded by reason of his or their resisting the persons endeavoring to disperse or
            seize them, the said Justice, Sheriff, Deputy-Sheriff, Constable and their assistants
            shall be indemnified and held guiltless. § 2. And be it further enacted, That if any
            person being commanded by such Justice, Sheriff, Deputy-Sheriff or Constable, as
            aforesaid, shall refuse or neglect to afford the assistance required, and shall be
            convicted thereof upon the oath of either of the said officers so commanding or
            other legal evidence, he shall forfeit and pay a sum not less than forty shillings.




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        544                                PROVINCE LAWS.-1750-51.                      [CHAPS. 16, 17.]

                             Ancl whereas there are sometimes contingent and unforeseen charges
                         that demand prompt payment,-
                             Be it furthe1' enact eel, .
       £100 forcontin-        [SECT. 16.J Tb.at the sum of one hundred pounds, being the remain-
       gent charges.      •
                         rng    part ofthe aforesau                               • ht hunc1red ancl sixty
                                                    · ] snm o f seven t housanc1 eig
                         pounds, be applied to pay such contingent charges, and for no other
                         purpose whatsoever.
                             Proviclecl alwaJJS,-
       Rcmainder t?          [SECT. 17.J That the remainder of the sum which shall be brought
       be and remain      ,                    b h              •    ·1                      h
       as a stock in the mto the treasury y t e tax aforesatc , o,·er and abm·e w at s!iall he
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       treasury.         sufficient to pay off the benefit tickets as aforesaid, shall be ancl remain
                         as a stock in the treasury, to be applied as the general court of this
                         province shall hereafter order, and to no other purpose whatsoever ; any
                         thing in this act to the contrary notwithstanding .
                             .Ancl be it further enacted,
       Money to be           [SECT. 18.J That tlie treaimrer is hereby directed and orclerecl to pay
       ~~tti:1 ~~~~~: the sum of eight thousand and ten ponnds, as aforesaid, ont of such
       priations.        appropriations as shall be c1irectec1 to by warrant, and no other, upon
                         pain of refunding all such sum or sums as he shall otherwise pay ; ancl
                         the secretary to whom it belongs to keep the muster-rolls an<l accompts
                         of charge, shall lay before the house of representatiYes, when they direct,
                         such muster-rolls and accompts after payment thereof.
                             And be it further enacted,
       Directors' al-        [SECT. 19.J That the directors or managers by this act appointed,
       ~;ci~nb; \i~e shall have such allowances for their services as the general court shall
       general court. hereafter order, and in case of the death, refusal or incapacity of at-
                         tendance of any one or more of said managers, the vacancy shall be
                         fill'd up by the governour and council. [Passed February 8; published
                         February 16, 1750-51.




                                                CHAPTER 16.
                     AN ACT FOR GRANTING THE SUM: OF THREE HUNDRED POUNDS, FOR
                      THE SUPPORT OF HIS HONOUR THE LIEUTENANT-GOVERNOUR AND
                      COlI:MANDER-IN-CHIEF.

                        Be it enacted by the Lieutenant-Governour, Council and House of
                     Representctt ives,
       Governor's       That the snm of three hundred pounds be and hereby is granted unto
       grant.
                     his most excellent majesty, to be paicl out of the pnblick treasury to his
                     honour Spencer Phips, Esq[r]., lieutenant-governour and commander-in-
                     chief in and over his majesty's province of the Massachusetts Bay, for
                     bis past services, and further to enable him to manage the publick
                     affairs of the province. [Passecl February 15 ;* published February 16,
                     1750-51.


                                                CIIAPTER 17.
                      AN ACT FOR PREVENTING AND SUPPRESSING OF RIOTS, ROUTS AND
                                       UNLAWFUL ASSEMBLIES.
       Preamble.        WHEREAS the provision already made by law bas been found insuffi-
                      cient to prevent routs, riots and tumultuous assemblies, and the evil
                      consequences thereof; wllercfore,-
                                                • See the note to this chapter, post.

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         [3o SEss. J              PROVIN"CE   LAWS.-1750-51.                                            545
           Be U enacted by the Lieutenant-Governour, Council ancl Ilo1tse of
        Representatives,
           [SECT. 1.J     That from and after the publication of this act, if any           Offieersto_ make
        persons, t o t b e num b er o f t we l ve or more, Luemg
                                                              .
                                                                 arm , <l wit
                                                                           . b cl ub s or   proclamut10n
                                                                                            when persons
        other weapons, or if any number of persons, consisting of fifty or                  ~~~e~0~~ti~ 1 Y
        upwards, whether armed or not, shall be unlawfully, riotously or
      • tumultuously asselllbled, any justice of the peace, field ofl1eer or cap-
        tain of the militia, sheriff of the county or nmlersheriff, or any con-
        stable of the town, shall, among the rioters, or as near to them as he
        can safely come, command silence while proclamation is making, and
        shall openly make proclamation in tllese or the like words:-

          Our sovereign lord the king chargeth and commandeth all persons being             Form of the
        assembled, immediatel.v to disperse themselves, and peaceably to depart to          proclamation.
        their habitations, or to their lawl'ul business; upon the pains contaiEcd in the
        act of this province maue in the twenty-fourth year of his ma_icsty King
        George the Second, for preventing and suppressing of riots, routs and un-
        lawful assemulies. God save the king.

            And if such persons so unlawfully assembled, shall, after proclama-
        tion macle, not disperse themselves within one bonr, it shall be lawful
        for every such officer or officers, and for such other persons as he or
        they shall command to be assisting, to seize such persons, and carry
        them before a justice of the peace; and if such person shall be killed
        or hnrt by reason of_ their resisting the persons so dispersing or seizing
        them, the said officer or officers and their assistants shall be indemni-
        fiecl ancl held guiltless.
            [SECT. 2. J And all persons who, for the space of one hour after Pena)ty for d is
        proclamation made as aforesaicl,-or to whom proclamation ought to obedience.
        have been made, if the same bad not been hindred,-shall unlawfully,
        routously, riotously and tumultuously continue together, or shall wil-
        fully let or binder any such officer, who shall be known, or shall openly
        declare himself to be such, from making the said proclamation, shall
        forfeit all their lands and tenements, goods and chattles, to bis majesty·
        ( or such a part thereof as shall be adjudged by the justices before whom
        such offence shall be tried), to be applied towards the support of the
        government of this province; and shall be whipt thirty-nine stripes on
        the naked back at the publick whipping-post, and suffer one year's
        imprisonment, and once every three months dnring said imprisonment
        receive the same number of stripes on the naked back at the publick
        whipping-post as aforesaid.
            [~ECT. 3.J    And if an_y such person or persons, so riotously assem-
        bled, shall demolish or pull clown, or begin to demolish or pull clown,
        any dwelling-house or other house parcel thereof, any house built for
        publick uses, any barn, mill, malt-honse, store-house, shop or ship, he
        or they shall suffer the same pains and penalties as are before provided
        in this act.
            Ancl be it fm·ther enacted,
            [SECT. 4. J That this act shall be read at every general sessions of This act to be.
                                      · · · mee t·ln 0O' 0 f eacb t own, WI·tb·lil th·lS versary
        th e peace, an d a t th e anmve1saiy                                             readattheanm-
                                                                                                 meeting
        province, annually; and no person shall be prosecuted for any offence of the towns
        contrary to t lns• act, un 1ess prosecution
                                                ·   b e commence d wit   • b'rn twe1ve sessions
                                                                                         and general
                                                                                                 of the
        months after the offence committed.                                              peace.
            Proviclecl always,-                                         .
            [SECT. 5.J That where there shall appear any circumstances to miti- Judges empow-
        gatc or alleviate any of the offences against this act, in tbe judgment fl:~~0nfs\~~nt
        of the court before which such offence shall be tried, it shall and may of whipping, in
        be lawful for the judges of such court to abate the whole of the pun- case. •
                             69
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                             ishment of whipping, or such part thereof as they shall judge proper ;
                             anything in this act to the contrary notwithstanding.
       Continuance of
       the act.
                                [SECT. 6.J This act to continue and be in force for the space .of
                             three :rears from the publication thereof, and no longer. [Passed and
                             published February 14, 1750-51.



                                                    CHAPTER 18.
                             AN ACT IN ADDITION TO AN ACT, INTITLED "AN ACT TO PREVENT
                              DAMAGE BEING DONE ON THE BEACH, HUMOCKS AND MEADOWS
                              BELONGIXG TO THE TOWN OF SCITUATE, LYING BETWEEN THE
                              SOUTHERLY END OF TUE 'THIRD CLIFT,' SO CALLED, AND THE
                              MOUTH OF THE NOUTH RIVER.'•'

       Preamble.                WHEREAS in and by an act made and passed in the twenty-third year of
       1u9. 5o, chap. l 4.   his present majesty's reign, in titled "An Act to preYent damage being
                             done on the beach, humocks aml meadows belonging to the town of
                             Scituate, lying between the southerly end of the 'Third Clift,' so called,
                             and the mouth of the North Ilfrer ," the penalt[y J [ie Js for turning or
                             driving neat cattle, horse-kirnl, sheep or goats npon such beach, hum-
                             ocks or sedge-ground mljo[y][i]ning to said beach, to feecl thereon, are
                             to be recovered from him or them that shall so drive said cattle, horse-
                             kind, sheep or goats, or from the owner or owners of them that shall
                             so order them to be driYen; and it is found, by experience, that proof
                             thereof can seldom be obtained, whereby the good end and design of
                             sairl act in a great measure is dcfeated,-
                                Be it therefore encictecl by the Lieutenant-Governour, Council and
                             House of RPpresentCltives,
       Neatcattle:md            [SECT. 1.J Tl.lat if any neat cattle, horse-kind, sheep or goats shall
       other creatures
       to be impound-        be found feeding on said beach, bu mocks, meadows or sedge-ground
       ~d if found feed-
       mg on the
                             aclJ'oynincr
                                   •    o
                                          to said beach , it shall and may be lawful for any
                                                                                           •
                                                                                             J)erson to
       meadows, &c.          impound the same, such person to observe the rules and directions in
                             the said act prescribed in case of impounding; and the owner or own-
                             ers of them shall forfeit and pay to the impouncler one shilling a head
                             for all neat cattle and horse-kind, and twopence for every sheep or
                             goat; and the said penalt[y][ie]s or forfeitures shall be paid, before
                             the creatures, which shall or may be impounded by virtue of this act, be
                             discharged or released by the pound-keeper.
                                Provided, nevertheless,-
       Rates to be paid         [SECT. 2.J The owner or owners of the creatures so impounded
       for such im.
       pounded crcat.        may, if they think fit, replevie such creutures, on condition the_y give
       ures.                 sufficient bond, with one or more snret[y][ie]s, to prosecute such re-
                             plevin to effect before some justice of the peace in the same county,
                             within fifteen days from the date of such replevin, and to pay all such
                             forfeitures and costs as shall be awarded or adjudged against them.
                              [Passed February 8; published February 16, 1750-51.



                                                    CHAPTER 19.
                             AN ACT FOR GRANTING UNTO BENJAMIN CRABB THE SOLE PRIVI-
                                LE[DJGE OF MAKING CANDLES OF COARSE SPERl\1AC.iETI OYL.

       rreamblt                WHEREAS Benjamin Crabb, of Rehoboth, in the county of Bristol,
                             has represented to this court that be, anrl no other person in the prov-

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                                            SLAVES.                                 52l
            Up()!)   [the p)ant~tjon] of any person \Vha.~ever without Coming on
              leave in writing worn hi-, or her owner: or overseer, not a_ny planta"
              being sent upon lawful business, it s~ail b~ lawful for tion, &c.
              th.e Q,,rner Qr overs~er ~f s~~h plan~ation, to give or order Punished by
             ·such slave ten lashes on his 9r her -l>ar..e . back for every stripes.
             such offence.-/b...                         ·
                 Sec. 3. No slave or mulatto whatsoever, shall keep ~ at to keep a.._ '
             or carry a gun, powder, shot, cl"1:~ or othc~ weaPon gun , fa_.1,c.·• .· ·
              whatsoever, otfepsive or defensive; hut all and every                     .
              gun -weapon and ammunition foul'ld ~n the possession or Arms ~!1~ .
              custody: of any negro or 1J1Ulatto, .may bn, seized by ~~m~~ 1 ~:~..
             any person and upon due proC>f mad~ befor-:: any jµsti~e ed.Y
             of the peace of the district [county] where sllch seiz11re
             shall be, .shall by his order be forfeited to the seizor,
             for his own use, and moreoV;er, ev,ery . $µch offender Slave pun-
             shall have and receive by order of such ju,sticc any num- ish_ed by
             ber of -lashes not e~ceeding thirty nine on his or h~r stnpes.
             bare ·back well laid on for every such offcnce.-Jb.
                 Sec. 4. Every free negro or m1d~tto, being a house- Free negrci
            keeper may be pennitted to keep one gun, po'rder and may carry
            ~hot; and all ~egroes Qr_ mulatto~s bond _or free, Iiv-i_~J !rf~e-
            ing at anyfroQtler plantation, may be pernutted to keep groes in ca.r-
            and us~ guns_, .pPW:der shQt a~d 'Yeapoµs, offensiv~ and tain casee.
            defens,ve, by hcense from aJu,st1ce ofH,ie peace ofth_e
            district [county] wherein such plantatjon lies, to b~ ob-
            tafo·ed upon the ~p.plication of free n~groes or m11lattoes,
            or of the owners of sqch· ~ are- slaves.-Jb.
                S~c. 5. All riots, -routs unlawful assembli~ and se- Riots-, &c.
            ditious speeches by a slave or slaves, shall b~ punish~d How punish-=
           with stripes, at the discretiGn of a justiee of the peace ~d.
           and·he who will may apprehen,d• and c~y,-him, her or
            them 'bemre such justice.-Jb.                        ,
                Sec. 6. To prevent the inconvenience arising trQm Meetings of
           the meetings ofsl.aves, if any IDMte.i' mistress or over- slaves.
           seer of. a family shall know:i~gly per1J1it .or . suffer. any P7r5?D8 per-
           slave not belonging to him or her, tp be and remain on :
           his or her plantation, above .four hqurs at any one time,
                                                                           :!:~!:: "
                                                                             1

                                                                                -     ·
           without leave of the owner or overseer of: sucli sl~t~i,
           be Qr she so pennitting. shaUJorfeit aj).d pay three dol-
           lars for every ti~ch ~.ffenee and every_ owner 9r pv~r- Or at an
           seer of a plantation, who shall so penmt or suffer more time       nol
           than tive negroes or slaves, ·9ther than his or her own, more than 5,
                                              K#                                    .




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                                           Io8
             Jullice   or the pe:it--e to be by his order p·u!'Jt/h,.
             ee1 with firl'pes, or not, in hh dH~i·t~t1.on.
                § 3rd.. And be it fu,~tt1er cn:~cre(J ·r h:i1·t
             if any flavc 01nll prefu1ne to conic, arid :.be
             upon· the plantation of any pcrft,n \·Vhatfoe-
             Vt:t·, without leave in writing (rotn' hh or her
             owner or· overleer. not being fu1Jt upon ·ta \r~
             ful bufinefs 1 it !hall be lawful for the o\vn-er
             or ovel"f eer off uch plantation. to •give or ar ..
             der fuch nave ttn lafhe~ o.n. hi~ . or her bare
             back for ~very fuch offenee-.                     .
                § 4th. And be it further enacled, That
             no flave or 1nu1atto \vhacioever, !hall kee[l
             or carry any gun. powder, !hot, club, or O•
             ther ,ve-2pon .whatfbever, offenAve er dcfc~•
             five, but all and every gun wc'1:p.on· and an\1.
             munition foulid r~ ttie. poUetTion. or ('tJil'ody,
             of any oegro or n1u_Iatto. ~uci_y·be ·1elzc~ by
             .iny.pcrfon, and upon due p.roof ther~orn,ado
             before c\OY jullice of .the peace of the dltlrl(t
             ~vhere fuch feizur.e •fhall-he, fh~-ill-"b,y 'hl~ w:de~
             he for.{eited to- .che feizor, fo,· tus o,vn ufe 11
             and n1oreove.r every fi1ch ofl'ender ihnll have
             and-r-ec.~ive by order ot'-ibch.JufHl'~              ~,,y
                                                               1~un1-
             ber -0f ·tafhe~ not cxc~cding t~1rJY :nine· on
             his or her bare back, well laid pn .for · <;very
             luch offence,
                 § 5th. Aud ·be it further. ~naeted, That
             every free n~gro or n1ulatto 1 being a houfe
             keeper, n1ay b~ perniitt"ed to keep one gun,
             powder and H10t ; and all negroes and mu•
             Jattoe~. bond or free, lit tog at any frontier
             plantation., may be permitted to -keep and ufc

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                                               ~<': ·,Ji{:;}i~
                                                i   .       .

                       ~rJom~ 1eucr.PrJ6~th, ·~vhtAreby,' jLfuay·. ~r'r,ii'f •,
                       that he is proccediog by authority' from his inaf-
                       ter~ employ~r or overfeer ; if he does · it {hall be
                              lawful fo~ a~y:: pei-fon to apprel1end a~d ca!ry him
                              bd~re ~ JU~tce of the peace, . to _be by his order
                              pumfhed wuh ilr1pcs, or not, m his difcretion not
                              exceeding twenty ilripes.                           '
                                  Sec. 3. .4)zd he · it further tnalltd, That ifany
           tion;,)11\1,~      Dave Ihall prefume to come and be upon the plan-
           ~~:';-~~~•:;,:;:, tation of any perfon whatfoever, without leave in
           iu,,. ln ■ riiwr. writing from his or her owner or overfeer, not be-
                              ing font upon lawful bufinefa. it fha11 be lawful for
                              the owu~r or overfeer of fuch plantation to oive
                              or order fuch Have ten laU1es on hia or her bare
                              back, for every fuch offence.
                                   Ser. 4. And be it .. furthlr e.na[led, That no
            Slam en,,.         nave flnll   keer> or carry any gun , ~owdrr, fl1ot ,
            cury ull"<rJ,Yf              •
            ort'(ftolive wh, duh, or other weapon whatfocver O enfive or de-
            pgca.             fitilfiV6, e~cept the tools given him to work with,
                               or that he is ordered bv his maller, mifln•(1, or o•
                               verfe'"r to carry the fai~l articles from one place to
                       1
                               anotht=r, but aJI, and every gun, weapon or am-
                               munition found in the pofldfton or cuHody of any
                                flave:1 may be Jeized by any perfon, and upon due
                                proof thereof made before any jufiice of the peace
                                or the county or corporation, where fuch.feizure
                                fualJ b~ made, by his order, be forfeited to the
                                feizer fQr hie; own ufe ; and moreover, every fuch
                                offetiider {hall have and receive by order of fuch
                               juftice, any number of la{hes not c-xceeding thir-
                                ty nine, on his bate hack for every forh offence:
                                Provi.dtd nt'f.1trtkelt/s, That any jutlicc of the peace
             '" ..~..,, (;lro may ,granr, in his prop       ' er county, pc.rm_ iHion in
             ,,.tr  IIWJ 1-~I
             lcMtw"'i,         'Writi11g; to any {lave, on'~pp1•tcauon• of ~u1s m~n_er,
             r,qll,             or overleer to carry and ufe a gun and ammunmon
                                within the limit, of his - faid mailer's or owner's
                               ·pJ~ntation~ .for a '\ erm · n?t ex~el:ding one ye~r,
                                arid recoverable, 'at any ume wnhm fuch term, at



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                 •     f                         ~·                      •




        I,    ft,.   Jl, ,, f-r.y_tar, that 1llJ ,.,.ov11I i~to 1/:1 SJall ofV~inia, '!'1"' rcvil,b IJU"n-
             1111I ,f"9~ll1g .t·, /,i,t.usfar /rl·t1t11/~11g   th, /"'h.,r ,,,,,.,._,'!II•• ofj/4w,, •or
        IH,,a, J huP't- <VJllb 11111t11J faves, •u11lb •11 1111111:1011 of ftll1Rg ,h,111, 110•·    ·.·a.,,
        11•.i ef th1 jlt.l'WI '.w/Jicb I DI/Wt IJroagbt •111ith 1111, lmn ,-.,:r1idfto111 Afri.;a, or
        4UJ oftb, Well         In~   ljlq11ds,fo,e1 th, firjl "11:.1 ifNovemller, O'III tho14/t1,1l,iP"'"'
                                                                                          And oJ cltisen, daim.r
        budr1d 1111//l'UtRIJ•'igiJt•• So 4el.p me GOD.                   •               .in(l.flnc1 b7 <lefce11,1
        Nor to any ~rfons claim1q.g {laves by deCcent, mam.age or devife; nor to II> 1Y   dcvile, !tr marriage,.or
        c:~tl¥ns of this Commouwea.l th, being now the actual owners of{laves withiq. any bcin,: now the owner,
        of the Unitcd'States and removing fqch hid1er; not to traveller& anJ od1~rs       & ren1oving th(m from
        JQ.aking a tranfient itay, and bcinguig ilaves for neceffiµ-1 .~tteQdanc;!=, and c.1rry-
                                                                                          another tlate, Pd- tra•
        in g them out again. a                   ,                        ,
           V. NO ne;ro or mulatto.fh:ill ~ a w~tnc[s~ except io pleas of the Gom- :
                                                                                          •e~len ~•rr1i11g them
                                                                                                     ¢~ aegrou
        monwealth ag?,µdtneg1~ or mula.ttoes, or 10 ~ml pleas, where negroes o: mu- or mulattoQ m;i1 or
                                                                                                                  r
        lattoes alone lball be pa.ties, " t                                           • 11117 aot be witndl'e,.
           VI. NO Jl;.ve fi).all go {rom the t,nemc;nts of his mafter or otl)er~on with Sin" not to go from
        wh.om ho lives~ wit4out a pa.is, fr fome le~tc;r or to~en, whereb1 it may_ appear home~ Jl'\lbo\l.t plS'ca.
        that he is prcx;eeding by authority from h1s matler, employ~r• or pverteer: lf
        ll~ does, it {hall be lawf~l for any perfon to aperehend and carry him before a
        J~ce of the Peace, to be .bJ his order p'1nilbt:d with tripos, or IIOt,. iQ hia cijt,,.
                   a
        C;l'C':tJQD.
             y.u.  AND if any Rave fhall prefume to coine and be upon the ~ntation                            Commr .ca      the plm- · ·
         J>f any ~top. whatfoeyer, withont leave in writing from his or her ownei:, or                        tationa of ochen lrith.-
         ov~rfeer~ no~ being fent upou l.awf\11 hufinef,, it fhal1 be lawful for.th~ owni:r or                ,>ut lcaT,: from ~
         ov:erfeer of fuch pfantation, to give or order fucll fl.ave t~p la!h:s op, Jµs or her                ~•ller•~   maJ fie "hi1•
        -~ ~ck for every fuch u$:nce. /,                                                                      ,ed.·            ..·• -
             VIII. N;q negro or mul..ti:o whatfoe\·er lhall keep or carr, anr gwi, pow.                        l l ~ 111d ~tt.ocl
         4.~r, Qiot1 club, or other wea~ ."~hatfoev::r, .o!lc~,five or defemive, b!lt alt Jn(j                JNt to keep or &..arr7
         every gqn, weapon, and aomiun1t1.on fc,und 111 the poffi:llion or cuftody of any                      arma.
        pegro or 1Dul-,tto, may be fei:Ged by' iny per(on, and upon due propfthcreof
        made before ~ny J~ftice of the Peace of the Countr or <;:orporation wµ.ereJucl).
        feizur9 .tliall be, ffiall by his order be forfeited to the fcizor for his GWQ Jif~; an<J..
        Jgoreoyer, every fuch o~endt;r lhall Juve and rece~~ b1 orde.t"C!lffuch Jultis:e',
        ~ number of lafhes not·exteeding t.'urty-~qe~ .9A his or her bare ~k, we},J.
        bjid o,, for erery fuch Qffenc~. /,               • :·•                   .                .
            IX. Pf:.OY(DED 'f#'Vt~tbel,fs, That ev~ry free negJO Qr niulatto, bei~g a Jitctpt ~e l}•lnr c:a
        h.oufe-keeper, may be _permittetl to keep ono g.m, powder !lud lhot ; and all ne- tho fn¥!ue!$ J~fed ·
        iroes. all4 mulattoe:i, bond or free, livin.g at any frontier plant:uj~, may l?e bJ th• JULlicu of thJ
        perm1~ed to keep anJ ufe gun:i, pQwder, fllot, a.nd weapons, <iifenuvc or deten- pnq:.
        R"e, b1. licenfe. from a Jwb.ce of. P~1;e 'of the County wherein fa~p plantacjon
        J1es, to be obtained upon the appijca.uon of free negro..s. pr mula~oes; gr of ~4~
        P,w11ei-s of fuch as are fiave.s, 6.                                                              .
            X. ·'.EVERY pe~fqn Qptc;r thaµ • negro, of wliofc; graqd-fat4ers !ii-I' grand- Whe ftt•ll he '1~ It
        -'?Others any QD" is~ or Qp,11 l\ ..ve ~en .a. negr9, altho'1g4 all his OtP,er progi:ni- mlllaii~i.
        Jors, cxceet thJt defcending from lhe negro. !ha\l have l>een white perfom1, iµall
        1le det;l!,e<;l a mi,datto ; anc;I fo ~yery Cuen perlQn who JhalJ J1~ye o~~ fo!lrlh, pars
        or more of ~ro blo~d.. fbJ.11.i:i. like maq11~r be deen~ed i.~ulatt?-. ,                ·
            ){I.· ~IQ fS, rqu,ts, unlawful 11,{l'CII\bl~, trefpalfe~ anq flr(itµ0Us fp~~lle, P11aift&mcnt of aavee .,
        lzy a·fl.a ye or flaves, ~ll be ·{>qqifbed wi~ flfj p~s. at t4e difcrcµon of~ Juni~~ of for riou, unlawf"I ,(,.
        tlie_Pe~e. a~d ~~ who wUJ~ may aprre4en4 ~ ~ry b.im. 4~. or qieqi, ~- kmhliesl f~tip~
        f{>re filch ~u!ti~«;. d                                             ,·      ,                fp,c:c:lies• Ii<,
            Xll. AND to prer.enl .the inc.onvenien~es ariung froD1 the m~ting~ of No perfon fh,IJ perm·,
        qa.vt:s, £, it f¥rtb.-r tlla/11(, Tl\at if a:si.r ma1tcr, mitlr~fs, ~ O.v<.T1cer pf a fa- the ftl'fCI .,. otlaen tG
        Jl!ily, fhall k,!~wingly perm~t or {uffct any Ra,ve 41ot belonging ti) him of qer, to r~mam Oil mt fl~~
        ~~ and re.uuun upon his or her p1antat1041 above four hours a.~ any on1; timea ~M•
        WI~Jlout. l~aVfr or the owner or overfecr oI f~ch ~l\VC, he or {he (o perp-,\tting,
        ll;iall _forfeit and pay three dollars for tV!=ry iuc~ offc=r.~c -~ and eyery Q\\ ner or
        oyc;rie:er ~fa p~a1'tatiol\t w~o ipaU fu permit or fu&i:r 0101 e t~an ~ye neg roes Of
        il.lves, otlier U1an J1is or· her o~ n1 tQ De and, rem:.ir. upon his or her plant.. tfoq
        or quartt.r a:t any ~ne time. lhlL!l forfeit and P" r 911.c do.\lar for e:1~h \.egro o~
        1{ave abov~ th.atriamher; w~kh 4i,df~veral fori~itures ~Qe to the intorru~r,
        ~~ rt:c;:ot•erab{e with cofts, bef4?re ~y Jull~c~ of l'~te of*e t;ounty <,f Corpo..
        ration where J~ch offi:nce' lhal.\ be com~itteq. ,.
            f•l 1:8/>, ~h.. 77,ftr. ,., 3. t Ab,,:<'!,·'1:•(~of ~:.fefs. 1Ro-:,, ~',-70;_ ,;~
        g,-011 or •~lattJll, -/Jq14j or frH, •r1 by tb(¥ "~' me.It l,3al <u?it11-:ffs ag,1i11ji t•f~ .
        l)lb.r. t";'.Z9, '7ff.~.('h,31,/«. 177 18, ~~,- <(h                  ;s.,. ,-~~
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       •~·,. ~· ~r) .u~ G,·o. 2: (b. 31,f;,, .1~.          •   '




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    "1855153

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                                                  RAILROADS.                                                              153


                                         CHAPTER LXXIX.
               AS ACl' t.o pro.-hle for the puni~hment of persons interfering with Traina      litD   Rail-
                                                        roads.


                                   [ Arr1wvED          MARCH        1, 1855.]

                    SECTION 1.      Be it enacted by the General Assembly                                     PP.raons interf&-
               o-1!
                ':I
                     t!ie State o+
                                 :J. Indiana " That ant'
                                                       J
                                                         peraon who shall                                     ~ingwith tmins
                                                                                                              tn any mann••r,
              shoot a gun, pistol. or other wen.pon, or throw a stone, guilty of ruisde•
              stick, clubs, or any other substance whatev~r at or meanor.
              against any locomotive, or car, or train of cara contain•.·
              ing p2rsons, on any railroa l in th is State, shall be ~,
              deem,d guilty of a. mis lemeanor. an.1 upon conviction,
              shall be finel in any sum not less than ten nor more Pe_nalty
              than onj hun !rel dollars, anJ imprisoned in the county
              jail not less than t,m days nor mo1·e than thr3e months.
                 Sl!;c. 2. In case any person on such locomotive, car, H inJnry occllr
              or train of car3 shall be injur.}d or wonnJed by any such ~::'!! ro~·it~~<s--
              act , the person so ofl'._in.linO'
                                              .:,
                                                  shall , on conviction
                                                                  ·         '
                                                                              he sanlt
                                                                                  ring gu_nty_ ofWJ.
                                                                                        with mtent
              deem:d guilty of assault, with iut~nt to commit mur ler, to murder.
              an:l be imprisoned in the State's Prison for not less than Pena.lty.
              on2 nor mor~ than four y0ara; an 1 if death ensue, such
              person shall b3 cleemad guilty of mul'der in the first de•
              grce, an l punishe.l accodingly.
                 S,w. 3. In case of pros3cution un:ler this act, it shall Not necessary to
              not b3 deem3rd necessary lll• ti 1e lll
                                                    • f"Or1;natJOil
                                                               •       • I'ICt • Jnri>d
                                                                    Or lll.      n<ime person fa.
                                                                                        exec-pt in
              mcnt to name or set out the nam~s of persons injured ::i:~~-tion for
              or wounded, except in case of prosecution for mnr•
              der.
                 SEc. 4. It is heraby declare:1 that an emergency ex- Emergeney.
              ists for the imiuediate taking etf.:ct of this act, anJ that
              the sanu shall b3 in force· from an l after its passage anc.l.
              publication in the Incliana State 8entinel auJ InJiana
              BtatJ J oumal.




                                          CHAPTER LXXX.
              A.:-i' ACT providing for an in.-estigation of the affairs of the Madison and Indianapolis
                 Railru:w 1.Jom11auy, authorizing a compr..mLiu therc\\irh, if decme<I of a<1,·au1nge to
                 the B.1.ta, an I pro,·i,ling for the payn1eut uf said Company·s flouting aud uufundl>d
                 debt, and of certain debts of the Columbus and Sht,lby luillroad Cowpany, and em-




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               I953-I958 §§                          CRIMES.

              one thousand dollars, and disfranchised and rendered incapable of holding
              any office of trust or profit for any determinate period.
                 1953. Selling or secreting State arms. 52. Whoever unlawfully
              sells, disposes of, hides, secretes, or detains or refuses to give up, to any
              person authorized to demand and receive them, any of the arms, accoutre-
              ments, ordnance stores, camp or garrison equipage belonging to this State,
              shall be fined in any sum not more than five hundred dollars nor less than
              five dollars, to which may be added imprisonment in the county jail not
              more than six months nor less than ten days.
                 1954. Removing mortgaged goods. 53. A mortgagor of personal
              property, in possession of the same, who, without the consent of the owner
              of the claim secured by the mortgage, removes any of the property mort-
              gaged out of the county where it was situated at the time it was mortgaged,
              or secretes or converts the same or any part thereof to his own use, or sells
              the same or any part thereof to any person, without informing him of the
              existence of such mortgage, shall be fined in any sum not more than two
              hundred dollars nor less than five dollars.
                 1955. Malicfous trespass. 54. Whoever maliciously or mischievously
              injures or causes to be injured any property of another or any public prop-
              erty is guilty of a malicious trespass, and, upon conviction thereof, shall be
              fined not more than two-fold the value of the damage done, to which may
              be added imprisonment in the county jail for not more than twelve months.
                 I. As to the indictment, see State v . Peden, 2 Blackf. 37r; State v. Merrill, 3 id.
              346; State v . Kuns, 5 id. 3r4; State v, Slocum, 8 id. 315; State v. Jackson, 7 Ind. 270;
              State v, Clevinger, 14 id, 366; Hayworth v. State, id, 590; State v. Williams, 2I id. 2o6;
              Harness v . State, 27 id. 425; Croy v. State, 32 id. 384; State v. Sparks, 60 id. 298;
              State v. Pitzer, 62 id. 362.
                 2. As to the evidence, see State v. Bush, 29 Ind. uo; Croy v. State, 32 id. 384; Palmer
              v. State, 45 id . 388; Lowe v. State, 46 id. 305; Dawson v. State, 52 id. 478; Gaskill v.
              State, 56 id. 550; Squires v. State, 59 id. 261; Lossen v. State, 62 id. 437; Gundy v.
              State, 63 id. 528.
                 1956. Injuring telegraph or telephone poles or wires. 55. Who-
              ever maliciously or mischievously injures any telegraph-pole or telephone-
              pole, or the wire or any part of the apparatus thereof, upon conviction
              thereof, shall be fined not more than five hundred dollars nor less than five
              dollars, and imprisoned in the county jail not more than six months nor less
              than thirty days.
                 1957. Attacking public conveyance. 56. Whoever maliciously or
              mischievously shoots a gun, rifle, pistol, or other missile or weapon, or
              throws a stone, stick, club, or other substance whatever, at or against any
              stage-coach, locomotive, railroad-car, or train of cars, or street-car on any
              railroad in this State, or at or against any wharf-boat, steamboat, or other
              water-craft, shall be imprisoned in the county jail not more than one year
              nor less than thirty days, and fined not more than one hundred dollars nor
              less than ten dollars.
                 1958. Penalty if person is wounded or killed. 57. In case any
              person on· such stage-coach, locomotive, car, train of cars, street-car, or
              wharf-boat, steamboat, or other water-craft, shall be injured or wounded by
              any such act as is specified in the preceding section, the person so offend-
              ing shall be deemed guilty of an assault and battery with intent to commit
              murder, and, upon conviction thereof, shall be imprisoned in the State
              prison not more than fourteen years nor less than two years; and if death




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    "1905 584

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                                  PUBLIC OFFENSES.                       677

         with, on conviction shall be fined not less than five dollars nor
         more than five hundred dollars and imprisoned in the county jail
         not less than thirty days nor more than six months.

         Electric Meters, Etc.-lnjury.
            SEc. 409. vVhoever unlawfully and intentionally injures or
         destroys or permits to be injured or destroyed any meter, pipe,
         conduit, wire, line,. post, lamp or other apparatus belonging to
         a company engaged in the manufacture or sale of electricity for
         light, heat, power or other purposes; or ,,hoever unlawfully and
         intentionally prevents an electric meter from duly registering
         the quantity of electricity supplied, or in any way interferes with
         its proper action or just registratjon; or, whoever, without the
         consent of such company, unlawfully and intentionally diverts
         any electric current from any wire of such company, or other-
         wise unlawfully and intentionally uses or causes to be used, with-
         out the consent, 0£ such company, any electricity manufactured
         or distributed by such company, shall be deemed guilty of a mis-
         demeanor, and, on conviction shall, for every such offense, be
         punished by a fine not exceeding one hundred dollars, or by im-
         prisonment in the county jail not exceeding one year, or by both
         such fine and imprisonment.

         Public Conveyance-Attacking.
            SEc. 410. ·whoever maliciously or mischievously shoots a gun;
         rifle, pistol or other weapon, or throws a stone, stick, club or any
         other substance whatever, at or against any stage coach, or any
         locomotive, railroad car, or train of cars, street car, or inter-
         urban car on any rni1road in this state, or at or against any wharf-
         boat, steamboat, or other water-craft, shall be imprisoned in the
         county jail not less than thirty days nor more than one year, and
         fined not less than ten dollars nor more than one hundred dollars.

         Injury to Person-Penalty.
            SEc. 411 . In case any person on such stage coach, locomotive,
         car, train of cars, street car, interurban car, or wharfboat, steam-
         boat or other water craft, shall be injured or wounded by any
         such act as is specified in the preceding section, the person so
         offending shall be deemed guilty of an assault and battery with
         intent to commit murder, and, on conviction, shall be imprisoned
         in the state prison not less than two years nor more than four-
         teen years; and, if death ensue from such act such offender shall
         be deemed guilty of murder in the second degree, and on convic-
         tion, shall be imprisoned in the state prison during life.




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                                 BOOKS




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             82                                               Robert Escobar




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                     1874 illustration showing a standard array of burglar equipment. #9 "the loaded
                     club;' #10 "the sand-bag;' #11-13 "various types of slung-shots;' two of which we
                     could call blackjacks.

                      UR MID TO late 19th century milestone is arbitrary but useful. The Middle Ages and


             0        Renaissance are our murky pre-history if you will. The late Colonial era to the 2nd
                      half of the 1800's are a formative period. The following years mark a new phase by
             necessity, it's the Sap Gilded Age. With a lot more raw material to work with (e.g. contemporary
             accounts), our cast of interesting characters grows exponentially as this chapter's title hints.
             You would think an age with firearms markedly increasing in availability and reliability would
             mark the decline of something like the sap but it does not. It was still as handy and relied upon
             as ever.


             Gangs of New York . .. San Francisco, London, Paris, etc.
             As detailed, professional policing began early in the 19th century and it did not tal<e long for
             criminals to follow suit. Gangs had certainly existed before now but this timeframe is considered
             to contain the roots of modern, organized crime. These were the Gangs ofNew York-years if you
             will (referencing the book by Herbert Asbury of course). That fabled group of roughs was but
             one manifestation of a larger phenomenon. Industrialization had brought poor and working




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               Saps, Blackjacks and Slungshots: A History of Forgotten Weapons                  83

class populations into densely populated cities. Endless hours for parents, youths looking to
escape a life of menial labor and subsistence level conditions led to an ever growing problem
of gang activity. The places were different but the crimes mostly the same with some startling
exceptions. Each of these groups would be so memorable as to leave a lasting legacy in their
respective cities and beyond. Furthermore a legendary, generational war between cops and
these criminals escalated at this time and everything from blackjacks to sandbags were very
much a part of it.
   New York City was a dangerous town then. Saloons in the area, sometimes owned and
operated by the gangs, functioned like a watering hole on the African savannah, bringing
predator and prey together.

   "These places were hells of exceptional fragrance, wherein whiskey was sold for ten cents
   a drink and crowds oflush workers, pickpockets and blackjack artists waited for a visitor
   to fall unconscious so they could rob him .... " The Gangs of New York, 19262

   Gang names like the Five Pointers, Bowery Boys and Dead Rabbits are still remembered.
They were usually grouped ethnically (Jewish, Irish, etc.) and prosecuted a dizzying variety
of crimes including pickpocketing and roughing up on commission as already seen. One
amusing side note regarding pricing is that another hood was convicted of taking $100 from
a stranger to blackjack a man. 3 You'll recall that's as much as the enterprising thug at the start
of this chapter charged for murder. Either our second criminal was a much better salesman
or just found a very motivated client that day. And an additional note on itemizing and
paperwork,

   "One of Monk Eastman's most efficient blackjackers always turned in a formal, type-
   written document, designating the victim as the subject and himself as the operative."
   The Gangs of New York, 19264

   Back to the various crimes carried out by these syndkates, the more organized ones included
counterfeiting, prostitution and racketeering. Such efforts took considerable muscle. Run by
an Italian immigrant named Paolo Vaccarelli, who changed his name to Paul Kelly to pass
for Irish, the Five Points gang was estimated to be 1,500 strong at one point. 5 That's a lot of
blackjackers. Each outfit operated within their territory and the battle for more of that valuable
commodity led to a constant source of inter-gang conflict, the turf war.

   "Monk and Kelly both sent regular patrols of their men into the disputed territory
   with instructions to beat, black-jack, or shoot any member of the rival gang they


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                                                     ARMED
                                                                IN
                                                  AMERICA
                                                     A HISTORY OF GUN RIGHTS from
                                                 COLONIAL MILITIAS to CONCEALED CARRY



                                                      PATRICK      J.    CHARLES




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                                                                                                                                                                       102
regulated militia."93 However, the "civilized wartare" test first appeared in th;:                  i, followed by the state constitutions of Connecticut and Alabama. 'This
1840 Tennessee Supreme Court case Aymette v. State. The issue before the couri:           s ,;i.ot to say that each and every follow- on state constitution adopted the more
inAymettewas wh ether an 1837 Tennessee statute, which prohibited any person'            -~ dividualized language.103 But by 1868 the shift toward the more individualized
from wearing concealed a bowie knife or Arkansas toothpick, violated the 183t.            ..· ge was certainly noticeable, with seven of the thirty-six state constitutions
                                                                                                                                                   04
Tennessee Constitutiods right to "bear arms."'4 The Tennessee Supreme Court'             Ii)aintaining individualized "bear arms" provisions.1
ultimately upheld the statute as constitutional, with one of the justifications'.        :'. Coinciding with this change in constitutional language were modifica-
being that bowie knives and Arkansas toothpicks were not the types of arms·               bbns to state and local armed carriage laws. Recall that up through the late
contemplated by the framers of the Tennessee Constitution: "As the object for''           ~ghteei;ith century the Statute of N ortharnpton was the prevailing rule _oflaw.
which the right to keep and bear arms is secured, is of general and public nature?        !\be Statute of Northampton essentially restricted the preparatory carnage of
to be exercised by the people in a body, for thei.r common defence, so the arms,:·        llangerous weapons in the public concourse, with the common law exceptions
the right to keep which is secured, are such as are usually employed in civilized'         "eing government officials, militia musters and training, the hue and cry, and
wartare, and that constitute the ordinary military equipment."'5                    ':     '. : forth. This is not to say that the Statute of Northampton restricted armed
     In the decades that followed, other state courts incorporated the Aymette~            ~ riage outright. Up through the late eighteenth century, it was common for
"civilized warfare" test into their jurisprudence. For instance, in 1870 the Te.xas:       ilidividuals to carry arms for trade, repair, on travels, and for hunting. However,
Supreme Court upheld a comparable armed carriage statute under the rati1r,                       ould an individual carry dangerous weapons into the public concourse, say
nale that neither the framers of the Second Amendment nor the framers of                       · ough the bustling streets of B oston, Massachusetts, it was within the dis-
the 1869 Texas Constitution intended to protect those arms unsuitable for                  s:·etion of the justice of the peace, sheriff, or constable to detain the offending
                                                                                                                                                                   05
the militiaman or soldier.96 Two decades later, the West Virginia Supreme,                 ··· dividual, confiscate their weapons, or seek surety of the peace.1 While this
Court did the same, when it held that the "kind of arms" contemplated by,·                ·s'landard seems to have worked well up through the eighteenth century, state
the framers of the Second Amendment were "weapons of warfare to be used.°,                  ;' d local governments eventually modified or replaced it.
by the militia," not weapons as are "usually employed in brawls, street-fights/ ,         :1          Certainly each state and local government maintained its own reasons
duels, and affrays, and are only h abitually carried by bullies, blackguards, an(             ;- d rationales as to why they modified or replaced the longstanding Statute of
desperadoes, to the terror of the community and the injury of the State."97          '     ·iottharnpton. ln roost cases, the legislative reasons and rationales have been lost
     By the time the United States progressed into the Reconstruction Era, what i            fQ time, but there are a few postulations as to why state and local governments felt
it meant to "keep and bear arms"in the militia was not the only context in which··,.        ''.' mpelled to modify or replace the Statute ofNorthampton. One is the techno-
the right to arms transformed. Armed individual self-defense also became asso-•               &gicaladvances in :firearms and other dangerous weapons. These advances made
ciated with the right. Two notable changes in the law aided with this transfor- '                 ·       s and dangerous weapons more readily available to the public at large,
rnation. The first was a noticeable shift in constitutional language at the state -.         · · ·d therefore resulted in an increase of deadly encounters and violence. Another
level. Beginning in the Antebellum Era, "bear arms" provisions in state consti- '.·           ,; stulation as to why the Statute of N orthampton was eventually modified or
tutions reflected a more individualized conception of the right to arms.98 Cone·               ·· placed in the early nineteenth century was changes in demography. Consider
sider that at the time of the Constitution's ratification ocly four of the thirteen,.          , at from 1790 to 1830 the population of the United States more than tripled,
state constitutions retained "bear arms" provisions, each ofwhich reflected more ·            •·. m 3,929,214 to 12,860,353 people. The state of New York led the way, with a
of a communal view of the right to arms.99 Meanwhile, :five state constitutions .                :ppulation increase from 340,120 to 1,918,608 people. From 1830 to 1870, ~e
included provisions highlighting the constitutional significance of a well-regu- :              ~ pul_ation once again tripled, to 38,558,371 people. This time, the state ofllli-
lated militia. 100 Early on, this trend continued as new states joined the Union ;             Q:ois led the nation with a population increase from 157,445 to 2,539,891 people.
and adopted their own constitutions or old states modified existing ones. The .                   i edless to say, as the population of the United States continued to grow, the
states of Kentucky, Tennessee, and Ohio all included communal language            in :          mall communal aspect of many American towns, localities, and cities began to
                                                                                               $,~integrate, and would have required state and local governments to adopt more
their respective "bear arms" analogues.101 It was not until 1817 that the individu•
alized language began to appear. The :first state constitution was that of Missis- ;               · · le forms of restricting armed carriage.




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     so at large and not confined, kill any human being, such owner is liable to               person excepted from the prohibition of the statute is one so menaced as to
     be punished as for manslaughter in the third degree. It is provid[ed] in the              have good reason to believe that he is in danger of an attack from which he
     constitution of the United States that the freedom of speech and of the press             may properly defend himself by the character ofweapon he carries concealed.
     shall not be abridged by any law of Congress, and yet this provision has never            The statute permits one justly apprehensive of attack to provide against it by
     been so construed as to deny to Congress the power to make it offence for                 carrying weapons concealed; but apprehension must not be simulated or too
     libelous matter to be published, rendering the offender liable to prosecution             easily excited; and idle threats, the ebullition of passion, or the offspring of
     and punishment for the libel so published.""                                              intoxication, which import no serious danger, must not be made a pretext for
                                                                                               carrying concealed weapons, which is permitted only to him who has "good
      Viewing these Southern Reconstruction Era cases together reveals that as                 and sti.fficieot reason to apprehend attack. "203
 the United States progressed into the Reconstruction Era Southern govern-
 ments and courts came to embrace Northern attitudes on ·the law and armed                        The Tipler case provides another historical example as to how integrated
 carriage. This included the state ofMississippi, which in 1878 adopted a variant           Northern and Southern attitudes on the law and armed carriage became during
 of the Massachusetts. ModeL Recall that the model prohibited all forms of                  the Reconstruction Era. Indeed, the Tipler case merely involved a law regulating
 armed carriage unless the person was able demonstrate an "imminent" or "rea-             · the concealed carriage of dangerous weapons, not their open carriage. The same
 sonable" fear of assault or injury. What differentiated the Mississippi law was            was true for other Southern courts examining the constitutionality ofarmed car-
 that it only applied to the carriage of concealable weapons. The Mississippi law           riage laws in the late nineteenth century. Faced with only the constitutionality of
 stipulated that "any person, not being threatened with, or having good and suf-            a soncealed-carry prohibition, Southern courts were able to summarily uphold
 ficient reason to apprehend an atµck, or traveling ... or setting out on a journey,        the respective armed carriage law on the grounds it did not prohibit all forms of
 or peace officers, or deputies in discharge of their duties," shall not carry a con-        carriage.204 H owever, this does not diminish the fact that as Southern armed car-
 cealed weapon.200 Like other Southern armed carriage laws, the Mississippi law ,            nage laws evolved to cover aspects of open carriage so too did its jurisprudence.205
was eventually challenged in court. The case, Tipler v. State, involved George W.                 This in tum led to the development of a national standard on .the law and
Tipler, who was tried and found guilty of carrying a concealed weapon, despite             . armed carriage. The standard provided that state and local governments main-
T ipler having informed the jury that a railroad employee had uttered threats of             tained broad police powers to regulate dangerous weapons, so long as they did
"serious personal injury" against him.201 The case ultimately made its way up to             not utterly destroy the armed citizenry model of the right to arms or fail to
the Mississippi Supreme Court, where Tipler challenged the law on both con-                  allow for armed self- defense in extreme cases.206 As jurist John Forrest Dillon
stitutional and circumstantial grounds.202 As it pertained to the constitutional             summarized the matter in the first law review article on the issue, "It is within
issue, although the court did not fully explain why the Mississippi law was con-             common experience that there are circumstances under which to disarm a
stitutional, the opinion, written by Judge Josiah A P. Campbell, suggests that               citizen would be to leave his life at the mercy of a treacherous and plotting
the court did not see any issue with the legislature determining when in fact a              enemy. If such a state of facts were clearly proven, it is obvious it would be
person was justified in publicly carrying dangerous weapons, particularly when               contrary to all our notions of right and justice to punish the carrying of arms
it involved the carrying of concealable weapons.                                             [in that instance], although it may have infringed the letter of some statute. 1     =
      The court then addressed whether Tipler's circumstances fell within the                In all other cases, however, Dillon noted that state and local governments were
Mississippi law's "being threatened" exception-that is, whether Tipler was              ,: acting within their authority "to regulate the bearing of arms in such manner
legally justified in carrying a concealed weapon for self- defense. The answer          ' as [they] may see fit, or to restrain it altogether."208
provided by the court essentially mirrored Northern attitudes as to when it was                   Michigan Supreme Court chief justice Thomas M . Cooley provided a
necessary to go armed in self-defense:                                                       similar exposition on the law and armed carriage. In A Treatise on the Law
                                                                                             of Torts, while acknowledging the prevalence of the armed citizenry model,
    The term "threatened" in the statute does not mean that a mere denunciation              Cooley noted how the righ t to arms did not necessarily extend to the carrying
    of evil will license the person denounced to carry concealed weapons. The                of dangerous weapons in public places, particularly concealable weapons:




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 military commentator up through the late eighteenth century attested,                     J he primary agenda of gun-rights advocacy was to promote model firearms
 were not the central component of a well-regulated militia. Arms were mec                 legislation. H owever, as gun-rights advocates achieved one political victory
 a tool to achieve the constitutional end of republican liberty-liberty that thi           ,after another and the gun-rights community continued to grow, their resolve
 Foundi ng Fathers thought would be undermined_should the public's trust in ·.,            ' r larger conceptual change reached new heights. To gun-rights advocates,
 well-regulated militia ever cease to exist.2                                      •:'.;           order to achieve this conceptual change the end almost always justified the
     In less than half a century, the Founding Fathers fears had been realize-' !                         s. Whatever was necessary to rouse the gun-rights community to action,
 Due both to political inaction and public disfavor with militia service, the civi_c,                      nee lawmakers, or garner public opinion was morally justifiable. This
 republicanism model of the Second Amendment eventually died. In place 1/                   "often meant vilifying the intellectual opposition, relying on sensationalism,
 the civic republicanism model arose its antithesis- the armed citizenry mod'.              ;and fabricating political motives. At the same time, firearms regulations were
                                                                                             1 ' ·msically assailed as being ineffective, promoting crime, and nothing more
 Accompanying this conceptual change in American thinking was the recogru;:
                                                                                                                                                            4
 tion of a new Second Amendment right to armed individual self-defense. ,,                   than a slippery slope toward complete disarmament.
 new right, although legally actionable, was severely limited in constirutioniil                         For most of the twentieth century, the political agenda advanced by gun-
scope. Certainly, in the Antebellum Era, some Southern state courts reco · "                    .ghts advocates--although undoubtedly effective at rousing the gun-rights
a more robust right to armed self- defense both in private and public, but it ·        0
                                                                                             tommunity to stall or defeat firearms legislation--<lid little to sway the general
a right that only applied to a small segment of the country. For most Ameri •'..              •ublic, who overwhelmingly supported firearms conrrols. But, through persis-
the right to own weapons for self-defense and other purposes, was, like otfC                   -~nce, gun -rights advocates eventually succeeded in changing the general pub-
rights, limited by governmental police power, and therefore was subject to rei                  .e's perception. 'This ultimately culminated in the Supreme Court recognizing
sonable regulation, including limiting wh at types of weapons could be own -~                 an individual right to armed self-defense in one's home. In achieving this con-
as well as time, place, and manner restrictions. After the Civil War, the majorlFJi             'eprual change, gun-rights advocates surprisingly did not advance any new
view of the Second Amendment completely consumed the minority view, aJf,                      '.\ guments. Rather, they recycled old ones, with more nuance and sometimes
a national consensus developed. The national consensus was that state and lodiii              with new rationales. What was fundamentally different was the increasingly
governments maintained broad police powers to regulate dangerous weapons?                     '(:artisan nature of American politics. Wha t was also different was the manner
the interest of public safety-that is, so long as they did not utterly destroy t!l             'ii which the gun-rights message was presented.5
armed citizenry model ofthe Second Amendment or fail to allow for ind.ivid •.                    {:- From the early to mid-twentieth century, gun- rights advocates pushed
to exercise their right to armed self-defense in extreme cases.3                 ·•                •eir agenda with little, if any, subst antiated evidence. H owever, following the
     In the early part of the twentieth century; although many Americans hl                      "077 Cincinnati Revolt, gun-rights advocacy began recruiting, fostering, and
come to believe that the Second Amendment protected a right to own •:                              lomoting academic literature that coincided with longstanding gun-rights
arms for·lawful and legitimate purposes outside of service in the militia, ill                   : eology. Almost everything gun- rights advocates had claimed for decades .vas
Supreme Court of the United States had never defined the Second Am : ·                             ow being packaged and sold as academically true. 'This was particularly the
ment in such broad terms. In fact, it is fair to say that Supreme Court ju{                      -ase for. the Standard Model Second Amendment. Whether the period was
prudence was ambiguous as to what individual rights, if any, the Sec°-!!                           :e American Revolution, the Reconstruction Era, the Civil Rights Move-
Amendment afforded. 'This ultimately placed the burden on the lower fede'.                         . ent, or some other period in time, the Standard Model of firearms ownership
courts to settle the m atter. One after the other, every twentieth- century     ap/i                   d use was historically cast as a societal good that promoted liberty, facili-
late court to examine the Second Amendment held that the right to keep ajt                     ted           civil virtue, and reduced crime. Conversely, any historical event, chain of
bear arms was tied to the militia, in some form or another.                   'i                  •~6nts, person, group, or action that curtailed the ownership and use of fire-
     Undeterred by the federal courts was a group of staunch believers            ii                 '.· . s was historically vilified.6
right to own and use firearms for legitimate and lawful purposes. Provo]ie                            ii.There arc a number of examples in Standard M odel literature to this effect,
to action by the unceasing growth of firearms restrictions, these belieii~                          .cluding the longest standing arch- nemesis of gun rights--the Sullivan Law.
assembled the first gun-rights advocacy groups. D uring these earlier y:~'                          "&all that it was primarily the Sullivan Law that prompted the editors of




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                                   6anund

                             THE ARQUEBUS.
           The arquebus, sometimes miscalled a caliver, the next
       favourite weapon as "shot," was fairly light and about a yard in
       length. Whilst considered of great use in woods or other ambush
       it was also especially the weapon for skirmishing as being
       "maniable," hence the smaller and younger men were chosen for
       this service as more nimble to traverse the ground. The
       name is found spelled in several ways, and also as hacqbutt or
       hagbut, and so leads to the thought that different weapons may
       be intended, which may not always be the case. Hacqbutt was
       the earlier name for the first form of the weapon ; the slight
       differences or improvements from time to time must account for
       the slight after-differences in the name.
           An Act, 33 Hen. VIII., cap. 6, concerning crossbows and
       handguns, orders that no person should have any handgun other
       than being in the stock and gun of the length of one whole yard,
       or any hagbutt or demy hake other than shall be in the stock
       and gun the length of three-quarters of a yard. Handgun some-
       times meant what would to-day be called a pistol.
           The barrel was at this time called the cannon. The arquebus
       was in fact from origin a cannon in little, a diminutive cannon,
       reduced to•• maniable" size. The earliest form was simply this
       "cannon" with the usual touch hole at the breach end to which
       a lighkd match-incandescent prepared rope-was applied by
       the hand to ignite the powder, as was the case with the cannon
       proper. To avoid this plan of lighting which really employed
       one arm, next was introduced attached to the stock, a simple
       iron lever in which the match was fixed, and this, working on a ,
       pivot, being moved gradually by one finger, left the right arm
       free from strain and brought the light accurately to the touch
       hole at the breach end, more exactly and more easily than the
       man's hand could do it Then came a further improvement,
       when the lever carrying the lighted match was moved by a spring




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                LAW REVIEWS AND JOURNALS




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             “NECESSARY AND PROPER” AND “CRUEL AND UNUSUAL”:
             HENDIADYS IN THE CONSTITUTION

                Samuel L. Bray*
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                    “Unfortunately, no one, including the constitutional framers, knows
                    the point of the phrase ‘necessary and proper.’”1
                    “Those who object to the [Necessary and Proper Clause]
                     as a part of the Constitution, . . . have they considered whether a bet-
                    ter form could have been substituted?”2



                * Assistant Professor, UCLA School of Law. I am grateful for the criticisms and comments
             of Will Baude, Jud Campbell, Nathan Chapman, Beth Colgan, Marc DeGirolami, Sharon
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             Re, Stephen Sachs, Steve Smith, John Stinneford, Eugene Volokh, Adam Winkler, and par-
             ticipants in law faculty workshops at Berkeley, Notre Dame, and UCLA.
                1
                  Mark A. Graber, Unnecessary and Unintelligible, 12 Const. Comment. 167, 168 (1995).
                2
                  The Federalist No. 44, at 299, 303 (James Madison) (Jacob E. Cooke ed., 1961).

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             2016]                       Hendiadys in the Constitution                               695

                                            I. HOW HENDIADYS WORKS

                Hendiadys is a figure of speech in which two terms, separated by a
             conjunction, are melded together to form a single complex expression.
             The word hendiadys is a Latin word formed from three Greek words (ἓν
             διὰ δυοῖν) meaning “one by means of two.” The “two” in the hendiadys
             may be nouns, adjectives, or verbs. The “one” is the new meaning or
             meanings that emerge from the two. In a hendiadys, “a single conceptual
             idea is realized by two distinct constituents.”37 Or, as one scholar put it,
             “hendiadys might be thought of as the building of a hybrid representa-
             tion developed from two distinct concepts, which produces a wider array
             of implicatures than can be recovered from each of the two original
             parts.”38
                Yet it is important to qualify the definition used here. Because hendi-
             adys is only a slice of the phenomenon of coordinate construction, any
             definition exaggerates the difference between what falls just inside and
             just outside the definitional lines.39 As defined here, hendiadys is rela-
             tively broad. Narrower definitions are restricted to nouns, or to instances
             in which one term is subordinate to the other.40 Those limitations are
             hard to justify, however, and hendiadys is commonly used by linguists
             and literary scholars in this broader sense.41


               37
                   Paul Hopper, Hendiadys and Auxiliation in English, in Complex Sentences in Grammar
             and Discourse: Essays in Honor of Sandra A. Thompson 145, 146 (Joan Bybee & Michael
             Noonan eds., 2002).
                38
                   Nigel Fabb, Is Literary Language a Development of Ordinary Language?, 120 Lingua
             1219, 1229 (2010).
                39
                   Cf. Sandra Mollin, The (Ir)reversibility of English Binomials: Corpus, Constraints, De-
             velopments 9–10 (2014) (noting that the choice of definition for hendiadys determines how
             much it overlaps with another category).
                40
                   E.g., Fowler’s Dictionary of Modern English Usage, at ix (Jeremy Butterfield ed., 4th
             ed. 2015) [hereinafter Fowler’s Dictionary]. On the variety of definitions for hendiadys in
             biblical Hebrew, see Rosmari Lillas-Schuil, A Survey of Syntagms in the Hebrew Bible
             Classified as Hendiadys, in Current Issues in the Analysis of Semitic Grammar and Lexicon
             II: Oslo-Göteborg Cooperation 4th–5th November 2005, at 79, 81–84 (Lutz Edzard & Jan
             Retsö eds., 2006).
                41
                   E.g., Edward Hirsch, A Poet’s Glossary 278–79 (2014); Frank Kermode, Shakespeare’s
             Language 100–01 (2000); Fabb, supra note 38, at 1229; Wright, supra note 8. The re-
             strictions in the definition here are not pointless. The reference to a conjunction helps the
             reader grasp the concept, with no loss of scope. (Some languages, such as Akkadian and Lat-
             in, do use asyndetic hendiadic constructions, but English does not.) The limitation to two
             terms is traditional and economical for this Article. There is another figure of speech called




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  [ Originally published as 1 Cent. L. J 259-261, 273-275, 285-287, 295-296 (1874). NOTE: The Central Law
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  numbers 22-25 respectively. The article bears no author name. It was presumably written by the editors of the
  Journal: John F. Dillon, Editor & S.D. Thompson, Ass't Editor.]


  The Right to Keep and Bear Arms for Private and
  Public Defence.
  The second amendment of the constitution of the United States recites that "a well-regulated militia being
  necessary to the security of a free state, the right of the people to keep and bear arms shall not be infringed."
  Similar provisions will probably be found in the constitutions of most of the states. Thus the constitution of
  Texas declares that "every person shall have the right to keep and bear arms in the lawful defence of himself or
  the state, under such regulations as the (p.260)legislature may prescribe." Art. 1, § 13. So the present constitution
  of Tennessee provides that "the citizens of this state have a right to keep and bear arms for their common
  defence; but the legislature shall have power by law to regulate the wearing of arms with a view to prevent
  crime." These and similar provisions in the constitutions of other states have been discussed in several cases, and
  with the apparently growing habit of legislatures to restrict the wearing of arms, their exposition assumes
  increasing importance. The provision in the federal constitution does not appear ever to have received exposition
  in the Supreme Court of the United States, but the state tribunals have furnished a series of interesting decisions
  upon the subject, referring either to the federal or to the state constitution.

  1. The first of these appears to have been Bliss v. Commonwealth, 2 Littell, 90, determined in the Court of
  Appeals of Kentucky in 1822, and relates to the question we shall consider first--the manner of carrying
  weapons. The constitution of Kentucky provided "that the right of the citizens to bear arms in defence of
  themselves and the state shall not be questioned." It was held that a statute providing that "any person in this
  commonwealth, who shall hereafter wear a pocket-pistol, dirk, large knife, or sword in a cane, concealed as a
  weapon, unless when travelling on a journey, shall be fined in any sum not less than one hundred dollars," etc.
  This statute was held to be in conflict with the constitutional guaranty, and hence void--one of the three judges
  dissenting. The court said : "That the provisions of the act in question do not import an entire destruction of the
  right of the citizens to bear arms in defence of themselves and the state, will not be controverted by the court; for
  though the citizens are forbid wearing weapons concealed in the manner described in the act, they may
  nevertheless, bear arms in any other admissible form. But to be in conflict with the constitution it is not essential
  that the act should contain a prohibition against bearing arms in every possible form. It is the right to bear arms
  in defence of the citizens and the state that is secured by the constitution, and whatever restrains the full and
  complete exercise of that right, though not an entire destruction of it, is forbidden by the explicit language of the
  constitution. If, therefore, the act in question imposes any restraint upon the right, immaterial what appellation
  may be given to the act, whether it be an act regulating the manner of bearing arms or any other, the
  consequence, in reference to the constitution, is precisely the same, and its collision with that instrument equally
  obvious." And the court further on declare that "in principle there is no difference between a law prohibiting the
  wearing of concealed arms and a law forbidding the wearing of such as are exposed." And, therefore, the
  defendant having been convicted and fined for carrying a sword concealed in a cane, the judgment was reversed.

  The next case in order of time appears to have been The State v. Mitchell, 3 Blaclf. 229, determined in the
  Supreme Court oflndiana in 1833. The ruling is diametrically opposed to that in the Kentucky case. The report
  does no more than mention the point ruled in the briefest terms, but it would seem that the Indiana constitutional
  provision was simply "that the people have a right to bear arms for the defence of themselves and the state." And
  the statute (Laws of Ind., ed. of 1831, p . 192) which was held not in derogation of this provision provided that

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  "every person, not being a traveller, who shall wear or carry any dirk, pistol, sword in a cane, or other dangerous
  weapon concealed, shall, upon conviction thereof, be fined in any sum not exceeding one hundred dollars."

  This ruling was followed by the Supreme Court of Alabama in 1840, in The State v. Reid, 1 Ala. 612. The
  provision of the Alabama constitution was almost identical with that oflndiana. It provided that "every citizen
  has the right to bear arms in defence of himself and the state." And it was held that this provision was not
  infringed by a statute which provided that "if any person shall carry concealed about his person any species of
  fire-arms, or any bowie-knife, Arkansas tooth-pick, or any other knife of the like kind, dirk, or other concealed
  weapon, the person so offending shall, on conviction thereof, before any court having competent jurisdiction,
  pay a fine of not less than fifty nor more than five hundred dollars," etc. The statute was held not in conflict with
  the constitutional provision. And this ruling was reaffirmed in Owen v. The State, 31 Ala. 387. The Supreme
  Court of Alabama in the former case say: "The constitution, in declaring that 'every citizen has the right to bear
  arms in defence of himself and the state,' has neither expressly nor by implication denied the legislature the right
  to enact laws in regard to the manner in which arms shall be borne. The right guarantied to the citizen is not to
  bear arms upon all occasions and in all places, but merely 'in defence of himself and the state.' The terms in
  which this provision is phrased seem to us necessarily to leave with the legislature the authority to adopt such
  regulations of police as may be dictated by the safety of the people and the advancement of public morals." And
  further on they say: "We do not desire to be understood as maintaining that in regulating the manner of bearing
  arms, the authority of the legislature has no other limit than that of its own discretion. A statute which, under
  pretence of regulating, amounts to a destruction of the right, or which requires arms to be so borne as to render
  them wholly useless for the purpose of defence, would be clearly unconstitutional. But a law which is intended
  merely to promote personal security, and to put down lawless aggression and violence, and to that end inhibits
  the wearing of certain weapons in such a manner as is calculated to exert an unhappy influence upon the moral
  feelings of the wearer, by making him less regardful of the personal security of others, does not come in
  collision with the constitution." And the court also say: "Under the provision of our constitution, we incline to
  the opinion that the legislature cannot inhibit the citizen from bearing arms openly, because it authorizes him to
  bear them for the purpose of defending himself and the state, and it is only when carried openly that they can be
  effectively used for defence." 1 Ala. 616. 617. 619.

  The distinction here taken in regard to the manner of carrying or wearing weapons, has been followed in several
  later cases. Thus in Nunn v. The State, 1 Kelly, 243, decided in 1846, the Supreme Court of Georgia held that a
  statute of that state, so far as it sought to suppress the practice of carrying certain weapons secretly, was valid,
  inasmuch as it did not deprive the citizen of his natural right of self-defence, or of his constitutional right to
  keep and bear arms; but that so (p.26l)much of it as prohibited the wearing of certain arms openly, was
  unconstitutional and void. To the same effect, see Stockdale v. The State, 32 Ga. 225, and the very thoroughly
  considered case of The State v. Buzzard, 4 Ark. 18. So it has been held in several cases in Louisiana, that a statute
  prohibiting the carrying of concealed weapons did not infringe the right of the people to keep and bear arms, but
  was simply a measure of police, prohibiting only a particular mode of bearing arms which is found dangerous to
  the peace of society. The State v. Jumel, 13 La. An. 399; The State v. Smith, 11 La. An. 633 ; The State v.
  Chandler, 5 La. An. 489. The same conclusion was reached by the Supreme Court of Tennessee in 1840 in
  Aymette v. The State, 2 Humph. 154, but upon somewhat different grounds, as we shall see further on; and is also
  supported by Andrews v. The State, 3 Heiskell (Tenn.) 165.

  [TO BE CONTINUED.](p.273)

  [CONTINUED.]

  2. A second branch of the question relates to the kind of weapon, the carrying of which is within the
  constitutional guaranty. By far the most instructive case on this branch of the question is Aymette v. State, 2
  Humph. 154. The constitution of Tennessee in force at that time provided that "the free white men of this state
  shall have a right to keep and bear arms for their common defence." And the question considered by the court
  was whether this constitutional provision was violated by a statute which provided "that if any person shall wear
  any bowie-knife, or Arkansas tooth-pick, or other knife or weapon that shall in form, shape or size resemble a
  bowie-knife, or Arkansas tooth-pick, under his clothes, or keep the same concealed about his person, such
  person shall be guilty of a misdemeanor, and upon conviction thereof, shall be find," etc. Green, J., in an able
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  opinion traces the constitutional provision to its origin in the English Bill of Rights, Stat. 1 W & M, ch. St. 2, ch.
  2, cl. and then makes the following observations upon its policy and scope: "As the object for which the right to
  keep and bear arms is secured, is of a general and public nature, to be exercised by the people in a body for their
  common defence, so the arms, the right to keep which is secured, are those which are usually employed in
  civilized warfare, and that constitute the ordinary military equipment. If the citizens have these arms in their
  hands, they are prepared in the best possible manner to repel any encroachments upon their rights by those in
  authority. They need not, for such a purpose, the use of those weapons which are usually employed in private
  broils, and which are efficient only in the hands of the robber and the assassin. These weapons would be useless
  in war. They could not be employed advantageously in the common defence of the citizens. The right to keep
  and bear them is not, therefore, secured by the constitution." It was accordingly held that the statute was not in
  derogation of the state constitution.

  But by far the most elaborate discussion of the question will be found in Andrews v. The State, 3 Heiskell, 165,
  determined in the Supreme Court of Tennessee in 1871. The state was ably represented, and the synopsis of the
  argument of the attorney-general should not be overlooked. The court possessed the weight of being composed
  of six judges; but unfortunately they were by no means unanimous, either as to the result, or as to the reasoning
  by which the result was reached. The provision of the present constitution of Tennessee is that "the citizens of
  this state have a right to keep and bear arms for their common defence; but the legislature shall have power by
  law to regulate the wearing of arms with a view to prevent crime." Const. of Tenn., art. 1, § 26. The material
  provision of the statute whose validity was disputed was that "it shall not be lawful for any person to publicly or
  privately carry and dirk, sword-cane, Spanish stiletto, belt or pocket pistol or revolver." Act of Tenn. , June 11,
  1870; 2 Tho. & S. Code, § 4756 a. It was held that this statute was not in derogation of the constitution of the
  state, except so far as it restrained the keeping of arms "in the ordinary mode known to the court." In this result
  four of the judges concurred. Freeman, J., delivered the opinion of the court, in which the question is discussed
  at great length. Nicholson, Ch. J., and Deaderick, J., concurred in the general views expressed by him; but
  Sneed, J., dissented from so much of the opinion as questioned the right of the legislature to prohibit the wearing
  of arms of any description, or sought to limit the operation of the act of 1870. On the other hand, Nelson, J.,
  dissented with much force, holding that the act was in derogation of the constitutional right to bear arms, and in
  derogation of the natural and inalienable right of self-defence. While it is difficult to say precisely what this long
  case does decide, it may be fairly said to be an affirmance of Aymette v. State, supra; and no doubt the following
  sentences represent the views of all of the four concurring judges, except Sneed, J., who goes further in support
  of the power of the legislature to regulate the wearing of arms: "What, then, is he [the citizen] protected in the
  right to keep and thus use? Not everything that may be useful for offence or defence; but what may
  (p.274)properly be understood or included under the title of arms, taken in connection with the fact that the
  citizen is to keep them as a citizen. Such, then, as are found to make up the usual arms of the citizen of the
  country, and the use of which will properly train and render him efficient in defence of his own liberties, as well
  as of the state. Under this head, with a knowledge of the habits of our people, and of the arms in the use of which
  a soldier should he trained, we would hold that the rifle of all descriptions, the shot-gun, the musket and repeater
  are such arms; and under the constitution, the right to keep such arms cannot be infringed or forbidden by the
  legislature. Their use, however, may be subordinated to such regulations and limitations as are or may be
  authorized by the laws of the land, passed to subserve the general good, so as not to infringe the right secured,
  and the necessary incidents to the exercise of such right." * * * "We hold, then, that the act of the legislature in
  question, so far as it prohibits the citizen, either publicly or privately, to carry a dirk, sword-cane, Spanish
  stilletto, belt or pocket pistol, is constitutional. As to the pistol designated as a revolver, we hold this may or may
  not be such a weapon as is adapted to the usual equipment of the soldier, or the use of which may render him
  more efficient as such; and therefore hold this to be a matter to be settled by evidence, as to what character of
  weapon is included in the designation 'revolver."' * * * * "We know there is a pistol of that name [revolver]
  which is not adapted to the equipment of the soldier, yet we also know that the pistol known as the 'repeater' is a
  soldiers' weapon--skill in the use of which will add to the efficiency of the soldier. If such is the character of the
  weapon here designated, then the prohibition of the statute is too broad to be allowed to stand consistently with
  the views herein expressed. * * * As we have said, the statute amounts to a prohibition to keep and use such
  weapon for any and all purposes. It therefore, in this respect, violates the constitutional right to keep arms, and
  the incidental right to use them, in the ordinary mode of using such arms, and is inoperative."

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 We must not here overlook the early Tennessee case of Simpson v. The State, decided by the Supreme Court of
 Tennessee in 1833, and reported in 5 Yerger, 356. The only question in that case was the sufficiency of an
 indictment for an affray which charged that the defendant, "with force and arms, at, etc., being arrayed in a
 warlike manner, then and there, in a certain public street and highway situate, unlawfully, and to the great terror
 of divers good citizens of the state, then and there being, an affray did make," etc. It was held that this
 indictment did not sufficiently charge an affray. The court consisted of four judges, among them Judge Green,
 who delivered the opinion of the court in Aymette v. The State, supra, and also Judge Catron, afterwards one of
 justices of the Supreme Court of the United States, who, two years before, had delivered the opinion of the court
 in the famous Grainger case (5 Yerg. 459) expounding the law of self-defence; and with these were associated
 Judges Whyte and Peck. Whyte, J., delivered the opinion of the court, Peck, J., dissenting. Two reasons were
 given for holding the indictment insufficient. The first was that in order to constitute an affray there must be, 1st,
 fighting; 2d, and between two or more persons, 3d, and in some public place so as to cause terror to the people.
 Now the indictment did not charge fighting, nor fighting between two or more persons. It was therefore held
 insufficient. It is difficult to conceive how there can be fighting, unless there be at least two persons, unless it be
 between a man and a beast; but we are stating accurately the reasoning of the court. The second reason, and the
 one with which we have to do, is embodied in the following language of Judge Whyte: "But suppose it to be
 assumed on any ground that our ancestors adopted and brought over with them this English statute [2 Edw. III]
 or portion of the common law, our constitution [of 1796] has completely abrogated it. It says 'that the freemen of
 this state have a right to keep and to bear arms for their common defence.' (Art 11, § 29.) It is submitted that this
 clause of our constitution fully meets and opposes the passage or clause in Hawkins of 'a man's arming himself
 with dangerous and unusual weapons,' as being an independent ground of affray, so as of itself to constitute the
 offense cognizable by indictment. By this clause of the constitution an express power is given and secured to all
 the free citizens of the state to keep and bear arms for their defence, without any qualification whatever as to
 their kind or nature; and it is conceived that it would be going much too far to impair by construction or
 abridgment a constitutional privilege which is so declared. Neither, after so solemn an instrument hath said the
 people may carry arms, can we be permitted to impute to the acts thus licensed such a necessarily consequent
 operation as terror to the people to be incurred thereby. We must attribute to the framers of it the absence of such
 a view." In Aymette's case, supra, Judge Green characterized the above language as "only an incidental remark
 of the judge who delivered the opinion, and therefore entitled to no weight." To enable the reader to judge how
 far this declaration of law by Judge White was necessary to the determination of the question in the case, it
 should be remarked that it is an argument put forth to obviate the force of the following language of Sergeant
 Hawkins: "But granting that no bare words in the judgment of law carry with them so much terror as to amount
 to an affray, yet it seems certain that in some cases there may be an affray where there is no actual violence; as
 where a man arms himself with dangerous and unusual weapons, in such a manner as will naturally cause terror
 to the people, which is said always to have been an offence at common law, and is strictly prohibited by many
 statutes." (Hawk. P C. Book 1, ch. 28, § 4, Leach's ed.)

   The latest case upon this branch of the subject appears to be English v. The State, 35 Tex. 473. The statute
   considered in that case (Act of 12 April, 1871, 2 Pasch. Dig. Laws, art. 6512) provides with certain exceptions
   that "any person carrying on or about his person, saddle, or in his saddle-bags, any pistol, dirk, dagger, slung-
   shot, sword-cane, spear, brass-knuckles, bowie-knife, or any other kind of knife manufactured or sold for the
   purpose of offence or defence, unless he has reasonable grounds for fearing an unlawful attack on his person,
   and that such grounds of attack shall be immediate and pressing; or unless having or carrying the same on or
   about his person for the lawful defence of the state, as a militia-man in actual service, or as a peace officer or
   policeman, shall be guilty of misdemeanor," etc. The second section provides that "any person charged under the
   first section of this act who may offer to prove by way of defence that he was in danger of an attack on his
   person, or unlawful (p.275)interference with his property, shall be required to show that such danger was
   immediate and pressing, and was of such a nature as to alarm a person of ordinary courage; and that the weapon
   so carried was borne openly and not concealed beneath his clothing; and if it shall appear that this danger had its
   origin in a difficulty first commenced by the accused, it shall not be considered a legal defence." Section 3
   provides that the governor may, by proclamation, exempt the frontier counties from the operation of the act. The
   remaining sections contain provisions which it is not necessary to notice. It will be seen that this statute is much
   stronger than any which we have previously cited. With certain restricted exceptions, it effectually prohibits the
   bearing of all small arms, whether openly or concealed, on horseback or on foot. It is doubtful whether so
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  sweeping a statute can be sustained in the light of any of the adjudications already quoted. But the late Supreme
  Court of Texas nevertheless did, in English v. The State, supra, declare that it is neither in conflict with the
  second amendment of the federal constitution, nor with the provision of the constitution of that state quoted at
  the beginning of this article. The court (Walker, J.) say: "The word 'arms,' in the connection we find it in the
  constitution of the United States, refers to the arms of a militia-man or soldier, and the word is used in its
  military sense. The arms of the infantry soldier are the musket and bayonet; of cavalry and dragoons, the sabre,
  holster-pistol and carbine; of the artillery, the field-piece, siege gun and mortar, with side-arms. The terms dirks,
  daggers, slung-shots, sword-canes, brass-knuckles and bowie-knives belong to no military vocabulary. Were a
  soldier on duty found with one of these things about his person he would be punished for an offence against
  discipline. The act referred to makes all necessary exceptions, and points out the place, the time and manner in
  which certain deadly weapons may be carried as a means of self-defence; and these exceptional cases, in our
  judgment, fully cover all the wants of society. There is no abridgment of the personal rights, such as may be
  regarded as inherent and inalienable to man, nor do we think his political rights are the least infringed by any
  part of this law." The court also understand the word "arms" in the Texas constitution as having the same import
  and meaning which it has in the second amendment of the federal constitution; and they hold that the legislature
  may regulate the right to bear arms without taking it away, and that this has been done by the act under
  consideration.

  [TO BE CONTINUED.](p.285)

  [CONTINUED.]

  3. A third question is, whether the natural right of self-defence will under any circumstances justify the carrying
  of a particular weapon, and in a particular manner, when such carrying is forbidden by statute. "In reason," says
  Mr. Bishop, "there may be circumstances in which the right of self-defence will justify the carrying of a
  concealed weapon for the purpose; and should such a case arise (and it must be an extreme one, out of the
  ordinary course of things, or it could not arise), doubtless this should be held to be an exception, engrafted by the
  common law upon the general terms of the statute." Bish. Stat. Crimes,§ 789. This view would seem to be
  entirely consistent with reason, and unavoidable. When we reflect on the question of what is termed the right of
  self-defence, we shall see that it is a most comprehensive right; that it is one and the same thing with the right to
  "life, liberty and the pursuit of happiness," which our fathers asserted in the Declaration oflndependence. It
  would seem to follow from what has been said upon the subject by various writers that while society may
  regulate this right of self-defence so as to promote the safety and good of its members, yet any law which should
  attempt to take it away, or materially abridge it, would be the grossest and most odious form of tyranny. Thus,
  Sir Michael Foster says: "The right of self-defence in these cases [cases of felonious attacks upon person,
  habitation, or property] is founded in the law of nature, and is not, nor can be, superseded by any law of society;
  for, before societies were formed, * * * the right of self-defence resided in individuals; it could not reside
  elsewhere; and since, in cases of necessity, individuals incorporated into society cannot resort for protection to
  the law of society, that law with great propriety and (p.286)strict justice, considereth them as still in that instance
  under the protection of the law of nature." (Foster Crown Law, 273-4. See also 2 Rutherforth's Institutes, ch. 16;
  Grotius' De Jure Belli et Pacis, lib. 2 cap. 1; Gray v. Coombs, 7 J J Marshall, 478; Isaacs v. State, 25 Tex. 174;
  Com. v. Riley, Thacher's Crim. Cas. 471 ; United States v. Holmes, 1 Wallace, Jr. 1.) It is within common
  experience that there are circumstances under which to disarm a citizen would be to leave his life at the mercy of
  a treacherous and plotting enemy. If such a state of facts were clearly proven, it is obvious that it would be
  contrary to all our notions of right and justice to punish the carrying of arms, although it may have infringed the
  letter of some statute. To do so would be to make the law what it never was intended to be, an instrument of
  cruelty and injustice. Such a case might clearly be said to fall within that class of cases in which the previously
  existing common law interpolates exceptions upon subsequently enacted statutes. See Bish. Stat. Crimes, §§ 7,
  123, 131, 141, 351-359, 362, 789.

  Turning to the adjudications, we find it declared in one case, under an Indiana statute, probably the same already
  cited (ante, 260), that if a person, not being a traveller, carry a concealed weapon, he is guilty of an indictable
  offense and his motive for carrying the weapon is immaterial. Walls v. The State, 7 Black. 572. A similar ruling
  was made in Cutsinger v. Commonwealth, 7 Bush. Ky. 392. But these cases do not help our enquiries, because
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  the defendants did not claim to have carried the weapons for the purpose of defence against any threatened or
  impending injury, but, in one case, for the purpose of exhibiting it as a curiosity, and in the other, for the purpose
  of conveying it to another person.

  In Hopkins v. Commonwealth, 3 Bush, Ky. 480, there was sufficient proof that the defendant, on a certain day,
  carried a pistol concealed about his person, and the defendant attempted to excuse the act by proving that he had
  been shot at by strangers more than two years before, and that "for precautionary security of self-defence"
  against a like attack he had carried a pistol ever since. The court (Robertson, J.) said: "These facts were wholly
  irrelevant, as there was neither proof nor cause for apprehension of any such impending danger; and, therefore,
  there was no error in refusing to admit another witness to the same facts."

  Another ground of error urged in the same case, was that the court should not have given the following
  instruction: "If the jury believe from the evidence that the defendant * * * carried a pistol concealed about his
  person, and that he had no reasonable ground to believe, and did not believe, that his person was in danger of
  great bodily harm, they should punish him by a fine," etc. To understand the force of this instruction, it should be
  observed that the Kentucky statute against carrying concealed weapons, in force at that time, made the carrying
  of such weapons lawful "where the person has reasonable grounds to believe that his person, or the person of
  some of his family, or his property, is in danger from violence or crime." 1 Stanton's Code, p. 414. The
  defendant's counsel insisted that the defendant was rightfully the best judge of the necessity or prudence of
  carrying a concealed pistol for self-defence, and was the only person who could know whether he in fact
  apprehended danger; and hence objected to so much of the instruction as required reasonable grounds for
  apprehension. The court, however, did not see the instruction in this light. Judge Robertson said: "Were this
  erroneous, the salutary law against the pestilent and alarmingly prevalent habit among all classes, and especially
  among young men and even boys, of wearing concealed arms, through false and cowardly pride, and through
  mock chivalry, might soon become practically a dead letter. A statute so beneficent, and so often and so easily
  evaded, should be vigilantly upheld and stringently enforced by the judiciary, for repressing a dishonorable and
  mischievous practice, which, licensed or unlicensed, leads almost daily to causeless homicides and disturbances,
  which would otherwise never be perpetrated; and to that end, the accused should always be required to prove
  that he carried a concealed weapon only for the purpose of defending himself or family or property against an
  impending attack, reasonably apprehended, and which, if attempted, would justify the use of some such means
  of defence. But the superfluous addition of the words, 'and did not believe that his person was in danger,'
  relieves the instruction from the counsel's criticism, and makes it more favorable to the appellant than he had a
  right to demand or expect." Although this ruling was necessary in view of the terms of the Kentucky statute, yet
  it is thought that it would be the same on general principles; for it is in strict analogy with that numerous class of
  cases which makes the fears of a reasonable man, and not the fears actually entertained, the test of the
  justification of the degree of force and kind of weapon employed in one's defence. (Selfridge's case, 1 Self-
  Defence Cases, 1; Sullivan's case, ib. 65; Shorter's case, ib. 258; and many others.)

  In one of the cases in Tennessee, already quoted, Andrews v. The State, 3 Heiskell, 165. 188, there are
  considerable dicta on the question whether a man can defend himself against an indictment for carrying arms
  forbidden to be carried by law, by showing that he carried them in self-defence. While admitting the question to
  be one of" some little difficulty," the learned judge who delivered the opinion of the court says: "The real
  question in such case, however, is not the right of self-defence, as seems to be supposed (for that is conceded by
  our law to its fullest extent), but the right to use weapons or select weapons for such defence, which the law
  forbids him to keep or carry. If this plea could be allowed as to weapons thus forbidden, it would amount to a
  denial of the right of the legislature to prohibit the keeping of such weapons; for if he may lawfully use them in
  self-defence, he may certainly provide them and keep them for such purpose, and thus the plea of right of self-
  defence will draw with it, necessarily, the right to keep and use everything for such purpose, however pernicious
  to the general interest or peace or quiet of the community. Admitting the right of self-defence in its broadest
  sense, still, on sound principles, every good citizen is bound to yield his preference as to the means to be used, to
  the demands of the public good; and where certain weapons are forbidden to be kept or used by the law of the
  land, in order to the prevention of crime--a great public end--no man can be permitted to disregard this general
  end, and demand of the community the right, in order to gratify his whim or wilful desire, to use a particular
  weapon in his particular self-defence. The law allows ample means of self-defence without the means which we
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  have held may be rightfully (p.287)proscribed by this statute, The object being to banish these weapons from the
  community by an absolute prohibition, for the prevention of crime, no man's particular safety, if such case could
  exist, ought to be allowed to defeat this end. Mutual sacrifice of individual rights is the bond of all social
  organizations, and prompt and willing obedience to all laws passed for the general good is not only the duty, but
  the highest interest of every man in the land. * * * We admit that extreme cases may be put where the rule may
  work harshly, but this is the result of all general rules--that they may work harshly sometimes in individual
  cases. By our system, however, allowing the attorney-general to enter a nolle prosequi with the assent of the
  court, there is but little danger of the law being enforced in any such cases to the detriment of any one; and if
  such case should occur, an application to executive clemency may fairly be presumed to be the remedy provided
  by the constitution to meet all such exigencies." The court, therefore, hold that the testimony tending to prove
  "that there was a set of men in the neighborhood of defendant during the time he carried his pistol and before,
  seeking the life of defendant," was properly rejected, because it did not appear what the character of the weapon
  was, and it may have been such a weapon as could not be properly carried at all, and if so, the testimony would
  be no defence to the indictment. Comparing the above with that part of this case which was quoted on page 274
  of our last number, it is seen that it decides that a man may not, even in his necessary defence, carry, either
  publicly or privately, a dirk, sword-cane, Spanish stiletto, belt or pocket-pistol, but that he may carry such arms
  for his private defence as are adapted to the equipment of the soldier. Much as we respect the general views of
  the learned judge and the commendable desire to promote peace and public order which his opinion manifests,
  yet we do not think that either his reasoning or his conclusion on this particular branch of the question can be
  commended. It entirely confounds the right of arming one's self for private defence against a threatened danger,
  with the policy of the constitution of Tennessee, which guarantees the right of bearing certain arms in order to
  educate the citizen for military duty. If a citizen is obliged to perform a journey where he is in danger of being
  attacked by highwaymen, or by assassins who seek his life, he may, if he have the arms used by a militiaman,
  arm himself with them;--we suppose he may even take a cannon along with him, ifhe have one. But ifhe have
  not, and cannot procure any of the weapons which are used in civilized warfare, he must go unarmed. Besides, in
  attempting to distinguish between the weapons which he may and may not use, the learned court descend into
  distinctions altogether too nice to be of any practical value. A belt or pocket-pistol may not be worn, but a
  "repeater" may. What is a large "repeater" but a belt-pistol, and what is a small "repeater" but a pocket-pistol?
  According to these distinctions, we suppose if the citizen have no other arms than an old-fashioned "pepper-
  box," he must needs leave it at home--to carry it to defend himself against the attack of a highwayman will be an
  indictable offence (and we don't know but it ought to be)--but he may lawfully carry a far more formidable and
  dangerous weapon--a cavalry-revolver, Colt or Remington. In short, before he may lawfully take with him any
  weapon for his personal defence, he must debate and settle in his mind whether such a weapon would be
  appropriate to the equipment of a soldier, and if it would, he may lawfully carry it for the purpose of defending
  himself; otherwise not. That such conclusions do not commend themselves to reason, need scarcely to be
  suggested. Nor do we perceive any ground for the distinction which the learned judge attempts to draw between
  the right of self-defence and the means by which that right may be secured. If the means are prohibited or
  withheld, can any one say that the right is of any substantial value? We think that upon this branch of the case
  the views of Judge Nelson, in his dissenting opinion, are much to be preferred. "I hold," said that learned judge,
  "that when a man is really and truly endangered by a lawless assault, and the fierceness of the attack is such as to
  require immediate resistance in order to save his own life, he may defend himself with any weapon whatever,
  whether seized in the heat of conflict, or carried for the purpose of self-defence."

  In the principal Alabama case which we have already quoted, The State v. Reid, 1 Ala. 612. 619, the question, it
  will be remembered, arose on a constitutional provision which guaranteed the right to bear arms "in defence of
  himself and the state." The court thought that in view of that provision it would not be competent for the
  legislature to prohibit the wearing of arms openly, because "it is only when worn openly that they can be
  efficiently used for defence." And they also say: "We will not undertake to say that if in any case it should
  appear to be indispensable to the right of defence that arms should be carried concealed about the person, the act
  'to suppress the evil practice of carrying weapons secretly' should be so construed as to operate a prohibition in
  such case." The right to bear arms when threatened with, or having good reason to apprehend an attack, or
  travelling or setting out on a journey, was subsequently recognized in Alabama by statute. Ala. Code, 1852, §
  3274; Owen v. State, 31 Ala. 388.

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 In Texas, as we have already seen (ante, p. 274), it has been held within the power of the legislature to prohibit
 the carrying of all small arms, notwithstanding a constitutional provision similar to that of Alabama,
 guaranteeing the right to carry arms for the defence of one's self, as well as for the defence of the state.

 Such appears to be the unsatisfactory state of the authorities on this branch of the question. On the one hand, as
 long as the machinery which society has afforded for the prevention of private injuries remains in its present
 ineffective state, society cannot justly require the individual to surrender and lay aside the means of self-
 protection in seasons of personal danger; and it will be in vain that the laws of society denounce penalties
 against the citizen for arming himself when his life is menaced by the attacks of wild beasts, of highwaymen, or
 of dangerous and persevering enemies. On the other hand, the peace of society and the safety of peaceable
 citizens plead loudly for protection against the evils which result from permitting other citizens to go armed with
 dangerous weapons, and the utmost that the law can hope to do is to strike some sort of balance between these
 apparently conflicting rights.

 [TO BE CONTINUED.](p.295)

 [CONCLUDED.]

 4. We shall take leave of this subject by briefly considering whether the second amendment of the constitution of
 the United States is restrictive upon the states. This amendment provides that "a well-regulated militia being
 necessary to the security of a free state, the right of the people to keep and bear arms shall not be infringed." Mr.
 Bishop suggests that, "though most of the amendments are restrictions on the general government alone, this one
 seems to be of a nature to bind both the state and the national legislatures; and doubtless it does." Of the same
 view was the Supreme Court of Georgia in Nunn v. The State, 1 Kelly, 243, where the question was discussed at
 considerable length, and where a statute of that state was held in part invalid because in conflict with this
 amendment. In the three Louisiana cases already quoted, the subject was discussed solely with reference to this
 amendment to the federal constitution, and it seems to have been taken for granted that it is restrictive upon the
 states. State v. Chandler, 5 La. An. 489; State v. Smith, 11 La. An. 633 ; State v. Jumel, 13 La. An. 399. So in the
 Arkansas case, The State v. Buzzard, 4 Ark. 18, all the judges appear to have understood this amendment as
 applicable to the states; and Judge Dickinson supposes it to pertain to the power possessed by the general
 government of organizing, arming and disciplining the militia. He says this provision of the federal constitution
 "is but an assertion of that general right of sovereignty belonging to independent nations, to regulate their
 military force."

   This view of Judge Dickinson contains the only plausible reason we have met with for supposing that this
   amendment is binding upon the states. The decisions of the Supreme Court of the United States, expounding the
   early amendments of the federal constitution, leave little room to doubt that none of the first ten amendments
   apply to the states, but that all of them are merely restrictive upon the federal power. Thus, in Barron v. The City
   of Baltimore, 7 Pet. 243, 247, it was held that an act of the Maryland legislature, which it was alleged deprived
   the plaintiff in error of his property without just compensation, was not void as being in conflict with the fifth
   amendment of the federal constitution. Chief Justice Marshall, delivering the unanimous judgment of the court,
   said: "The question presented is, we think, of great importance, but not of much difficulty. The constitution was
   ordained and established by the people of the United States themselves, for their own government, and not for
   the government of the individual states. Each state established a constitution for itself, and in that constitution
   provided such limitations and restrictions on the powers of its particular government as its judgment dictated.
   The people of the United States framed such a government for the United States as they supposed best adapted
   to their situation and best calculated to promote their interests. The power they conferred on this government
   was to be exercised by itself, and the limitations on power, if expressed in general terms, are naturally and, we
   think, necessarily, applicable to the government created by the instrument. They are limitations of power granted
   in the instrument itself, not of distinct governments framed by different persons and for different purposes." This
   language would be equally decisive if applied to any of the first ten amendments. Again, in Fox v. The State of
   Ohio, 5 How. 410, 434, it is declared that the prohibitions contained in the amendments to the federal
   constitution "were not designed as limits upon the state governments in reference to their own citizens. They are
   exclusively restrictions upon federal power, intended to prevent interference with the rights of the states and of
   their citizens." "Such, indeed," said Mr. Justice Daniel, in delivering the opinion of the court, "is the only
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  rational and intelligible interpretation which these amendments can bear, since it is neither probable nor credible
  that the states should have anxiously insisted to engraft upon the federal constitution restrictions upon their own
  authority--restrictions which some of the states regarded as the sine qua non of its adoption by them." So, also, it
  was held in Smith v. The State ofMaryland, 18 How. 71, 76, that the provision of the fourth amendment of the
  federal constitution which prohibits the issuing of a warrant, "but upon probable cause, supported by oath or
  affirmation," had no application to the process of the state courts. Language equally decisive will be found in
  Withers v. Buckley, 20 How. 84, 90; Twichell v. The Commonwealth, 7 Wall. 321, and in other cases decided by
  the same court.(p.296)

  In view of these decisions of the only court whose interpretations of the federal constitution are binding and
  decisive, there would seem to remain no doubt that if the question should ever arise in that court it would be held
  that the second amendment of the federal constitution is restrictive upon the general government merely, and not
  upon the states, and that every state has power to regulate the bearing of arms in such manner as it may see fit, or
  to restrain it altogether.




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          History and use of the billy club

          By Police1 Staff

          Billy clubs were the first less-lethal weapon used by police officers to subdue criminals and maintain public order.
          Known by many names, the police officer’s club, mace, truncheon, nightstick, or baton is as old as the profession itself.
          Though the names and techniques have changed, the tool itself has not, and is now a symbol of police officers
          worldwide.




                                                                                                                  British police
          constable wearing a decorated billy club. (Photo: Anthony McCallum)

          The billy club in early police history

          London’s first police department was founded in 1829 by Prime Minister Sir Robert Peel. His concept of a modern
          police force was based on the principle of “policing by consent:” earning the respect and compliance of the public
          instead of ruling by intimidation. The new police force would be unarmed except for the billy club, the signature tool of
          early police officers.

          Billy clubs differed in length depending on the officer’s preferences and physical size. Historically, they ranged from
          about about 14 inches in length for close-quarters use, to over 36 inches for use in riots or by officers on horseback.




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                                                                                                                   A mounted officer
          carries a 36-inch club to a Vietnam War protest, 1968. (AP Photo)

          Because of the billy club’s versatility and the police culture established by Robert Peel, British law enforcement’s use of
          firearms was very limited until the mid-1990’s.

          Billy clubs as a symbol of police worldwide

          Between the different sizes and personal ornamentation, many Victorian era billy clubs are unique items. The staffs
          were ornately decorated with marks such as a royal crown and scepter, various coats of arms, and sometimes, the
          initials of the billy club’s owner.




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                                                                                                                 A collection of
          decorated 19th century billy clubs. (Photo: Kim Traynor)

          The tradition of decorating a billy club, truncheon, or baton was carried over to the United States. In New York, batons
          made of finely carved woods and ivory were given to officers by police personnel under their jurisdiction. These
          particular items are largely ceremonial and not used in the field.




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                                                                                                                    A collection of fine
          clubs presented to NYPD officers. (AP Photo)

          In Baltimore, a large club called the espantoon became known as an officer’s “Badge of Authority” sometime in the
          19th century. Police officers from the area were known for twirling their trademark batons, which became a unique
          piece of the department’s culture. Though espantoons were banned in 1994 by police commissioner Thomas C. Frazier
          for being “too intimidating,” they were brought back by popular demand in 2000 following his replacement.

          Billy clubs as a less-lethal option

          The first London police officers were issued billy clubs as a tool for self-defense, but these tools can still cause great
          physical harm in the hands of a trained officer—especially when striking vulnerable areas such as the head, spine, or
          groin.

          A baton has numerous advantages as a striking weapon. Most notably, it preserves the hands which can be easily
          injured while boxing, and can be used defensively to protect against blows from blunt and sharp objects.

          If they must strike with their batons, today’s officers are taught to disable offenders by targeting nerve clusters and
          bony prominences in the limbs and torso rather than hitting to cause a concussion.




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          Points of impact from a mid-20th century FBI training manual. (Photo: Technique and Use of the Police Baton)

          An FBI tactical manual called “Technique and Use of the Police Baton” also contains several instructions on how to use
          a straight baton to restrain a suspect, force them to move in a certain direction (“come alongs”), or manipulate a
          resisting offender’s limbs.




          Even if officers never use a billy club as a tool of force, there are other applications for the baton. Clubs have been used
          to break windows and intimidate (but not harm) belligerent folks into compliance. Billy clubs were even used as a
          means of communication: before they had radios, Baltimore police officers used to knock their espantoon clubs along
          curbs and pipes to alert other officers. Even the way an officer carries their baton on their person can be used to send
          messages to a hostile person or crowd.

          Billy clubs today

          After incidents such as the beating of Rodney King, the use of straight clubs declined out of public image concerns. The

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          availability of TASERs, pepper spray, and collapsible batons along with a greater concern for officer safety have also
          contributed to the reduced use of the traditional straight club.

          Billy clubs might take more training to use effectively and reasonably than other less-lethal weapons, but the officers
          who possess that knowledge may have greater control over how much force they apply. It’s a fading art, but even so,
          billy clubs are a part of police history and a useful tool, versatile tool for those willing to learn.




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       COMMENTARIES

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       BOOK THE FIRST.

       OF THE RIGHTS OF PERSONS.

       CHAPTER THE FIRST.

       OF THE ABSOLUTE RIGHTS OF INDIVIDUALS.

        THE objects of the laws of England are fo very numerous and extenfive, that, in order to confider them with any tolerable eafe and perfpicuity, it will be neceffary to
   diftribute them methodically, under proper and diftinct heads ; avoiding as much as poffible divifions too large and comprehemive on the one hand, and too trifling and
   minute on the other ; both of which are equally productive of confufion.

       NOW.

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       The RIGHTS OF PERSONS.

       BOOK I.

       Ch. 1.

       NOW, as municipal law is a rule of civil conduct, commanding what is right, and prohibiting what is wrong ; or, as Cicero d, and after him our Bracton b, has
   expreffed it, fanctio jufta, jubens honefta et prohibens contraria ; it follows, that the primary and principal objects of the law are RIGHTS, and WRONGS. In the
   profecution therefore of thefe commentaries, I fhall follow this very fimple and obvious divifion ; and fhall in the firft place confider the rights that are commanded, and
   fecondly the wrongs that are forbidden by the laws of England.

       RIGHTS are however liable to another fubdivifion ; being either, firft, thofe which concern, and are annexed to the perfons of men, and are then called jura
   perfonarum or the rights of perfons ; or they are, fecondly, fuch as a man may acquire over external objects, or things unconnected with his perfon, which are ftiled jura
   rerum or the rights of things. Wrongs alfo are divifible into, firft, prvate wrongs, which, being an infringement merely of particular rights, concern individuals only, and
   are called civil injuries ; and fecondly, public wrongs, which, being a breach of general and public rights, affect the whole community, and are called crimes and
   mifdemefnors.

       THE objects of the laws of England falling into this fourfold divifion, the prefent commentaries will therefore confift of the four following parts : 1. The rights of
   perfons ; with the means whereby fuch rights may be either acquired or loft. 2. The rights of things ; with the means alfo of acquiring and lofing them. 3. Private wrongs,
   or civil injuries ; with the means of redreffing them by law. 4. Public wrongs, or crimes and mifdemefnors ; with the means of prevention and punifhment.

       WE are now, firft, to confider the rights of perfons ; with the means of acquiring and lofing them.

       .{FS}

       11 Philipp. 12.

       b   l. 1. c. 3.

       .{FE}

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       The RIGHTS OF PERSONS.

       BOOK I.

       1.

       the rights of perfons that are commanded to be obferved by the municipal law are of two forts ; firft, fuch as are due from every citizen, which are ufually called civil
   duties ; and, fecondly, fuch as belong to him, which is the more popular acceptation of rights or jura. Both may indeed be comprized in this latter divifion ; for, as all
   focial duties are of a relative nature, at the fame time that they are due from one man, or fet of men, they muft alfo be due to another. But I apprehend it will be more
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   clear and eafy, to confider many of them as duties required from, rather than as rights belonging to, particular perfons. Thus, for inftance, allegiance is ufually, and
   therefore as the duty of the magiftrate ; and yet they are, reciprocally, the rights as well as duties of each other. Allegiance is the right of the magiftrate, and protection
   the right of the people.

      PERSONS alfo are divided by the law into either natural perfons, or artificial. Natural perfons are fuch as the God of nature formed us : artificial are fuch as created
   and devifed by human laws for the purpofes of fociety and government ; which are called corporations or bodies politic.

       THE rights of perfons confidered in their natural capacities are alfo of two forts, abfolute, and relative. Abfolue, which are fuch as appertain and belong to particular
   men, merely as individuals or fingle perfons : relative, which are incident to them as members of fociety, and ftanding in various relations to each other. The firft, that is,
   abfolute rights, will be the fubject of the prefent chapter.

      BY the abfolute rights of individuals we mean thofe which are fo in their primary and ftricteft fenfe; fuch as would belong to their perfons merely in a ftate of nature,
   and which every man is intitled to enjoy whether out of fociety or in it. But with regard to the abfolute duties, which man is bound to perform con-

       fidered

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       BOOK I.

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       fidered as a mere individual, it is not to be expected that any human municipal laws fhould at all explain or enforce them. For the end and intent of fuch laws being
   only to regulate the behaviour of mankind, as they are members of fociety, and ftand in various relations to each other, they have confequently no bufinefs or concern
   with any but focial or relative duties. Let a man therefore be ever fo abandoned in his principles, or vitious in his practice, provided he keeps his wickednefs to himfelf,
   and does not offend againft the rules of public decency, he is out of the reach of human laws. But if he makes his vices public, though they be fuch as feem principally
   to affect himfelf, (as drunkennefs, or the like) they then become, by the bad example they fet, of pernicious effects to fociety ; and therefore it is then the bufinefs of
   human laws to correct them. Here the circumftance of publication is what alters the nature of the café. Public fobriety is a relative duty, and therefore enjoined by our
   laws : private fobriety is an abfolute duty, which, whether it be performed or not, human tribunals can never know; and therefore they can never enforce it by any civil
   fanction. But, with refpect to rights, the café is different. Human laws define and enforce as well thofe rights which belong to a man confidered as an individual, as thofe
   which belong to him confidered as related to others.

        FOR the principal aim of fociety is to protect individuals in the enjoyment of thofe abfolute rights, which were vefted in them by the immutable laws of nature ; but
   which could not be preferved in peace without that mutual affiftance and intercourfe, which is gained by the inftitution of friendly and focial communities. Hence it
   follows, that the firft and primary end of human laws is to formation of ftates and focieties : fo that to maintain and regulate thefe, is clearly a fubfequent confideration.
   And therefore the principal view of human laws is, or ought always to be, to explain, protect, and enforce fuch rights as are

       abfolute,

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        abfolute, which in themfelves are few and fimple ; and, then, fuch rights as are relative, which arifing from a variety of connexions, will be far more numerous and
   more complicated. Thefe will take up a greater fpace in any code of laws, and hence may appear to be more attended to, though in reality they are not, than the rights
   of the former kind. Let us therefore proceed to examine how far all laws ought, and how far the laws of England actually do, take notice of thefe abfolute rights, and
   provide for their lafting fecurity.

        THE abfolute righs of man, confidered as a free agent, endowed with difcernment to known good from evil, and with power of choofing thofe meafures which
   appear to him to be moft defirable, are ufually fumed up on one general appellation, and denominated the natural liberty of mankind. This natural liberty confifts
   properly in a power of acting as one thinks fit, without any reftraint or control, unlefs by the law of nature : being a right inherent in a us by birth, and one of the gifts of
   God to man at his creation, when he endued him with the faculty of freewill. But every man, when he enters into fociety, gives, up a part of his natural liberty, as the
   price of fo valuable a purchafe ; and, in confideration of receiving the advantages of mutual commerce, obliges himfelf to conform to thofe laws, which the community
   has tough proper to eftablifh. And this fpecies of legal obedience and conformity is infinitely more defirable, than that wild and favage liberty which is facrificed to obtain
   it. For no man, that confiders a moment, would wifh to retain the abfolute and uncontrolled power of doing whatever he pleafes; the confequence of which is, that every
   other man would alfo have the fame power ; and then there would be no fecurity to individuals in any of the enjoyments of life. Political therefore, or civil, liberty, which
   is that of a member of fociety, is no other than natural liberty fo far reftrained by human laws (and no farther) as is neceffary and expedient for the general advantage of
   the publick c. Hence we may collect that the law, which reftrains a

       .{FS}

       c   Facultas ejus, quod cuique facere libet, nifi quid jure prohibetur. Inft. 1. 3. 1.

       .{FE}

       Q

       man

       .P 122

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        man from doing mifchief to his fellow citizens, though it diminifhes the natural, increafes the civil liberty of mankind : but every wanton and caufelefs reftraint of the
   will of the fubject, whether practiced by a monarch, a nobility, or a popular affembly, is a degree of tyranny. Nay, that even laws themfelves, whether made with or
   without our confent, if they regulate and conftrain our conduct in matters of mere indifference, without any good end in view, are laws deftructive of liberty : whereas if
   any public advantage can arife from obferving fuch precepts, the control of our private inclinations, in one or two particular points, will conduce to preferve our general
   freedom in others of more importance ; by fupporting that ftate, of fociety, which alone can fecure our independence. Thus the ftatute of king Edward IV d, which forbad
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   the fine gentlemen of thofe times (under the degree of a lord) to wear pikes upon their fhoes or boots of more than two inches in length, was a law that favoured of
   oppreffion ; becaufe, however ridiculous the fafhion then in ufe might appear, the reftraining it by pecuniary penalties could ferve no purpofe of common utility. But the
   ftatute of king Charles II e, which prefcribes a thing feemingly as indifferent ; viz. a drefs for the dead, who are all ordered to be buried in woollen; is a law confiftent
   with public liberty, for it encourages the ftaple trade, on which in great meafure depends the univerfal good of the nation. So that laws, wen prudently framed, are by no
   means fubverfive but rather introductive of liberty ; for (as Mr Locke has well obferved f) where there is no law, there is no freedom. But then, on the other hand, that
   conftitution or frame of government, that fyftem of laws, is alone calculated to maintain civil liberty, which leaves the fubject entire mafter of his own conduct, except in
   thofe points wherein the public good requires fome direction or reftraint.

       THE idea and practice of this political or civil liberty flourifh in their higheft vigour in thefe kingdoms, where it falls little

       .{FS}

       d   3 Edw. IV. c. 5.

       e   30 Car. II. ft. 1. c. 3.

       f   on Gov. p. 2. § 57.

       .{FE}

       fhort

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       fhort of perfection, and can only be loft or deftroyed by the folly or demerits of it's owner : the legiflature, and of courfe the laws of England, being peculiarly
   adapted to the prefervation of this ineftimable bluffing even in the meaneft fubject. Very different from the modern conftitutions of other ftates, on the continent of
   Europe, and from the genius of the imperial law ; which in general are calculated to veft an arbitrary and defpotic power of controlling the actions of the fubject in the
   prince, or in a few grandees. And this fpirit of liberty is fo deeply implanted in our conftitution, and rooted even in our very foil, that a flave or a negro, the moment he
   lands in England, falls under the protection of the laws, and with regard to all natural rights becomes eo inftanti a freeman g.

        THE abfolute rights of every Englifhman (which, taken in a political and extenfive fenfe, are ufually called their liberties) as they are founded on nature and reafon,
   fo they are coeval with our form of government ; though fubject at times to fluctuate and change : their eftablifhment (excellent as it is) being ftill human. At fome times
   we have feen them depreffed by overbearing and tyrannical princes; at others fo luxuriant as even to tend to anarchy, a worfe ftate than tyranny itfelf, as any
   government is better than none at all. But the vigour of our free conftitution has always delivered the nation from thefe embaraffments, and, as foon as the convulfions
   confequent on the ftruggle have been over, the balance of our rights and liberties has fettled to it's proper level; and their fundamental articles have been from time to
   time afferted in parliament, as often as they were thought to be in danger.

      FIRST, by the great charter of liberties, which was obtained, fword in hand, from king John ; and afterwards, with fome alterations, confirmed in parliament by king
   Henry the third, his fon. Which charter contained very few new grants ; but, as fir Edward Coke h obferves, was for the moft part declaratory of the

       .{FS}

       s   Salk. 666.

       h   2 Inft. proem.

       .{FE}

       Q2

       principal

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        principal grounds of the fundamental laws of England. Afterwards by the ftatute called confirmatio cartarum I, whereby the great charter is directed to be allowed as
   the common law ; all judgments contrary to it are declared void ; copies of it are ordered to be fent to all cathedral churches, and read twice a year to the people ; and
   fentence of excommunication is directed to be as conftantly denounced againft all thofe that by word, deed, or counfel act contrary thereto, or in any degree infringe it.
   Next by a multitude of fubfequent corroborating ftatutes, (fir Edward Coke, I think, reckons thirty two k,) from the firft Edward to Henry the foruth. Then, after a long
   interval, by the petition of right ; which was a parliamentary declaration of the liberties of the people , affented to by king Charles the firft in the beginning of his reign.
   Which was clofely followed by the ftill more ample conceffions made by that unhappy prince to his parliament, before the fatal rupture between them ; and by the many
   falutary laws, particularly the habeas corpus act, paffed under Charles the fecund. To thefe fucceeded the bill of rights, or declaration delivered by the lords and
   commons to the prince and princefs of Orange 13 February 1688 ; and afterwards enacted in parliament, when they became king and queen : which declaration
   concludes in thefe remarkable words ; “and they do claim, “demand, and infift upon all and fingular the premifes, as their “undoubted rights and liberties.” And the act of
   parliament itfelf l recognizes “all and fingular the rights and liberties afferted “and claimed in the faid declaration to be the true, antient, and “indubitable rights of the
   people of this kingdom.” Lartly, thefe liberties wee again afferted at the commencement of the prefent century, in the act of fettlement m, whereby the crown is limited to
   his prefent majeft's illuftrious houfe, and fome new provifions were added at the fame fortunate aera for better fecuring our religion, laws, and liberties ; which the
   ftatute declares to be “the birthright of the people of England,” according to the antient doctrine of the common law n.

       .{FS}

       i   25 Edw. I.

       k   2 Inft. proem.
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       l   1 W. and M. ft. 2. c. 2.

       m    12 & 13 W. III. c. 2.

       n   Plowd. 55.

       .{FE}

       THUS

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        THUS much for the declaration of our rights and liberties. The rights themfelves thus defined by thefe feveral ftatutes , confift in a number of private immunities ;
   which will appear, from what has been premifed, to be indeed no other, than either that refiduum of natural liberty, which is not required by the laws of fociety to be
   facrificed to public convenience ; or elfe thofe civil privileges, which fociety hath engaged to provide, in lieu of the natural liberties fo given up by individuals. Thefe
   therefore were formerly, either by inheritance or purchafe, the rights of all mankind ; but, in moft other countries of the world being now more or lefs debafed and
   deftroyed, they at prefent may be faid to remain, in a peculiar and emphatical manner, the rights of the people of England. And thefe may be reduced to three principal
   or primary articles ; the right of perfonal fecurity, the right of perfonal liberty ; and the right of private property : becaufe as there is no other known method of
   compulfion, or of abridging man's natural free will, but by an infringment or diminution of one or other of thefe important righs, the prefervation of thefe, inviolate, may
   juftly be faid to include the prefervation of our civil immunities in their largeft and moft extenfive fenfe.

       I. THE right of perfonal fecurity confifts in a perfon's legal and uninterrupted enjoyment of his life, his limbs, his body, his health, and his reputation.

       1. LIFE is the immediate gift of God, a right inherent by nature in every individual ; and it begins in contemplation of law as foon as an infant is able to ftir in the
   mother's womb. For if a woman is quick with child, and by a potion, or otherwife, killeth it in her womb ; or if any one beat her, whereby the child dieth in her body, and
   fhe is delivered of a dead child ; this, though not murder, was by the antient law homicide or manflaughter o. But at prefent it is not looked upon in quite fo

       .{FS}

        o Si aliquis mulierem praegnantem percufferit, vel ei venenum dederit, per quod fecerit abortivam ; fi puerperium jam formatum fuerit, et maxime fi fuerit animatum,
   facit bomicidium. Bracton. l. 3. c. 21.

       .{FE}

       atrocious

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       atrocious a light, though it remains a very heinous mifdemefnor p.

      AN infant in ventre ftatute mere, or in the mother's womb, is fuppofed in law to be born for many purpofes. It is capable of having a legacy, or a furrender of a
   copyhold eftate made to it. It may have a guardian affigned to it q ; and it is enabled to have an eftate limited to it's ufe, and to take afterwards by fuch limitation, as if it
   were then actually born r. And in this point the civil law agrees with ours s.

       2. A MAN'S limbs, (by which for the prefent we only underftand thofe members which may be ufeful to him in fight, and the lofs of which only amounts to mayhem
   by the common law) are alfo the gift of the wife creator ; to enable man to protect himfelf from external injuries in a ftate of nature. To thefe therefore he has a natural
   inherent right ; and they cannot be wantonly deftroyed or difabled without a manifeft breach of civil liberty.

        BOTH the life and limbs of a man are of fuch high value, in the eftimation of the law of England, that it pardons even homicide if committed .{FE} defendendo, or in
   order to preferve them. For whatever is done by a man, to fave either life or member, is looked upon as done upon the higheft neceffity and compulfion. Therefore if a
   man through fear of death or mayhem is prevailed upon to execute a deed, or do any other legal act ; thefe, though accompanied with all other the requifite folemnities,
   are totally void in law, if forced upon him by a well-grounded apprehenfion of lofing his life, or even his limbs, in café of his non-compliance t. And the fame is alfo a
   fufficient excufe for the commiffion of many mifdemefnors, as will appear in the fourth book.

       .{FS}

       p   3. Inft. 90.

       q   Stat. 12 Car II c. 24.

       r   Stat. 10 & 11 W. III. c. 16.

       s   2id in imtelliguntur in rervum natura effe, cum de eorum commode agatur. Ff. 1. 5. 26.

       t   2 Inft. 483.

       .{FE}

       The

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       The conftraint a man is under in thefe circumft nces is called in law durefs, from the Latin durities, of which there are two forts ; durefs of imprifonment, where a
   man actually lofes his liberty, fo which we fhall prefently fpeak ; and durefs per minas, where the hardfhip is only threatened and impending, which is that we are now
   difcourfing of. Durefs per minas is either for fear of lofs of life, or elfe for fear of mayhem, or lofs of limb. And this fear muft be upon fufficient reafon ; “non,” as Bracton
   expreffes it, 'fufpicio cujuflibet vani et meticulofi bominis, fed talis qui poffit “cadere in cirum conftantem ; talis enim debet effe metus, qui in .fe “contineat vitae
   periculum, aut corporis cruciatum u.” A fear of battery, or being beaten, though never fo well grounded, is no durefs ; neither is the fear of having one's houfe burnt, or
   one's goods taken away and deftroyed ; becaufe in thefe cafes, fhould the threat be performed, a man may have fatisfaction by recovering equivalent damages w: but
   no fuitable atonement can be made for the lofs of life, or limb. And the indulgence fhewn to a man under this, the principal, for of durefs, he fear of lofing his life or
   limbs, agrees alfo with that maxim of the civil law ; ignofcitur ei qui fanguinem fuum qualiter redemptum voluit x.

        THE law not only regards life and member, and protecs every man in the enjoyment of them, but alfo furnifhes him with every thing neceffary for their fupport. For
   there is no man fo indigent or wretched, but he may demand a fupply fufficient for all the neceffities of life, from the more opulent part of the community, by means of
   the feveral ftatutes enacted for the relief of the poor, of which in their proper places. A humane provifion ; yet, though dictated by the principles of fociety,
   difcountenanced by the Roman laws. For the edicts of the emperor Conftantine, commanding the public to maintain the children of thofe who were unable to provide
   for them, in order to prevent the murder and expofure of infants, an inftitution founded on the fame principle as our

       .{FS}

       u   l. 2. c. 5.

       w   2 inft. 483.

       z   Ff. 48. 21. 1.

       .{FE}

       founding

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       founding hofpitals, though comprized in the Theodofian code y, were rejected in Juftinian's collection.

        THESE rights, of life and member, can only be determined by the death of the perfon ; which is either a civil or natural death. The civil death commences if any
   man be banifhed the realm z by the procefs of the common law, or enters into religion ; that is, goes into a monaftery, and becomes there a monk profeffed : in which
   cafes he is abfolutely dead in law, and his next heir fhall have his eftate. For, fuch banifhed man is entirely cut off from fociety; and fuch a monk, upon his profeffion,
   renounces folemnly all fecular concerns : and befides, as the popifh clergy claimed an exemption from the duties of civil life, and the commands of the temporal
   magiftrate, the genius of the Englifh law would not fuffer thofe perfons to enjoy the benefits of fociety, who fecluded themfelves from it, and refufed to fubmit to it's
   regulations a. A monk is therefore accounted civiliter mortuus, and when he enters into religion may, like other dying men, make his teftament and executors ; or, if he
   makes none, the ordinary may grant adminiftration to his next of kin, as if he were actually dead inteftate. And fuch executors and adminiftrators fhall have the fame
   power, and may bring the fame actions for debts due to the religious, and are liable to the fame actions for thofe due from him, as if he were naturally deceafed b. Nay,
   fo far has this principle been carried, that when one was bound in a bond to an abbot and his fucceffors, and afterwards made his executors and profeffed himfelf a
   monk of the fame abbey, and in procefs of time was himfelf made abbot thereof ; here the law gave him, in the capacity of abbot, an action of debt againft his own
   executors to recover the money due c. In fhort, a monk or religious is fo effectually dead in law, that a leafe made even to a third perfon, during the life (generally) of
   one who afterwards becomes a monk, determines by fuch his entry into religion : for

       .{FS}

       y   l. 11. t. 27.

       z   Co. Litt. 133.

       a   This was alfo a rv'e in the feudal law, l. 2. t. 21. defat effe miles feculi, qui factus eft miles Chrifti ; nec beneficium pertinet ad cum qui non debet gerere officium.

       b   Litt. §. 200.

       c   Co. Litt. 133 b.

       .{FE}

       which

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       which reafon leafes, and other conveyances, for life, are ufually made to have and to hold for the term of one's natural life d.

       THIS natural life being, as was before obferved, the immediate donation of the great creator, cannot legally be difpofed of or deftroyed by any individual, neither by
   the perfon himfelf nor by any other of his fellow creatures, merely upon their own authority. Yet neverthelefs it may, by the divine permiffion, be frequently forfeited for
   the breach of thofe laws of fociety, which are enforced by the fanction of capital punifhments ; of the nature, reftrictions, expedience, and legality of which, we may
   hereafter more conveniently enquire in the concluding book of thefe commentaries. At prefent, I fhall only obferve, that whenever the conftitution of a ftate vefts in any
   man, or body of men, a power of deftroying at pleafure, without the direction of laws, the lives or members of the fubject, fuch conftitution is in the higheft degree
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   tyrannical : and that whenever any laws direct fuch deftruction for light and trivial caufes, fuch laws are likewife tyrannical, though in an inferior degree ; becaufe here
   the fubject is aware of the danger he is expofed to, and may by prudent caution provide againft it. The ftatute law of England does therefore very feldom, and the
   common law does never, inflict any punifhment extending to life or limb, unlefs upon the higheft neceffity : and the conftitution is an utter ftranger to any arbitrary power
   of killing or maiming the fubject without the exprefs warrant of law. “Nullus liber homo, fays the great charter e, ali- “ quo modo deftruatur, nifi per legale judicium parium
   fuorum aut “per legem terrae.” Which words, “aliquo modo deftruatur,” according to fir Edward Coke f, include a prohibition not only of killing, and maiming, but alfo of
   torturing (to which our laws are ftrangers) and of every oppreffion by colour of an illegal authority. And it is enacted by the ftatute 5 Edw. III. c. 9. that no man fhall be
   forejudged of life or limb, contrary to the great charter and the law of the land : and again, by ftatute 28 Ed. III.

       .{FS}

       d   2 Rep. 48. Co. Litt. 132.

       e   c. 29.

       f   2 Inft. 48.

       .{FE}

       R

       c. 3.

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       c. 3. that no man fhall be put to death, without being brought to anfwer by due procefs of law.

       3. BESIDES thofe limbs and members that may be neceffary to man, in order to defend himfelf or annoy his enemy, the reft of his perfon or body is alfo entitled by
   the fame natural right to fecurity from the corporal infults of menaces, affaults, beating, and wounding ; though fuch infults amount not to deftruction of life or member.

       4.THE prefervation of a man's health from fuch practices as may prejudice or annoy it, and

       5. THE fecurity of his reputation or good name from the arts of detraction and flander, are rights to which every man is intitled, by reafon and natural juftice ; fince
   without thefe it is impoffible to have the perfect enjoyment of any other advantage or right. But thefe three laft articles (being of much lefs importance than thofe which
   have gone before, and thofe which are yet to come ) it will fuffice to have barely mentioned among the rights of perfons ; referring the more minute difcuffion of their
   feveral branches, to thofe parts of our commentaries which treat of the infringement of thefe rights, under the head of perfonal wrongs.

       II. NEXT to perfonal fecurity, the law of England regards, afferts, and preferves the perfonal liberty of individuals. This perfonal liberty confifts in the power of loco-
   motion, of changing fituation, or removing one's perfon to whatfoever place one's own inclination may direct ; without imprifonment or reftraint, unlefs by due courfe of
   law. Concerning which we may make the fame obfervations as upon the preceding article ; that it is a right ftrictly natural ; that the laws of England have never
   abridged it without fufficient caufe ; and , that in this kingdom it cannot ever be abridged at the mere difcretion of the magiftrate, without the explicit permiffion of the
   laws. Here again the language of the great charter g is, that no freeman fhall be taken or imprifoned

       .{FS}

       g   c. 29.

       .{FE}

       but

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        but by the lawful judgment of his equals, or by the law of the land. And many fubfequent old ftatutes h expreffly direct, that no man fhall be taken or imprifoned or
   detained without caufe fhewn, to which he may make anfwer according to law. By 16 Car. I. c. 10. if any perfon be reftrained of his liberty by order or decree of any
   illegal court, or by command of the king's majefty in perfon, or by warrant of the council board, or of any of the privy council ; he fhall, upon demand of his counfel, have
   a writ of habeas corpus, to bring his body before the court of king's bench or common pleas ; who fhall determine whether the caufe of his commitment be juft, and
   thereupon do as to juftice fhall appertain. And by 31 Car. II. c. 2. commonly called the babcas corpus act, the methods of obtaining this writ are fo plainly pointed out
   and enforced, that, fo long as this ftatute remains unimpeached, no fubject of England can be long detained in prifon, except in thofe cafes in which the law requires
   and juftifies fuch detainer. And, left this act fhould be evaded by demanding unreafonable bail, or fureties for the prifoner's appearance, it is declared by 1 W. & M. ft. 2.
   c. 2. that excefive bail ought not to be required.

       OF great importance to the public is the prefervation of this perfonal liberty : for if once it were left in the power of any, the higheft, magiftrate to imprifon arbitrarily
   whomever he or his officers thought proper, (as in France it is daily practiced by the crown ) there would foon be an end of all other rights and immunities. Some have
   thought, that unjuft attacks, even upon life, or property, at the arbitrary will of the magiftrate, are lefs dangerous to the commonwealth, than fuch as are made upon the
   perfonal liberty of the fubject. To bereave a man of life, of by violence to confifcate his eftate, without accufation or trial, would be fo grofs and notorious an act of
   defpotifm, as muft at once

       .{FS}

       h   5 Edw. III. c. 9. 25. Edw. III. Ft. 5. c. 4. and 28 Edw. III. 4. 3.

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       convey

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       convey the alarm of tyranny throughout the whole kingdom. But confinement of the perfon, by fecretly hurrying him to gaol, where his fufferings are unknown or
   forgotten ; is a lefs public, a lefs ftriking, and therefore a more dangerous engine of arbitrary government. And yet fometimes, when the ftate is in real danger, even this
   may be a neceffary meafure. But the happinefs of our conftitution is, that it is not left to the executive power to determine when the danger of the ftate is fo great, as to
   render this meafure expedient. For the parliament only, or legiflative power, whenever it fees prper, can authorize the crown, by fufpending the babeas corpus act for a
   fhort and limited time, to imprifon fufpected perfons without giving any reafon for fo doing. As the fenate of Rome was wont to have recourfe to a dictator, a magiftrate
   of abfolute authority, when they judged the republic in any imminent danger. The decree of the fenate, which ufually preceded the nomination of this magiftrate, “dent
   operam confu- “les, nequid refpublica detrimenti capiat,” was called the fenatus confultum ultimate neceffitatis. In like manner this experiment ought only to be tried in
   cafe of extreme emergency ; and in thefe the nation parts with it's liberty for a while, in order to preferve it for ever.

        THE confinement of the perfon, in any wife, is an imprifonment. So that the keeping a man againft his will in a private houfe, putting him in the ftocks, arrefting or
   forcibly detaining him in the ftreet, is an imprifonment i. And the law fo much difcourages unlawful confinement, that if a man is under durefs of imprifonment, which we
   before explained to mean a compulfion by an illegal reftraint of liberty, until he feals a bond or the like ; he may alledge this durefs, and avoid the extorted bond. But if a
   man be lawfully imprifoned, and either to procure his difcharge, or on any other fair account, feals a bond or a deed, this is not by durefs of imprifonment, and he is not
   at liberty to avoid itk. To make imprifonment lawful, it muft either be, by procefs from the courts of judicature, or by warrant from fome

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       i   2. Inft. 5 9.

       k   2 Inft. 482.

       .{FE}

       legal

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       legal officer, having authority to commit to prifon ; which warrant muft be in writing, under the hand and feal of the magiftrate, and exprefs the caufes of the
   commitment, in order to be examined into (if neceffary) upon a babeas corpus. If there be no caufe expreffed, the goaler is not bound to detain the prifoner l. For the
   law judges in this refpect, faith fir Edward Coke, like Feftus the Roman governor ; that it is unreafonable to fend a prifoner, and not to fignify withal the crimes alleged
   againft him.

       A NATURAL and regular confequence of this perfonal liberty, is that every Englifhman may claim a right to abide in his own country fo long as he pleafes ; and not
   to be driven from it unlefs by the fentence of the law. The king indeed, by his royal prerogative, may iffue out his writ ne exeat regnum, and prohibit any of his fubjects
   from going into foreign parts without licence m. This may be neceffary for the public fervice, and fafeguard of the commonwealth. But no power on earth, except the
   authority of parliament, can fend any fubject of England out of the land againft his will ; no not even a criminal. For exile, or tranfportation, is a punifhment unknown to
   the common law ; and, wherever it is now infticted, it is either by the choice of the criminal himfelf, to efcape a capital punifhment, or elfe by the exprefs direction of
   fome modern act of parliament. To this purpofe the great charter n declares that no freeman fhall be banifhed, unlefs by the judgment of his peers, or by the law of the
   land. And by the babeas corpus act, 31 Car. II. c. 2. (that fecund magna carta, and ftable bulwark of our liberties) it is enacted, that no fubject of this realm, who is an
   inhabitant of England, Wales, or Berwick , fhall be fent prifoner into Scotland, Ireland, Jerfey, Guernfey, or places beyond the feas ; (where they cannot have the benefit
   and protection of the common law ) but that all fuch imprifonments fhall be illegal ; that the perfon, who fhall dare to commit another contrary to this law, fhall be
   difabled from bearing any office, fhall incur the penalty of a praemunire, and be incapable of receiving the king's pardon :

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       l   2 Inft. 52. 53.

       m    F. N. B. 85.

       n   cap. 29.

       .{FE}

       and

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       and the party fuffering fhall alfo have his private action againft the perfon committing, and all his aiders, advifers and abettors, and fhall recover treble cofts ;
   befides his damages, which no jury fhall affefs at lefs than five hundred pounds.

        THE law in is this refpect fo benignly and liberally conftrued for the benefit of the fubject, that, though within the realm the king may command the attendance and
   fervice, of all his liegemen, yet he cannot fend any man out of the realm, even upon the public fervice : he cannot even conftitute a man lord deputy or lieutenant of
   Ireland againft his will, nor make him a foreign embaffador o. For this might in reality be no more than an honorable exile.


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        III. THE third abfolute right, inherent in every Englifhman, is that of property : which confifts in the free ufe, enjoyment, and difpofal of all his acquifitions, without
   any control or diminution, fave only by the laws of the land. The original of private property is probably founded in nature, as will be more fully explained in the fecund
   book of the enfuing commentaries : but certainly the modifications under which we at prefent find it, the method of conferving it in the prefent owner, and of tranflating it
   from man to man, are entirely derived from fociety ; and are fome of thofe civil advantages, in exchange for which every individual has refigned a part of his natural
   liberty. The laws of England are therefore, in point of honor and juftice, extremely watchful in afcertaining and protecting this right. Upon this principle the great charter
   p has declared that no freeman fhall be diffeifed, or divefted, of his freehold, or of his liberties, or free cuftoms, but by the judgment of his peers, or by the law of the

   land. And by a variety of antient ftatutes q it is enacted, that no man's lands or goods fhall be feifed into the king's hands, againft the great charter, and the law of the
   land ; and that no man fhall be difinherited, nor put out of his franchifes or freehold,

       .{FS}

       o   2 Inft. 47.

       p   c. 29.

       q   5 Edw. III. c. 9. 25 Edw. III. ft. 5. c. 4. 28 Edw. III. c. 3.

       .{FE}

       unlefs

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       unlefs he be duly brought to anfwer, and be forejudged by courfe of law ; and if any thing be done to the contrary, it fhall be redreffed, and holden for none.

        SO great moreover is the regard of the law for private property, that it will not authorize the leaft violation of it ; no, not even for the general good of the whole
   community. If a new road, for inftance, were to be made through the grounds of a private perfon, it might perhaps be extenfively beneficial to the public ; but the law
   permits no man, or fet of men, to do this without confent of the owner of the land. In vain may it be urged, that the good of the individual ought to yield to that of the
   community ; for it would be dangerous to allow any private man, or even any public tribunal, to be the judge of this common good, and to decide whether it be
   expedient or no. Befides, the public good is in nothing more effentially interefted, than in the protection of every individual's private rights, as modelled by the municipal
   law. In this, and fimilar cafes the legiflature alone, can, and indeed frequently does, interpofe, and compel the individual to acquiefce. But how does it interpofe and
   compel ? Not by abfolutely ftripping the fubject of his property in an arbitrary manner ; but by giving him a full indemnification and equivalent for the injury thereby
   fuftained. The public is now confidered as an individual, treating with an individual for an exchange. All that the legiflature does is to oblige the owner to alienate his
   poffeffions for a reafonable price ; and even this is an exertion of power, which the legiflature indulges with caution, and which nothing but the legiflature can perform.

       NOR is this the only inftance in which the law of the land has poftponed even public neceffity to the facred and inviolable rights of private property. For no fubject of
   England can be conftrained to pay any aids or taxes, even for the defence of the realm or the fupport of government, but fuch as are impofed by his own confent, or
   that of his reprefenatives in parliament. By the ftatute 25 Edw. I. c. 5 and 6, it is provided, that the king

       fhall

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         fhall not take any aids or tafks, but by the common affent of the realm. And what that common affent is, is more fully explained by 34 Edw. I. ft. 4. cap. 1. which
   enacts, that no talliage or aid fhall be taken without affent of the arch-bifhops, bifhops, earls, barons, knights, burgeffes, and other freemen of the land r : and again by
   14 Edw. III. ft. 2. c. 1. the prelates, earls, barons, and commons, citizens, burgeffes, and merchants fhall not be charged to make any aid, if it be not by the common
   affent of the great men and commons in parliament. And as this fundamental law had been fhamefully evaded under many fucceeding princes, by compulfive loans,
   and benevolences extorted without a real and voluntary confent, it was made an article in the petition of right 3 Car. I, that no man fhall be compelled to yield any gift,
   loan, or benevolence, tax, or fuch like charge, without common confent by act of parliament. And, laftly, by the ftatute 1 W. & M. ft. 2. c. 2. it is declared, that levying
   money for or to the ufe of the crown, by pretence of prerogative, without grant of parliament ; or for longer time, or in other manner, than the fame is or fhall be granted,
   is illegal.

       IN the three preceding articles we have taken a fhort view of the principal abfolute rights which appertain to every Englifhman. But in vain would thefe rights be
   declared, afcertained, and protected by the dead letter of the laws, if the conftitution had provided no other method to fecure their actual enjoyment. It has therefore
   eftablifhed certain other auxiliary fubordinate rights of the fubject, which ferve principally as barriers to protect and maintain inviolate the three great and primary rights,
   of perfonal fecurity, perfonal liberty, and private property. Thefe are,

       1. THE conftitution, powers, and privileges of parliament, of which I fhall treat at large in the enfuing chapter.

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       r See the hiftorical introduction to the great charter, & c. fub anno 1297 ; wherein it is fhewn that this ftatute de talliagio non concedendo, fuppo ed to have been
   made in 34 Edw. I, is in reality nothing more than a fort of tranflation into Latin of the confirmatio cartarum, 25 Edw. I, which was originally publifhed in the Norman
   language.

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       2. THE

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        2. THE limitation of the king's prerogative, by bounds fo certain and notorious, that it is impoffible he fhould exceed them without the confent of the people. Of this
   alfo I fhall treat in it's proper place. The former of thefe keeps the lcgiflative power in due health and vigour, fo as to make it improbable that laws fhould be enacted
   deftructive of general liberty : the latter is a guard upon the executive power, by reftraining it from acting either beyond or in contradiction to the laws, that are framed
   and eftablifhed by the other.

        3. A THIRD fubordinate right of every Englifhman is that of applying to the courts of juftice for redrefs of injuries. Since the law is in England the fupreme arbiter of
   every man's life, liberty, and property, courts of juftice muft at all times be open to the fubject, and the law be duly adminiftred therein. The emphatical words of magna
   carta s, fpoken in the perfon of the king, who in judgment of law (fays fir Edward Coke t) is ever prefent and repeating them in all his courts, are thefe ; “nulli
   “vendemus, nulli negabimus, aut differemus rectum vel juftitiam : “and therefore every fubject,” continues the fame learned author, “for injury done to him in bonis, in
   terries, vel perfona, by “any other fubject, be he ecclefiaftical or temporal without any “exception, may take his remedy by the courfe of the law, and “have juftice and
   right for the injury done to him, freely with- “out fale, fully without any denial, and fpeedily without delay.” It were endlefs to enumerate all the affirmative acts of
   parliament wherein juftice is directed to be done according to the law of the land : and what that law is, every fubject knows ; or may know if he pleafes : for it depends
   not upon the arbitrary will of any judge ; but is permanent, fixed, and unchangeable, unlefs by authority of parliament. I fhall however juft mention a few negative
   ftatutes , whereby abufes, perverfions, or delays of juftice, efpecially by the prerogative, are reftrained. It is ordained by

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       s   c. 29.

       t   2 Inft. 55.

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       S

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        magna carta u, that no freeman fhall be outlawed, that is, put out of the protection and benefit of the laws, but according to the law of the land. By 2 Edw. III. c. 8.
   and 11 Ric. II. c. 10. it is enacted, that no commands or letters fhall be fent under the great feal, or the little feal, the fignet, or privy feal, in difturbance of the law ; or to
   difturb or delay common right : and, though fuch commandments fhould come, the judges fhall not ceafe to do right. And by 1 W. & M. ft. 2 : c. 2. it is declared, that the
   pretended power of fufpending, or difpenfing with laws, or the execution of laws, by regal authority without confent of parliament, is illegal.

       NOT only the fubftantial part, or judicial decifions, of the law, but alfo the formal part, or method of proceeding, cannot be altered but by parliament ; for if once
   thofe outworks were demolifhed, there would be no inlet to all manner of innovation in the body of the law itfelf. The king, it is true, may erect new courts of juftice ; but
   then they muft proceed according to the old eftablifhed forms of the common law. For which reafon it is declared in the ftatute 16 Car. I. c. 10. upon the diffolution of the
   court of ftarchamber, that neither his majefty, nor his privy council, have any jurifdiction, power, or authority by Englifh bill, petition, articles, libel (which were the courfe
   of proceeding in the ftarchamber, borrowed from the civil law) or by any other arbitrary way whatfoever, to examine, or draw into queftion, determine or difpofe of the
   lands or goods of any fubjects of this kingdom ; but that the fame ought to be tried and determined in the ordinary courts of juftice, and by courfe of law.

      4. IF there fhould happen any uncommon injury, or infringement of the rights beforementioned, which the ordinary courfe of law is too defective to reach, there ftill
   remains a fourth fubordinate right appertaining to every individual, namely, the right of petitioning the king, or either houfe of parliament, for the

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       u   c. 29.

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       redrefs

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       redrefs of grievances. In Ruffia we are told w that the czar Peter eftablifhed a law, that no fubject might petition the throne, till he had firft petitioned two different
   minifters of ftate. In café he obtained juftice from neither, he might then prefent a third petition to the prince ; but upon pain of death, if found to be in the wrong. The
   confequence of which was, that no one dared to offer fuch third petition ; and grievances feldom falling under the notice of the fovereign, he had little opportunity to
   redrefs them. The reftrictions, for fome there are, which are laid upon petitioning in England, are of a nature extremely different ; and while they promote the fpirit of
   peace, they are no check upon that of liberty. Care only muft be taken, left, under the pretence of petitioning, the fubject be guilty of any riot or tumult ; as happened in
   the opening of the memorable parliament in 1640 : and, to prevent this, it is provided by the ftatute 13 Car. II. ft. 1. c. 5. that no petition to the king, or either houfe of
   parliament, for any alterations in church or ftate, fhall be figned by above twenty perfons, unlefs the matter thereof be approved by three juftices of the peace or the
   major part of the grand jury, in the country ; and in London by the lord mayor, aldermen, and common council ; nor fhall any petition be prefented by more than two
   perfons at a time. But under thefe regulations , it is declared by the ftatute 1 W. & M. ft. 2. c. 2. that the fubject hath a right to petition ; and that all commitments and
   profecutions for fuch petitioning are illegal.

        5. THE fifth and laft auxiliary right of the fubject, that I fhall at prefent mention, is that of having arms for their defence, fuitable to their condition and degree, and
   fuch as are allowed by law. Which is alfo declared by the fame ftatute 1 W. & M. ft. 2. c. 2. and is indeed a public allowance, under due reftrictions, of the natural right
   of refiftance and felf-prefervation, when the fanctions of fociety and laws are found infufficient to reftrain the violence of oppreffion.

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       w   Montefq. Sp. L. 12. 26.

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       IN thefe feveral articles confift the rights, or, as they are frequently termed, the liberties of Englifhmen : liberties more generally talked of, than thoroughly
   underftood ; and yet highly neceffary to be perfectly known and confidered by every man of rank or property, left his ignorance of the points whereon it is founded
   fhould hurry him into faction and licentioufnefs on the one hand, or a pufillanimous indifference and criminal fubmiffion on the other. And we have feen that thefe rights
   confift, primarily, in the free enjoyment of perfonal fecurity, of perfonal liberty, and of private property. So long as thefe remain inviolate, the fubject is perfectly free ; for
   every fpecies of compulfive tyranny and oppreffion muft act in oppofition to one or other of thefe rights, having no other object upon which it can poffibly be employed.
   To preferve thefe from violation, it is neceffary that the conftitution of parliaments be fupported in it's full vigor ; and limits certainly known, be fet to the royal
   prerogative. And, laftly, to vindicate thefe rights, when actually violated or attacked, the fubjects of England are entitled, in the firft place, to the regular adminiftration
   and free courfe of juftice in the courts of law ; next to the right of petitioning the king and parliament for redrefs of grievances ; and laftly to the right of having and ufing
   arms for felf-prefervation and defence. And all thefe rights and liberties it is our birthright to enjoy entire ; unlefs where the laws of our country have laid them under
   neceffary reftraints. Reftraints in themfelves fo gentle and moderate, 23 will appear upon farther enquiry, that no man of fenfe or probity would wifh to fee them
   flackened. For all of us have it in our choice to do every thing that a good man would defire to do ; and are reftrained from nothing, but what would be pernicious either
   to ourfelves or our fellow citizens. So that this review of our fituation may fully juftify the obfervation of a learned French author, who indeed generally both thought and
   wrote in the fpirit of genuine freedom x; and who hath not fcrupled to profefs, even

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       z   Montefq. Sp. L. 11. 5.

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       in the very bofom of his native coglifh is the only nation in the world, where political or civil liberty is the direct end of it's conftitution. Recommending therefore to
   the ftudent in our laws a farther and more accurate feach into this extenfive and important title, I fhall clofe my remarks upon it with the expiring wifh of the famous
   father Paul to his country,

       “ESTO PERPETUA !”




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